                 Case 24-12480-LSS                 Doc 1233           Filed 04/03/25           Page 1 of 197



                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 11

    FRANCHISE GROUP, INC., et al., 1                                 Case No. 24-12480 (LSS)

                                    Debtors.                         (Jointly Administered)


                              SEVENTH AMENDED JOINT CHAPTER 11 PLAN OF
                            FRANCHISE GROUP, INC. AND ITS DEBTOR AFFILIATES

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Dated: April 3, 2025




1
      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers, to the
      extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM Interco Holdings,
      Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028), Freedom VCM Interco, Inc.
      (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444), American Freight FFO, LLC (5743),
      Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate Holdco, LLC (1587), Franchise Group
      Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC (8288), American Freight Group, LLC (2066),
      American Freight Holdings, LLC (8271), American Freight, LLC (5940), American Freight Management Company, LLC
      (1215), Franchise Group Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising,
      LLC (1353), Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight
      Franchisor, LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise
      Group Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor Acquisition, LLC (3490), Vitamin
      Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe
      Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590),
      Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC
      (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414),
      WNW Franchising, LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP
      Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco
      SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach,
      Virginia 23456.
                  Case 24-12480-LSS                     Doc 1233            Filed 04/03/25               Page 2 of 197




                                                    TABLE OF CONTENTS

ARTICLE I. DEFINITIONS AND INTERPRETATION .........................................................3

A.         Definitions............................................................................................................................3
B.         Interpretation; Application of Definitions and Rules of Construction...............................29
C.         Appendices and Plan Documents.......................................................................................29
D.         Definitive Document Consent Rights. ...............................................................................30
E.         Nature of the Restructuring Transactions. .........................................................................30

ARTICLE II. CERTAIN INTERCREDITOR AND INTER-DEBTOR ISSUES .................30

2.1.       Settlement of Certain Intercreditor and Inter-Debtor Issues. .............................................30
2.2.       Formation of Debtor Groups for Convenience Purposes. ..................................................30

ARTICLE III. DIP CLAIMS, ADMINISTRATIVE EXPENSE CLAIMS,
PROFESSIONAL FEE CLAIMS, U.S. TRUSTEE FEES, AND PRIORITY TAX
CLAIMS........................................................................................................................................30

3.1.       DIP Claims. ........................................................................................................................31
3.2.       Administrative Expense Claims.........................................................................................32
3.3.       Professional Fee Claims.....................................................................................................34
3.4.       Priority Tax Claims. ...........................................................................................................35
3.5.       U.S. Trustee Fees and Related Reporting Obligations. .....................................................35
3.6.       Allocation of Payment of Certain Fees and Expenses. ......................................................36

ARTICLE IV. CLASSIFICATION OF CLAIMS AND INTERESTS ...................................37

4.1.       Classification of Claims and Interests................................................................................37
4.2.       Unimpaired Classes of Claims. ..........................................................................................38
4.3.       Impaired Classes of Claims. ..............................................................................................38
4.4.       Separate Classification of Other Secured Claims. .............................................................39

ARTICLE V. TREATMENT OF CLAIMS AND INTERESTS .............................................39

5.1.       Priority Non-Tax Claims (Class 1). ...................................................................................39
5.2.       Other Secured Claims (Class 2). ........................................................................................40
5.3.       Prepetition ABL Loan Claims (Class 3). ...........................................................................41
5.4.       Prepetition First Lien Loan Claims (Class 4). ...................................................................41
5.5.       Prepetition Second Lien Loan Claims (Class 5). ...............................................................42
5.6.       OpCo General Unsecured Claims (Class 6).......................................................................42
5.7.       Prepetition HoldCo Loan Claims (Class 7). ......................................................................43
5.8.       Freedom HoldCo General Unsecured Claims (Class 8-A). ...............................................43
5.9.       HoldCo Receivables General Unsecured Claims (Class 8-B). ..........................................43
5.10.      TopCo General Unsecured Claims (Class 8-C). ................................................................44
5.11.      Intercompany Claims (Class 9). .........................................................................................44
5.12.      Subordinated Claims (Class 10).........................................................................................45
5.13.      Existing TopCo Equity Interests (Class 11).......................................................................45


                                                                      -1-
               Case 24-12480-LSS                      Doc 1233            Filed 04/03/25               Page 3 of 197




5.14.   Existing Intercompany Equity Interests (Class 12). ..........................................................45

ARTICLE VI. ACCEPTANCE OR REJECTION OF THE PLAN; EFFECT OF
REJECTION BY ONE OR MORE CLASSES OF CLAIMS OR INTERESTS ...................46

6.1.    Class Acceptance Requirement..........................................................................................46
6.2.    Tabulation of Votes on a Non-Consolidated Basis. ...........................................................46
6.3.    Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code or “Cramdown.” .....46
6.4.    Voting Classes; Deemed Acceptance or Rejection by Non-Voting Classes. ....................46
6.5.    Vacant and Abstaining Classes. .........................................................................................47
6.6.    Controversy Concerning Impairment. ...............................................................................47
6.7.    Special Provision Governing Unimpaired Claims. ............................................................47

ARTICLE VII. MEANS FOR IMPLEMENTATION OF THE PLAN .................................48

7.1.    Non-Substantive Consolidation. ........................................................................................48
7.2.    Plan Equitization Transaction. ...........................................................................................48
7.3.    Partial Sale Transaction. ....................................................................................................49
7.4.    Continued Corporate Existence in Certain Debtors; Vesting of Assets; Dissolution of
        Certain Debtors. .................................................................................................................49
7.5.    Indemnification Provisions in Organizational Documents. ...............................................50
7.6.    Sources for Cash Distributions under this Plan. ................................................................50
7.7.    Take-Back Debt Facility. ...................................................................................................51
7.8.    New ABL Facility. .............................................................................................................52
7.9.    Reorganized Debtors’ Ownership. .....................................................................................53
7.10.   Litigation Trust. .................................................................................................................53
7.11.   New Warrants. ...................................................................................................................60
7.12.   Exemption from Registration Requirements. ....................................................................60
7.13.   Organizational Documents.................................................................................................61
7.14.   Exemption from Certain Transfer Taxes and Recording Fees...........................................62
7.15.   Other Tax Matters. .............................................................................................................62
7.16.   Cancellation of Existing Securities and Agreements. ........................................................62
7.17.   Boards. ...............................................................................................................................64
7.18.   Management. ......................................................................................................................64
7.19.   Directors and Officers Insurance Policies..........................................................................64
7.20.   Corporate Action. ...............................................................................................................65
7.21.   Comprehensive Settlement of Claims and Controversies; Termination of Subordination
        Rights. ................................................................................................................................65
7.22.   Additional Transactions Authorized Under this Plan. .......................................................66
7.23.   Insurance Policies. .............................................................................................................66
7.24.   Existing First Lien/Second Lien Intercreditor Agreement.................................................67

ARTICLE VIII. PROVISIONS GOVERNING DISTRIBUTIONS .......................................68

8.1.    Distributions.......................................................................................................................68
8.2.    No Postpetition Interest on Claims. ...................................................................................68
8.3.    Date of Distributions. .........................................................................................................68


                                                                    -2-
                  Case 24-12480-LSS                     Doc 1233             Filed 04/03/25              Page 4 of 197




8.4.       Distribution Record Date. ..................................................................................................68
8.5.       Disbursing Agent. ..............................................................................................................69
8.6.       Delivery of Distribution. ....................................................................................................69
8.7.       Unclaimed Property. ..........................................................................................................70
8.8.       Satisfaction of Claims. .......................................................................................................70
8.9.       Manner of Payment Under Plan.........................................................................................70
8.10.      De Minimis Cash Distributions. ........................................................................................71
8.11.      Distributions on Account of Allowed Claims Only...........................................................71
8.12.      Fractional Shares. ...............................................................................................................71
8.13.      No Distribution in Excess of Amount of Allowed Claim. .................................................71
8.14.      Foreign Currency Exchange Rate. .....................................................................................71
8.15.      Setoffs and Recoupments...................................................................................................71
8.16.      Withholding and Reporting Requirements. .......................................................................72
8.17.      Turnover Obligations. ........................................................................................................72
8.18.      Claims Payable by Third Parties. .......................................................................................72

ARTICLE IX. PROCEDURES FOR RESOLVING CLAIMS ...............................................73

9.1.       Disputed Claims Process....................................................................................................73
9.2.       Allowance of Claims..........................................................................................................73
9.3.       Claims Administration Responsibilities. ...........................................................................74
9.4.       Objections to Claims. .........................................................................................................74
9.5.       Adjustment to Claims or Equity Interests without Objection. ...........................................74
9.6.       No Distributions Pending Allowance. ...............................................................................75
9.7.       Distributions After Allowance. ..........................................................................................75

ARTICLE X. EXECUTORY CONTRACTS AND UNEXPIRED LEASES .........................75

10.1.      Assumption and Rejection of Executory Contracts and Unexpired Leases. .....................75
10.2.      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases. ....................76
10.3.      Claims Based on Rejection of Executory Contracts and Unexpired Leases. ....................78
10.4.      Contracts and Leases Entered into After the Petition Date................................................79
10.5.      Modifications, Amendments, Supplements, or Other Agreements. ..................................79
10.6.      Nonoccurrence of Effective Date.......................................................................................79
10.7.      Reservation of Rights.........................................................................................................79
10.8.      Employee Compensation and Benefits. .............................................................................80

ARTICLE XI. CONDITIONS PRECEDENT TO CONSUMMATION OF THE
PLAN.............................................................................................................................................81

11.1.      Conditions Precedent to Confirmation...............................................................................81
11.2.      Conditions Precedent to the Effective Date. ......................................................................81
11.3.      Satisfaction and Waiver of Conditions Precedent. ............................................................84
11.4.      Effect of Failure of Conditions. .........................................................................................84
11.5.      Binding Effect. ...................................................................................................................84
11.6.      Substantial Consummation. ...............................................................................................85




                                                                      -3-
                  Case 24-12480-LSS                     Doc 1233            Filed 04/03/25               Page 5 of 197




ARTICLE XII. RELEASE, INJUNCTION, AND RELATED PROVISIONS......................85

12.1.      Discharge of Claims and Termination of Certain Equity Interests; Compromise and
           Settlement of Claims, Certain Equity Interests, and Controversies. ..................................85
12.2.      Releases by the Debtors. ....................................................................................................86
12.3.      Third-Party Release. ..........................................................................................................88
12.4.      Exculpation. .......................................................................................................................89
12.5.      Discharge of Claims and Termination of Interests. ...........................................................91
12.6.      Injunction. ..........................................................................................................................91
12.7.      Setoffs and Recoupment. ...................................................................................................92
12.8.      Release of Liens. ................................................................................................................92

ARTICLE XIII. RETENTION OF JURISDICTION ..............................................................93

ARTICLE XIV. MISCELLANEOUS PROVISIONS ..............................................................95

14.1. Dissolution of Creditors’ Committee. ................................................................................95
14.2. Termination of Professional Persons. ................................................................................95
14.3. Modifications and Amendments. .......................................................................................96
14.4. Revocation or Withdrawal of this Plan. .............................................................................96
14.5. Allocation of Distributions under this Plan Between Principal and Interest. ....................97
14.6. Severability. .......................................................................................................................97
14.7. Governing Law. .................................................................................................................97
14.8. Section 1125(e) of the Bankruptcy Code. ..........................................................................97
14.9. Inconsistency......................................................................................................................98
14.10. Time. ..................................................................................................................................98
14.11. Reference to Monetary Figures. .........................................................................................98
14.12. Exhibits. .............................................................................................................................98
14.13. Reservation of Rights. ........................................................................................................98
14.14. Successors and Assigns......................................................................................................99
14.15. Notices. ..............................................................................................................................99
14.16. Filing of Additional Documents. .....................................................................................100
14.17. Closing of Chapter 11 Cases. ...........................................................................................100
14.18. Tax Matters. .....................................................................................................................100

ARTICLE XV. COMMITTEE SETTLEMENT AND INTERCOMPANY
SETTLEMENT ..........................................................................................................................100


                                                      INDEX OF EXHIBITS

EXHIBIT I             Committee Settlement Term Sheet
EXHIBIT II            Existing First Lien/Second Lien Intercreditor Agreement




                                                                      -4-
            Case 24-12480-LSS          Doc 1233       Filed 04/03/25    Page 6 of 197




                 SEVENTH AMENDED JOINT CHAPTER 11 PLAN OF
               FRANCHISE GROUP, INC. AND ITS DEBTOR AFFILIATES

        Franchise Group, Inc. and each of the debtors and debtors-in-possession in the
above-captioned cases (each, a “Debtor,” and collectively, the “Debtors”) propose this joint
chapter 11 plan of reorganization (as amended, supplemented, or otherwise modified from time to
time, this “Plan”) for the resolution of the outstanding Claims against, and Interests in, the Debtors
pursuant to chapter 11 of the Bankruptcy Code. Capitalized terms used herein and not otherwise
defined have the meanings ascribed to such terms in Article I of this Plan.

        Although proposed jointly for administrative purposes, the Plan constitutes a separate Plan
for each Debtor for the resolution of outstanding Claims and Interests pursuant to the Bankruptcy
Code. Each Debtor is a proponent of the Plan within the meaning of section 1129 of the
Bankruptcy Code. The classification of Claims and Interests set forth in Article IV of this Plan
shall be deemed to apply separately with respect to each Plan proposed by each Debtor, as
applicable and set forth herein. The Plan does not contemplate substantive consolidation of any
of the Debtors.

        Reference is made to the Disclosure Statement for a discussion of the Debtors’ history,
businesses, results of operations, historical financial information, projections, and future
operations, as well as a summary and analysis of the Plan and certain related matters, including
distributions to be made under the Plan.

       The Non-Liquidating Debtors are pursuing the Plan Equitization Transaction with
the possibility of consummating a Partial Sale Transaction, all as described in further detail
in the Disclosure Statement.

       The American Freight Debtors are pursuing Store-Closing and Liquidation Sales, all
as described in further detail in the Disclosure Statement. Following the Store-Closing and
Liquidation Sales, the American Freight Debtors will be wound down. The proceeds of the
Store-Closing and Liquidation Sales shall be distributed in accordance with the applicable
provisions of this Plan.

        In addition, this Plan provides for and implements the Committee Settlement, as
incorporated into this Plan and embodied in the term sheet dated February 3, 2025, annexed hereto
as Exhibit I, by and among the Committee Settlement Parties. Pursuant to the Committee
Settlement, the Committee Settlement Parties have agreed to, among other things, resolve any and
all disputes between the Required Consenting First Lien Lenders, the Debtors, and the Creditors’
Committee in exchange for, among other things: (a) the establishment of the Litigation Trust; (b)
funding of the Litigation Trust Escrow Account with the Litigation Trust Escrow Amount; (c)
mutual releases as provided for in this Plan; and (d) support for this Plan.

        This Plan also provides for and implements an Intercompany Settlement, as incorporated
into this Plan, by and among the Intercompany Settlement Parties. Pursuant to the Intercompany
Settlement, each of the Debtors have agreed to, among other things, resolve any and all disputes
between and among the OpCo Debtors, the Freedom HoldCo Debtors, and TopCo, in exchange
for, among other things: (a) mutual releases as provided in (and subject to the limitations set forth


                                                  1
            Case 24-12480-LSS          Doc 1233       Filed 04/03/25    Page 7 of 197




in) the Plan, provided that the OpCo Debtors shall only release Claims against the Freedom
HoldCo Debtors, and the Freedom HoldCo Debtors shall only release Claims against the other
Debtors, to the extent the Plan is confirmed with respect to the Freedom HoldCo Debtors; (b) the
transfer of certain Claims and Causes of Action that are not released under the Plan to the Litigation
Trust; and (c) the allocation of certain consideration among the Debtors. Nothing contained in the
terms of the Intercompany Settlement, nor the release of any Claims pursuant to it, is evidence of
the merit, or lack of merit, of the released Claims or Causes of Action, nor is it intended to be
evidence, or indicative of the merits, of any Claims or Causes of Action against any non-released
individual or Entity.

        This Plan serves as a motion to approve the Committee Settlement and the Intercompany
Settlement pursuant to Bankruptcy Rule 9019. The entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of each of the compromises and settlements provided
for in the Committee Settlement and the Intercompany Settlement, and the Bankruptcy Court’s
findings shall constitute its determination that such compromises and settlements are in the best
interests of the Debtors, the Estates, Holders of Claims and Interests, and other parties in interest,
and are fair, equitable, and reasonable.

     ALL HOLDERS OF CLAIMS OR INTERESTS ENTITLED TO VOTE ON THE
PLAN ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE
STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE
PLAN. ALL HOLDERS OF CLAIMS AND INTERESTS SHOULD REVIEW THE
SECURITIES LAW RESTRICTIONS AND NOTICES SET FORTH IN THIS PLAN
(INCLUDING WITHOUT LIMITATION, UNDER ARTICLE XII HEREOF) IN FULL.

      THE ISSUANCE OF ANY SECURITIES REFERRED TO IN THIS PLAN SHALL
NOT CONSTITUTE AN INVITATION OR OFFER TO SELL, OR THE SOLICITATION
OF ANY INVITATION OR OFFER TO BUY, ANY SECURITIES IN CONTRAVENTION
OF APPLICABLE LAW IN ANY JURISDICTION. NO ACTION HAS BEEN TAKEN,
NOR WILL BE TAKEN IN ANY JURISDICTION THAT WOULD PERMIT A PUBLIC
OFFERING OF ANY SECURITIES REFERRED TO IN THIS PLAN (OTHER THAN
SECURITIES ISSUED PURSUANT TO SECTION 1145 OF THE BANKRUPTCY CODE
IN A DEEMED PUBLIC OFFERING) IN ANY JURISDICTION WHERE SUCH ACTION
FOR THAT PURPOSE IS REQUIRED.




                                                  2
             Case 24-12480-LSS          Doc 1233       Filed 04/03/25     Page 8 of 197




                                      ARTICLE I.
                           DEFINITIONS AND INTERPRETATION

       A.      Definitions.

        As used in this Plan, capitalized terms have the meanings set forth below (such meanings
to be equally applicable to both the singular and plural):

        1.1.    “ABL Credit Agreement” means that certain Third Amended and Restated Loan and
Security Agreement, dated as of March 10, 2021, among Franchise Group, Inc., as a borrower, and
the other borrowers and guarantors party thereto, the ABL Credit Agreement Agent, and the
lenders party thereto from time to time, as amended, restated, amended or restated, supplemented,
or otherwise modified from time to time.

        1.2.    “ABL Credit Agreement Agent” means JPMorgan Chase Bank, N.A., together with
its successors, assigns, or any replacement agent appointed pursuant to the terms of the ABL Credit
Agreement, in its capacity as administrative agent and collateral agent for the lenders under the
ABL Credit Agreement.

        1.3. “ABL Lenders” means, collectively, and as of the relevant time, those lenders that
are party to the ABL Credit Agreement.

      1.4. “ABL Loan Documents” means the ABL Credit Agreement and any Financing
Agreements (as defined in the ABL Credit Agreement).

       1.5. “ABL Loans” means, collectively, the loans arising under or pursuant to the ABL
Credit Agreement.

       1.6. “ABL Priority Collateral” means any Collateral securing the obligations arising
under the ABL Credit Agreement.

       1.7.    “Ad Hoc Group” means that certain ad hoc group of certain Consenting First Lien
Lenders, represented by, among others, Paul Hastings LLP, Landis Rath & Cobb LLP, and Lazard
Frères & Co., as may be reconstituted from time to time.

        1.8.    “Ad Hoc Group Advisors” means, collectively, (a) Paul Hastings LLP, as counsel
to the Ad Hoc Group, (b) Lazard Frères & Co., as financial advisor to the Ad Hoc Group,
(c) Landis Rath & Cobb LLP, as Delaware counsel to the Ad Hoc Group, and (d) such other
professionals that may be retained by or on behalf of the Ad Hoc Group (including the retention
of any such professional made by Paul Hastings), solely in the case referred to in this clause
(d), with the consent of the Debtors.

         1.9.    “Administrative Bar Date” means the applicable deadline by which all requests for
Administrative Expense Claims must be Filed and served on the Debtors, which shall be the first
Business Day that is or follows the date that is the thirty (30) days after the Effective Date; provided
that Filing a request for payment of Administrative Expense Claims is not required where the Plan,
the Bankruptcy Code, or a Final Order does not require such Filing.



                                                   3
            Case 24-12480-LSS         Doc 1233       Filed 04/03/25     Page 9 of 197




       1.10. “Administrative Expense Claim” means a Claim (other than any DIP Claim) for
costs and expenses of administration of the Chapter 11 Cases Allowed under sections 503(b),
507(a)(2), 507(b), or, if applicable, 1114(e)(2) of the Bankruptcy Code, including, but not limited
to: (a) any actual and necessary costs and expenses incurred on or after the Petition Date of
preserving the Estates and operating the businesses of the Debtors (including, but not limited to,
wages, salaries, commissions for services, and payments for inventories, leased equipment, and
premises); (b) compensation for legal, financial, advisory, accounting, and other services and
reimbursement of expenses Allowed by the Bankruptcy Court under sections 328, 330, 331, 363,
or 503(b) of the Bankruptcy Code to the extent incurred on or before the Effective Date; (c) all
U.S. Trustee Fees; (d) any 503(b)(9) Claims; and (e) any Claims that have been designated
“Administrative Expense Claims” by Final Order of the Bankruptcy Court.

        1.11. “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code as if
such Entity were a debtor in a case under the Bankruptcy Code. For the avoidance of doubt, none
of (a) Conn’s, Inc., (b) B. Riley Financial, Inc., and (c) each of their respective Affiliates
(excluding Freedom VCM Holdings, LLC and its subsidiaries) shall be “Affiliates” of the Debtors
for purposes of this Plan.

         1.12. “Allowed” means, with respect to a Claim or Interest under this Plan, except as
otherwise provided herein: (a) a Claim that is evidenced by a Proof of Claim or Proof of Interest
Filed by the Bar Date or a request for payment of an Administrative Expense Claim Filed by the
Administrative Bar Date, as applicable (or for which Claim a Proof of Claim or Proof of Interest
is not required under the Plan, the Bankruptcy Code, the Bar Date Order, or a Final Order,
including the Interim DIP Order and Final DIP Order); (b) a Claim that is scheduled by the Debtors
as not contingent, not unliquidated, and not Disputed, and for which no Proof of Claim or Proof
of Interest, as applicable, has been timely Filed; (c) a Claim allowed in any stipulation that is
approved by the Bankruptcy Court by a Final Order; (d) a Claim allowed pursuant to any contract,
instrument, indenture, or other agreement entered into or assumed in connection herewith; or (e) a
Claim allowed pursuant to the Plan or a Final Order, including the Interim DIP Order and Final
DIP Order; provided that with respect to a Claim described in clauses (a) and (b) above, such Claim
shall be Allowed only if and to the extent that with respect to such Claim no objection to the
allowance thereof is interposed within the applicable period of time fixed by the Plan, the
Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or such an objection is so
interposed and the Claim has been Allowed by a Final Order. Any Claim that has been or is
hereafter listed in the Schedules as contingent, unliquidated, or disputed, and for which no contrary
or superseding Proof of Claim or Proof of Interest is or has been timely Filed, or that is not or has
not been Allowed by a Final Order, is not considered Allowed and shall be expunged without
further action by the Debtors and without further notice to any party or action, approval, or order
of the Bankruptcy Court. Unless expressly waived by the Plan, the Allowed amount of Claims or
Interests shall be subject to and shall not exceed the limitations or maximum amounts permitted
by the Bankruptcy Code, including sections 502 or 503 of the Bankruptcy Code, to the extent
applicable. Notwithstanding anything to the contrary herein, no Claim of any Entity subject to
section 502(d) of the Bankruptcy Code shall be deemed Allowed unless and until such Entity pays
in full the amount that it owes the applicable Debtor or Reorganized Debtor, as applicable. For
the avoidance of doubt, a Proof of Claim or Proof of Interest Filed after the Bar Date or a request
for payment of an Administrative Expense Claim Filed after the Administrative Bar Date, as



                                                 4
           Case 24-12480-LSS         Doc 1233       Filed 04/03/25   Page 10 of 197




applicable, shall not be Allowed for any purposes whatsoever absent entry of a Final Order
allowing such late-Filed Claim. “Allow” and “Allowing” shall have correlative meanings.

        1.13. “American Freight Debtors” means, collectively, Franchise Group Newco
Intermediate AF, LLC and each of Franchise Group Newco Intermediate AF, LLC’s direct and
indirect subsidiaries.

       1.14. “American Freight Liquidation Proceeds” means net Cash proceeds generated by
the sale, lease, liquidation, or other disposition of property owned by the American Freight
Debtors.

        1.15. “Assumed Contracts” means those Executory Contracts and Unexpired Leases that
shall be assumed by the Non-Liquidating Debtors (including, for the avoidance of doubt, in the
event of a Partial Sale Transaction, if any, and in such event assigned to the applicable Buyer or
its designee pursuant to and as set forth in any applicable Sale Documents).

       1.16. “Assumed Contracts List” means the list or lists of Assumed Contracts, which (a) in
the case of any Partial Sale Transaction, will be included in the applicable Sale Documents and
Filed with the Bankruptcy Court and/or (b) will be included in the Plan Supplement, as may be
amended or supplemented up to and including the Effective Date.

       1.17. “Assumed Liabilities” has the meaning set forth in any Sale Documents (or other
such similar term as may be used in such Sale Documents).

        1.18. “Avoidance Actions” means any and all avoidance, recovery, subordination, or
other Claims, Causes of Actions, or remedies that may be brought by or on behalf of the Debtors
or their Estates or other authorized parties in interest under the Bankruptcy Code or applicable
non-bankruptcy Law, including Claims, Causes of Actions, or remedies under chapter 5 and
section 724(a) of the Bankruptcy Code or under similar or related state or federal statutes and
common Law, including fraudulent transfer Laws.

        1.19. “Ballot” means the form distributed by the Debtors or the Claims Agent to Holders
of Impaired Claims entitled to vote on this Plan on which the acceptance or rejection of this Plan
is to be indicated.

       1.20. “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
§§ 101-1532, as amended from time to time.

      1.21.    “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware.

       1.22. “Bankruptcy Rules” means (a) the Federal Rules of Bankruptcy Procedure, as
promulgated by the Supreme Court of the United States under section 2075 of title 28 of the United
States Code, as amended from time to time, as applicable to the Chapter 11 Cases, (b) the Local
Rules, and (c) any chambers rules of the Bankruptcy Court.

        1.23. “Bar Date” means the applicable date established by the Bar Date Order by which
respective Proofs of Claim and Proofs of Interest must be Filed.


                                                5
            Case 24-12480-LSS         Doc 1233        Filed 04/03/25    Page 11 of 197




       1.24. “Bar Date Order” means the Order (A) Establishing Bar Dates and Related
Procedures for Filing Proofs of Claim (Including for Claims Arising under 503(b)(9) of the
Bankruptcy Code) and (B) Approving the Form and Manner of Notice Thereof [Docket No. 354],
entered by the Bankruptcy Court on December 6, 2024.

       1.25. “Bidding Procedures Order” means the Order (I) (A) Approving Bidding
Procedures for the Sale of All or Substantially All of the Debtors’ Assets, (B) Scheduling an
Auction and a Sale Hearing and Approving the Form and Manner of Notice Thereof,
(C) Approving Assumption and Assignment Procedures, and (D) Granting Related Relief
[Docket No. 444], entered by the Bankruptcy Court on December 16, 2024.

       1.26.   “Boards” means, collectively, the boards of directors or other governing bodies of
the Debtors.

       1.27. “Buddy’s Debtors” means collectively, Franchise Group Intermediate B, LLC and
each of its direct and indirect subsidiaries.

       1.28. “Business Day” means any day other than a Saturday, Sunday, a “legal holiday,” as
defined in Bankruptcy Rule 9006(a), or a day on which commercial banks are authorized to close
under the Laws of, or are in fact closed for general business, in the state of New York.

      1.29. “Buyer” means, in the event that the Debtors pursue a Partial Sale Transaction, the
“Buyer” or “Purchaser” under and as defined in the Sale Documents, as applicable.

       1.30. “Cash” means cash and cash equivalents, including bank deposits, checks, and the
equivalents thereof, in the legal tender of the United States of America.

       1.31.   “Cash Sale Proceeds” means the Sale Proceeds that are Cash.

        1.32. “Causes of Action” means collectively, any action, Claim, cross-claim, third-party
claim, cause of action, controversy, dispute, demand, right, Lien, indemnity, contribution,
guaranty, suit, obligation, liability, loss, debt, fee or expense, damage, interest, judgment, cost,
account, defense, remedy, offset, power, privilege, proceeding, license, and franchise of any kind
or character whatsoever, known, unknown, foreseen or unforeseen, existing or hereafter arising,
contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, Disputed or undisputed, secured or unsecured, assertable directly or derivatively
(including any alter ego theories), whether arising before, on or after the Petition Date, in contract
or in tort, in Law or in equity or pursuant to any other theory of Law (including under any state or
federal securities laws). Causes of Action also include: (a) Claims pursuant to section 362 or
chapter 5 of the Bankruptcy Code; (b) such Claims and defenses as fraud, mistake, duress, and
usury, and any other defenses set forth in section 558 of the Bankruptcy Code; and (c) any
Avoidance Actions.

       1.33. “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the
case pending for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court
and (b) when used with reference to all of the Debtors, the procedurally consolidated and jointly
administered chapter 11 cases pending for the Debtors in the Bankruptcy Court.



                                                  6
            Case 24-12480-LSS          Doc 1233       Filed 04/03/25    Page 12 of 197




        1.34. “Claim” means any claim as defined in section 101(5) of the Bankruptcy Code
against any Debtor or property of any Debtor, including any Claim arising after the Petition Date.

       1.35. “Claims Agent” means Kroll Restructuring Administration LLC in its capacity as
noticing, claims, and solicitation agent for the Debtors.

        1.36. “Claims Objection Deadline” means the deadline for objecting to a Claim asserted
against a Debtor, which shall be on the date that is the later of (a) 180 days after the Effective Date
and (b) such other period of limitation as may be specifically fixed by a Final Order of the
Bankruptcy Court for objecting to such Claims.

       1.37. “Claims Register” means the official register of Claims maintained by the clerk of
the Bankruptcy Court or the Claims Agent.

       1.38. “Class” means a class of Claims or Interests established under Article IV of this
Plan pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

       1.39. “Collateral” means, at any time, any assets and any property of the Debtors or
Reorganized Debtors, as applicable, wherever located, whether real, personal or mixed, or interest
in property of the Estates subject to a Lien to secure the payment or performance of a Claim.

       1.40. “Committee Settlement” means the settlement agreed to by the Committee
Settlement Parties, as incorporated into this Plan and embodied in the term sheet dated February 3,
2025, annexed hereto as Exhibit I, which settlement resolves various disputes, provides valuable
consideration to the Debtors and the Estates, and grants certain releases on the terms and conditions
provided for therein.

      1.41. “Committee Settlement Parties” means the Required Consenting First Lien
Lenders, the Debtors, and the Creditors’ Committee.

        1.42. “Confirmation” means the Bankruptcy’s Court’s entry of the Confirmation Order
on the docket of the Chapter 11 Cases.

        1.43. “Confirmation Date” means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order on the docket of the Bankruptcy Court, within the meaning of
Bankruptcy Rules 5003 and 9021.

       1.44. “Confirmation Hearing” means a hearing to be held by the Bankruptcy Court
regarding Confirmation of this Plan (as may be amended pursuant to Section 14.3 of this Plan), as
such hearing may be adjourned or continued from time to time.

       1.45. “Confirmation Order” means the order of the Bankruptcy Court confirming the
Plan pursuant to section 1129 of the Bankruptcy Code, as may be amended, modified, or
supplemented from time to time, which shall be subject to the Definitive Document Consent Rights
and shall be reasonably acceptable to the Creditors’ Committee.




                                                  7
           Case 24-12480-LSS         Doc 1233        Filed 04/03/25   Page 13 of 197




       1.46. “Consent Deadline” means April 23, 2025, at 5:00 p.m. (prevailing Eastern Time),
except as may be extended by the Debtors with the consent of the Required Consenting First Lien
Lenders.

        1.47. “Consenting First Lien Lenders” means, collectively, as of the relevant time, those
First Lien Lenders that are party to the Restructuring Support Agreement.

       1.48. “Covered ICA Collateral” shall have the meaning ascribed to “Collateral” in the
Existing First Lien/Second Lien Intercreditor Agreement.

        1.49. “Creditors’ Committee” means the statutory committee of unsecured creditors,
appointed in the Chapter 11 Cases in accordance with section 1102 of the Bankruptcy Code, as
identified in the Notice of Appointment of Committee of Unsecured Creditors [Docket No. 188],
Filed by the U.S. Trustee on November 19, 2024, as the same may be reconstituted from time to
time.

      1.50. “CRO” means David Orlofsky, as Chief Restructuring Officer of Freedom VCM
Holdings, LLC and Franchise Group, Inc.

       1.51. “Cure Cost” means (a) all amounts, including an amount of $0.00, required to cure
any monetary defaults under any Executory Contract or Unexpired Lease (or such lesser amount
as may be agreed upon by the parties under an Executory Contract or Unexpired Lease) and (b) to
the extent required to be cured by the Bankruptcy Code, other obligations required to cure any
non-monetary defaults under any Executory Contract or Unexpired Lease that is to be assumed by
the Debtors pursuant to sections 365 and 1123 of the Bankruptcy Code.

       1.52.   “Cure Dispute” has the meaning set forth in Section 10.2 of this Plan.

       1.53.   “Cure Objection” has the meaning set forth in Section 10.2 of this Plan.

        1.54. “D&O Liability Insurance Policies” means, collectively, all insurance policies
(including any “tail policies” and all agreements, documents, or instruments related thereto) issued
at any time to or providing coverage to any of the Debtors for current or former directors’,
managers’, employees’, and/or officers’ liability.

       1.55.   “Debtor” has the meaning set forth in the preamble.

       1.56.   “Debtor Releasing Party” means any Releasing Party that is a Debtor.

        1.57. “Definitive Document Consent Rights” means the documentation principles set
forth in Section I.D. hereof.

      1.58.    “Definitive Documents” has the meaning set forth in the Restructuring Support
Agreement.

        1.59. “DIP Agent” means the administrative and the collateral agent for the DIP Lenders
with respect to the DIP Facility, which shall be either (a) Wilmington Trust, National Association
or (b) another financial institution selected by, and qualified to perform the duties customarily


                                                 8
             Case 24-12480-LSS         Doc 1233       Filed 04/03/25   Page 14 of 197




associated with such roles as determined by, the Required DIP Lenders and reasonably acceptable
to Franchise Group, Inc.

         1.60.   “DIP Backstop Premium” has the meaning set forth in the DIP Credit Agreement.

       1.61. “DIP Budget” means the 13-week cash flow projection in form and substance
acceptable to the Required DIP Lenders, reflecting (a) the loan parties under the DIP Credit
Agreement’s anticipated Cash receipts and disbursements for each calendar week during the period
from the week in which the Petition Date occurs through and including the end of the thirteenth
calendar week thereafter and (b) a professional fee accrual budget with respect to the anticipated
fees and expenses to be incurred by Professional Persons during the 13-week period.

       1.62. “DIP Claims” means, collectively, all Claims of the DIP Agent and/or the DIP
Lenders related to, arising under, or in connection with the Interim DIP Order, the Final DIP Order
and the DIP Documents, including, without limitation, Claims for all principal amounts
outstanding, interest, fees, reasonable and documented expenses (including the reasonable and
documented expenses of counsel as set forth in the DIP Credit Agreement), costs and other charges
of the DIP Agent and the DIP Lenders in respect of the obligations of the Debtors arising under
the DIP Credit Agreement, including, without limitation, the Tranche A DIP Loan Claims and the
Tranche B DIP Loan Claims.

        1.63. “DIP Credit Agreement” means the Senior Secured Super-Priority Priming Term
Loan Debtor-in-Possession Credit Agreement, dated as of November 7, 2024, by and among the
Debtors and the DIP Lenders, as the same may be modified, amended or supplemented from time
to time, in accordance with the terms thereof (and including any and all documents and instruments
executed in connection therewith).

        1.64. “DIP Documents” means collectively, the DIP Motion, the DIP Orders, the DIP
Credit Agreement, and any other agreements, documents, and instruments delivered or entered
into in connection therewith, including, without limitation, any guarantee agreements, pledge and
collateral agreements, intercreditor agreements, and other security documents, as any of the
foregoing may be amended, modified, or supplemented from time to time in accordance with the
terms hereof, each of which shall be subject to the Definitive Document Consent Rights.

         1.65.   “DIP Equitization” has the meaning set forth in Section 3.1 of this Plan.

       1.66. “DIP Facility” means the debtor-in-possession financing facility on the terms and
conditions set forth in the DIP Credit Agreement.

        1.67. “DIP Lenders” means, collectively, and as of the relevant time, those lenders that
are party to the DIP Credit Agreement.

         1.68.   “DIP Loans” means, together, the Tranche A DIP Loans and the Tranche B DIP
Loans.

       1.69. “DIP Motion” means the Debtors’ Motion for Entry of Interim and Final Orders
(I) Authorizing the Debtors to (A) Obtain Senior Secured Priming Superpriority Postpetition
Financing and (B) Use Cash Collateral, (II) Granting Liens and Providing Claims with


                                                  9
           Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 15 of 197




Superpriority Administrative Expense Status, (III) Granting Adequate Protection to the
Prepetition Secured Parties, (IV) Modifying the Automatic Stay, and (V) Granting Related Relief
[Docket No. 51], Filed by the Debtors on November 4, 2024.

       1.70. “DIP Orders” means, as applicable, the Interim DIP Order and Final DIP Order
approving, among other things, the terms of the DIP Facility and the DIP Credit Agreement.

        1.71. “DIP Premium Conversion” means the conversion by any Holder of a DIP Claim
(and/or one or more Related Funds of such Holder) that received a DIP Backstop Premium and/or
Commitment Premium (each as defined in the DIP Credit Agreement), as of closing of the
syndication process for the DIP Facility and an Exit Premium (as defined in, and in accordance
with, the DIP Credit Agreement), of its DIP Backstop Premium, Commitment Premium, and/or its
Exit Premium (as defined in the DIP Credit Agreement), as applicable, into Reorganized Common
Equity at a 25% discount to total equity value of the Reorganized Debtors as set forth in the
Disclosure Statement and/or the Plan Supplement.

       1.72. “Disallowed” means a finding or conclusion of Law of the Bankruptcy Court in a
Final Order, or provision in the Confirmation Order, disallowing a Claim or Interest.

      1.73. “Disbursing Agent” means the Reorganized Debtors or the Entity designated by the
Reorganized Debtors to make distributions under this Plan.

        1.74. “Disclosure Statement” means the Disclosure Statement for the Sixth Amended
Joint Chapter 11 Plan of Franchise Group, Inc. and its Debtor Affiliates [Docket No. 1014],
including all exhibits and schedules annexed thereto or referred to therein (in each case, as it or
they may be amended, modified, or supplemented from time to time), which shall be subject to the
Definitive Document Consent Rights.

        1.75. “Disclosure Statement Hearing” means a hearing held by the Bankruptcy Court on
February 19, 2025 to consider approval of the Disclosure Statement as containing adequate
information as required by section 1125 of the Bankruptcy Code, as the same may be adjourned
or continued from time to time.

       1.76. “Disclosure Statement Order” means the order entered by the Bankruptcy Court
approving the Disclosure Statement [Docket No. 1019].

       1.77. “Disputed” means, as to a Claim or an Interest, a Claim or an Interest: (a) that is
not Allowed; (b) that is not Disallowed under the Plan, the Bankruptcy Code, or a Final Order, as
applicable; and (c) with respect to which a party in interest has Filed a Proof of Claim or otherwise
made a written request to a Debtor for payment, without any further notice to or action, order, or
approval of the Bankruptcy Court.

        1.78. “Distribution Record Date” means the date for purposes of determining which
Holders of Allowed Claims are eligible to receive distributions under the Plan, which date shall be
the Confirmation Date, or such other date as shall be agreed by the Debtors and the Required
Consenting First Lien Lenders; provided that the Distribution Record Date shall not apply to any
securities of the Debtors deposited with DTC, the Holders of which shall receive a distribution in
accordance with the customary procedures of DTC.


                                                 10
            Case 24-12480-LSS          Doc 1233         Filed 04/03/25    Page 16 of 197




        1.79.   “DTC” means The Depository Trust Company.

        1.80. “Effective Date” means the date specified by the Debtors in a notice Filed with the
Bankruptcy Court as the date on which this Plan shall take effect, which date shall be the first
Business Day on which all of the conditions set forth in Section 11.2 of this Plan have been
satisfied or waived in accordance with Section 11.3 of this Plan, and no stay of the Confirmation
Order is in effect. Any action to be taken on the Effective Date may be taken on or as soon as
reasonably practicable thereafter; provided that, the Reorganized Common Equity and the
Take-Back Term Loans shall be issued on the Effective Date.

        1.81.   “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

        1.82. “Equity Interest” means collectively, the shares (or any class thereof) of capital
stock (including common stock and preferred stock), limited liability company interests, and any
other equity, ownership, membership, or profits interests of any Debtor, and options, warrants,
rights, or other securities or agreements to acquire or subscribe for, or which are convertible into
the shares (or any class thereof) of capital stock (including common stock and preferred stock),
limited liability company interests, or other equity, ownership, membership, or profits interests of
any Debtor (in each case whether or not arising under or in connection with any employment
agreement).

        1.83. “Estate” means, as to each Debtor, the estate created in its Chapter 11 Case pursuant
to section 541 of the Bankruptcy Code.

        1.84.   “Estate Professional(s)” means any Person(s) retained by the Estates.

        1.85. “Exculpated Party” means, collectively, and in each case, solely in their respective
capacities as such: (a) the Debtors, (b) the Debtors’ directors and officers who served at any time
between the Petition Date and the Effective Date, (c) the Creditors’ Committee, (d) the members
of the Creditors’ Committee and the individuals who served on the Creditors’ Committee on behalf
of each member in their capacities as such, (e) the Professional Persons, (f) as to all Debtors who
are limited liability companies, their members, and (g) with respect to each of the foregoing in
clauses (a) and (c), solely to the extent they are Estate fiduciaries, and without duplication of parties
otherwise set forth above, each such Entity’s current and former Affiliates, and each such Entity’s
and its current and former Affiliates’ current and former subsidiaries, officers, directors (including
any sub-committee of directors), managers, principals, members (including ex officio members
and managing members), employees, agents, advisory board members, financial advisors,
partners, attorneys, accountants, investment bankers, consultants, representatives, and other
professionals, each in their capacity as such on or before the Petition Date and prior to or on the
Effective Date; provided that, for purposes of the foregoing clause (g), any “former” party shall
only be treated as an “Exculpated Party” to the extent they acted as an Estate fiduciary after the
Petition Date; provided, for the avoidance of doubt, notwithstanding the foregoing, that Brian
Kahn and Prophecy Asset Management LP, Bryant Riley, B. Riley Financial, Inc., B. Riley
Receivables II, LLC, Freedom VCM Receivables, Inc., and each of their Affiliates, shall not be
included in the definition of “Exculpated Parties” and, for the avoidance of doubt, none of such
parties shall be considered Affiliates of the Debtors for purposes of this proviso.




                                                   11
           Case 24-12480-LSS         Doc 1233        Filed 04/03/25   Page 17 of 197




       1.86.   “Exculpation” means the exculpation provision set forth in Article XII of this Plan.

        1.87. “Executory Contract” means a contract to which one or more of the Debtors is a
party that is subject to assumption, assumption and assignment, or rejection under section 365 or
1123 of the Bankruptcy Code.

       1.88. “Existing ABL Intercreditor Agreement” means that certain Amended Intercreditor
Agreement, dated as of November 22, 2021, among the ABL Credit Agreement Agent, the First
Lien Credit Agreement Agent, the Second Lien Credit Agreement Agent, Franchise Group, Inc.,
Valor Acquisition, LLC, Franchise Group Newco Intermediate AF, LLC Pet Supplies “Plus”,
LLC, as borrowers, the other borrowers from time to time party thereto, and the other loan parties
from time to time party thereto, as amended, restated, amended and restated, supplemented, or
otherwise modified from time to time in accordance with the terms thereof.

        1.89. “Existing Equity Interests” means, collectively, Equity Interests existing as of the
Effective Date.

        1.90. “Existing First Lien/Second Lien Intercreditor Agreement” means that certain
Amended and Restated First Lien/Second Lien Intercreditor Agreement, dated as of November 22,
2021, among the First Lien Credit Agreement Agent (as successor to JPMorgan Chase Bank,
N.A.), the Second Lien Credit Agreement Agent, Franchise Group, Inc., the other grantors referred
to therein, and the other parties from time to time party thereto, as amended, restated, amended
and restated, supplemented, or otherwise modified from time to time in accordance with the terms
thereof, annexed hereto as Exhibit II.

        1.91. “Existing Intercompany Equity Interests” means, collectively, any Existing Equity
Interests in a Debtor or a subsidiary of a Debtor that are owned or held by another Debtor.

        1.92. “Existing TopCo Equity Interests” means, collectively, any Existing Equity
Interests in TopCo.

        1.93. “Exit ABL Facility” means an exit asset based loan facility provided by third parties
acceptable to the Debtors and the Required Consenting First Lien Lenders, in an amount necessary
to refinance all Allowed Prepetition ABL Loan Claims outstanding under the existing ABL Credit
Agreement upon such terms and conditions acceptable to the Required Consenting First Lien
Lenders and the Debtors.

         1.94. “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court
or its authorized designee in the Chapter 11 Cases, or the Claims Agent.

        1.95. “Final DIP Order” means the Final Order (I) Authorizing the Debtors to
(A) Obtain Senior Secured Priming Superpriority Postpetition Financing and (B) Use Cash
Collateral, (II) Granting Liens and Providing Claims with Superpriority Administrative Expense
Status, (III) Granting Adequate Protection to the Prepetition Secured Parties, (IV) Modifying the
Automatic Stay, and (V) Granting Related Relief [Docket No. 414], entered by the Bankruptcy
Court on December 11, 2024.




                                                12
            Case 24-12480-LSS         Doc 1233        Filed 04/03/25    Page 18 of 197




        1.96. “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court
or other court of competent jurisdiction with respect to the relevant subject matter that has not been
reversed, vacated, stayed, modified, or amended, and as to which the time to appeal, seek certiorari,
or move for a new trial, reargument, or rehearing has expired and no appeal, petition for certiorari,
or other proceeding for a new trial, reargument, or rehearing thereof has been timely sought, or, if
an appeal, writ of certiorari, new trial, reargument, or rehearing thereof has been sought, such order
or judgment shall have been affirmed by the highest court to which such order was appealed, or
certiorari shall have been denied, or a new trial, reargument, or rehearing shall have been denied,
or resulted in no modification of such order, and the time to take any further appeal, petition for
certiorari, or move for a new trial, reargument, or rehearing shall have expired; provided, however,
that no order or judgment shall fail to be a “Final Order” solely because of the possibility that a
motion under Rules 59 or 60 of the Federal Rules of Civil Procedure or any analogous Bankruptcy
Rule (or any analogous rules applicable in another court of competent jurisdiction) or
sections 502(j) or 1144 of the Bankruptcy Code has been or may be Filed with respect to such
order or judgment.

       1.97. “First Lien Credit Agreement” means that certain First Lien Credit Agreement,
dated as of March 10, 2021, among Franchise Group, Inc., as lead borrower, the other borrowers
and guarantors party thereto, the First Lien Credit Agreement Agent, and the lenders party thereto
from time to time, as amended, restated, amended or restated, supplemented, or otherwise modified
from time to time.

       1.98. “First Lien Credit Agreement Agent” means Wilmington Trust, National
Association (as successor to JPMorgan Chase Bank, N.A.), in its capacity as successor
administrative agent and successor collateral agent for the First Lien Lenders.

        1.99. “First Lien Deficiency Claim(s)” means, collectively, to the extent that the value of
the Collateral securing any Prepetition First Lien Loan Claim is less than the Allowed amount of
such Prepetition First Lien Loan Claim (after taking into account any Allowed Claims that are
senior in priority to the Prepetition First Lien Loan Claims), the undersecured portion of such
Allowed Claim.

       1.100. “First Lien Lenders” means, collectively, beneficial holders of, or investment
advisors, sub-advisors or managers of discretionary funds, accounts or sub-accounts that
beneficially hold, Prepetition First Lien Loan Claims.

       1.101. “First Lien Loan Documents” means, collectively, the “Loan Documents” as
defined in the First Lien Credit Agreement.

        1.102. “Freedom HoldCo Debtor(s)” means, collectively and individually, Freedom VCM
Interco, Inc. and Freedom VCM, Inc.

        1.103. “Freedom HoldCo Debtor Litigation Trust Claims” means, collectively, all Claims
and Causes of Action belonging to the Freedom HoldCo Debtors, other than (a) the Freedom
HoldCo Debtor Released Claims and (b) Claims and Causes of Action against (i) Ducera Partners
LLC in its capacity as investment banker to the Debtors, (ii) AlixPartners, LLP in its capacity as
financial advisor to the Debtors, and (iii) the CRO, which, in each case, shall be released pursuant



                                                 13
           Case 24-12480-LSS         Doc 1233       Filed 04/03/25   Page 19 of 197




to the Plan. On the Effective Date, the Freedom HoldCo Debtor Litigation Trust Claims shall be
transferred to the Litigation Trust. For the avoidance of doubt, if the Plan is not confirmed with
respect to any of the Freedom HoldCo Debtors or the Intercompany Settlement is not approved by
the Bankruptcy Court, any Claims and Causes of Action against any of the OpCo Debtors
belonging to the Freedom HoldCo Debtors shall continue to be treated as Class 9
Intercompany Claims.

       1.104. “Freedom HoldCo Debtor Released Claims” means, collectively, any Claims and
Causes of Action belonging to any of the Freedom HoldCo Debtors against (a) the Independent
Directors, (b) the Consenting First Lien Lenders, (c) Andrew M. Laurence, (d) Andrew F.
Kaminsky, (e) Eric Seeton, and (f) Tiffany McMillan-McWaters. For the avoidance of doubt, any
such settlement or release shall be subject to approval of the Bankruptcy Court, which approval
may come in the form of the Confirmation Order.

       1.105. “Freedom HoldCo General Unsecured Claim” means any General Unsecured
Claim against any of the Freedom HoldCo Debtors.

        1.106. “Freedom HoldCo Independent Director” means Michael Wartell, as independent
director appointed to the board of directors at each Freedom HoldCo Debtor.

        1.107. “Freedom HoldCo Independent Investigation” means any investigation conducted
by the Freedom HoldCo Independent Director.

        1.108. “Freedom Lender Group” means, collectively, Irradiant and PIMCO, and any other
lenders identified in the Verified Statement of the Ad Hoc Group of Freedom Lenders Pursuant to
Rule 2019 of the Federal Rules of Bankruptcy Procedures [Docket No. 229], Filed November 22,
2024, as may be amended or supplemented from time to time.

       1.109. “General Unsecured Claim” means any unsecured Claim, other than an
Administrative Expense Claim, a DIP Claim, a Priority Non-Tax Claim, a Priority Tax Claim, a
Professional Fee Claim, a Secured Claim, an Intercompany Claim, or a Subordinated Claim,
including, without limitation, Claims arising from the rejection of Executory Contracts and
Unexpired Leases, and Claims arising from any litigation or other court, administrative or
regulatory proceeding, including damages or judgments entered against, or settlement amounts
owing by, a Debtor in connection therewith. For the avoidance of doubt, a “General Unsecured
Claim” excludes any Equity Interests.

      1.110. “Governmental Unit” has the meaning set forth in section 101(27) of the
Bankruptcy Code.

       1.111. “HoldCo Credit Agreement” means that certain Credit Agreement, dated as of
August 21, 2023, among Freedom VCM, Inc., as borrower, Freedom VCM Interco, Inc., as
holdings, the HoldCo Credit Agreement Agent, and the lenders party thereto from time to time, as
amended, restated, amended or restated, supplemented, or otherwise modified from time to time.

       1.112. “HoldCo Credit Agreement Agent” means Alter Domus (US) LLC, in its capacity
as administrative agent and collateral agent for the HoldCo Lenders.



                                               14
            Case 24-12480-LSS         Doc 1233        Filed 04/03/25    Page 20 of 197




      1.113. “HoldCo Debtor(s)” means, collectively and individually, Freedom VCM
Holdings, LLC, each HoldCo Receivables Debtor, and each Freedom HoldCo Debtor.

       1.114. “HoldCo Lenders” means, collectively, beneficial holders of, or investment
advisors, sub-advisors or managers of discretionary funds, accounts or sub-accounts that
beneficially hold, Prepetition HoldCo Loan Claims.

     1.115. “HoldCo Receivables Debtor(s)” means, collectively and individually, Freedom
VCM Interco Holdings, Inc., Freedom Receivables II, LLC, and Freedom VCM Receivables, Inc.

       1.116. “HoldCo Receivables General Unsecured Claim” means any General Unsecured
Claim against any of the HoldCo Receivables Debtors.

       1.117. “Holder” means any Entity or Person holding a Claim against or an Interest in any
Debtor, as applicable.

      1.118. “Impaired” means, with respect to a Class of Claims or Equity Interests, a Class of
Claims of Equity Interests that is “impaired” within the meaning of section 1124 of the
Bankruptcy Code.

       1.119. “Implied Common Equity Value” means $1.1 billion.

        1.120. “Implied Warrant Value” means the sum of all Allowed DIP Claims, the Allowed
Prepetition First Lien Loan Claims, and the Allowed Prepetition ABL Loan Claims [(i.e.,
$1.533 billion)].

        1.121. “Independent Directors” means, collectively, Todd Arden, John Hartmann,
Christopher P. Meyer, and Michael Wartell, each in their capacities as members of the board of
directors of any of the Debtors.

        1.122. “Intercompany Claim” means any Claim, Cause of Action, or remedy held by or
asserted against a Debtor by another Debtor. For the avoidance of doubt, the meaning of
“Intercompany Claims” includes any postpetition Administrative Expense Claims that could be
asserted between any of the Freedom HoldCo Debtors, on the one hand, and any of the other
Debtors, on the other hand, including any Claims on account of Professional Fee Claims.

        1.123. “Intercompany Settlement” means the settlement agreed to by the OpCo Debtors,
the Freedom HoldCo Debtors, and TopCo, as incorporated into this Plan, which settlement
resolves various Intercompany Claims and disputes between the OpCo Debtors, the Freedom
HoldCo Debtors, and TopCo; provided that such terms shall become binding on the Intercompany
Settlement Parties solely in the event that this Plan is confirmed for each of the Debtors (including,
for the avoidance of doubt, the Freedom HoldCo Debtors).

         1.124. “Intercompany Settlement Conditions” means the following conditions precedent
to the effectiveness of the Intercompany Settlement: (a) the confirmation of the Plan with respect
to the Intercompany Settlement Parties; and (b) each of the members of the Freedom Lender Group
have irrevocably voted to accept the Plan and opt in to the Third-Party Release prior to the Consent
Deadline on account of all of their Claims and in all capacities.


                                                 15
           Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 21 of 197




       1.125. “Intercompany Settlement Parties” means the OpCo Debtors, the Freedom HoldCo
Debtors, and TopCo.

        1.126. “Interests” means, collectively, Equity Interests and Existing Intercompany Equity
Interests.

       1.127. “Interim Compensation Order” means the Order Establishing Procedures for
Interim Compensation and Reimbursement of Expenses of Estate Professionals [Docket No. 353],
entered by the Bankruptcy Court on December 6, 2024.

        1.128. “Interim DIP Order” means the Interim Order (I) Authorizing the Debtors to
(A) Obtain Senior Secured Priming Superpriority Postpetition Financing and (B) Use Cash
Collateral, (II) Granting Liens and Providing Claims with Superpriority Administrative Expense
Status, (III) Granting Adequate Protection to the Prepetition Secured Parties, (IV) Modifying the
Automatic Stay, and (V) Granting Related Relief [Docket No. 134], entered by the
Bankruptcy Court on November 7, 2024.

       1.129. “Irradiant” means Irradiant Partners LP and each of its Affiliates and managed
and/or advised funds and accounts.

        1.130. “Law” means any federal, state, local, or foreign law (including common law),
statute, code, ordinance, rule, regulation, order, ruling, or judgment, in each case, that is validly
adopted, promulgated, issued, or entered by a governmental authority of competent jurisdiction
(including the Bankruptcy Court).

       1.131. “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

        1.132. “Litigation Claims” means, collectively, the OpCo Debtor Litigation Trust Claims
and the Freedom HoldCo Debtor Litigation Trust Claims, which shall be transferred to the
Litigation Trust on the Effective Date; provided, that if the Intercompany Settlement Conditions
are not met, any Claims and Causes of Action belonging to the Freedom HoldCo Debtors will be
retained by the Freedom HoldCo Debtors.

       1.133. “Litigation Trust” means the trust to be established on the Effective Date to
administer the Litigation Claims.

        1.134. “Litigation Trust Advisory Committee” means a two-person oversight committee
which shall have oversight over the Litigation Trust in accordance with the Litigation Trust
Agreement and which shall be appointed as follows: (a) one member selected by the Creditors’
Committee and the Required Consenting First Lien Lenders and (b) if the Intercompany Settlement
Conditions are met, one member selected by the Freedom Lender Group; provided that, solely to
the extent the Intercompany Settlement Conditions are not met, the Litigation Trust Advisory
Committee shall include (i) one member selected by the Creditors’ Committee and (ii) one member
selected by the Required Consenting First Lien Lenders. The identities of the members of the
Litigation Trust Advisory Committee shall be set forth in the Plan Supplement.




                                                 16
            Case 24-12480-LSS         Doc 1233        Filed 04/03/25    Page 22 of 197




        1.135. “Litigation Trust Agreement” means that certain agreement entered into no later
than the Effective Date setting forth, among other things, the terms and conditions for the
establishment of the Litigation Trust and the appointment of the Litigation Trustee.

       1.136. “Litigation Trust Assets” means, collectively, (a) the Litigation Trust Escrow
Account and (b) the Litigation Claims, plus any additional amounts funded into the Litigation
Trust Escrow Account following the Effective Date.

        1.137. “Litigation Trust Escrow Account” means an account funded and paid to the
Litigation Trust by the Debtors and other parties (if applicable) with Cash no later than the
Effective Date in an amount equal to the Litigation Trust Escrow Amount.

         1.138. “Litigation Trust Escrow Amount” means the aggregate amount equal to
(a) (i) $21 million minus (ii) the total amount of fees and expenses (including transaction and
success fees, if any) incurred on or after the Petition Date through the Effective Date by all
Professional Persons retained by the Creditors’ Committee under sections 328, 330, 331,
503(b)(2), 503(b)(4), or 503(b)(5), or any other provision of the Bankruptcy Code, which amount
shall include, without limitation, the Professional Fee Escrow Amount for all Professional Persons
retained by the Creditors’ Committee, plus (b) in the event (x) the Intercompany Settlement is
approved by the Bankruptcy Court, and (y) the Intercompany Settlement Conditions are met,
approximately $13.25 million to be funded by TopCo. For the avoidance of doubt, the
approximately $13.25 million to be funded by TopCo will not be used for distributions directly to
the beneficiaries of the Litigation Trust or to pay the fees and expenses incurred by the Professional
Persons retained by the Creditors’ Committee as set forth in clause (a) of this definition, and shall
only be used for payment of Litigation Trust Expenses and/or the monetization or resolution of
Litigation Trust Claims.

        1.139. “Litigation Trust Expenses” means the reasonable and documented fees and
expenses incurred by the Litigation Trust (including any taxes imposed on or payable by the
Litigation Trust and professional fees), any professionals retained by the Litigation Trust, and any
additional amount determined to be necessary by the Litigation Trustee to adequately reserve for
the operating expenses of the Litigation Trust that shall be paid out of the Litigation Trust Escrow
Account.

        1.140. “Litigation Trust Units” means, collectively, the non-certificated beneficial
interests in the Litigation Trust granted to each Holder of Allowed Prepetition Second Lien Loan
Claims, Allowed OpCo General Unsecured Claims, Allowed Prepetition HoldCo Loan Claims,
and Allowed Freedom HoldCo General Unsecured Claims, which shall entitle each such Holder
to a pro rata share of the proceeds of the Litigation Trust Assets net of Litigation Trust Expenses,
subject to the terms of the Plan and the Litigation Trust Agreement.

        1.141. “Litigation Trustee” means the Person or Entity (or any successor thereto) who or
which, on and after the Effective Date, shall have the rights, powers, and duties as set forth in this
Plan and the Litigation Trust Agreement, who shall be selected by the Creditors’ Committee, with
the reasonable consent of the Required Consenting First Lien Lenders and the Freedom Lender
Group, except as otherwise set forth in Section 7.10(g) hereof, and whose identity shall be set forth
in the Plan Supplement.


                                                 17
            Case 24-12480-LSS        Doc 1233       Filed 04/03/25   Page 23 of 197




        1.142. “Litigation Trustee Duties” has the meaning set forth in Section 7.10(b)(i) of this
Plan.

       1.143. “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure of the
United States Bankruptcy Court for the District of Delaware.

        1.144. “Management Incentive Plan” means, to the extent applicable, the management
incentive plan of the Reorganized Debtors, which shall be implemented by the New Board.

        1.145. “New ABL Credit Agreement” means the loan agreement memorializing the New
ABL Facility, the material terms of which shall be included in the Plan Supplement, and which
shall be entered into by one or more of the Reorganized Debtors, the New ABL Credit Agreement
Agent, and the New ABL Facility Lenders.

       1.146. “New ABL Credit Agreement Agent” means the administrative agent under the New
ABL Credit Agreement, together with its successors, assigns, or any replacement agent appointed
pursuant to the terms of the New ABL Credit Agreement.

        1.147. “New ABL Facility” means, as applicable, the Take-Back ABL Term Loan Facility,
and the Exit ABL Facility, each in accordance with the terms of the New ABL Facility Documents.

        1.148. “New ABL Facility Documents” means, collectively, the New ABL Credit
Agreement and any other agreements or documents related to or executed in connection with the
New ABL Facility, including any amendments, modifications, supplements thereto in accordance
with the terms thereof; provided that with the consent of the ABL Credit Agreement Agent and,
unless expressly provided otherwise herein or in the New ABL Facility Documents, all ABL Loan
Documents shall be deemed to be New ABL Facility Documents.

      1.149. “New ABL Facility Lenders” means the lenders party to the New ABL Credit
Agreement.

      1.150. “New Board” means the initial board of directors or similar governing body of the
Reorganized Debtors.

        1.151. “New Organizational Documents” means, collectively, the new Organizational
Documents of the Reorganized Debtors (including New TopCo), to be entered into on the Effective
Date, including certificates of incorporation, limited liability company agreements, stockholders
or shareholders agreements, operating agreements, equity subscription or purchase agreements,
charters or by-laws, which shall be consistent in all material respects with the Restructuring
Support Agreement, and each of which shall be subject to the Definitive Document Consent
Rights.

        1.152. “New TopCo” means Franchise Group, Inc. or any other Entity designated as such
(including, for the avoidance of doubt, any limited liability company) that will, directly or
indirectly, own 100% of the Equity Interests in, or substantially all of the assets of, Franchise
Group, Inc. or any of its subsidiaries upon consummation of the Restructuring Transactions, as
mutually agreed by the Debtors and the Required Consenting First Lien Lenders.



                                               18
            Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 24 of 197




        1.153. “New Warrants” means, collectively, warrants exercisable for up to the Prepetition
Second Lien Loan Warrant Allocation of the Reorganized Common Equity issued and outstanding
as of the Effective Date (subject to dilution from the Management Incentive Plan), which warrants
shall expire seven (7) years from the Effective Date (subject to earlier termination upon the
occurrence of a “liquidity event”) and have an initial exercise price equal to the Implied Warrant
Value. The New Warrants shall not be subject to any anti-dilution provisions (including any
economic anti-dilution provisions), other than any adjustments for splits, reverse splits, and similar
structural transactions that are not liquidity events. Upon the occurrence of a liquidity event prior
to the expiration or exercise thereof, the New Warrants shall be entitled to Black-Scholes
protection based on inputs determined, in good faith, by the Reorganized Debtors, including an
equity volatility rate of up to 35%, with such volatility calculated, in good faith, by the Reorganized
Debtors using a date of determination with respect to such liquidity event and customary practices
for calculating such volatility.

        1.154. “New Warrants Documentation” means, collectively, any and all agreements,
certificates, instruments or other documents required to implement, issue, and distribute, or that
otherwise govern or evidence, the New Warrants, each of which shall be subject to the Definitive
Document Consent Rights.

       1.155. “Non-Debtor Releasing Party” means any Releasing Party that is not a Debtor.

       1.156. “Non-Liquidating Debtor(s)” means any Debtor other than the American Freight
Debtors.

        1.157. “Non-Partial Sale Transaction Debtor(s)” means any Non-Liquidating Debtor
other than a Partial Sale Transaction Debtor.

       1.158. “OpCo Debtor(s)” means any particular Debtor other than any HoldCo Debtor.

       1.159. “OpCo Debtor Litigation Trust Claims” has the meaning set forth in
Section 7.10(c)(iii) of this Plan.

       1.160. “OpCo General Unsecured Claim(s)” means, collectively, any General Unsecured
Claim against the OpCo Debtors in Class 6, including, for the avoidance of doubt, any First Lien
Deficiency Claims.

       1.161. “OpCo Litigation Trust Escrow Amount” has the meaning set forth in
Section 7.10(g).

        1.162. “Organizational Documents” means, collectively, with respect to any Person other
than a natural person, the documents by which such Person was organized or formed (such as a
certificate of incorporation, certificate of formation, certificate of limited partnership, or articles
of organization) or which relate to the internal governance of such Person (such as by-laws or a
partnership agreement, or an operating, limited liability company or members agreement).

        1.163. “Other Secured Claim” means any Secured Claim against a Debtor other than a
Prepetition First Lien Loan Claim, DIP Claim, or Prepetition Second Lien Loan Claim or any
Prepetition HoldCo Loan Claim.


                                                  19
            Case 24-12480-LSS          Doc 1233        Filed 04/03/25    Page 25 of 197




         1.164. “Partial Sale Transaction” means a sale of some, all, or substantially all of the
assets or Equity Interests of the Buddy’s Debtors, the Vitamin Shoppe Debtors, or a combination
of the Buddy’s Debtors and the Vitamin Shoppe Debtors, as further set forth herein, pursuant to
sections 363 or 1129 of the Bankruptcy Code; provided, for the avoidance of doubt, that a sale of
all or substantially all of the assets or Equity Interest of the Debtors (taken as a whole) shall not be
a Partial Sale Transaction.

        1.165. “Partial Sale Transaction Debtor(s)” means any of the Buddy’s Debtors and/or the
Vitamin Shoppe Debtors, as applicable, in each case that sells all or substantially all of its assets
or its Equity Interests through one or more Partial Sale Transactions.

       1.166. “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

     1.167. “Petition Date” means November 3, 2024, the date on which the Debtors
commenced the Chapter 11 Cases.

       1.168. “PIMCO” means Pacific Investment Management Company LLC (PIMCO) and
each of its Affiliates and managed and/or advised funds and accounts.

        1.169. “Plan” means this joint chapter 11 plan proposed by the Debtors, including, without
limitation, the exhibits, supplements, appendices and schedules hereto, either in its present form
or as the same may be altered, amended or modified from time to time in accordance with the
provisions of the Bankruptcy Code, the Restructuring Support Agreement, the Committee
Settlement, the Intercompany Settlement, and the terms hereof. If the Plan is withdrawn as the
Plan for a particular Debtor, the defined term “Plan” shall not include the plan of reorganization
or liquidation for such Debtor in its Chapter 11 Case where the context otherwise requires.

       1.170. “Plan Documents” means, collectively, the documents, other than this Plan, to be
executed, delivered, assumed, and/or performed in connection with the consummation of this Plan,
including the documents to be included in the Plan Supplement and any and all exhibits to this
Plan and the Disclosure Statement, each of which shall be subject to the Definitive Document
Consent Rights.

        1.171. “Plan Equitization Transaction” means the equitization of all Allowed Prepetition
First Lien Loan Claims into 100% of Reorganized Common Equity (subject to dilution from (a) the
Management Incentive Plan, (b) the DIP Premium Conversion, if applicable, (c) the DIP
Equitization, (d) the New Warrants, if applicable, and (e) the Prepetition Second Lien Loan Equity
Allocation, if applicable), as further set forth in the Restructuring Support Agreement and this
Plan.

        1.172. “Plan Supplement” means any compilation of documents and forms of documents
(including term sheets), agreements, schedules, and exhibits to the Plan, which may be amended
from time to time, including (a) the New Organizational Documents, (b) the Schedule of Retained
Causes of Action, (c) the Take-Back Debt Documents, (d) the Restructuring Transactions
Memorandum, (e) the Rejected Contracts/Lease List, (f) to the extent known, the identity of the
known members of the New Board and the nature and compensation for any director who is an
“insider” under the Bankruptcy Code, (g) the New ABL Facility Documents, (h) the New Warrants
Documentation, (i) the Litigation Trust Agreement, (j) the identity of the Litigation Trustee, (k) the


                                                  20
           Case 24-12480-LSS         Doc 1233        Filed 04/03/25   Page 26 of 197




Assumed Contracts List, and (l) any and all other documents necessary to effectuate the
Restructuring Transactions or that are contemplated by the Plan, which shall be Filed by the
Debtors prior to the Confirmation Hearing, and additional documents Filed with the Bankruptcy
Court prior to the Effective Date as amendments to the Plan Supplement, each of which shall be
subject to the Definitive Document Consent Rights; provided that, notwithstanding the foregoing,
(x) the identity of the Litigation Trustee shall be subject to the consent rights set forth in
Section 1.141 of the Plan and (y) the terms of the Litigation Trust Agreement shall be subject to
the consent rights set forth in Section 7.10(c)(iii) of the Plan.

       1.173. “Prepetition ABL Loan Claims” means any Claim on account of ABL Loans arising
under or pursuant to the ABL Credit Agreement or the other ABL Loan Documents.

        1.174. “Prepetition First Lien Loan Claims” means any Claim on account of Prepetition
First Lien Loans arising under or pursuant to the First Lien Credit Agreement or the other First
Lien Loan Documents.

       1.175. “Prepetition First Lien Loans” means, collectively, the term loans arising under or
pursuant to the First Lien Credit Agreement.

      1.176. “Prepetition HoldCo Loan Claims” means any Claim on account of Prepetition
HoldCo Loans arising under or pursuant to the HoldCo Credit Agreement.

       1.177. “Prepetition HoldCo Loans” means, collectively, the term loans arising under or
pursuant to the HoldCo Credit Agreement.

        1.178. “Prepetition Second Lien Loan Cash Consideration” means Cash in an amount
equal to $15 million; provided that such amount shall be reduced on a dollar-for-dollar basis in an
amount equal to (but in no event less than $0) the aggregate dollar amount of all fees and expenses
incurred by any Professional Persons and/or the Ad Hoc Group Advisors related to any litigation
resulting from any action, inaction, objection, appeal, discovery, request, motion, or similar
measure taken by the Freedom Lender Group, which incurrence of fees and expenses occurred at
any time during the period commencing on April 6, 2025, and ending on (and including) the date
that each member of the Freedom Lender Group irrevocably agrees to (a) vote to accept the Plan
and opt in to the Third-Party Release on account of all of its Claims and in all capacities and
(b) stay all litigation and appeals brought or initiated by the Freedom Lender Group related to the
Debtors or the Chapter 11 Cases. The Prepetition Second Lien Loan Cash Consideration shall be
determined, in good faith, by the Debtors and the Required Consenting First Lien Lenders.

        1.179. “Prepetition Second Lien Loan Claims” means any Claim on account of term loans
arising under or pursuant to the Second Lien Credit Agreement.

         1.180. “Prepetition Second Lien Loan Equity Allocation” means the resulting percentage
of Reorganized Common Equity determined from the quotient of (a) the dollar amount equal to
(i) the product of (A) 2.0% and (B) the Implied Common Equity Value, minus (ii) the aggregate
dollar amount of all fees and expenses incurred by any Professional Persons and/or the Ad Hoc
Group Advisors related to any litigation resulting from any action, inaction, objection, appeal,
discovery, request, motion, or similar measure taken by the Freedom Lender Group, which
incurrence of fees and expenses occurred at any time during the period commencing on the date


                                                21
           Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 27 of 197




on which the Prepetition Second Lien Loan Warrant Allocation and Prepetition Second Lien Loan
Cash Consideration are both reduced to zero and ending on (and including) the date on which each
member of the Freedom Lender Group irrevocably agrees to (x) vote to accept the Plan and opt in
to the Third-Party Release on account of all of its Claims and in all capacities and (y) stay all
litigation and appeals brought or initiated by the Freedom Lender Group related to the Debtors or
the Chapter 11 Cases, divided by (b) the Implied Common Equity Value. Any resulting percentage
will be rounded, if necessary, to the nearest one hundred-thousandth of a percentage point. The
Prepetition Second Lien Loan Equity Allocation shall be determined, in good faith, by the Debtors
and the Required Consenting First Lien Lenders. For the avoidance of doubt, the Prepetition
Second Lien Loan Equity Allocation may not be less than 0%.

         1.181. “Prepetition Second Lien Loan Warrant Allocation” means the resulting percentage
of Reorganized Common Equity that the New Warrants are exercisable into, determined from the
quotient of (a) the dollar amount equal to (i) the product of (A) 13.0% and (B) the Implied Warrant
Value, minus (ii) the aggregate dollar amount of all fees and expenses incurred by any Professional
Persons and/or the Ad Hoc Group Advisors related to any litigation resulting from any action,
inaction, objection, appeal, discovery, request, motion, or similar measure taken by the Freedom
Lender Group, which incurrence of fees and expenses occurred at any time during the period
commencing on the date on which the Prepetition Second Lien Loan Cash Consideration is
reduced to $0 and ending on (and including) the date on which each member of the Freedom
Lender Group irrevocably agrees to (x) vote to accept the Plan and opt in to the Third-Party Release
on account of all of its Claims and in all capacities and (y) stay all litigation and appeals brought
or initiated by the Freedom Lender Group related to the Debtors or the Chapter 11 Cases, divided
by (b) the Implied Warrant Value. Any resulting percentage will be rounded, if necessary, to the
nearest one hundred-thousandth of a percentage point. The Prepetition Second Lien Loan Warrant
Allocation shall be determined, in good faith, by the Debtors and the Required Consenting First
Lien Lenders. For the avoidance of doubt, the Prepetition Second Lien Loan Warrant Allocation
may not be less than 0%.

        1.182. “Priority Non-Tax Claim” means any Claim, other than a DIP Claim, an
Administrative Expense Claim, a Professional Fee Claim, or a Priority Tax Claim, entitled to
priority in payment as specified in section 507(a) of the Bankruptcy Code.

        1.183. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind entitled
to priority in payment under sections 502(i) and 507(a)(8) of the Bankruptcy Code.

        1.184. “Priority Tax Claims Bar Date” means the date that is 180 days after the Petition
Date.

        1.185. “Pro Forma Leverage Cap” has the meaning set forth in Section 3.1 of this Plan.

        1.186. “Professional Fee Claim” means any Claim by a Professional Person for
compensation for services rendered or reimbursement of expenses incurred by such Professional
Person on or after the Petition Date through and including the Confirmation Date under sections
328, 330, 331, 503(b) or 1103(a) of the Bankruptcy Code to the extent such fees and expenses
have not been paid pursuant to an order of the Bankruptcy Court, including in connection with
final fee applications of such Professional Persons. To the extent the Bankruptcy Court denies or


                                                 22
           Case 24-12480-LSS         Doc 1233        Filed 04/03/25   Page 28 of 197




reduces by a Final Order any amount of a Professional Person’s requested fees and expenses, then
the amount by which such fees or expenses are reduced or denied shall reduce the applicable
Professional Fee Claim.

       1.187. “Professional Fee Escrow Account” means an account funded by the Debtors with
Cash no later than the Effective Date in the amount equal to the Professional Fee Escrow Amount.

        1.188. “Professional Fee Escrow Amount” means the aggregate amount of Professional
Fee Claims and other unpaid fees and expenses the Professional Persons have incurred or will
incur in rendering services in connection with the Chapter 11 Cases prior to and as of the Effective
Date, which shall be estimated pursuant to the method set forth in Article III of this Plan.

       1.189. “Professional Person(s)” means any Persons (a) retained by order of the
Bankruptcy Court in connection with the Chapter 11 Cases, pursuant to sections 327, 328, 363, or
1103 of the Bankruptcy Code, excluding any ordinary course professionals retained pursuant to an
order of the Bankruptcy Court, or (b) awarded compensation and reimbursement by the
Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

       1.190. “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the
Chapter 11 Cases.

       1.191. “Proof of Interest” means a proof of Interest Filed against any of the Debtors in the
Chapter 11 Cases.

       1.192. “PSP Debtors” means, collectively, Franchise Group Intermediate PSP, LLC and
each of its direct and indirect subsidiaries.

       1.193. “Reinstate” means with respect to Claims or Equity Interests, that the Claim or
Equity Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy
Code. “Reinstated” and “Reinstatement” shall have correlative meanings.

        1.194. “Rejected Contracts/Lease List” means the list (as determined by the Debtors) of
Executory Contracts and/or Unexpired Leases (including any amendments or modifications
thereto), if any, that will be rejected pursuant to the Plan.

       1.195. “Related Funds” means, with respect to any Person, any fund, account or
investment vehicle that is controlled, advised or managed by (a) such Person, (b) an Affiliate of
such Person, or (c) the same investment manager, advisor or subadvisor that controls, advises or
manages such Person or an Affiliate of such investment manager, advisor or subadvisor.

       1.196. “Related Parties” means, collectively, with respect to any Person or Entity, each
of, and in each case solely in its capacity as such, such Person’s or Entity’s predecessors,
successors, assigns and present and former Affiliates (whether by operation of Law or otherwise)
and subsidiaries, and each of their respective current and former officers, directors, principals,
employees, shareholders, members (including ex officio members and managing members),
managers, managed accounts or funds, management companies, fund advisors, advisory or
subcommittee board members, partners, agents, financial advisors, attorneys, accountants,
investment bankers, investment advisors, consultants, representatives, and other professionals, in


                                                23
           Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 29 of 197




each case acting in such capacity at any time on or after the date of the Restructuring Support
Agreement, and any Person claiming by or through any of them, including such Related Parties’
respective heirs, executors, estates, servants, and nominees.

         1.197. “Released Parties” means, collectively, and each solely in its capacity as such:
(a) the Debtors; (b) the Reorganized Debtors; (c) the DIP Agent and each DIP Lender; (d) the First
Lien Credit Agreement Agent; (e) the Consenting First Lien Lenders; (f) the Creditors’ Committee
and each of its members solely in their capacity as members of the Creditors’ Committee; (g) solely
to the extent they vote to accept the Plan and opt in to the Third-Party Release prior to the Consent
Deadline on account of all of their Claims and in all capacities, Irradiant, PIMCO, and the members
of the Freedom Lender Group; (h) all Holders of Claims that elect to opt in to the Third-Party
Release contained in the Plan; (i) all Holders of Interests that elect to opt in to the Third-Party
Release contained in the Plan; and (j) each Related Party of each Entity in clause (a) through this
clause (j); provided that, notwithstanding the foregoing, Released Parties shall not include:
(i) former directors of the Debtors, other than those terminated without cause between
February 3, 2025 and the Effective Date; (ii) former employees, including officers, of the Debtors
other than those terminated without cause between February 3, 2025 and the Effective Date;
(iii) Bryant Riley, B. Riley Financial, Inc., B. Riley Receivables II, LLC, Freedom VCM
Receivables, Inc., and each of their Affiliates and Related Parties (provided that none of Bryant
Riley, B. Riley Financial, Inc., B. Riley Receivables II, LLC, Freedom VCM Receivables, Inc.,
shall be deemed Affiliates of the Debtors for purposes of this proviso); (iv) Irradiant, PIMCO, and
the members of the Freedom Lender Group, solely to the extent that, prior to the Consent Deadline,
on account of all of their Claims and in all capacities, they do not (x) vote to accept the Plan and
(y) opt in to the Third-Party Release; (v) Brian Kahn, Lauren Kahn, Vintage Capital Management
LLC, Prophecy Asset Management LP, and each of their Affiliates and Related Parties (provided
that none of Brian Kahn, Lauren Kahn, Vintage Capital Management LLC, and Prophecy Asset
Management LP, shall be deemed Affiliates of the Debtors for purposes of this proviso); and
(vi) WFG, solely for any prepetition services rendered.

        1.198. “Releasing Parties” means, collectively, and each solely in its capacity as such:
(a) the Debtors; (b) the Reorganized Debtors; (c) the DIP Agent and each DIP Lender; (d) the First
Lien Credit Agreement Agent; (e) the Consenting First Lien Lenders; (f) the Creditors’ Committee
and each of its members solely in their capacity as members of the Creditors’ Committee; (g)
Irradiant, PIMCO, and the members of the Freedom Lender Group, solely to the extent they vote
to accept the Plan and opt in to the Third-Party Release contained in the Plan; (h) all Holders of
Claims that elect to opt in to the Third-Party Release contained in the Plan; (i) all Holders of
Interests that elect to opt in to the Third-Party Release contained in the Plan; (j) each current and
former Affiliate of each Entity in clause (a) through the following clause (k); and (k) each Related
Party of each Entity in clause (a) through this clause (k) for which such Entity is legally entitled
to bind such Related Party to the releases contained in the Plan.

       1.199. “Reorganized Common Equity” means the common Equity Interests of New TopCo
authorized under the New Organizational Documents of the Reorganized Debtors and issued
and/or distributed on the Effective Date in accordance with this Plan.

       1.200. “Reorganized Debtor(s)” means, on or after the Effective Date, the Debtors, as
reorganized pursuant to and under the Plan Equitization Transaction, or any successors thereto, by


                                                 24
           Case 24-12480-LSS         Doc 1233        Filed 04/03/25   Page 30 of 197




merger, consolidation, reorganization or otherwise, as the case may be, including New TopCo and
any Non-Partial Sale Transaction Debtors that are reorganized pursuant to and under the Plan
Equitization Transaction following the consummation of a Partial Sale Transaction.

        1.201. “Required Consenting First Lien Lenders” means, collectively, as of the relevant
date, Consenting First Lien Lenders that are members of the Ad Hoc Group holding, collectively,
in excess of 66 2/3% of the aggregate outstanding principal amount of Prepetition First Lien Loans
that are held by Consenting First Lien Lenders that are members of the Ad Hoc Group at such
time.

       1.202. “Required DIP Lenders” means the “Required Lenders” as defined in the DIP
Credit Agreement.

       1.203. “Restructuring Expenses” means all reasonable and documented fees, costs, and
expenses of each of the Ad Hoc Group Advisors.

       1.204. “Restructuring Support Agreement” means the Restructuring Support Agreement,
dated as of November 1, 2024, inclusive of all exhibits and schedules thereto, by and among the
Debtors, the Consenting First Lien Lenders, and any other Person that may become a party to such
agreement pursuant to its terms, as the same may be amended, amended and restated,
supplemented or otherwise modified from time to time in accordance with its terms.

       1.205. “Restructuring Transactions” means the transactions described in Article VII of the
Plan and the Restructuring Transactions Memorandum (including, for the avoidance of doubt, the
Plan Equitization Transaction and Partial Sale Transaction(s), if any).

        1.206. “Restructuring Transactions Memorandum” means a document to be included in
the Plan Supplement that will set forth the material components of the applicable Restructuring
Transactions, including a summary of any transaction steps necessary to complete the Plan, and
shall otherwise be in form and substance acceptable to the applicable Debtors and the Required
Consenting First Lien Lenders, each in their sole discretion.

        1.207. “Sale Documents” means, collectively, one or more asset purchase agreements,
other agreements, instruments, pleadings, orders and related documents, including, without
limitation, the applicable Assumed Contracts List, pursuant to which the Non-Liquidating Debtors
implement and consummate any Partial Sale Transaction, each of which shall be subject to the
Definitive Document Consent Rights.

        1.208. “Sale Order” means the order entered by the Bankruptcy Court authorizing and
approving the Partial Sale Transaction, which shall be subject to the Definitive Document Consent
Rights.

       1.209. “Sale Proceeds” means all proceeds from consummation of a Partial Sale
Transaction, that are distributable or payable to the Estates, which proceeds shall consist of Cash.

      1.210. “Sale Process” means the sale process conducted in accordance with the Bidding
Procedures Order.



                                                25
            Case 24-12480-LSS         Doc 1233        Filed 04/03/25    Page 31 of 197




        1.211. “Schedule of Retained Causes of Action” means the schedule of those Causes of
Action that shall vest in the Reorganized Debtors on the Effective Date, which will be contained
in the Plan Supplement; provided, for the avoidance of doubt, that the Litigation Claims shall vest
in the Litigation Trust and not in the Reorganized Debtors; provided, further, that the Causes of
Action to vest in the Reorganized Debtors shall be limited to Claims, Causes of Action,
counterclaims, or cross-claims, that are not otherwise specified as being vested in the Litigation
Trust, and are against continuing trade partners, vendor counterparties, contractual counterparties,
or otherwise relate to the Reorganized Debtors’ continued operations.

       1.212. “Schedules” means, collectively, the schedules of assets and liabilities, the
schedules of Executory Contracts and Unexpired Leases, the Schedule of Retained Causes of
Action, and the statements of financial affairs Filed by the Debtors pursuant to section 521 of the
Bankruptcy Code, including any amendments or supplements thereto.

       1.213. “Second Lien Adequate Protection Claims” means any Claim held or asserted by
the Second Lien Credit Agreement Agent or any Holders of Prepetition Second Lien Loan Claims
pursuant to sections 361, 362, 363(e), 364, and 507 of the Bankruptcy Code and/or the Final DIP
Order for adequate protection of their Collateral, including, without limitation, any Claims asserted
in the Motion of OpCo 2L Agent and Ad Hoc Group of Second Lien Lenders for Allowance of a
Superpriority Administrative Expense Claim [Docket No. 978], Filed on February 13, 2025.

        1.214. “Second Lien Credit Agreement” means that certain Second Lien Credit
Agreement, dated as of March 10, 2021, among Franchise Group, Inc., and the other borrowers
and guarantors party thereto, the Second Lien Credit Agreement Agent, and the lenders party
thereto from time to time, as amended, restated, amended or restated, supplemented, or otherwise
modified from time to time.

       1.215. “Second Lien Credit Agreement Agent” means Alter Domus (US) LLC, in its
capacity as administrative agent and collateral agent for the Second Lien Lenders.

       1.216. “Second Lien Lenders” means, collectively, beneficial holders of, or investment
advisors, sub-advisors or managers of discretionary funds, accounts or sub-accounts that
beneficially hold, Prepetition Second Lien Loan Claims.

        1.217. “Second Lien Turnover Payment” has the meaning set forth in Section 7.24 of this
Plan.

        1.218. “Secured Claim” means a Claim: (a) that is secured by a valid, perfected and
enforceable Lien on Collateral, to the extent of the value of the Claim Holder’s interest in such
Collateral as of the Confirmation Date; (b) to the extent that the Holder thereof has a valid right of
setoff pursuant to section 553 of the Bankruptcy Code; or (c) otherwise Allowed pursuant to the
Plan or order of the Bankruptcy Court as a secured Claim.

        1.219. “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C.
§§ 77a-77aa, or any similar federal, state, or local Law, as now in effect or hereafter amended, and
the rules and regulations promulgated thereunder.

        1.220. “SIR” has the meaning set forth in Section 8.18 of this Plan.


                                                 26
           Case 24-12480-LSS        Doc 1233        Filed 04/03/25   Page 32 of 197




       1.221. “Store-Closing and Liquidation Sales” means, collectively, the going out of
business sales and store closing procedures at the American Freight Debtors on the terms and
conditions set forth in the Store-Closing and Liquidation Sales Documents and the Plan.

       1.222. “Store-Closing and Liquidation Sales Documents” means the Store-Closing and
Liquidation Sales Orders and all documents or pleadings necessary or desirable to facilitate the
Store-Closing and Liquidation Sales, each of which shall be subject to the Definitive Document
Consent Rights.

        1.223. “Store-Closing and Liquidation Sales Orders” means, collectively, (a) the Interim
Order I) Authorizing the Debtors to Assume the Consulting Agreement, (II) Approving Procedures
for Store Closing Sales, and (III) Granting Related Relief [Docket No. 132], entered by the
Bankruptcy Court on November 6, 2024, and (b) the Final Order (I) Authorizing the Debtors to
Assume the Consulting Agreement, (II) Approving Procedures for Store Closing Sales, and
(III) Granting Related Relief [Docket No. 351], entered by the Bankruptcy Court on
December 6, 2024.

       1.224. “Subordinated Claim” means any prepetition Claim that is subject to subordination
pursuant to sections 510(b)–(c) of the Bankruptcy Code or otherwise.

         1.225. “Take-Back ABL Term Loan Facility” means a take-back debt asset-backed term
facility with an aggregate principal amount equal to the Allowed amount of the Prepetition ABL
Loan Claims, which facility shall (a) be secured by the same Collateral securing the Prepetition
ABL Loan Claims with the same priorities as set forth in the ABL Loan Documents (including the
Existing ABL Intercreditor Agreement), (b) mature within six (6) years of the Effective Date, and
(c) bear an interest rate to be established by the Required Consenting First Lien Lenders and the
Debtors, or otherwise set forth by the Bankruptcy Court.

        1.226. “Take-Back Debt Agent” means the administrative and collateral agent for the
Take-Back Debt Lenders under the Take-Back Debt Documents, or any successor administrative
agents thereunder.

       1.227. “Take-Back Debt Credit Agreement” means the credit agreement governing or
evidencing the Take-Back Debt Facility to be entered into on the Effective Date by and among the
Reorganized Debtors, the guarantors from time to time party thereto, the Take-Back Debt Lenders,
the Take-Back Debt Agent, and the other Entities party thereto from time to time.

        1.228. “Take-Back Debt Documents” means the Take-Back Debt Credit Agreement,
together with any other agreements and documents executed or delivered in connection therewith,
each as amended, restated, amended and restated, supplemented, or otherwise modified from time
to time, each of which shall be subject to the Definitive Document Consent Rights.

       1.229. “Take-Back Debt Facility” means the take-back debt financing facility on the terms
and conditions set forth in the Restructuring Support Agreement.

      1.230. “Take-Back Debt Lenders” means the lenders party to the Take-Back Debt Credit
Agreement.



                                               27
           Case 24-12480-LSS        Doc 1233        Filed 04/03/25   Page 33 of 197




      1.231. “Take-Back Term Loans” means the term loans arising under or pursuant to the
Take-Back Debt Credit Agreement.

      1.232. “Take-Private Transaction” shall have the meaning set forth in the Declaration of
David Orlofsky in Support of Debtors’ Chapter 11 Petitions and First Day Pleadings
[Docket No. 15], Filed November 4, 2024.

       1.233. “Third-Party Release” means the releases set forth in Article XII of this Plan.

       1.234. “TopCo” means Freedom VCM Holdings, LLC.

        1.235. “TopCo Allocated Fees and Expenses” has the meaning set forth in Section 3.6 of
this Plan.

      1.236. “TopCo General Unsecured Claim” means any General Unsecured Claim against
TopCo.

       1.237. “Tranche A DIP Loan Claims” means, collectively, Claims arising on account of
the Tranche A DIP Loans.

       1.238. “Tranche A DIP Loans” means, collectively, the new money first-out delayed-draw
term loans arising under or pursuant to the DIP Credit Agreement.

       1.239. “Tranche B DIP Loan Claims” means, collectively, Claims arising on account of
the Tranche B DIP Loans.

       1.240. “Tranche B DIP Loans” means, collectively, the second-out roll up facility arising
under or pursuant to the DIP Credit Agreement.

      1.241. “U.S. Trustee” means the Office of the United States Trustee for the District of
Delaware.

        1.242. “U.S. Trustee Fees” means fees arising under 28 U.S.C. § 1930(a)(6) and, to the
extent applicable, accrued interest thereon arising under 31 U.S.C. § 3717.

        1.243. “Unexpired Lease” means a lease of non-residential real property to which one or
more of the Debtors is a party that is subject to assumption, assumption and assignment, or
rejection under section 365 or 1123 of the Bankruptcy Code.

       1.244. “Unimpaired” means, with respect to a Class of Claims or Equity Interests, a Class
of Claims or Equity Interests that is unimpaired within the meaning of section 1124 of the
Bankruptcy Code.

         1.245. “Vitamin Shoppe Debtors” means Franchise Group Intermediate V, LLC and each
of its direct and indirect subsidiaries.

       1.246. “WFG” means Willkie Farr & Gallagher LLP.




                                               28
            Case 24-12480-LSS          Doc 1233        Filed 04/03/25    Page 34 of 197




       B.      Interpretation; Application of Definitions and Rules of Construction.

        Unless otherwise specified, all section or exhibit references in this Plan are to the respective
section in, or exhibit to, this Plan. The words “herein,” “hereof,” “hereto,” “hereunder,” and other
words of similar import refer to this Plan as a whole and not to any particular section, subsection,
or clause contained therein. The use of “include” or “including” is without limitation, whether
stated or not. Whenever from the context it is appropriate, each term, whether stated in the singular
or the plural, will include both the singular and the plural. Any term that is not otherwise defined
herein, but that is used in the Bankruptcy Code or the Bankruptcy Rules, shall have the meaning
given to that term in the Bankruptcy Code or the Bankruptcy Rules, as applicable. The rules of
construction contained in section 102 of the Bankruptcy Code shall apply to the construction of
this Plan. Any reference in this Plan to an existing document or exhibit Filed or to be Filed means
such document or exhibit as it may have been or may be amended, modified, or supplemented.
References to “Proofs of Claim,” “Holders of Claims,” “Disputed Claims,” and the like shall
include “Proofs of Equity Interests,” “Holders of Interests,” “Disputed Interests,” and the like, as
applicable. Subject to the provisions of any contracts, certificates or articles of incorporation,
instruments, releases, or other agreements or documents entered into in connection with this Plan,
the rights and obligations arising under this Plan shall be governed by, and construed and enforced
in accordance with, federal Law, including the Bankruptcy Code and the Bankruptcy Rules. The
captions and headings in this Plan are for convenience of reference only and shall not limit or
otherwise affect the provisions hereof. Any reference to an Entity as a Holder of a Claim or Interest
includes that Entity’s successors and assigns. Any reference to directors or board of directors
includes managers, managing members or any similar governing body, as the context requires, and
references to “shareholders,” “directors,” and/or “officers” shall also include “members” and/or
“managers,” as applicable, as such terms are defined under the applicable limited liability company
Laws.

       C.      Appendices and Plan Documents.

        All Plan Documents and appendices to this Plan are incorporated into this Plan by reference
and are a part of this Plan as if set forth in full herein. The documents contained in the exhibits
and Plan Supplement shall be approved by the Bankruptcy Court pursuant to the Confirmation
Order. Holders of Claims and Interests may inspect a copy of the Plan Documents, once Filed, in
the Office of the Clerk of the Bankruptcy Court during normal business hours, or, free of charge,
via the Debtors’ restructuring website maintained by the Claims Agent at
https://cases.ra.kroll.com/FRG, or obtain a copy of any of the Plan Documents, at the Debtors’
expense, by a written request sent to the Claims Agent at the following mailing or email addresses
or by calling the Claims Agent at the following telephone numbers:

                                    Franchise Group, Inc.
                                   Ballot Processing Center
                         c/o Kroll Restructuring Administration LLC
                                  850 3rd Avenue, Suite 412
                                    Brooklyn, NY 11232
        (844) 285-4564 (U.S./Canada, Toll-Free); +1 (646) 937-7751 (International, Toll)
                                   FRGInfo@ra.kroll.com



                                                  29
              Case 24-12480-LSS       Doc 1233        Filed 04/03/25    Page 35 of 197




       D.       Definitive Document Consent Rights.

       Notwithstanding anything to the contrary in this Plan, certain of the Definitive Documents
remain subject to negotiation and completion, as applicable. Upon completion, the Definitive
Documents and every other document, deed, agreement, filing, notification, letter or instrument
related to the Restructuring Transactions shall contain terms, conditions, representations,
warranties, and covenants consistent in all material respects with the terms of the Restructuring
Support Agreement, and shall otherwise be in form and substance acceptable to the Debtors and
the Required Consenting First Lien Lenders in their sole discretion.

       E.       Nature of the Restructuring Transactions.

        The Restructuring Transactions will be consummated (a) on the terms and conditions set
forth in the Restructuring Support Agreement and (b) pursuant to Confirmation of this Plan in the
Chapter 11 Cases.

                                 ARTICLE II.
                CERTAIN INTERCREDITOR AND INTER-DEBTOR ISSUES

       2.1.     Settlement of Certain Intercreditor and Inter-Debtor Issues.

        The treatment of Claims and Interests under this Plan, including with the treatment of
certain Claims and Causes of Action under the Intercompany Settlement, represents, among other
things, the settlement and compromise of certain potential intercreditor and inter-Debtor disputes.

       2.2.     Formation of Debtor Groups for Convenience Purposes.

         The Plan groups the Debtors together solely for purposes of describing treatment under the
Plan, Confirmation of the Plan and making distributions under this Plan in respect of Claims
against and Interests in the Debtors under the Plan. Such groupings shall not affect any Debtor’s
status as a separate legal Entity, change the organizational structure of the Debtors’ business
enterprise, constitute a change of control of any Debtor for any purpose, cause a merger or
consolidation of any legal Entities, nor cause the transfer of any assets or the assumption of any
liabilities; and, except as otherwise provided by or permitted in the Plan, all Debtors shall continue
to exist as separate legal Entities.

                            ARTICLE III.
           DIP CLAIMS, ADMINISTRATIVE EXPENSE CLAIMS,
PROFESSIONAL FEE CLAIMS, U.S. TRUSTEE FEES, AND PRIORITY TAX CLAIMS

        The Plan constitutes a joint chapter 11 plan for all of the Debtors. All Claims and Interests,
except DIP Claims, Administrative Expense Claims, Professional Fee Claims, U.S. Trustee Fees,
and Priority Tax Claims, are placed in the Classes set forth in Article IV. In accordance with
section 1123(a)(1) of the Bankruptcy Code, Administrative Expense Claims, DIP Claims,
Professional Fee Claims, U.S. Trustee Fees, and Priority Tax Claims have not been classified, and
the Holders thereof are not entitled to vote on this Plan, and thus are excluded from the Classes of
Claims and Equity Interests set forth in Article IV.



                                                 30
              Case 24-12480-LSS        Doc 1233        Filed 04/03/25   Page 36 of 197




        A Claim or Interest is placed in a particular Class only to the extent that any portion of such
Claim or Interest falls within the description of that Class and is classified in other Classes to the
extent that any portion of the Claim or Interest falls within the description of such other Classes.
A Claim or Interest is placed in a particular Class for all purposes, including voting, Confirmation,
and distribution under this Plan and under sections 1122 and 1123(a)(1) of the Bankruptcy Code.
However, a Claim or Interest is placed in a particular Class for the purpose of receiving
distributions under this Plan only to the extent that such Claim or Interest is an Allowed Claim or
Allowed Interest and has not been paid, released, or otherwise settled prior to the Effective Date.

       3.1.     DIP Claims.

        On the Effective Date, (a) each Holder of DIP Claims (and/or one or more Related Funds
of such Holder, to the extent such Related Funds are Holders of DIP Claims) that received a DIP
Backstop Premium or Commitment Premium (as defined in the DIP Credit Agreement) as of
closing of the DIP syndication process, and (b) each Holder of DIP Claims that receives an Exit
Premium (as defined in the DIP Credit Agreement) shall be entitled to elect, at its sole discretion,
to convert such DIP Backstop Premium, Commitment Premium and/or Exit Premium into
Reorganized Common Equity at a 25% discount to total equity value of the Reorganized Debtors
as set forth in the Disclosure Statement and/or the Plan Supplement.

        On the Effective Date, the DIP Claims shall be Allowed in the full amount outstanding
under the DIP Credit Agreement and shall not be subject to any avoidance, reductions, setoff,
offset, recoupment, recharacterization, subordination (whether equitable, contractual, or
otherwise), counterclaims, cross-claims, defenses, disallowance, impairment, objection, or any
other challenges under any applicable Law or regulation by any Person. In full satisfaction,
settlement, release and discharge of the Allowed DIP Claims, on the Effective Date, (a) if there is
no Partial Sale Transaction, (i) first, all Allowed DIP Claims arising from Tranche A DIP Loans
(other than those Tranche A DIP Loans that are converted into Reorganized Common Equity
pursuant to the DIP Premium Conversion) shall be converted into Take-Back Term Loans, on a
dollar-for-dollar basis, (ii) second, the Allowed DIP Claims arising from Tranche B DIP Loans
shall be converted into Take-Back Term Loans, ratably, on a dollar-for-dollar basis in an amount
necessary to cause the Reorganized Debtors to have pro forma net debt of $600 million as of the
Effective Date after giving effect to the Restructuring Transactions (the “Pro Forma Leverage
Cap”), and (iii) third, any Allowed DIP Claims that remain outstanding after giving effect to the
transactions contemplated in clauses (i) and (ii) hereof shall be converted into Reorganized
Common Equity at a 25% discount to total equity value of the Reorganized Debtors as set forth in
the Disclosure Statement and/or the Plan Supplement (the “DIP Equitization”), (b) if there is a
Partial Sale Transaction, (i) first, all Allowed DIP Claims allocable to the applicable Partial Sale
Transaction Debtors shall be indefeasibly paid in full in Cash from the applicable net Sale
Proceeds, and (ii) second, any Allowed DIP Claims that remain outstanding after giving effect to
the transactions contemplated in clause (ii) hereof shall be treated in accordance with the foregoing
clause (a) hereof; provided, however, that at the election of the Required Consenting First Lien
Lenders and DIP Lenders, which election shall be made in good faith and in consultation with the
Debtors, the Pro Forma Leverage Cap shall be reduced to account for any assets sold as part of the
Partial Sale Transaction that will no longer vest in the Reorganized Debtors, with the method of
calculation of any such reduction to be reasonably agreed to by the Required Consenting First Lien
Lenders and the Debtors, and (c) regardless of whether there is a Partial Sale Transaction, in the


                                                  31
              Case 24-12480-LSS      Doc 1233        Filed 04/03/25   Page 37 of 197




event that (x) the Intercompany Settlement is approved by the Bankruptcy Court, and (y) the
Intercompany Settlement Conditions are satisfied, $4.5 million of DIP Claims shall remain
outstanding and shall convert mutatis mutandis into Claims against the Litigation Trust, and the
DIP Lenders shall be entitled to receive the first $4.5 million of any distributions of the proceeds
of the Litigation Claims from the Litigation Trust (for the avoidance of doubt, all remaining DIP
Claims will be converted to Take-Back Term Loans or Reorganized Common Equity as provided
in subclauses (a) and (b) above and the DIP Lenders shall waive their right to assert any DIP
Claims and any other Administrative Expense Claims against the Freedom HoldCo Debtors);
provided that, in the event (i) the Intercompany Settlement is not approved by the Bankruptcy
Court, or (ii) the Intercompany Settlement Conditions are not satisfied, at the election of the
Required DIP Lenders, all DIP Claims against the Freedom HoldCo Debtors incurred through the
Effective Date, shall in lieu of the treatment set forth above remain as DIP Claims against the
Freedom HoldCo Debtors subject to Section 3.6 hereof, if applicable, (the “Freedom HoldCo DIP
Election”) and any DIP Liens on Avoidance Actions and commercial tort Claims at the Freedom
HoldCo Debtors shall not be deemed released, terminated and extinguished. For the avoidance of
doubt, to the extent the Freedom HoldCo DIP Election is made, the DIP Claims that are converted
in accordance with the immediately preceding sentence shall not convert into Take-Back Term
Loans or Reorganized Common Equity.

        Upon payment in full or satisfaction of all Allowed DIP Claims in accordance with the
terms of this Plan, all Liens and security interests granted to secure such obligations, whether in
the Chapter 11 Cases or otherwise, shall be terminated and of no further force or effect.

       3.2.     Administrative Expense Claims.

                (a)    Time for Filing Administrative Expense Claims.

        The Holder of an Administrative Expense Claim, other than DIP Claims, Intercompany
Claims, or U.S. Trustee fees that accrued on or before the Effective Date other than in the ordinary
course of business must File with the Bankruptcy Court and serve on the Reorganized Debtors or
proof of such Administrative Expense Claim no later than the Administrative Bar Date. Such
proof of Administrative Expense Claim must include at a minimum: (1) the name of the applicable
Debtor that is purported to be liable for the Administrative Expense Claim, and if the
Administrative Expense Claim is asserted against more than one Debtor, the exact amount asserted
to be owed by each such Debtor; (2) the name of the Holder of the Administrative Expense Claim;
(3) the asserted amount of the Administrative Expense Claim; (4) the basis of the Administrative
Expense Claim; and (5) supporting documentation for the Administrative Expense Claim.
FAILURE TO FILE AND SERVE SUCH PROOF OF ADMINISTRATIVE EXPENSE
CLAIM TIMELY AND PROPERLY SHALL RESULT IN SUCH CLAIM BEING
FOREVER BARRED AND DISCHARGED. IF FOR ANY REASON ANY SUCH
ADMINISTRATIVE EXPENSE CLAIM IS INCAPABLE OF BEING FOREVER
BARRED AND DISALLOWED, THEN THE HOLDER OF SUCH CLAIM SHALL IN NO
EVENT HAVE RECOURSE TO ANY PROPERTY TO BE DISTRIBUTED PURSUANT
TO THE PLAN.

      The Debtors or the Reorganized Debtors, as applicable, in consultation with the Required
Consenting First Lien Lenders, may settle Administrative Expense Claims in the ordinary course


                                                32
           Case 24-12480-LSS         Doc 1233        Filed 04/03/25   Page 38 of 197




of business without further Bankruptcy Court approval. The Debtors or the Reorganized Debtors,
as applicable, may also choose to object to any Administrative Expense Claim (other than a Cure
Cost, which will be addressed pursuant to Section 10.2 of this Plan) no later than the Claims
Objection Deadline, subject to extensions by the Bankruptcy Court, agreement in writing of the
parties, or on motion of a party in interest approved by the Bankruptcy Court. Unless the Debtors
or the Reorganized Debtors, as applicable (or other party with standing) object to a timely-Filed
and properly served Administrative Expense Claim, such Administrative Expense Claim will be
deemed Allowed in the amount requested after expiration of the Claims Objection Deadline (as
may be extended). In the event that the Debtors or the Reorganized Debtors, as applicable, object
to an Administrative Expense Claim, the parties may confer to try to reach a settlement and, failing
that, the Bankruptcy Court will determine whether such Administrative Expense Claim should be
Allowed and, if so, in what amount.

               (b)     Treatment of Administrative Expense Claims.

        Except with respect to Administrative Expense Claims that are Professional Fee Claims,
and except as provided in Section 3.2(c), and except to the extent that a Holder of an Allowed
Administrative Expense Claim and the applicable Debtor(s) agree to less favorable treatment, each
Holder of an Allowed Administrative Expense Claim shall be paid in full in Cash: (i) if such
Administrative Expense Claim is Allowed on or prior to the Effective Date, on the Effective Date
or as soon as reasonably practicable thereafter (or, if not then due, when such Allowed
Administrative Expense Claim is due or as soon as reasonably practicable thereafter); (ii) if such
Administrative Expense Claim is not Allowed as of the Effective Date, no later than thirty (30)
days after the date on which an order allowing such Administrative Expense Claim becomes a
Final Order, or as soon as reasonably practicable thereafter; (iii) if such Allowed Administrative
Expense Claim is based on liabilities incurred by the Debtors in the ordinary course of their
business after the Petition Date, to the extent consistent with the DIP Budget, in accordance with
the terms and conditions of the particular transaction giving rise to such Allowed Administrative
Expense Claim without any further action by the Holder of such Allowed Administrative Expense
Claim; (iv) at such time and upon such terms as may be agreed upon by such Holder and the
Debtor; or (v) at such time and upon such terms as set forth in an order of the Bankruptcy Court;
provided, however, that any Allowed Administrative Expense Claim that has been assumed by a
Buyer under the applicable Sale Documents shall not be an obligation of the Debtors and shall not
be entitled to any recovery from the Estates under the Plan.

               (c)     Second Lien Adequate Protection Claims.

        Notwithstanding anything to the contrary contained herein, to the extent the Bankruptcy
Court enters an order Allowing the Second Lien Adequate Protection Claims, such Allowed
Second Lien Adequate Protection Claims shall receive treatment consistent with the Existing First
Lien/Second Lien Intercreditor Agreement, which requires that any recovery or distribution on
account of any Allowed Second Lien Adequate Protection Claims be immediately, fully, and
indefeasibly paid over to the First Lien Credit Agreement Agent for the benefit of the Holders of
Prepetition First Lien Loan Claims in accordance with Section 8.17 hereof, and such treatment
shall be consistent with section 1129(a)(9) of the Bankruptcy Code to the extent applicable.




                                                33
              Case 24-12480-LSS      Doc 1233        Filed 04/03/25   Page 39 of 197




       3.3.     Professional Fee Claims.

                (a)    Final Fee Applications and Payment of Professional Fee Claims.

        All final requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred prior to the Confirmation Date must be Filed no later than
forty-five (45) days after the Effective Date. The Bankruptcy Court shall determine the Allowed
amounts of such Professional Fee Claims after notice and a hearing in accordance with the
procedures established by the Bankruptcy Court. The Reorganized Debtors shall pay Professional
Fee Claims in Cash in the amount the Bankruptcy Court allows, including from funds held in the
Professional Fee Escrow Account. The Reorganized Debtors shall establish the Professional Fee
Escrow Account in trust for the Professional Persons and fund such account with Cash equal to
the Professional Fee Escrow Amount on the Effective Date.

                (b)    Professional Fee Escrow Account.

        No later than the Effective Date, the Debtors or the Reorganized Debtors, as applicable,
shall establish and fund the Professional Fee Escrow Account with Cash equal to the Professional
Fee Escrow Amount. The Professional Fee Escrow Account shall be maintained in trust solely for
the Professional Persons. No Liens, Claims, or interests shall encumber the Professional Fee
Escrow Account or Cash held in the Professional Fee Escrow Account in any way. Such funds
shall not be considered property of the Estates of the Debtors or the Reorganized Debtors, as
applicable, on the Effective Date. The amount of Professional Fee Claims owing to the
Professional Persons shall be paid in Cash to such Professional Persons by the Reorganized
Debtors from the Professional Fee Escrow Account as soon as reasonably practicable after such
Professional Fee Claims are Allowed. When all such Allowed amounts owing to Professional
Persons have been paid in full, any remaining amount in the Professional Fee Escrow Account
shall promptly be transferred to the Reorganized Debtors without any further notice to or action,
approval, or order of the Bankruptcy Court.

                (c)    Professional Fee Escrow Amount.

        Professional Persons shall reasonably estimate their unpaid Professional Fee Claims and
other unpaid fees and expenses incurred in rendering services to the Debtors before and as of the
Effective Date and shall deliver such estimates to the Debtors no later than three (3) Business Days
before the Effective Date; provided, however, that such estimate shall not be deemed to limit the
amount of the fees and expenses that are the subject of the Professional Person’s final request for
payment of Filed Professional Fee Claims. If a Professional Person does not provide an estimate,
the Debtors or the Reorganized Debtors, as applicable, may estimate the unpaid and unbilled fees
and expenses of such Professional Person.

                (d)    Post-Effective Date Fees and Expenses.

        Upon the Effective Date, any requirement that Professional Persons comply with sections
327-331, 363, and 1103 of the Bankruptcy Code in seeking retention or compensation for services
rendered after such date shall terminate, and the Debtors or the Reorganized Debtors, as applicable,
may employ and pay any Professional Person in the ordinary course of business without any further
notice to or action, order, or approval of the Bankruptcy Court.


                                                34
              Case 24-12480-LSS        Doc 1233       Filed 04/03/25   Page 40 of 197




       3.4.     Priority Tax Claims.

                (a)    Time for Filing Priority Tax Claims.

        The Holder of a Priority Tax Claim must File with the Bankruptcy Court and serve on the
Reorganized Debtors, the Claims Agent, and the U.S. Trustee, proof of such Priority Tax Claim
by the Priority Tax Claims Bar Date. Such proof of Priority Tax Claim must include at a minimum:
(1) the name of the applicable Debtor that is purported to be liable for the Priority Tax Claim and
if the Priority Tax Claim is asserted against more than one Debtor, the exact amount asserted to be
owed by each such Debtor; (2) the name of the Holder of the Priority Tax Claim; (3) the asserted
amount of the Priority Tax Claim; (4) the basis of the Priority Tax Claim; and (5) supporting
documentation for the Priority Tax Claim. FAILURE TO FILE AND SERVE SUCH PROOF
OF PRIORITY TAX CLAIM TIMELY AND PROPERLY SHALL RESULT IN SUCH
CLAIM BEING FOREVER BARRED AND DISCHARGED. IF FOR ANY REASON ANY
SUCH PRIORITY TAX CLAIM IS INCAPABLE OF BEING FOREVER BARRED AND
DISALLOWED, THEN THE HOLDER OF SUCH CLAIM SHALL IN NO EVENT HAVE
RECOURSE TO ANY PROPERTY TO BE DISTRIBUTED PURSUANT TO THE PLAN.

                (b)    Treatment of Priority Tax Claims.

        Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to less favorable
treatment, in consultation with the Required Consenting First Lien Lenders, each Holder of an
Allowed Priority Tax Claim shall receive, in exchange for full and final satisfaction, settlement,
release, and the discharge of each Allowed Priority Tax Claim, either: (a) on the Effective Date
or as soon as reasonably practicable, Cash in an amount equal to such Claim; or (b) deferred Cash
payments following the Effective Date, over a period ending not later than five (5) years after the
Petition Date, in an aggregate amount equal to the Allowed amount of such Priority Tax Claim
(with any interest to which the Holder of such Priority Tax Claim may be entitled calculated in
accordance with section 511 of the Bankruptcy Code); provided that all Allowed Priority Tax
Claims that are not due and payable on or before the Effective Date shall be paid in the ordinary
course of business as they become due; provided, further, that (i) notwithstanding any provision
of the Plan or the Restructuring Support Agreement to the contrary, subject to clause (ii) below,
any Claim on account of a “use tax” assessed or assessable under applicable state Law shall be
assumed by and Reinstated against the applicable Reorganized Debtor and (ii) in the event of a
Partial Sale Transaction, any Allowed Priority Tax Claim that has been expressly assumed by a
Buyer under the Sale Documents shall not be an obligation of the Debtors. On the Effective Date,
any Liens securing any Allowed Priority Tax Claims shall be deemed released, terminated, and
extinguished, in each case without further notice to or order of the Bankruptcy Court, act, or action
under applicable Law, regulation, order or rule, or the vote, consent, authorization or approval of
any Person.

       3.5.     U.S. Trustee Fees and Related Reporting Obligations.

        All U.S. Trustee Fees that are due and owing as of the Effective Date shall be paid by the
Debtors in full in Cash on the Effective Date. The Debtors shall File all monthly operating reports
due prior to the Effective Date when they become due, using UST Form 11-MOR. After the
Effective Date, the Reorganized Debtors shall File with the Bankruptcy Court separate UST Form


                                                 35
              Case 24-12480-LSS      Doc 1233        Filed 04/03/25   Page 41 of 197




11-PCR reports when they become due. After the Effective Date, each of the Reorganized Debtors
(or the Disbursing Agent acting on behalf of each of the Reorganized Debtors) shall pay any and
all applicable U.S. Trustee Fees in full in Cash when due and payable. The Reorganized Debtors
shall remain obligated to pay any applicable U.S. Trustee Fees until the earliest of the closure,
dismissal, or conversion to a case under Chapter 7 of the Bankruptcy Code of the case of that
particular Debtor for whom the Debtors or the Reorganized Debtors, as applicable, is responsible.
The U.S. Trustee shall not be treated as providing any release under the Plan. U.S. Trustee Fees
are Allowed. The U.S. Trustee shall not be required to File any Proof of Claim or any request for
administrative expense for U.S. Trustee Fees. The provisions of this paragraph shall control
notwithstanding any other provision(s) in the Plan to the contrary.

       3.6.     Allocation of Payment of Certain Fees and Expenses.

         After taking into account the Intercompany Settlement, payment of any fees or expenses
(including any director, officer, and manager fees, to the extent applicable) allocable to Freedom
VCM Holdings, LLC with respect to the restructuring (including the Restructuring Transactions)
or administration of the Chapter 11 Cases shall be conditioned upon an allocation among Freedom
VCM Holdings, LLC and the other Debtors to be agreed upon in good faith between the Debtors
and the Required Consenting First Lien Lenders (the “TopCo Allocated Fees and Expenses”).
Freedom VCM Holdings, LLC shall be required to use any Cash it has on hand to pay its ratable
share of such TopCo Allocated Fees and Expenses, if any; provided that, for the avoidance of
doubt, Freedom VCM Holdings, LLC, shall not otherwise use any of its Cash, except as otherwise
set forth in the Intercompany Settlement, to fund distributions under the Plan until an agreement
is reached on the TopCo Allocated Fees and Expenses; provided, further, that if the allocation
results in Freedom VCM Holdings, LLC holding a Claim against another Debtor, such Claim shall
be entitled to administrative expense priority. For the avoidance of doubt, notwithstanding the
allocation mechanism for the TopCo Allocated Fees and Expenses, nothing herein shall limit each
Professional Persons’ entitlement to their Professional Fee Claims as against all Debtors.

          Payment of any fees or expenses (including any director, officer, and manager fees, to the
extent applicable) allocable to the Freedom HoldCo Debtors with respect to the restructuring
(including the Restructuring Transactions) or administration of the Chapter 11 Cases shall be
subject to the terms of, (a) in the case of the fees and expenses of the Freedom HoldCo Independent
Director, that certain letter agreement dated as of December 9, 2024 between the Freedom HoldCo
Debtors and Michael J. Wartell of Bluerose Associates LLC, (b) in the case of the fees and
expenses of any advisors hired by the Freedom HoldCo Independent Director, any order approving
the retention of the same, and (c) in the case of any other fees and expenses allocable to the
Freedom HoldCo Debtors, Paragraphs 2(c) and (j) of the Interim Compensation Order; provided
that, if the Intercompany Settlement Conditions are satisfied, no amounts shall be allocated to the
Freedom HoldCo Debtors or TopCo. For the avoidance of doubt, subject to satisfaction of the
Intercompany Settlement Conditions, any DIP Claims or other Administrative Expense Claims
that could be asserted against the Freedom HoldCo Debtors, including on account of any costs of
the administration of the Chapter 11 Cases and Professional Fee Claims, are waived.




                                                36
              Case 24-12480-LSS        Doc 1233        Filed 04/03/25    Page 42 of 197




                                   ARTICLE IV.
                     CLASSIFICATION OF CLAIMS AND INTERESTS

       4.1.     Classification of Claims and Interests.

         Except for the Claims addressed in Article III hereof or as otherwise set forth herein, all
Claims and Interests are classified in the Classes set forth below in accordance with sections 1122
and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified
in a particular Class only to the extent that any portion of such Claim or Interest qualifies within
the description of that Class and is classified in other Classes to the extent that any portion of such
Claim or Interest qualifies within the description of such other Classes. A Claim or an Interest
also is classified in a particular Class for the purpose of receiving distributions under this Plan only
to the extent that such Claim or Interest is an Allowed Claim or Allowed Interest in that Class and
has not been paid, released, or otherwise satisfied prior to the Effective Date.

        This Plan constitutes a separate Plan for each of the Debtors, and the classification of
Claims and Interests set forth herein shall apply separately to each of the Debtors. All of the
potential Classes for the Debtors are set forth herein. Such groupings shall not affect any Debtor’s
status as a separate legal Entity, change the organizational structure of the Debtors’ business
enterprise, constitute a change of control of any Debtor for any purpose, cause a merger or
consolidation of any legal Entities, or cause the transfer of any assets, and, except as otherwise
provided by or permitted under this Plan.

       The classification of Claims against and Interests in the Debtors pursuant to this Plan is as
follows:

  Class               Claims and Interest                Status           Voting Rights
 Class 1      Priority Non-Tax Claims                  Unimpaired Not Entitled to Vote (Presumed
                                                                             to Accept)
 Class 2      Other Secured Claims                     Unimpaired Not Entitled to Vote (Presumed
                                                                             to Accept)
 Class 3  Prepetition ABL Loan Claims                   Impaired         Entitled to Vote
 Class 4  Prepetition First Lien Loan Claims            Impaired         Entitled to Vote
 Class 5  Prepetition Second Lien Loan                  Impaired         Entitled to Vote
          Claims
 Class 6  General Unsecured Claims against               Impaired             Entitled to Vote
          the OpCo Debtors
 Class 7  Prepetition HoldCo Loan Claims                 Impaired             Entitled to Vote
 Class 8- Freedom HoldCo General                         Impaired             Entitled to Vote
 A        Unsecured Claims
 Class 8- HoldCo Receivables General                     Impaired             Entitled to Vote
 B        Unsecured Claims
 Class 8- TopCo General Unsecured Claims                 Impaired             Entitled to Vote
 C




                                                  37
              Case 24-12480-LSS      Doc 1233        Filed 04/03/25   Page 43 of 197




  Class              Claims and Interest                Status             Voting Rights
 Class 9      Intercompany Claims                    Unimpaired         Not Entitled to Vote
                                                     / Impaired        (Presumed to Accept) /
                                                                        Not Entitled to Vote
                                                                         (Deemed to Reject)
 Class 10     Subordinated Claims                      Impaired         Not Entitled to Vote
                                                                         (Deemed to Reject)
 Class 11     Existing TopCo Equity Interests         Impaired             Entitled to Vote
 Class 12     Existing Intercompany Equity           Unimpaired         Not Entitled to Vote
              Interests                              / Impaired        (Presumed to Accept) /
                                                                        Not Entitled to Vote
                                                                         (Deemed to Reject)

        The Plan consolidates certain Claims against all Debtors solely for purposes of voting and
Confirmation. In accordance with section 1123(a)(1) of the Bankruptcy Code, the Debtors have
not classified Administrative Expense Claims, DIP Claims, Professional Fee Claims, U.S. Trustee
Fees, and Priority Tax Claims as described in Article III.

       If a controversy arises regarding whether any Claim is properly classified under the Plan,
the Bankruptcy Court shall, upon proper motion and notice, determine such controversy at the
Confirmation Hearing. If the Bankruptcy Court finds that the classification of any Claim is
improper, then such Claim shall be reclassified and the Ballot previously cast by the Holder of
such Claim shall be counted in, and the Claim shall receive the treatment prescribed in, the Class
in which the Bankruptcy Court determines such Claim should have been classified, without the
necessity of resoliciting any votes on the Plan.

       4.2.     Unimpaired Classes of Claims.

        The following Classes of Claims are Unimpaired and, therefore, deemed to have accepted
this Plan and are not entitled to vote on this Plan under section 1126(f) of the Bankruptcy Code:

                (a)    Class 1: Class 1 consists of all Priority Non-Tax Claims.

                (b)    Class 2: Class 2 consists of all Other Secured Claims.

       4.3.     Impaired Classes of Claims.

        The following Classes of Claims and Interests are Impaired and entitled to vote on
this Plan:

                (a)    Class 3: Class 3 consists of all Prepetition ABL Loan Claims.

                (b)    Class 4: Class 4 consists of all Prepetition First Lien Loan Claims.

                (c)    Class 5: Class 5 consists of all Prepetition Second Lien Loan Claims.

                (d)    Class 6: Class 6 consists of all General Unsecured Claims against the OpCo
                       Debtors.


                                                38
              Case 24-12480-LSS      Doc 1233        Filed 04/03/25   Page 44 of 197




                (e)    Class 7: Class 7 consists of all Prepetition HoldCo Loan Claims.

                (f)    Class 8-A: Class 8-A consists of all Freedom HoldCo General Unsecured
                       Claims.

                (g)    Class 8-B: Class 8-B consists of all HoldCo Receivables General Unsecured
                       Claims.

                (h)    Class 8-C: Class 8-C consists of all TopCo General Unsecured Claims.

                (i)    Class 11: Class 11 consists of all Existing TopCo Equity Interests.

       The following Class of Claims is Impaired and is not entitled to vote on this Plan:

                (a)    Class 10: Class 10 consists of all Subordinated Claims.

        The following Classes of Claims and Interests are Impaired or Unimpaired and are not
entitled to vote on this Plan:

                (a)    Class 9: Class 9 consists of all Intercompany Claims.

                (b)    Class 12: Class 12 consists of all Existing Intercompany Equity Interests.

       4.4.     Separate Classification of Other Secured Claims.

       Although all Other Secured Claims have been placed in one Class for purposes of
nomenclature, each Other Secured Claim, to the extent secured by a Lien on Collateral different
than that securing any additional Other Secured Claims, shall be treated as being in a separate
sub-Class for the purpose of receiving distributions under this Plan.

                                  ARTICLE V.
                       TREATMENT OF CLAIMS AND INTERESTS

       5.1.     Priority Non-Tax Claims (Class 1).

                (a)    Treatment: The legal, equitable and contractual rights of the Holders of
Allowed Priority Non-Tax Claims are unaltered by the Plan. In full and final satisfaction,
compromise, settlement, release, and discharge of each Allowed Priority Non-Tax Claim, except
to the extent that a Holder of an Allowed Priority Non-Tax Claim agrees to a lesser treatment, on
the Effective Date, each Holder of an Allowed Priority Non-Tax Claim shall receive (at the election
of the Debtors in consultation with the Required Consenting First Lien Lenders): (i) Cash in an
amount equal to such Allowed Claim or in the ordinary course of business as and when due; or
(ii) such other treatment that will render such Allowed Priority Non-Tax Claim Unimpaired
pursuant to section 1124 of the Bankruptcy Code. In the event of a Partial Sale Transaction, any
Allowed Priority Non-Tax Claim that has been expressly assumed by the applicable Buyer under
the applicable Sale Documents shall not be an obligation of the Debtors.




                                                39
              Case 24-12480-LSS       Doc 1233        Filed 04/03/25    Page 45 of 197




               (b)    Voting: Priority Non-Tax Claims are not Impaired Claims. In accordance
with section 1126(f) of the Bankruptcy Code, the Holders of Priority Non-Tax Claims are
conclusively presumed to accept this Plan and are not entitled to vote to accept or reject the Plan,
and the votes of such Holders will not be solicited with respect to such Allowed Priority Non-Tax
Claims.

       5.2.     Other Secured Claims (Class 2).

                (a)     Treatment: The legal, equitable and contractual rights of the Holders of
Allowed Other Secured Claims are unaltered by the Plan. In full and final satisfaction,
compromise, settlement, release, and discharge of each Allowed Other Secured Claim, except to
the extent that a Holder of an Allowed Other Secured Claim agrees to a different treatment, on the
Effective Date each Holder of an Allowed Other Secured Claim shall receive: (i) Cash in an
amount equal to such Allowed Claim; or (ii) such other treatment that will render such Other
Secured Claim Unimpaired pursuant to section 1124 of the Bankruptcy Code; provided, however,
that, to the extent consistent with the DIP Budget, Other Secured Claims incurred by a Debtor in
the ordinary course of business may be paid in the ordinary course of business in accordance with
the terms and conditions of any agreements relating thereto, without further notice to or order of
the Bankruptcy Court; provided, further, that in the event of a Partial Sale Transaction, any Other
Secured Claim that has been expressly assumed by the applicable Buyer under the applicable Sale
Documents shall not be an obligation of the Debtors.

        Each Holder of an Allowed Other Secured Claim shall retain the Liens securing its Allowed
Other Secured Claim as of the Effective Date until full and final satisfaction of such Allowed Other
Secured Claim is made as provided herein. Upon the full payment or other satisfaction of each
Allowed Other Secured Claim in accordance with the Plan, the Liens securing such Allowed Other
Secured Claim shall be deemed released, terminated and extinguished, in each case without further
notice to or order of the Bankruptcy Court, act or action under applicable Law, regulation, order
or rule or the vote, consent, authorization or approval of any Person and the Holder of such Claims
shall deliver to the Debtors or Reorganized Debtors, as applicable, any Collateral or other property
of a Debtor held by such Holder, together with any termination statements, instruments of
satisfaction, or releases of all security interests with respect to its Claims that may be reasonably
required to terminate any related financing statements, guaranties, or lis pendens, or similar
interests or documents. Furthermore, upon full payment or other satisfaction of the foregoing
Claims, on or after the Effective Date the Debtors or the Reorganized Debtors, at their expense,
may, in their sole discretion, take any action necessary to terminate, cancel, extinguish, or evidence
the release of any and all guaranties, pledges, and other security interests with respect to such
Claims, including, without limitation, the preparation and filing of any and all documents
necessary to terminate, satisfy, or release any guaranties, mortgages, deeds of trust, Liens, pledges,
and other security interests, including, without limitation, UCC-3 termination statements.

              (b)     Deficiency Claims: To the extent that the value of the Collateral securing
any Other Secured Claim is less than the Allowed amount of such Other Secured Claim, the
undersecured portion of such Allowed Claim shall be treated for all purposes under this Plan as a
General Unsecured Claim, only as applicable, and shall be classified and treated as a Class 6 Claim
or Class 8-A Claim, Class 8-B Claim, or Class 8-C Claim, only as applicable.



                                                 40
              Case 24-12480-LSS      Doc 1233        Filed 04/03/25   Page 46 of 197




               (c)    Voting: The Other Secured Claims are not Impaired Claims. In accordance
with section 1126(f) of the Bankruptcy Code, the Holders of Other Secured Claims are
conclusively presumed to accept this Plan and are not entitled to vote to accept or reject the Plan,
and the votes of such Holders will not be solicited with respect to such Allowed Other Secured
Claims.

       5.3.     Prepetition ABL Loan Claims (Class 3).

                (a)     Treatment: On the Effective Date, the Prepetition ABL Loan Claims shall
be Allowed under this Plan in the amount of $197 million plus interest, fees, costs, charges, and
other amounts arising under or in connection with the Prepetition ABL Loan Claims (including,
without limitation, any reimbursement obligations under outstanding letters of credit), and shall
not be subject to any avoidance, reductions, setoff, offset, recoupment, recharacterization,
subordination (whether equitable, contractual, or otherwise), counterclaims, cross-claims,
defenses, disallowance, impairment, objection, or any other challenges under any applicable Law
or regulation by any Person. In full and final satisfaction, compromise, settlement, release, and
discharge of each Prepetition ABL Loan Claim, except to the extent that the ABL Credit
Agreement Agent or a Holder of a Prepetition ABL Loan Claim agrees to different treatment with
respect to such Holder’s Claim, on the Effective Date, or as soon as practicable thereafter, each
Holder of an Allowed Prepetition ABL Loan Claim shall receive its pro rata share of (i) the
American Freight Liquidation Proceeds and Cash Sale Proceeds, as applicable, resulting from the
sale of any ABL Priority Collateral, including as a result of any Partial Sale Transactions, if
applicable, and (ii) (A) proceeds of the Exit ABL Facility, or (B) loans under the Take-Back ABL
Term Loan Facility, in each case in an amount equal to the amount of the Prepetition ABL Loan
Claims minus any amounts to be distributed under clause (i) hereunder.

                (b)    Voting: The Prepetition ABL Loan Claims are Impaired Claims. Holders
of such Claims are entitled to vote to accept or reject the Plan, and the votes of such Holders will
be solicited with respect to such Prepetition ABL Loan Claims.

       5.4.     Prepetition First Lien Loan Claims (Class 4).

               (a)     Treatment: On the Effective Date, the Prepetition First Lien Loan Claims
shall be Allowed under this Plan in the amount set forth in the Final DIP Order, and shall not be
subject to any avoidance, reductions, setoff, offset, recoupment, recharacterization, subordination
(whether equitable, contractual, or otherwise), counterclaims, cross-claims, defenses,
disallowance, impairment, objection, or any other challenges under any applicable Law or
regulation by any Person. In full and final satisfaction, compromise, settlement, release, and
discharge of each Prepetition First Lien Loan Claim, except to the extent that the First Lien Credit
Agreement Agent or a Holder of a Prepetition First Lien Loan Claim agrees to less favorable
treatment with respect to such Holder’s Claim, on the Effective Date, each Holder of an Allowed
Prepetition First Lien Loan Claim shall receive, subject to the terms of this Plan, payment of all
outstanding unreimbursed fees and expenses, if any, and its pro rata share of (i) American Freight
Liquidation Proceeds and Cash Sale Proceeds, as applicable, resulting from the sale of any Term
Loan Priority Collateral (as defined in the Existing ABL Intercreditor Agreement), including as a
result of any Partial Sale Transaction, if applicable, and (ii) 100% of the Reorganized Common
Equity (subject to dilution by (1) the Management Incentive Plan, (2) the DIP Premium


                                                41
              Case 24-12480-LSS        Doc 1233        Filed 04/03/25    Page 47 of 197




Conversion, (3) the DIP Equitization, (4) the New Warrants, if applicable, and (5) the Prepetition
Second Lien Loan Equity Allocation, if applicable).

                (b)    Deficiency Claims: If applicable, any First Lien Deficiency Claims shall
be classified and treated as a Class 6 Claim and any Holder of such Claim shall receive its share
of the recovery pari passu and ratably with the Holders of the Claims in Class 6.

               (c)     Voting: The Prepetition First Lien Loan Claims are Impaired Claims.
Holders of such Claims are entitled to vote to accept or reject the Plan, and the votes of such
Holders will be solicited with respect to such Prepetition First Lien Loan Claims.

       5.5.     Prepetition Second Lien Loan Claims (Class 5).

                (a)    Treatment: On the Effective Date, the Prepetition Second Lien Loan Claims
shall be Allowed under this Plan in the amount set forth in the Final DIP Order, and shall not be
subject to any avoidance, reductions, setoff, offset, recoupment, recharacterization, subordination
(whether equitable, contractual, or otherwise), counterclaims, cross-claims, defenses,
disallowance, impairment, objection, or any other challenges under any applicable Law or
regulation by any Person. In full and final satisfaction, compromise, settlement, release, and
discharge of each Prepetition Second Lien Loan Claim, except to the extent that a Holder of a
Prepetition Second Lien Loan Claim agrees to less favorable treatment, on the Effective Date, or
as soon as practicable thereafter, each Holder of an Allowed Prepetition Second Lien Loan Claim
shall receive its pro rata share of the Litigation Trust Units, and, solely if, prior to the Consent
Deadline, the members of the Freedom Lender Group (i) vote to accept the Plan and opt in to the
Third-Party Release on account of all of their Claims and in all capacities and (ii) stay all litigation
and appeals brought or initiated by the Freedom Lender Group related to the Debtors or the Chapter
11 Cases, its pro rata share of: (x) the Prepetition Second Lien Loan Cash Consideration; (y) the
Prepetition Second Lien Loan Equity Allocation; and (z) the New Warrants.

               (b)     Voting: The Prepetition Second Lien Loan Claims are Impaired Claims. In
accordance with section 1126(g) of the Bankruptcy Code. Holders of such Claims are entitled to
vote to accept or reject the Plan, and the votes of such Holders will be solicited with respect to
such Prepetition Second Lien Loan Claims.

       5.6.     OpCo General Unsecured Claims (Class 6).

               (a)      Treatment: In full and final satisfaction, compromise, settlement, release,
and discharge of each Allowed OpCo General Unsecured Claim, except to the extent that a Holder
of a General Unsecured Claim against any OpCo Debtor agrees to less favorable treatment, on the
Effective Date, or as soon as practicable thereafter, each Holder of an Allowed General Unsecured
Claim at any OpCo Debtor shall receive its pro rata share of the Litigation Trust Units allocable
to the OpCo Debtor(s) it holds Claims against.

             (b)     Voting: The General Unsecured Claims at the OpCo Debtors are Impaired
Claims. Holders of such Claims are entitled to vote to accept or reject the Plan, and the votes of
such Holders will be solicited with respect to such General Unsecured Claims at the applicable
OpCo Debtors.



                                                  42
              Case 24-12480-LSS      Doc 1233        Filed 04/03/25   Page 48 of 197




       5.7.     Prepetition HoldCo Loan Claims (Class 7).

                (a)     Treatment: In full and final satisfaction, compromise, settlement, release,
and discharge of each Allowed Prepetition HoldCo Loan Claim, except to the extent that a Holder
of a Prepetition HoldCo Loan Claim agrees to less favorable treatment, on the Effective Date, or
as soon as practicable thereafter, each Holder of an Allowed Prepetition HoldCo Loan Claim shall
receive, solely if Class 7 votes to accept the Plan and the Plan is confirmed with respect to the
Freedom HoldCo Debtors, its pro rata share of the Litigation Trust Units allocable to the Freedom
HoldCo Debtor(s) it holds Claims against. For the avoidance of doubt, if Class 7 does not vote to
accept the Plan and the Plan is not otherwise confirmed with respect to the Freedom HoldCo
Debtors, all Claims against the Freedom HoldCo Debtors shall be preserved.

               (b)     Voting: The Prepetition HoldCo Loan Claims are Impaired Claims.
Holders of such Claims are entitled to vote to accept or reject the Plan, and the votes of such
Holders will be solicited with respect to such Prepetition HoldCo Loan Claims.

       5.8.     Freedom HoldCo General Unsecured Claims (Class 8-A).

                (a)     Treatment: In full and final satisfaction, compromise, settlement, release,
and discharge of each Allowed Freedom HoldCo General Unsecured Claim, except to the extent
that a Holder of an Allowed Freedom HoldCo General Unsecured Claim agrees to less favorable
treatment on account of its Claim, on the Effective Date, or as soon as practicable thereafter, each
Holder of an Allowed Freedom HoldCo General Unsecured Claim shall receive its pro rata share
of the Litigation Trust Units allocable to the Freedom HoldCo Debtor(s) it holds Claims against.

              (b)     Voting: The Freedom HoldCo General Unsecured Claims are Impaired
Claims. Holders of such Claims are entitled to vote to accept or reject the Plan, and the votes of
such Holders will be solicited with respect to such Freedom HoldCo General Unsecured Claims.

       5.9.     HoldCo Receivables General Unsecured Claims (Class 8-B).

                (a)     Treatment: In full and final satisfaction, compromise, settlement, release,
and discharge of each Allowed HoldCo Receivables General Unsecured Claim, except to the
extent that a Holder of an Allowed HoldCo Receivables General Unsecured Claim agrees to less
favorable treatment on account of its Claim, on the Effective Date, or as soon as practicable
thereafter, each Holder of an Allowed HoldCo Receivables General Unsecured Claim shall receive
its pro rata share of Cash, if any, held by the HoldCo Receivables Debtors. If there is no Cash
held at the HoldCo Receivables Debtors after paying all Claims in Class 8-B that are senior or
structurally senior to the Allowed HoldCo Receivables General Unsecured Claims, if applicable,
then such Holder of a HoldCo Receivables General Unsecured Claim shall receive no
consideration on account of its HoldCo Receivables General Unsecured Claim.

             (b)     Voting: The HoldCo Receivables General Unsecured Claims are Impaired
Claims. Holders of such Claims are entitled to vote to accept or reject the Plan, and the votes of
such Holders will be solicited with respect to such HoldCo Receivables General Unsecured
Claims.




                                                43
            Case 24-12480-LSS         Doc 1233        Filed 04/03/25    Page 49 of 197




       5.10.   TopCo General Unsecured Claims (Class 8-C).

                (a)     Treatment: In full and final satisfaction, compromise, settlement, release,
and discharge of each Allowed TopCo General Unsecured Claim, except to the extent that a Holder
of an Allowed TopCo General Unsecured Claim agrees to less favorable treatment on account of
its Claim, on the Effective Date, or as soon as practicable thereafter, each Holder of an Allowed
TopCo General Unsecured Claim shall receive its pro rata share of Cash, if any, held by TopCo
following payment of approximately $13.25 million to the Litigation Trust Escrow Account (on
the terms set forth herein) and payment of the allocation described in Section 3.6 hereof, as
applicable. If there is no Cash held at TopCo following payment of the approximately $13.25 to
the Litigation Trust Escrow Account and the allocation described in Section 3.6 hereof, as
applicable, then such Holder of a TopCo General Unsecured Claim shall receive no consideration
on account of its TopCo General Unsecured Claim.

               (b)     Voting: The TopCo General Unsecured Claims are Impaired Claims.
Holders of such Claims are entitled to vote to accept or reject the Plan, and the votes of such
Holders will be solicited with respect to such TopCo General Unsecured Claims.

       5.11.   Intercompany Claims (Class 9).

                 (a)      Treatment: On or after the Effective Date, or as soon as practicable
thereafter, (i) any and all Intercompany Claims between, among and/or against, Franchise Group,
Inc. and any of its direct or indirect subsidiaries (including, for the avoidance of doubt, the
American Freight Debtors, the Buddy’s Debtors, the PSP Debtors, and the Vitamin Shoppe
Debtors, to the extent each of the foregoing constitute Non-Partial Sale Transaction Debtors) shall,
at the option of the Debtors and the Required Consenting First Lien Lenders, either be
(A) Reinstated or (B) set off, settled, discharged, contributed, canceled, released, without any
distribution on account of such Intercompany Claims, or otherwise addressed, and (ii) any and all
Intercompany Claims between and among the HoldCo Debtors shall, at the option of the Debtors,
in consultation with the Required Consenting First Lien Lenders, either be (A) Reinstated or
(B) set off, settled, discharged, contributed, canceled, released, without any distribution on account
of such Intercompany Claims, or otherwise addressed; provided, however, that notwithstanding
the foregoing, in the event the Plan is not confirmed with respect to any of the Freedom HoldCo
Debtors, all Intercompany Claims held by any of the OpCo Debtors against any of the Freedom
HoldCo Debtors (if any) shall be transferred to the Litigation Trust, and all Intercompany Claims
held by any of the Freedom HoldCo Debtors against (x) any of the OpCo Debtors (if any) shall, in
full and final and satisfaction, compromise, settlement, release, and discharge of such
Intercompany Claims, be treated as Class 6 OpCo General Unsecured Claims hereunder and
(y) TopCo (if any) shall, in full and final and satisfaction, compromise, settlement, release, and
discharge of such Intercompany Claims, be treated as Class 8-C TopCo General Unsecured Claims
hereunder. To the extent any Intercompany Claim is Reinstated, or otherwise adjusted (including
by contribution, distribution in exchange for new debt or equity, or otherwise), paid or continued
as of the Effective Date, any such transaction may be effected on or after the Effective Date without
any further action by the Bankruptcy Court, act or action under applicable Law, regulation, order
or rule or the vote, consent, authorization or approval of any Person.




                                                 44
            Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 50 of 197




               (b)     Voting: The Intercompany Claims are Reinstated or Impaired if the
Allowed Intercompany Claims are canceled. Holders of Allowed Intercompany Claims are
conclusively presumed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy
Code or rejected this Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, such
Holders are not entitled to vote to accept or reject the Plan, and will not be solicited with respect
to such Allowed Intercompany Claims.

       5.12.   Subordinated Claims (Class 10).

                (a)    Treatment: Each Holder of a Subordinated Claim shall receive no
distribution or recovery on account of its Subordinated Claim.

               (b)   Voting: The Subordinated Claims are Impaired Claims. In accordance with
section 1126(g) of the Bankruptcy Code, the Holders of Allowed Subordinated Claims are
conclusively presumed to reject this Plan and are not entitled to vote to accept or reject the Plan,
and the votes of such Holders will not be solicited with respect to such Allowed Subordinated
Claims.

       5.13.   Existing TopCo Equity Interests (Class 11).

                 (a)     Treatment: In full and final satisfaction, compromise, settlement, release,
and discharge of each Allowed Existing TopCo Equity Interest, except to the extent that a Holder
of an Allowed Existing TopCo Equity Interest agrees to less favorable treatment, on the Effective
Date, or as soon as practicable thereafter, each Holder of an Allowed Existing TopCo Equity
Interest shall receive (i) its pro rata share of Cash (if any) held by TopCo after paying all Allowed
Claims against TopCo and following the allocation described in Section 3.6 hereof, or (ii) if there
is no Cash held at TopCo, no consideration on account of its Allowed Existing TopCo Equity
Interest and on the Effective Date, all Allowed Existing TopCo Equity Interest shall be canceled,
released, and extinguished, and will be of no further force or effect, and Holders of Allowed
Existing TopCo Equity Interest shall not receive or retain any property or distributions under this
Plan on account of such Allowed Existing TopCo Equity Interest.

               (b)     Voting: The Existing TopCo Equity Interests are Impaired Interests.
Holders of such Interests are entitled to vote to accept or reject the Plan, and the votes of such
Holders will be solicited with respect to such Existing TopCo Equity Interests.

       5.14.   Existing Intercompany Equity Interests (Class 12).

               (a)    Treatment: Subject to the Restructuring Transactions Memorandum, each
Allowed Existing Intercompany Equity Interest shall be, at the option of the applicable Debtor or
Reorganized Debtor, either (i) Reinstated or (ii) set off, settled, distributed, contributed, canceled,
and released without any distribution on account of such Existing Intercompany Equity Interests,
or otherwise addressed at the option of the Reorganized Debtors and the Required Consenting First
Lien Lenders.

               (b)   Voting: The Existing Intercompany Equity Interests are Reinstated or
Impaired if the Allowed Existing Equity Interests are canceled. Holders of Allowed Existing
Intercompany Equity Interests are conclusively presumed to have accepted the Plan pursuant to


                                                  45
               Case 24-12480-LSS       Doc 1233         Filed 04/03/25    Page 51 of 197




section 1126(f) of the Bankruptcy Code or rejected this Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the Plan, and
the votes of such Holders will not be solicited with respect to such Allowed Existing Intercompany
Equity Interests.

                             ARTICLE VI.
            ACCEPTANCE OR REJECTION OF THE PLAN; EFFECT
     OF REJECTION BY ONE OR MORE CLASSES OF CLAIMS OR INTERESTS

        6.1.     Class Acceptance Requirement.

          Pursuant to section 1126(c) of the Bankruptcy Code and except as otherwise provided in
section 1126(e) of the Bankruptcy Code, an Impaired Class of Claims shall have accepted the Plan
if it is accepted by at least two-thirds (2/3) in dollar amount and more than one-half (1/2) in number
of Holders of the Allowed Claims in such Class that have voted on the Plan. A Class of Interests
that is entitled to vote on the Plan has accepted the Plan if it is accepted by at least two-thirds (2/3)
in amount of Allowed Interests of such Class that have voted on the Plan.

        6.2.     Tabulation of Votes on a Non-Consolidated Basis.

        All votes on the Plan shall be tabulated on a non-consolidated basis by Class and by Debtor
for the purpose of determining whether the Plan satisfies sections 1129(a)(8) and/or (10) of the
Bankruptcy Code.

     6.3. Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code or
“Cramdown.”

         Because certain Classes are deemed to have rejected this Plan or may vote to reject the
Plan, the Debtors will request Confirmation of this Plan, as it may be modified and amended from
time to time, under section 1129(b) of the Bankruptcy Code with respect to such Classes. Subject
to Section 14.3 and Section 14.4 of this Plan, the Debtors reserve the right to alter, amend, modify,
revoke or withdraw the Plan or any Plan Document as to any particular Debtor, including, for the
avoidance of doubt, with respect to the Freedom HoldCo Debtors, in order to satisfy the
requirements of section 1129(b) of the Bankruptcy Code, if necessary. Subject to Section 14.3
and Section 14.4 of this Plan, the Debtors also reserve the right to request Confirmation of the
Plan, as it may be modified, supplemented or amended from time to time, with respect to any Class
that affirmatively votes to reject the Plan.

        6.4.     Voting Classes; Deemed Acceptance or Rejection by Non-Voting Classes.

        If a Class contains Claims or Interests eligible to vote and no Holders of Claims or Interests
eligible to vote in such Class vote to accept or reject the Plan, the Plan shall be deemed accepted
by such Class.

        Claims in Classes 1 and 2 are Unimpaired under this Plan and Holders of Claims or
Interests in such Classes are, therefore, conclusively presumed to have accepted this Plan pursuant
to section 1126(f) of the Bankruptcy Code. Therefore, Holders of Claims in Classes 1 and 2 are
not entitled to vote to accept or reject this Plan.


                                                   46
              Case 24-12480-LSS       Doc 1233        Filed 04/03/25   Page 52 of 197




        Claims in Class 10 are Impaired and shall receive no distributions under this Plan and
Holders of Claims or Interests in such Classes are, therefore, conclusively deemed to have rejected
this Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Claims in
Class 10 are not entitled to vote on this Plan and votes of such Holders shall not be solicited.

        Claims or Interests in Classes 9 and 12 are Reinstated or Impaired if the Claims or Interests
in such Classes are canceled and are, therefore, conclusively presumed to have accepted this Plan
pursuant to section 1126(f) of the Bankruptcy Code or deemed to have rejected this Plan pursuant
to section 1126(g) of the Bankruptcy Code. Notwithstanding the foregoing, in the event the Plan
is not confirmed with respect to any of the Freedom HoldCo Debtors, all Intercompany Claims
held by any of the OpCo Debtors against any of the Freedom HoldCo Debtors (if any) shall be
transferred to the Litigation Trust, and all Intercompany Claims held by any of the Freedom
HoldCo Debtors against (x) any of the OpCo HoldCo Debtors (if any) shall, in full and final and
satisfaction, compromise, settlement, release, and discharge of such Intercompany Claims, be
treated as Class 6 OpCo General Unsecured Claims hereunder and (y) TopCo (if any) shall, in full
and final and satisfaction, compromise, settlement, release, and discharge of such Intercompany
Claims, be treated as Class 8-C TopCo General Unsecured Claims hereunder. Therefore, Holders
of Claims or Interests in Classes 9 and 12 are not entitled to vote on this Plan and votes of such
Holders shall not be solicited.

       6.5.     Vacant and Abstaining Classes.

        Any Class of Claims or Interests that is not occupied as of the commencement of the
Confirmation Hearing by an Allowed Claim or Allowed Interest or a Claim or Interest temporarily
Allowed under Bankruptcy Rule 3018 shall be deemed eliminated from this Plan for purposes of
voting to accept or reject this Plan and for purposes of determining acceptance or rejection of this
Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code. Moreover, any Class
of Claims that is occupied as of the commencement of the Confirmation Hearing by an Allowed
Claim or a Claim temporarily Allowed under Bankruptcy Rule 3018, but as to which no vote is
cast, shall be presumed to accept this Plan pursuant to section 1129(a)(8) of the Bankruptcy Code.

       6.6.     Controversy Concerning Impairment.

        If a controversy arises as to whether any Claim or Interest (or any Class of Claims or
Interests) is Impaired under this Plan, the Bankruptcy Court shall, after notice and a hearing,
determine such controversy on or prior to the Confirmation Date, absent consensual resolution of
such controversy consistent with the Restructuring Support Agreement among the Debtors and the
complaining Entity or Entities, in consultation with the Required Consenting First Lien Lenders.

       6.7.     Special Provision Governing Unimpaired Claims.

        Except as otherwise provided in this Plan, nothing under this Plan or the Plan Supplement
shall affect the rights of the Debtors or the Reorganized Debtors, as applicable, regarding any
Unimpaired Claims, including, all rights regarding legal and equitable defenses to, or setoffs or
recoupments against, any such Unimpaired Claims.




                                                 47
              Case 24-12480-LSS        Doc 1233        Filed 04/03/25    Page 53 of 197




                                  ARTICLE VII.
                     MEANS FOR IMPLEMENTATION OF THE PLAN

       7.1.     Non-Substantive Consolidation.

        The Plan is a joint plan that does not provide for substantive consolidation of the Debtors’
Estates, and on the Effective Date, the Debtors’ Estates shall not be deemed to be substantively
consolidated for purposes hereof. Nothing in this Plan shall constitute or be deemed to constitute
an admission that any one of the Debtors is subject to or liable for any Claim against any other
Debtor. Additionally, claimants holding Claims and Interests against multiple Debtors, to the
extent Allowed in each Debtor’s Chapter 11 Case, will be treated as holding a separate Claim or
separate Interest, as applicable, against each Debtor’s Estate; provided, however, that no Holder
of an Allowed Claim shall be entitled to receive more than payment in full of such Allowed Claim
(plus postpetition interest, if and to the extent provided in this Plan), and such Claims will be
administered and treated in the manner provided in this Plan.

       7.2.     Plan Equitization Transaction.

        Before, on, and after the Effective Date, the applicable Debtors or the Reorganized Debtors
or New TopCo, as applicable, may, consistent with the terms of the Restructuring Support
Agreement, take enter into any transaction and take all actions as may be necessary or appropriate
to effect any transaction described in, approved by, contemplated by, or necessary to effectuate the
Restructuring Transaction (including any transaction described in, approved by, contemplated by,
or necessary to effectuate the Plan), that are consistent with and pursuant to the terms and
conditions of the Plan, including, as applicable: (a) the execution and delivery of appropriate
agreements or other documents of reorganization containing terms that are consistent with the
terms of this Plan and that satisfy the requirements of applicable Law; (b) the execution and
delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any
property, right, liability, duty, or obligation on terms consistent with the terms of this Plan; (c) the
filing of appropriate certificates of incorporation, merger, migration, consolidation, or other
Organizational Documents with the appropriate governmental authorities pursuant to applicable
Law; (d) the execution, delivery, and filing, if applicable, of the New Organizational Documents
and the Take-Back Debt Documents; (e) the New ABL Facility; (f) such other transactions that
are required to effectuate the Restructuring Transactions, including any mergers, consolidations,
restructurings, conversions, dispositions, transfers, formations, organizations, dissolutions, or
liquidations; and (g) all other actions that the Reorganized Debtors reasonably determine, in
consultation with the Required Consenting First Lien Lenders, are necessary or appropriate,
including making filings or recordings that may be required by applicable Law. For the purposes
of effectuating this Plan, none of the Restructuring Transactions contemplated herein shall
constitute a “change of control” or “assignment” (or terms with similar effect) under, or any other
transaction or matter that would result in a violation, breach, or default under, or increase,
accelerate, or otherwise alter any obligations, rights or liabilities of the Debtors, the Reorganized
Debtors or New TopCo under, or result in the creation or imposition of a Lien upon any property
or asset of the Debtors, the Reorganized Debtors or New TopCo pursuant to, any agreement,
contract, or document of the Debtors, and any consent or advance notice required under any
agreement, contract, or document of the Debtors shall be deemed satisfied by Confirmation.



                                                  48
              Case 24-12480-LSS        Doc 1233        Filed 04/03/25   Page 54 of 197




        The Confirmation Order shall and shall be deemed to, pursuant to both section 1123 and
section 363 of the Bankruptcy Code, authorize, among other things, all actions as may be necessary
or appropriate to effect any transaction described in, approved by, contemplated by, or necessary
to effectuate the Plan. The Confirmation Order shall authorize the Debtors and the Reorganized
Debtors, as applicable, to undertake the Plan Equitization Transaction contemplated by the Plan
and other Definitive Documents.

       7.3.     Partial Sale Transaction.

        In the event a Partial Sale Transaction is consummated, the Sale Proceeds, the Professional
Fee Escrow Amount, any reserves required pursuant to the applicable Sale Documents, the
Non-Liquidating Debtors’ rights under the applicable Sale Documents, payments made directly by
the applicable Buyer(s) on account of any Assumed Liabilities under the applicable Sale
Documents, payments of Cure Costs made by the applicable Buyer(s) pursuant to sections 365 or
1123 of the Bankruptcy Code, and/or all Causes of Action not previously settled, released, or
exculpated under the Plan, if any, shall be used to fund the distributions to Holders of Allowed
Claims against the Debtors in accordance with the treatment of such Claims and subject to the
terms provided in this Plan. Unless otherwise agreed in writing by the Non-Liquidating Debtors
or the Non-Partial Sale Transaction Debtors, as applicable, and the applicable Buyer(s),
distributions required by this Plan on account of Allowed Claims that are Assumed Liabilities shall
be the sole responsibility of the applicable Buyer(s) even if such Claim is Allowed against the
Debtors, and such Claims shall have no recovery from the Debtors under the terms of the Plan.

       7.4.    Continued Corporate Existence in Certain Debtors; Vesting of Assets;
Dissolution of Certain Debtors.

                (a)     General. Subject to the terms and conditions of the Restructuring Support
Agreement, except as otherwise provided in this Plan or as otherwise may be agreed between the
Debtors and the Required Consenting First Lien Lenders, each of the Debtors, as Reorganized
Debtors, and New TopCo, shall continue to exist on and after the Effective Date as a separate legal
Entity with all of the powers available to such legal Entity under and in accordance with the
applicable Laws of the respective jurisdictions in which they are incorporated or organized and
pursuant to the New Organizational Documents, without prejudice to any right to alter or terminate
such existence (whether by merger or otherwise) in accordance with such applicable Law. On or
after the Effective Date, without prejudice to the rights of any party to a contract or other agreement
with any Reorganized Debtor or New TopCo, each of the Reorganized Debtors and New TopCo,
as applicable (and in consultation with the Required Consenting First Lien Lenders), may take
such action as permitted by applicable Law and such Reorganized Debtor’s or New TopCo’s New
Organizational Documents, as such Reorganized Debtor or New TopCo, as applicable, may
determine is reasonable and appropriate, including, but not limited to, causing: (a) a Reorganized
Debtor or New TopCo to be merged with and into another Reorganized Debtor, or a subsidiary
and/or Affiliate of a Reorganized Debtor or New TopCo; (b) a Reorganized Debtor or New TopCo
to be dissolved; (c) the conversion of a Reorganized Debtor or New TopCo from one Entity type
to another Entity type; (d) the legal name of a Reorganized Debtor or New TopCo to be changed;
(e) the closure of a Reorganized Debtor’s or New TopCo’s Chapter 11 Case on the Effective Date




                                                  49
              Case 24-12480-LSS       Doc 1233        Filed 04/03/25   Page 55 of 197




or any time thereafter; or (f) the reincorporation of a Reorganized Debtor or New TopCo under the
Law of jurisdictions other than the Law under which the Debtor currently is incorporated.

                 (b)   Vesting of Assets. Except as otherwise provided in this Plan, the
Confirmation Order, or any agreement, instrument, or other document incorporated herein, on the
Effective Date, all property of the Estates, wherever located, including all Claims, rights and
Causes of Action and any property, wherever located, acquired by the Debtors under or in
connection with this Plan, shall vest in the applicable Reorganized Debtor, free and clear of all
Claims, Liens, charges, other encumbrances and Interests, except for those Claims, Liens, charges,
other encumbrances and Interests arising from or related to the Take-Back Debt Documents, the
New ABL Facility Documents, or to the extent the Freedom HoldCo DIP Election is made, the
DIP Claims at the Freedom HoldCo Debtors. On and after the Effective Date, except as otherwise
provided in this Plan or in the Confirmation Order, each applicable Reorganized Debtor and New
TopCo may operate its business(es) and may use, acquire and dispose of property, wherever
located, and each Reorganized Debtor and New TopCo, as applicable, may prosecute, compromise
or settle any Claims (including any Administrative Expense Claims), Interests and Causes of
Action without supervision of or approval by the Bankruptcy Court and free and clear of any
restrictions of the Bankruptcy Code or the Bankruptcy Rules. Without limiting the foregoing, the
Reorganized Debtors and New TopCo may pay the charges that they incur on or after the Effective
Date, if any, for Professional Persons’ fees, disbursements, expenses or related support services
without application to the Bankruptcy Court. Anything in this Plan to the contrary
notwithstanding, any Unimpaired Claims against a Debtor shall remain the obligations solely of
such Debtor or such Reorganized Debtor and shall not become obligations of any other Debtor,
Reorganized Debtor or New TopCo by virtue of this Plan, the Chapter 11 Cases, or otherwise.

       7.5.     Indemnification Provisions in Organizational Documents.

        On and as of the Effective Date, all indemnification obligations of the Debtors that are in
place as of the Petition Date (whether in the bylaws, certificates of incorporation or formation,
limited liability company agreements, other organizational or formation documents, board
resolutions, indemnification agreements or otherwise) for the current directors, officers and
managers of the Debtors, as well as the attorneys, accountants, investment bankers, and other
professionals of, or acting on behalf of, the Debtors, as applicable, except any indemnification
obligations of the Debtors on account of any Litigation Claims that are transferred to the Litigation
Trust, or any Claims or Causes of Action that are not being released pursuant to the Plan (in each
case, which Claims and Causes of Action shall, notwithstanding the foregoing, be deemed rejected
under this Plan), shall be assumed or assumed and assigned and remain in full force and effect
after the Effective Date, and shall survive Unimpaired and unaffected, irrespective of when such
obligation arose, as applicable.

       7.6.     Sources for Cash Distributions under this Plan.

       The Debtors shall fund Cash distributions under the Plan with Cash on hand, including
Cash from operations, the American Freight Liquidation Proceeds, the Sale Proceeds (if any) and
the proceeds of the DIP Facility. Cash payments to be made pursuant to the Plan will be made by
the Reorganized Debtors or the Disbursing Agent in accordance with Article VIII.



                                                 50
               Case 24-12480-LSS          Doc 1233          Filed 04/03/25      Page 56 of 197




       The Debtors shall fund Cash distributions under the Plan from Cash on hand (if any), the
American Freight Liquidation Proceeds, and the Sale Proceeds (if any) in accordance with the
terms of the Sale Documents and the Plan.

       The Debtors shall fund distributions to Allowed Claims against the Freedom HoldCo
Debtors from proceeds of the Litigation Trust.

       From and after the Effective Date, subject to any applicable limitations set forth in any
agreement entered into on or after the Effective Date (including, without limitation, the New
Organizational Documents, the New ABL Facility Documents, and the Take-Back Debt
Documents), the Reorganized Debtors shall have the right and authority without further order of
the Bankruptcy Court to raise additional capital and obtain additional financing as the boards of
managers or directors, as applicable (or other applicable governing bodies), of the applicable
Reorganized Debtors deem appropriate.

        7.7.     Take-Back Debt Facility.

        On the Effective Date, the Reorganized Debtors shall enter into a Take-Back Debt Facility
in the maximum amount necessary to ensure that the Reorganized Debtors are in compliance with
the Pro Forma Leverage Cap, 2 which will be made up of, as further set forth below, a first-lien
term loan consisting of all DIP Claims arising from the Tranche A DIP Loans, and certain DIP
Claims arising from the Tranche B DIP Loans, in each case as of the Effective Date, and each
being consistent with the terms and conditions set forth in the Restructuring Support Agreement.

        Confirmation of the Plan shall be deemed to constitute approval by the Bankruptcy Court
of the Take-Back Debt Facility and related agreements (including all transactions contemplated
thereby, such as any supplementation or additional syndication of the Take-Back Debt Facility,
and all actions to be taken, undertakings to be made and obligations to be incurred by the
Reorganized Debtors in connection therewith, including the payment of all fees, indemnities and
expenses provided for therein) and, subject to the occurrence of the Effective Date, authorization
for the applicable Reorganized Debtors to enter into and perform their obligations in connection
with the Take-Back Debt Facility, pursuant to the terms and conditions of the Restructuring
Support Agreement.

        On the Effective Date, the agreements with respect to the Take-Back Debt Facility shall
constitute legal, valid, binding, and authorized obligations of the Reorganized Debtors, enforceable
in accordance with their terms. The financial accommodations to be extended pursuant to the
Take-Back Debt Facility are being extended, and shall be deemed to have been extended, in good
faith, for legitimate business purposes, are reasonable, shall not be subject to avoidance,
recharacterization, or subordination (including equitable subordination) for any purposes
whatsoever, and shall not constitute preferential transfers, fraudulent conveyances, or other
voidable transfers under the Bankruptcy Code or any other applicable non-bankruptcy Law. On
the Effective Date, all of the Liens and security interests to be granted in connection with the
Take-Back Debt Facility (1) shall be granted, (2) shall be legal, binding, and enforceable Liens on,

2
    As of the date hereof, the Debtors estimate the amount of the Take-Back Debt Facility will equal approximately
    $468 million.



                                                       51
              Case 24-12480-LSS       Doc 1233        Filed 04/03/25   Page 57 of 197




and security interests in, the Collateral granted in accordance with the Take-Back Debt Facility,
(3) shall be deemed automatically perfected on the Effective Date, subject only to such Liens and
security interests as may be permitted under in connection with the Take-Back Debt Facility, and
(4) shall not be subject to avoidance, recharacterization, or subordination (including equitable
subordination) for any purposes whatsoever and shall not constitute preferential transfers,
fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any applicable
non-bankruptcy Law. The Reorganized Debtors and the Entities granted such Liens and security
interests are authorized to make all filings and recordings, and to obtain all governmental approvals
and consents necessary to establish and perfect such Liens and security interests under the
provisions of the applicable state, provincial, federal, or other Law (whether domestic or foreign)
that would be applicable in the absence of the Plan and the Confirmation Order (it being understood
that perfection shall occur automatically by virtue of the entry of the Confirmation Order, and any
such filings, recordings, approvals, and consents shall not be required), and will thereafter
cooperate to make all other filings and recordings that otherwise would be necessary under
applicable Law to give notice of such Liens and security interests to third parties.

        Any Holder entitled to receive Take-Back Term Loans hereunder may designate that all or
a portion of such Holder’s share of the Take-Back Term Loans to be distributed as part of the
treatment of such Holder’s Allowed Claims, be registered in the name of, and delivered to, its
designee by delivering notice thereof to counsel to the Debtors and to the Claims Agent at least
five (5) Business Days prior to the Effective Date.

       7.8.     New ABL Facility.

        Confirmation of the Plan shall be deemed to constitute approval by the Bankruptcy Court
of the New ABL Facility and related agreements (including all transactions contemplated thereby,
such as any supplementation or additional syndication of the New ABL Facility, and all actions to
be taken, undertakings to be made and obligations to be incurred by the Reorganized Debtors in
connection therewith, including the payment of all fees, indemnities and expenses provided for
therein) and, subject to the occurrence of the Effective Date, authorization for the applicable
Reorganized Debtors to enter into and perform their obligations in connection with the New ABL
Facility, pursuant to the terms and conditions of the Restructuring Support Agreement.

        On the Effective Date, the agreements with respect to the New ABL Facility shall constitute
legal, valid, binding, and authorized obligations of the Reorganized Debtors, enforceable in
accordance with their terms. The financial accommodations to be extended pursuant to the New
ABL Facility are being extended, and shall be deemed to have been extended, in good faith, for
legitimate business purposes, are reasonable, shall not be subject to avoidance, recharacterization,
or subordination (including equitable subordination) for any purposes whatsoever, and shall not
constitute preferential transfers, fraudulent conveyances, or other voidable transfers under the
Bankruptcy Code or any other applicable non-bankruptcy Law. On the Effective Date, all of the
Liens and security interests to be granted in connection with the New ABL Facility (1) shall be
granted, (2) shall be legal, binding, and enforceable Liens on, and security interests in, the
Collateral granted in accordance with the New ABL Facility, (3) shall be deemed automatically
perfected on the Effective Date, subject only to such Liens and security interests as may be
permitted under in connection with the New ABL Facility, and (4) shall not be subject to
avoidance, recharacterization, or subordination (including equitable subordination) for any


                                                 52
              Case 24-12480-LSS       Doc 1233        Filed 04/03/25   Page 58 of 197




purposes whatsoever and shall not constitute preferential transfers, fraudulent conveyances, or
other voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy Law. The
Reorganized Debtors and the Entities granted such Liens and security interests are authorized to
make all filings and recordings, and to obtain all governmental approvals and consents necessary
to establish and perfect such Liens and security interests under the provisions of the applicable
state, provincial, federal, or other Law (whether domestic or foreign) that would be applicable in
the absence of the Plan and the Confirmation Order (it being understood that perfection shall occur
automatically by virtue of the entry of the Confirmation Order, and any such filings, recordings,
approvals, and consents shall not be required), and will thereafter cooperate to make all other
filings and recordings that otherwise would be necessary under applicable Law to give notice of
such Liens and security interests to third parties.

       7.9.     Reorganized Debtors’ Ownership.

        On the Effective Date, in accordance with the terms of the Plan and the Restructuring
Transactions Memorandum and as further set forth in the Plan Supplement, New TopCo shall issue
and deliver all of the Reorganized Common Equity to Holders of Prepetition First Lien Loan
Claims and certain of the DIP Claims, pursuant to the terms and conditions of this Plan, the New
Organizational Documents and the DIP Credit Agreement. The issuance of Reorganized Common
Equity pursuant to the Plan is authorized without the need for further limited liability company or
corporate action and without any further action by any Holder of a Claim or Interest, and all of the
Reorganized Common Equity issued or issuable pursuant to the Plan shall be duly authorized,
validly issued, fully paid, and non-assessable.

        Any Holder of an Allowed Prepetition First Lien Loan Claim or Allowed DIP Claim may
designate that all or a portion of such Holder’s pro rata share of the Reorganized Common Equity
to be distributed as part of the treatment of such Allowed Prepetition First Lien Loan Claims, be
registered in the name of, and delivered to, its designee by delivering notice thereof to counsel to
the Debtors and to the Claims Agent at least five (5) Business Days prior to the Effective Date.
Any such designee shall be an “accredited investor” as such term is defined in Rule 501(a) of
Regulation D promulgated under the Securities Act.

       7.10.    Litigation Trust.

         (a)     General. In connection with the Committee Settlement and the Intercompany
Settlement, on the Effective Date, (i) the OpCo Debtors and, if the Bankruptcy Court approves the
Intercompany Settlement and the Plan is confirmed with respect to each of the Freedom HoldCo
Debtors, the Freedom HoldCo Debtors, shall execute the Litigation Trust Agreement and shall
take such steps as necessary to establish the Litigation Trust in accordance with the terms of the
Plan and the beneficial interests therein shall be for the benefit of (w) Holders of Allowed
Prepetition Second Lien Loan Claims, (x) Holders of Allowed OpCo General Unsecured Claims
(including, for the avoidance of doubt, any First Lien Deficiency Claims), (y) Holders of Allowed
Prepetition HoldCo Loan Claims, and (z) Holders of Allowed Freedom HoldCo General
Unsecured Claims, and (ii) the OpCo Debtors and the Freedom HoldCo Debtors shall irrevocably
transfer and shall be deemed to have irrevocably transferred to the Litigation Trust all of their
rights, title and interest in the Litigation Trust Assets. Pursuant to section 1141 of the Bankruptcy
Code, such Litigation Trust Assets shall automatically vest in the Litigation Trust free and clear


                                                 53
            Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 59 of 197




of all Claims, Liens, encumbrances, or interests, except as otherwise set forth in this Plan; provided
that, solely to the extent necessary to enforce the Existing First Lien/Second Lien Intercreditor
Agreement, if applicable, the Liens of the First Lien Credit Agreement Agent held for the benefit
of the Holders of Prepetition First Lien Loan Claims shall not automatically vest in the Litigation
Trust. The Litigation Trust shall not make distributions to any beneficiaries of the Litigation Trust,
prior to distributing $4.5 million of the proceeds of the Litigation Claims to the DIP Lenders, after
which any Liens held by the DIP Lenders on the Litigation Trust Assets, including, but not limited
to, any Liens on Avoidance Actions and commercial tort Claims, shall be released, terminated,
and extinguished.

        The (i) establishment, purpose, and administration of the Litigation Trust, (ii) appointment,
rights, and powers, of the Litigation Trustee, and (iii) treatment of the Litigation Trust for federal
income tax purposes, among other things, shall be governed by the Litigation Trust Agreement.
On and after the Effective Date, the Litigation Trustee shall be authorized, in accordance with the
terms of this Plan and the Litigation Trust Agreement, to take such other actions as may be
necessary or desirable to make any distributions on account of any Litigation Trust Assets.

        In furtherance of this section of the Plan: (i) it is intended that the Litigation Trust be
classified for U.S. federal income tax purposes as a “liquidating trust” within the meaning of
Treasury Regulation section 301.7701-4(d) and guidance promulgated in respect thereof, including
Revenue Procedure 94-45, 1994-2 C.B. 684, and, thus, as a “grantor trust” within the meaning of
sections 671 through 679 of the Internal Revenue Code to the Holders of Prepetition Second Lien
Loan Claims, Holders of OpCo General Unsecured Claims, Holders of Prepetition HoldCo Loan
Claims, and Holders of Freedom HoldCo General Unsecured Claims, consistent with the terms of
the Plan, and accordingly, all assets held by the Litigation Trust are intended to be deemed for
United States federal income tax purposes to have been distributed by the Debtors or the
Reorganized Debtors, as applicable, to the Holders of Prepetition Second Lien Loan Claims,
Holders of OpCo General Unsecured Claims, Holders of Prepetition HoldCo Loan Claims, and
Holders of Freedom HoldCo General Unsecured Claims, as applicable, and then contributed by
such Holders of Prepetition Second Lien Loan Claims, OpCo General Unsecured Claims,
Prepetition HoldCo Loan Claims, and Freedom HoldCo General Unsecured Claims to the
Litigation Trust in exchange for their interest in the Litigation Trust, [and accordingly, the Holders
of Prepetition Second Lien Loan Claims, Holders of OpCo General Unsecured Claims, the Holders
of Prepetition HoldCo Loan Claims, and the Holders of Freedom HoldCo General Unsecured
Claims shall be treated as the grantors and owners of their respective shares of the Litigation Trust
Assets;] (ii) the sole purpose of the Litigation Trust shall be the liquidation and distribution of the
net assets of the Litigation Trust in accordance with Treasury Regulation section 301.7701-4(d),
with no objective to continue or engage in the conduct of a trade or business; (iii) all parties
(including, without limitation, the Debtors, the Reorganized Debtors, the Holders of Prepetition
Second Lien Loan Claims receiving interests in the Litigation Trust, the Holders of OpCo General
Unsecured Claims receiving interests in the Litigation Trust, the Holders of Prepetition HoldCo
Loan Claims receiving interests in the Litigation Trust, the Holders of Freedom HoldCo General
Unsecured Claims receiving interests in the Litigation Trust, and the Litigation Trustee) shall
report consistently with such treatment described in provisos (i) and (ii) of this paragraph; (iv) all
parties (including, without limitation, the Debtors, the Reorganized Debtors, the Holders of
Prepetition Second Lien Loan Claims receiving interests in the Litigation Trust, the Holders of
OpCo General Unsecured Claims receiving interests in the Litigation Trust, the Holders of


                                                  54
            Case 24-12480-LSS          Doc 1233        Filed 04/03/25    Page 60 of 197




Prepetition HoldCo Loan Claims receiving interests in the Litigation Trust, the Holders of
Freedom HoldCo General Unsecured Claims receiving interests in the Litigation Trust, and the
Litigation Trustee) shall report consistently with the valuation of the assets transferred to the
Litigation Trust as determined by the Litigation Trustee (or its designee); (v) the Litigation Trustee
shall be responsible for filing all applicable tax returns for the Litigation Trust as a grantor trust
pursuant to Treasury Regulation section 1.671-4(a); and (vi) the Litigation Trustee shall annually
send to each Holder of an interest in the Litigation Trust a separate statement regarding such
Holder’s share of items of income, gain, loss, deduction, or credit (including receipts and
expenditures) of the trust as relevant for United States federal income tax purposes.

         Subject to definitive guidance from the United States Internal Revenue Service or a court
of competent jurisdiction to the contrary (including the receipt by the Litigation Trustee of a private
letter ruling if the Litigation Trustee so requests one, or the receipt of an adverse determination by
the United States Internal Revenue Service upon audit if not contested by the Litigation Trustee),
the Litigation Trustee may timely elect to (i) treat any portion of the Litigation Trust allocable to
Disputed Claims as a “disputed ownership fund” governed by Treasury Regulation section 1.468B-
9 (and make any appropriate elections) and (ii) to the extent permitted by applicable Law, report
consistently with the foregoing for United States state and local income tax purposes. If a
“disputed ownership fund” election is made, (i) the portion of the Litigation Trust assets allocated
to the disputed ownership fund will be subject to entity-level taxation and (ii) all parties (including,
without limitation, the Debtors, Holders of OpCo General Unsecured Claims receiving interests in
the Litigation Trust, Holders of Prepetition Second Lien Loan Claims receiving interests in the
Litigation Trust, Holders of Prepetition HoldCo Loan Claims receiving interests in the Litigation
Trust, Holders of Freedom HoldCo General Unsecured Claims receiving interests in the Litigation
Trust, and the Litigation Trustee) shall report for United States federal (and applicable state and
local) income tax purposes consistently with the foregoing. Any taxes (including with respect to
earned interest, if any) imposed on the Litigation Trust, including as a result of an election to be
treated as a “disputed ownership fund” shall be paid out of the assets of the Litigation Trust (and
reductions shall be made to amounts disbursed from the account to account for the need to pay
such taxes). The Litigation Trustee may request an expedited determination of taxes of the
Litigation Trust, including any reserve for Disputed Claims, under section 505(b) of the
Bankruptcy Code for all tax returns filed for, or on behalf of, the Litigation Trust for all taxable
periods through the dissolution of the Litigation Trust.

               (b)     Litigation Trustee.

                       (i)    Appointment; Duties. The Creditors’ Committee, in consultation
       with the Debtors, shall select the Person who initially will serve as the Litigation Trustee,
       whose selection shall be reasonably acceptable to the Required Consenting First Lien
       Lenders and the Freedom Lender Group; provided that, in the event (1) the Intercompany
       Settlement is not approved by the Bankruptcy Court or (2) the Intercompany Settlement
       Conditions are not satisfied, the Person who initially will serve as the Litigation Trustee
       will be selected by Creditors’ Committee, in consultation with the Debtors, whose selection
       shall be reasonably acceptable to the Required Consenting First Lien Lenders. On or after
       the Effective Date, the Litigation Trustee shall assume all of its obligations, powers and
       authority under the Litigation Trust Agreement to (x) reconcile OpCo General Unsecured
       Claims (including First Lien Deficiency Claims, though not the quantum thereof, which


                                                  55
    Case 24-12480-LSS         Doc 1233        Filed 04/03/25    Page 61 of 197




shall be in an amount consistent with the description in Section 5.4(b) hereof) and
Prepetition Second Lien Loan Claims, and (y) investigate, pursue, litigate and/or settle
Litigation Claims that are transferred to the Litigation Trust (collectively, the “Litigation
Trustee Duties”). The Litigation Trustee shall be subject to the oversight of the Litigation
Trust Advisory Committee in accordance with the Plan and the Litigation Trust Agreement.

                 (ii)    Litigation Trustee. The Litigation Trustee shall have such
qualifications and experience as are sufficient to enable the Litigation Trustee to perform
its obligations under this Plan and under the Litigation Trust Agreement, and shall be
compensated and reimbursed for expenses as set forth in, and in accordance with, the
Litigation Trust Agreement. To the extent necessary and in furtherance of the Litigation
Trustee Duties, following the Effective Date, the Litigation Trustee shall be deemed to be
a judicial substitute for the Reorganized Debtors as the party in interest in the Chapter 11
Cases, under the Plan or in any judicial proceeding or appeal to which the Debtors are a
party, consistent with section 1123(b)(3)(B) of the Bankruptcy Code. The Litigation
Trustee shall not be liable for any action it takes or omits to take that it believes in good
faith to be authorized or within its rights or powers, including upon advice of counsel,
unless it is ultimately and finally determined by a court of competent jurisdiction that such
action or inaction was the result of fraud, gross negligence or willful misconduct.

               (iii) Resignation, Death or Removal. The Litigation Trustee may be
removed by the Bankruptcy Court upon application by any party in interest for cause
shown. In the event of the resignation or removal, liquidation, dissolution, death or
incapacity of the Litigation Trustee, the Litigation Trust Advisory Committee shall
designate another Person to become the Litigation Trustee and thereupon the successor
Litigation Trustee, without any further act, shall become fully vested with all of the rights,
powers, duties and obligations of its predecessor.

       (c)     Litigation Trust Agreement.

                (i)    Provisions of Agreement and Order. The Litigation Trust
Agreement and the Confirmation Order shall provide that neither the Reorganized Debtors
(except as expressly set forth in the Litigation Trust Agreement) nor their respective boards
of directors, managements, employees and professionals shall have any liability for any
action taken or omitted to be taken by the Litigation Trustee in performing the Litigation
Trustee Duties and all Persons are enjoined from pursuing any Claims against the foregoing
pursuant to this Plan on account of any such action taken or omitted to be taken.

                (ii)    The Litigation Trust Agreement will be Filed with the Plan
Supplement and will provide for, among other things: (1) the transfer of the Litigation
Trust Assets to the Litigation Trust; (2) the payment of Litigation Trust Expenses from the
Litigation Trust Assets; (3) distributions to Holders of Allowed Prepetition Second Lien
Loan Claims, Holders of Allowed OpCo General Unsecured Claims, Holders of Allowed
Prepetition HoldCo Loans Claims, and Holders of Allowed Freedom HoldCo General
Unsecured Claims, as provided herein and in the Litigation Trust Agreement, provided
that, for the avoidance of doubt, no Holder shall be entitled to receive a distribution on
account of any recoveries from Litigation Claims where such Holder is the defendant in


                                         56
    Case 24-12480-LSS         Doc 1233        Filed 04/03/25    Page 62 of 197




connection with such Litigation Claims; (4) reasonable access to the Debtors’ books and
records; (5) the identity of the Litigation Trustee; (6) the terms of the Litigation Trustee’s
engagement; (7) reasonable and customary provisions that allow for limitation of liability
and indemnification of the Litigation Trustee and its professionals by the Litigation Trust,
provided that any such indemnification shall be the sole responsibility of the Litigation
Trust and payable solely from the Litigation Trust Assets; and (8) the term and dissolution
of the Litigation Trust. Following the Effective Date, the Litigation Trustee shall be
responsible for all decisions and duties with respect to the Litigation Trustee Duties, except
as otherwise provided in the Plan, the Confirmation Order, or the Litigation Trust
Agreement.

                (iii) In accordance with the Intercompany Settlement, and subject to the
satisfaction of the Intercompany Settlement Conditions, the governance of the Litigation
Trust and the allocation of Litigation Trust Units set forth in the Litigation Trust Agreement
shall be determined by one designee of the Freedom HoldCo Debtors (which designee shall
be selected by the Freedom Lender Group) and one designee of the OpCo Debtors (which
designee shall be selected by the Creditors’ Committee and the First Lien Group).

                (iv)    OpCo Debtor Litigation Trust Claims. Notwithstanding anything to
the contrary in this Plan, including Article XII hereof, the following Claims and Causes of
Action belonging to the OpCo Debtors (collectively, the “OpCo Debtor Litigation Trust
Claims”) shall not be released pursuant to this Plan, and shall be transferred to the
Litigation Trust:

               (A) all Causes of Action against former directors of the Debtors, other than
                   former directors terminated without cause between February 3, 2025,
                   and the Effective Date of the Plan;

               (B) all Causes of Action against former employees, including officers, of
                   the Debtors, other than those former employees, including officers,
                   terminated without cause between February 3, 2025, and the Effective
                   Date of the Plan;

               (C) all Causes of Action against Bryant Riley, in his individual and all
                   representative capacity, B. Riley Financial, Inc., B. Riley Receivables
                   II, LLC, Freedom VCM Receivables, Inc., and each of their Affiliates
                   and Related Parties (provided that none of Bryant Riley, B. Riley
                   Financial, Inc., B. Riley Receivables II, LLC, Freedom VCM
                   Receivables, Inc., shall be deemed Affiliates of the Debtors for
                   purposes of this proviso);

               (D) unless each of the members of the Freedom Lender Group votes to
                   accept the Plan and opts in to the Third-Party Release, all Causes of
                   Action against Irradiant, PIMCO, and the members of the Freedom
                   Lender Group;




                                         57
           Case 24-12480-LSS         Doc 1233        Filed 04/03/25   Page 63 of 197




                      (E) if the Intercompany Settlement Conditions are not satisfied, all Causes
                          of Action against the Freedom HoldCo Debtors and TopCo, including
                          without limitation, any Avoidance Actions, and all other Claims
                          allowed by applicable state law, including but not limited to claims
                          relating to unlawful dividend payments or unlawful stock purchase,
                          redemption, or preferential transfers;

                      (F) all Causes of Action against Brian Kahn, in his individual and all
                          representative capacities, Lauren Kahn, in her individual and all
                          representative capacities, Vintage Capital Management LLC, Prophecy
                          Asset Management LP, and each of their Affiliates and Related Parties
                          (provided that neither Brian Kahn, Lauren Kahn, Vintage Capital
                          Management LLC, nor Prophecy Asset Management LP shall be
                          deemed Affiliates of the Debtors for purposes of this proviso);

                      (G) all Causes of Action against WFG;

                      (H) unless each of the members of the Freedom Lender Group votes to
                          accept the Plan and opts in to the Third-Party Release, all Causes of
                          Action against the members of the Freedom Lender Group arising
                          pursuant to section 548 of the Bankruptcy Code and all state law
                          equivalents (as provided by section 544 of the Bankruptcy Code) as the
                          intended beneficiaries and ultimate recipients of the transfers
                          referenced in clause (E) above; and

                      (I) all Causes of Action that may be asserted against previously retained
                          professionals providing services to the OpCo Debtors at all relevant
                          times with respect to any facts or circumstances relevant to the
                          above-referenced Causes of Action and all related transactions, events,
                          and occurrences, including without limitation (a) WFG, (b) Troutman
                          Pepper Locke LLP, (c) Wachtell, Lipton, Rosen & Katz, and
                          (d) Jefferies, LLC, and each of their respective members, partners,
                          employees, consultants, contractors, financial or other advisors,
                          Affiliates, and Related Parties.

         For the avoidance of doubt, the following Claims and Causes of Action belonging to the
OpCo Debtors shall be released pursuant to this Plan and shall not be transferred to the Litigation
Trust: (a) all potential Claims and Causes of Action against the members of the Ad Hoc Group;
(b) all potential Claims and Causes of Action against current employees of the Debtors, including
management and directors (including, without limitation the Independent Directors, and officers
(including the CRO), but excluding Bryant Riley), in each case who are employed by the Debtors
or Reorganized Debtors as of the Effective Date; (c) all potential Claims and Causes of Action
against former employees and directors of the Debtors that were terminated without cause between
February 3, 2025 and the Effective Date of the Plan; and (d) all potential Claims and Causes of
Action against any prepetition Estate Professionals and postpetition Estate Professionals in their
capacities as such. For the avoidance of doubt, notwithstanding the foregoing, any potential
Claims and Causes of Action against WFG are not released pursuant to this Plan.


                                                58
            Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 64 of 197




                (d)      Litigation Trust Funding. On the Effective Date, the Debtors and other
parties (if applicable) shall fund the Litigation Trust Escrow Account in an amount equal to the
Litigation Trust Escrow Amount. The Litigation Trust Escrow Amount shall automatically and
irrevocably vest in the Litigation Trust free and clear of all Claims, Liens, encumbrances, or
interests. The Litigation Trust Escrow Amount shall be used for the administration of the
Litigation Trust, to pay Litigation Trust Expenses, and to pursue the Litigation Claims. For the
avoidance of doubt, the Litigation Trust Escrow Amount shall be used solely to monetize the
Litigation Claims, and will not be distributed directly to any beneficiaries of the Litigation Trust
or applied to pay any Professional Fee Claims of the Professional Persons retained by the
Creditors’ Committee. All proceeds from the pursuit of the Litigation Claims shall be used by the
Litigation Trustee to pay for the costs and expenses of administration of the Litigation Trust,
pursuit of the Litigation Claims, and distribution to Holders of Allowed Prepetition Second Lien
Loan Claims, Allowed OpCo General Unsecured Claims (including First Lien Deficiency Claims),
Allowed Prepetition HoldCo Loan Claims, and Allowed Freedom HoldCo General Unsecured
Claims; provided that prior to any distributions to Holders of Prepetition Second Lien Loan
Claims, Allowed OpCo General Unsecured Claims (including First Lien Deficiency Claims),
Allowed Prepetition HoldCo Loan Claims, and Allowed Freedom HoldCo General Unsecured
Claims, $4.5 million of proceeds from the monetization of Litigation Claims shall be distributed
to the DIP Lenders, after which any Liens held by the DIP Lenders on the Litigation Trust Assets,
including, but not limited to, any Liens on Avoidance Actions and commercial tort Claims, shall
be deemed released, terminated and extinguished. The Litigation Trustee shall exercise its
fiduciary duty and business judgment to allocate such proceeds among the Classes of Claims
receiving interests in the Litigation Trust. The Litigation Trustee, on behalf of the Litigation Trust,
may employ, without further order of the Bankruptcy Court, professionals to assist in carrying out
its duties hereunder and may compensate and reimburse the reasonable expenses of these
professionals without further order of the Bankruptcy Court from the Litigation Trust Assets in
accordance with the Plan and the Litigation Trust Agreement.

                (e)     Litigation Trust Units. Any and all Litigation Trust Units shall be
non-transferable other than if transferred by will, intestate succession, if required to be transferred
as part of a liquidation or winding up of a holder, or otherwise by operation of Law. In addition,
any and all Litigation Trust Units, to the extent such units may be deemed “securities” as defined
in section 2(a)(1) of the Securities Act, section 101 of the Bankruptcy Code, and applicable state
or local securities Laws, will not be registered pursuant to the Securities Act or any applicable
state or local securities Law pursuant to section 1145 of the Bankruptcy Code, to the extent
permitted and available, and will be exempt from the Investment Company Act of 1940, as
amended, pursuant to sections 7(a) and 7(b) of that Act and section 1145 of the Bankruptcy Code.

              (f)     Litigation Trust Advisory Committee. On the Effective Date, the Litigation
Trust Advisory Committee shall be vested with the authority and responsibility to (i) monitor and
oversee the administration of the Litigation Trust, (ii) monitor and oversee the activities and
performance of the Litigation Trustee, and (iii) perform such other tasks as are set forth in the Plan,
the Confirmation Order, and the Litigation Trust Agreement.

              (g)    OpCo Debtor Only Confirmation. Notwithstanding anything to the contrary
contained in this Plan, in the event (i) the Intercompany Settlement is not approved by the
Bankruptcy Court or (ii) the Intercompany Settlement Conditions are not satisfied, then (1) the


                                                  59
            Case 24-12480-LSS          Doc 1233        Filed 04/03/25    Page 65 of 197




Litigation Trust Escrow Amount will be funded solely in an aggregate amount (such amount, the
“OpCo Litigation Trust Escrow Amount”) equal to (x) $21 million minus (y) the total amount of
fees and expenses (including transaction and success fees) incurred on or after the Petition Date
through the Effective Date by all Professional Persons retained by the Creditors’ Committee under
sections 328, 330, 331, 503(b)(2), 503(b)(4), or 503(b)(5), or any other provision of the
Bankruptcy Code, which amount shall include, without limitation, the Professional Fee Escrow
Amount for all Professional Persons retained by the Creditors’ Committee, (2) the Litigation Trust
Assets shall be comprised only of the OpCo Litigation Trust Claims and the OpCo Litigation Trust
Escrow Amount, (3) the Litigation Trust’s beneficiaries shall be limited to Holders of Prepetition
Second Lien Loan Claims and Holders of OpCo General Unsecured Claims (including, without
limitation, Holders of First Lien Deficiency Claims) and the Freedom HoldCo Debtors to the extent
of any Allowed Intercompany Claims against the OpCo Debtors, (4) the Litigation Trust Advisory
Committee shall consist of only two members, with one member being selected by the Creditors’
Committee and one member being selected by the Required Consenting First Lien Lenders, each
in their in their sole discretion, and (5) the Litigation Trustee shall be selected by the Creditors’
Committee, in consultation with the Debtors, whose selection shall be reasonably acceptable to the
Required Consenting First Lien Lenders. For the avoidance of doubt, in the event any of the
scenarios described in subclauses (i), (ii), or (iii) in this Section 7.10(g) are triggered, the Freedom
HoldCo Debtor Litigation Trust Claims shall not vest in the Litigation Trust and any Claims and
Causes of Action belonging to the Freedom HoldCo Debtors shall instead remain assets belonging
to the Freedom HoldCo Debtors, and any Holders of Claims against the Freedom HoldCo Debtors,
including, without limitation, Prepetition HoldCo Loan Claims and Freedom HoldCo General
Unsecured Claims, and, if the Freedom HoldCo DIP Election is made, Holders of DIP Claims
against the Freedom HoldCo Debtors, shall not be beneficiaries of the Litigation Trust.

       7.11.   New Warrants.

        If Class 5 votes to accept the Plan, on the Effective Date, in accordance with the terms of
the Plan and the Restructuring Transactions Memorandum and as further set forth in the New
Warrants Documentation, New TopCo shall issue and deliver all of the New Warrants (subject to
dilution by the Management Incentive Plan) to the Holders of Allowed Prepetition Second Lien
Loan Claims pursuant to the terms and conditions of the Plan and the New Warrants
Documentation. The issuance of New Warrants pursuant to the Plan is authorized without the
need for further limited liability company or corporate action and without any further action by
any Holder of a Claim or Interest, and all of the New Warrants issued or issuable pursuant to the
Plan shall be duly authorized, validly issued, fully paid, and non-assessable. On the Effective
Date, the New Warrants Documentation shall constitute legal, valid, binding, and authorized
obligations of the Reorganized Debtors, enforceable in accordance with their terms.

       7.12.   Exemption from Registration Requirements.

        The offering, issuance, and distribution of any securities, including the Reorganized
Common Equity and the New Warrants, in exchange for Claims pursuant to Article III or Article V
of the Plan, shall be exempt from, among other things, the registration requirements of the
Securities Act and any other applicable U.S. state or local Laws requiring registration prior to the
offering, issuance, distribution, or sale of securities pursuant to section 1145 of the Bankruptcy
Code (except with respect to an Entity that is an “underwriter” as defined in section 1145(b) of the


                                                  60
            Case 24-12480-LSS         Doc 1233        Filed 04/03/25    Page 66 of 197




Bankruptcy Code) to the extent permitted and available. Except as otherwise provided in the Plan
or the governing certificates or instruments, any and all such Reorganized Common Equity and
the New Warrants so issued under the Plan (a) will not be “restricted securities” (as defined under
the Securities Act), and (b) will be freely tradable and transferable under the Securities Act by the
recipients thereof that are not, and have not been within 90 days of such transfer, an “affiliate” (as
defined in Rule 144(a)(1) under the Securities Act) of the Debtors, the Reorganized Debtors or
New TopCo, in each case, subject to (x) the provisions of section 1145(b)(1) of the Bankruptcy
Code relating to the definition of an underwriter in section 1145(b) of the Bankruptcy Code,
(y) compliance with applicable securities Laws and any rules and regulations, including those of
the United States Securities and Exchange Commission or U.S. state or local securities Laws, if
any, applicable at the time of any future transfer of such securities or instruments, and (z) any
restrictions in the New Organizational Documents of New TopCo.

       Notwithstanding anything to the contrary in the Plan or the Restructuring Support
Agreement, no Entity (including DTC or any transfer agent) shall be entitled to require a legal
opinion regarding the validity of any transaction contemplated by the Plan, including, for the
avoidance of doubt, whether issuance of the Reorganized Common Equity and/or the New
Warrants is exempt from registration and/or eligible for book-entry delivery, settlement, and
depository (to the extent applicable).

       7.13.   Organizational Documents.

         The Reorganized Debtors or New TopCo, as applicable, shall enter into such agreements
and/or amend their corporate governance documents to the extent necessary to implement the
terms and provisions of the Plan and the Bankruptcy Code, which shall: (1) contain terms
consistent with the Plan Supplement; and (2) authorize the issuance, distribution, and reservation
of the Reorganized Common Equity and the New Warrants to the Entities entitled to receive such
issuances, distributions and reservations, as applicable under the Plan. The New Organizational
Documents will be deemed to be modified to prohibit (and will include a provision prohibiting)
the issuance of non-voting equity securities, pursuant to and solely to the extent required under
section 1123(a)(6) of the Bankruptcy Code. Without limiting the generality of the foregoing, as
of the Effective Date, the Reorganized Debtors and New TopCo shall be governed by the New
Organizational Documents applicable to it. On or immediately before the Effective Date, each
Debtor, each Reorganized Debtor and New TopCo, as applicable, will file its respective New
Organizational Documents with the applicable Secretary of State and/or other applicable
authorities in its respective state of incorporation or formation in accordance with the applicable
Laws of its state of incorporation or formation, to the extent required under this Plan or applicable
nonbankruptcy Law for such New Organizational Documents to become effective. After the
Effective Date, the Reorganized Debtors and New TopCo may amend and restate the formation,
incorporation, organizational, and constituent documents, as applicable, as permitted by the Laws
of its respective jurisdiction of formation or incorporation, as applicable, and the terms of such
documents.

        As a condition to receiving (1) the Reorganized Common Equity, Holders of Allowed
Prepetition First Lien Loan Claims and/or Allowed DIP Claims and/or any of their respective
designees for receipt of Reorganized Common Equity and (2) Reorganized Common Equity and
New Warrants, Holders of Prepetition Second Lien Loan Claims (if Class 5 votes to accept the


                                                 61
            Case 24-12480-LSS         Doc 1233        Filed 04/03/25    Page 67 of 197




Plan) and/or any of their respective designees for receipt of New Warrants, in each case, will be
required to execute and deliver the applicable New Organizational Documents for New TopCo.
For the avoidance of doubt, any Entity’s or Person’s receipt of Reorganized Common Equity
and/or New Warrants under, or as contemplated by, the Plan shall be deemed as its agreement to
the applicable New Organizational Documents for New TopCo, and such Entities and Persons
shall be deemed signatories to the applicable New Organizational Documents for New TopCo
without further action required on their part (solely in their capacity as members of New TopCo).
The New Organizational Documents for New TopCo will be effective as of the Effective Date and,
as of such date, will be deemed to be valid, binding, and enforceable in accordance with its terms,
and each Holder of Reorganized Common Equity and/or New Warrants will be bound thereby in
all respects even if such Holder has not actually executed and delivered a counterpart thereof.

       7.14.   Exemption from Certain Transfer Taxes and Recording Fees.

        To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfer
from a Debtor to a Reorganized Debtor or to any Entity pursuant to or in connection with the Plan
(including, if applicable, a Partial Sale Transaction), including: (1) the issuance, distribution,
transfer, or exchange of any debt, securities, or other interest in the Debtors or the Reorganized
Debtors; (2) the creation, modification, consolidation, or recording of any mortgage, deed of trust
or other security interest, or the securing of additional indebtedness by such or other means; (3) the
making, assignment, or recording of any lease or sublease; or (4) the making, delivery, or recording
of any deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan,
including, without limitation, any deeds, bills of sale, assignments, or other instrument of transfer
executed in connection with any transaction arising out of, contemplated by, or in any way related
to the Plan, shall not be subject to any U.S. federal, state or local document recording tax, stamp
tax, conveyance fee, intangibles, or similar tax, mortgage tax, real estate transfer tax, mortgage
recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording
fee, or other similar tax or governmental assessment, and the Confirmation Order shall direct the
appropriate U.S. federal, state or local governmental officials or agents to forego the collection of
any such tax or governmental assessment and to accept for filing and recordation any of the
foregoing instruments or other documents without the payment of any such tax or governmental
assessment. Unless the Bankruptcy Court orders otherwise, all sales, transfers, and assignments
of owned and leased property approved by the Bankruptcy Court on or before the Effective Date
shall be deemed to have been in furtherance of, or in connection with, this Plan.

       7.15.   Other Tax Matters.

       From and after the Effective Date, the Reorganized Debtors including New TopCo, shall
be authorized to make and to instruct any of their wholly-owned subsidiaries to make any elections
available to them under applicable Law with respect to the tax treatment of the Restructuring
Transaction as specified in the Restructuring Transactions Memorandum.

       7.16.   Cancellation of Existing Securities and Agreements.

       Except for the purpose of evidencing a right to distribution under this Plan, and except as
otherwise set forth in this Plan or in the Restructuring Transactions Memorandum, on the Effective
Date, all agreements, including all intercreditor agreements, instruments, and other documents


                                                 62
            Case 24-12480-LSS           Doc 1233         Filed 04/03/25    Page 68 of 197




directly or indirectly evidencing, related to or connected with any Claim, other than (a) to the
extent the Freedom HoldCo DIP Election is made, DIP Claims against the Freedom HoldCo
Debtors, or (b) certain Intercompany Claims and Existing Intercompany Equity Interests, in each
case as expressly set forth in the Plan, and any rights of any Holder in respect thereof, shall be
deemed canceled, discharged and of no force or effect without further act or action under any
applicable agreement, Law, regulation, order, or rule. The holders of or parties to such canceled
instruments, securities and other documentation will have no rights arising from or relating to such
instruments, securities and other documentation or the cancellation thereof, except the rights
provided for pursuant to this Plan. Notwithstanding anything to the contrary herein and in the
Restructuring Support Agreement, each of the DIP Credit Agreement, First Lien Credit
Agreement, the Second Lien Credit Agreement, and the HoldCo Credit Agreement shall continue
in effect solely to the extent necessary to: (a) permit Holders of the DIP Claims, Prepetition First
Lien Loan Claims, Prepetition Second Lien Loan Claims and Prepetition HoldCo Loan Claims to
receive distributions under this Plan on account of such respective Claims; and (b) permit the
Second Lien Credit Agreement Agent and HoldCo Credit Agreement Agent, respectively, to seek
compensation and/or reimbursement of fees and expenses in accordance with the terms of this
Plan. Except as provided pursuant to this Plan, upon satisfaction of the DIP Claims, Prepetition
First Lien Loan Claims, the Prepetition Second Lien Loan Claims and the Prepetition HoldCo
Loan Claims, respectively (and as the case may be), each of the DIP Credit Agreement, First Lien
Credit Agreement Agent, the Second Lien Credit Agreement Agent and the HoldCo Credit
Agreement Agent, respectively (and as the case may be), shall be discharged of all of their
respective obligations associated with the DIP Credit Agreement, First Lien Credit Agreement, the
Second Lien Credit Agreement, and the HoldCo Credit Agreement, respectively (and as the case
may be).

        On the Effective Date, except as otherwise specifically provided for in this Plan (including
in the Restructuring Transactions Memorandum): (a) the obligations of the Debtors under any
certificate, share, note, bond, agreement, indenture, purchase right, option, warrant, call, put,
award, commitment, registration rights, preemptive right, right of first refusal, right of first offer,
co-sale right, investor rights, or other instrument or document directly or indirectly evidencing or
creating any indebtedness or obligation of or ownership interest in the Debtors giving rise to any
Claim or Interest (except such certificates, notes, or other instruments or documents evidencing
indebtedness or obligations of or ownership interest in the Debtors that are specifically Reinstated
pursuant to this Plan, if any) shall be canceled, terminated and of no further force or effect solely
as to the Debtors, without further act or action, and the Debtors and the Reorganized Debtors shall
not have any continuing obligations thereunder; and (b) the obligations of the Debtors pursuant,
relating, or pertaining to any agreements, indentures, certificates of designation, bylaws or
certificate or articles of incorporation or similar documents governing the shares, certificates,
notes, bonds, purchase rights, options, warrants, calls, puts, awards, commitments, registration
rights, preemptive rights, rights of first refusal, rights of first offer, co-sale rights, investor rights,
or other instruments or documents evidencing or creating any indebtedness or obligation of or
ownership interest in the Debtors (except such agreements, certificates, notes, or other instruments
evidencing indebtedness or obligations of or ownership interest in the Debtors that are specifically
Reinstated pursuant to this Plan, if any) shall be automatically and fully released and discharged.




                                                    63
           Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 69 of 197




       7.17.   Boards.

               (a)    As of the Effective Date, the Boards shall expire. Subject to the terms of
the Restructuring Support Agreement and the applicable New Organizational Documents, on the
Effective Date, the New Boards shall be established and new members of the Boards appointed.
The initial members of the New Boards shall consist of those individuals identified in the Plan
Supplement to be Filed with the Bankruptcy Court at or before the Confirmation Hearing. Unless
reappointed, the members prior to the Effective Date shall have no continuing obligations to any
of the Reorganized Debtors or to New TopCo on and after the Effective Date and each such
member shall be deemed to have resigned or shall otherwise cease to be a director of the applicable
Debtor or New TopCo on the Effective Date. Commencing on the Effective Date, the New Boards
shall serve pursuant to the terms of the applicable New Organizational Documents or the
applicable Organizational Documents of such Reorganized Debtor or New TopCo, as applicable,
and may be replaced or removed in accordance therewith, as applicable.

                (b)     The members of the Boards of the Non-Liquidating Debtors prior to the
Effective Date shall have no continuing obligations to the Reorganized Debtors on and after the
Effective Date and each such member shall be deemed to have resigned or shall otherwise cease
to be a director of the applicable Debtor on the Effective Date.

       7.18.   Management.

        As of the Effective Date, the individuals who will serve in certain senior management
positions of the Reorganized Debtors shall consist of those individuals set forth in the Plan
Supplement.

       7.19.   Directors and Officers Insurance Policies.

        In accordance with the Plan, (a) on the Effective Date, the Debtors or Reorganized Debtors,
as applicable, shall be deemed to have assumed all of the Debtors’ D&O Liability Insurance
Policies (including, without limitation, any “tail policy” and all agreements, documents, or
instruments related thereto, which “tail policy” shall not be otherwise terminated or reduced) in
effect prior to the Effective Date pursuant to sections 105 and 365(a) of the Bankruptcy Code,
without the need for any further notice to or action, order, or approval of the Bankruptcy Court;
provided that any indemnity obligations that would otherwise be assumed by the foregoing
assumption of the D&O Liability Insurance Policies shall be governed as provided elsewhere in
this Plan and shall not be deemed to be assumed with assumption of such D&O Liability Insurance
Policies; (b) the Debtors and the Reorganized Debtors, as applicable, shall retain the ability to
supplement such D&O Liability Insurance Policies as the Debtors or Reorganized Debtors, as
applicable, may deem necessary; and (c) for the avoidance of doubt, entry of the Confirmation
Order will constitute the Bankruptcy Court’s approval of the assumption of each of the unexpired
D&O Liability Insurance Policies.

        For the avoidance of doubt, on and after the Effective Date, each of the Reorganized
Debtors shall be authorized to purchase a directors’ and officers’ liability insurance policy for the
benefit of their respective directors, members, trustees, officers, and managers in the ordinary
course of business.



                                                 64
            Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 70 of 197




       7.20.   Corporate Action.

              (a)     On the Effective Date, the New Organizational Documents and any other
applicable amended and restated corporate Organizational Documents of each of the Reorganized
Debtors and New TopCo, shall be deemed authorized in all respects. On the Effective Date, all
actions contemplated by this Plan (including any transaction described in, or contemplated by, the
Restructuring Transactions Memorandum) and the Restructuring Transaction shall be deemed
authorized and approved in all respects, and all such actions taken or caused to be taken shall be
deemed to have been authorized and approved by the Bankruptcy Court.

                (b)     Any action under the Plan to be taken by or required of the Debtors, the
Reorganized Debtors or New TopCo, including the adoption or amendment of certificates of
formation, incorporation and by-laws, the issuance of securities and instruments, or the selection
of officers or directors shall be authorized and approved in all respects, without any requirement
of further action by any of the Debtors’, the Reorganized Debtors’ or New TopCo’s equity holders,
sole members, boards of directors or boards of managers, or similar body, as applicable.

                (c)     On or (as applicable) before the Effective Date, the appropriate officers of
the Debtors, the Reorganized Debtors or New TopCo, as applicable, shall be authorized and, as
applicable, directed to issue, execute, deliver, acknowledge, file, and/or record, as applicable, such
securities, documents, contracts, instruments, releases and other agreements and take such other
action as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan, in the name of and on behalf of the Debtors, the Reorganized Debtors and
New TopCo, as applicable, without the necessity of any further Bankruptcy Court, corporate,
limited liability company, board, member, or shareholder approval or action. In addition, the
selection of the Persons who will serve as the initial directors, officers and managers of the
Reorganized Debtors and New TopCo as of the Effective Date shall be deemed to have occurred
and be effective on and after the Effective Date without any requirement of further action by the
board of directors, board of managers, or equity holders of the applicable Reorganized Debtor or
New TopCo and each shall serve from and after the Effective Date pursuant to and in accordance
with the terms of the applicable New Organizational Documents and other applicable documents
until such director, officer, or manager resigns or is removed or terminated in accordance with the
applicable New Organizational Documents and other applicable documents.

               (d)     The authorizations, approvals and directives contemplated by this
Section 7.20 shall be effective notwithstanding any requirements under non-bankruptcy Law.

      7.21. Comprehensive Settlement of Claims and Controversies; Termination of
Subordination Rights.

                (a)    Pursuant to section 1123 of the Bankruptcy Code and in consideration for
the distributions and other benefits provided under this Plan, the provisions of this Plan will
constitute a good faith compromise and settlement of all Claims, Interests, Causes of Action, or
controversies (i) belonging to the Debtors or the Debtors’ Estates as set forth in the Plan and (ii) by
and among the Debtors, the Creditors’ Committee, the DIP Lenders, and the Consenting First Lien
Lenders. This Plan shall be deemed a motion to approve the good-faith compromise and settlement
of all such Claims, Interests, Causes of Action, and controversies belonging to the Debtors or the



                                                  65
           Case 24-12480-LSS         Doc 1233        Filed 04/03/25   Page 71 of 197




Debtors’ Estates pursuant to section 1123 of the Bankruptcy Code and, with respect to the
compromise and settlement by and among the Debtors, the Creditors’ Committee, the DIP
Lenders, and the Consenting First Lien Lenders, Bankruptcy Rule 9019 and section 1123 of the
Bankruptcy Code. The entry of the Confirmation Order will constitute the Bankruptcy Court’s
approval, as of the Effective Date, of the compromise or settlement of all such Claims, Interests,
Causes of Action, or controversies and the Bankruptcy Court’s finding that all such compromises
or settlements are: (i) in the best interest of the Debtors, the Reorganized Debtors, and their
respective Estates and property, and of Holders of Claims or Interests; and (ii) fair, equitable and
reasonable.

                 (b)     Except as provided herein, the classification and manner of satisfying all
Claims and Interests and the respective distributions and treatments under the Plan take into
account or conform to the relative priority and rights of the Claims and Interests in each Class in
connection with any contractual, legal and equitable subordination rights relating thereto whether
arising under general principles of equitable subordination, section 510(b) or 510(c) of the
Bankruptcy Code or otherwise, and any and all such rights against the Debtors and/or their Estates
are terminated pursuant to the Plan. Pursuant to section 510 of the Bankruptcy Code, the Debtors,
or the Reorganized Debtors, as applicable, reserve the right to re-classify any Allowed Claim or
Allowed Equity Interest in accordance with any contractual, legal, or equitable subordination
rights relating thereto.

                (c)     If the Plan, incorporating the Intercompany Settlement and subject to the
satisfaction of the Intercompany Settlement Conditions, is approved with respect to the Freedom
HoldCo Debtors, entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval, as of the Effective Date, of the Intercompany Settlement and the full and final release by
the Freedom HoldCo Debtors of any Claims and Causes of Actions identified by the Freedom
HoldCo Independent Director in connection with the Freedom HoldCo Independent Investigation,
and any such Claims or Causes of Action shall be deemed Freedom HoldCo Debtor Released
Claims for purposes of the Plan.

       7.22.   Additional Transactions Authorized Under this Plan.

        On or prior to the Effective Date, the Debtors, with the consent of the Required Consenting
First Lien Lenders, shall be authorized to take any such actions, as may be necessary or appropriate
to Reinstate Claims or Interests or render Claims or Interests Unimpaired, as provided for under
this Plan.

       7.23.   Insurance Policies.

        Each of the Debtors’ insurance policies and any agreements, documents, or instruments
relating thereto, shall be treated as Executory Contracts hereunder. Unless otherwise provided in
the Plan, on the Effective Date, (1) the Debtors shall be deemed to have assumed all insurance
policies and any agreements, documents, and instruments relating to coverage of all insured Claims
and (2) such insurance policies and any agreements, documents, or instruments relating thereto
shall revest in the Reorganized Debtors.




                                                66
           Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 72 of 197




        Nothing in this Plan, the Plan Supplement, the Disclosure Statement, the Confirmation
Order, or any other Final Order (including any other provision that purports to be preemptory or
supervening), (1) alters, modifies, or otherwise amends the terms and conditions of (or the
coverage provided by) any of such insurance policies or (2) alters or modifies the duty, if any, that
the insurers or third party administrators have to pay claims covered by such insurance policies
and their right to seek payment or reimbursement from the Debtors (or the purchaser, solely to the
extent assumed and assigned to the purchaser under an asset purchase agreement) or draw on any
Collateral or security therefor. For the avoidance of doubt, insurers and third party administrators
shall not need to nor be required to File or serve a cure objection or a request, application, claim,
Proof of Claim, or motion for payment and shall not be subject to any claims Bar Date or similar
deadline governing cure amounts or Claims.

       For the avoidance of doubt, all of the Debtors’ D&O Liability Insurance Policies shall be
governed by Section 7.5 and Section 7.19 of this Plan and not this Section 7.23.

       7.24.   Existing First Lien/Second Lien Intercreditor Agreement.

        Notwithstanding anything to the contrary contained herein, the Existing First Lien/Second
Lien Intercreditor Agreement shall remain in full force and effect notwithstanding the
Confirmation of the Plan or the occurrence of the Effective Date, and shall be fully enforceable
according to its terms for purposes of determining any breach thereof and distributions of, or with
respect to, Covered ICA Collateral or proceeds of Covered ICA Collateral, as between the First
Lien Credit Agreement Agent, the Second Lien Credit Agreement Agent, Holders of Prepetition
First Lien Loan Claims, and Holders of Prepetition Second Lien Loan Claims.

        Except as expressly set forth herein, to the extent the Second Lien Credit Agreement Agent
or any Holders of Prepetition Second Lien Loan Claim receives any recovery or distribution on
account of any Second Lien Adequate Protection Claims, any such recovery or distribution shall,
pursuant to sections 4.2 and 6.3 of the Existing First Lien/Second Lien Intercreditor Agreement,
be immediately, and without any further action by any party, fully and indefeasibly paid over to
the First Lien Credit Agreement Agent for the benefit of the Holders of Prepetition First Lien Loan
Claims (such payment the “Second Lien Turnover Payment”). The Second Lien Turnover
Payment shall be non-refundable and irrevocable, and shall not be subject to any contest, attack,
objection, challenge, defense, claim, counterclaim, or Cause of Action (whether equitable,
contractual, or otherwise), reclassification, disgorgement, disallowance, impairment, surcharge,
recovery, or any other claim or Cause of Action of any nature and description whatsoever, or any
other challenges by any Person under any applicable Law or regulation.

        Other than as expressly set forth herein, no distribution shall be made to the Second Lien
Credit Agreement Agent or any Holders of Prepetition Second Lien Loan Claims under this Plan
on account of the Second Lien Adequate Protection Claims absent a Final Order of the Bankruptcy
Court or other court of competent jurisdiction finding that the Second Lien Credit Agreement
Agent or the Holders of Prepetition Second Lien Loan Claims may take, receive, and retain such
distributions without violating the Existing First Lien/Second Lien Intercreditor Agreement.




                                                 67
              Case 24-12480-LSS        Doc 1233        Filed 04/03/25   Page 73 of 197




                                   ARTICLE VIII.
                       PROVISIONS GOVERNING DISTRIBUTIONS

       8.1.     Distributions.

       Except as otherwise provided herein, the Disbursing Agent shall make all distributions
under this Plan to the applicable Holders of Allowed Claims in accordance with the terms of this
Plan.

       8.2.     No Postpetition Interest on Claims.

       Except with respect to Allowed DIP Claims and the Prepetition First Lien Loan Claims
and unless otherwise specifically provided for in the Confirmation Order or required by applicable
bankruptcy Law, postpetition interest shall not accrue or be paid on any Claims, and no Holder of
a Claim shall be entitled to interest accruing on such Claim on or after the Petition Date.

       8.3.     Date of Distributions.

        Unless otherwise provided in this Plan, on the Effective Date (or, if a Claim or Interest is
not an Allowed Claim or Allowed Interest on the Effective Date, on the date that such Claim or
Interest becomes an Allowed Claim or Allowed Interest, or as soon as reasonably practicable
thereafter), each Holder of an Allowed Claim or Allowed Interest shall receive the full amount of
the distributions that this Plan provides for Allowed Claims or Allowed Interests (as applicable)
in the applicable Class; provided that the manner of distributions to Holders of Allowed OpCo
General Unsecured Claims and Holders of Allowed Prepetition Second Lien Loan Claims, solely
with respect to their Litigation Trust Units, shall be in the sole discretion of the Litigation Trustee
after reserving for Disputed Claims and expenses of the Litigation Trust. In the event that any
payment or act under this Plan is required to be made or performed on a date that is not a Business
Day, then the making of such payment or the performance of such act may be completed on or as
soon as reasonably practicable after the next succeeding Business Day, but shall be deemed to
have been completed as of the required date. If and to the extent that there are Disputed Claims or
Disputed Interests, distributions on account of any such Disputed Claims or Disputed Interests
shall be made pursuant to the provisions set forth in Article IX hereof.

       8.4.     Distribution Record Date.

       On the Distribution Record Date, the Claims Register shall be closed and any party
responsible for making distributions shall instead be authorized and entitled to recognize only
those Holders listed on the Claims Register as of the close of business on the Distribution Record
Date (or the designees of such Holders, as applicable). Neither the Debtors nor the Disbursing
Agent shall have any obligation to recognize any transfer of Claims occurring after the close of
business on the Distribution Record Date. Additionally, with respect to payment of any Cure Costs
or any Cure Disputes in connection with the assumption and/or assignment of the Debtors’
Executory Contracts and Unexpired Leases, neither the Debtors nor the Disbursing Agent shall
have any obligation to recognize or deal with any party other than the non-Debtor party to the
applicable Executory Contract or Unexpired Lease, even if such non-Debtor party has sold,
assigned or otherwise transferred its Claim for a Cure Costs. For the avoidance of doubt, the



                                                  68
              Case 24-12480-LSS        Doc 1233        Filed 04/03/25   Page 74 of 197




Distribution Record Date shall not apply to any securities of the Debtors deposited with DTC, the
Holders of which shall receive a distribution in accordance with the customary procedures of DTC.

       8.5.     Disbursing Agent.

                (a)     Powers of Disbursing Agent. The Disbursing Agent shall be empowered
to: (i) effectuate all actions and execute all agreements, instruments, and other documents
necessary to perform its duties under this Plan; (ii) make all applicable distributions under this
Plan or payments contemplated hereby in respect of the Reorganized Debtors; (iii) employ
professionals to represent it with respect to its responsibilities; and (iv) exercise such other powers
as may be vested in the Disbursing Agent by order of the Bankruptcy Court (including any order
issued after the Effective Date), pursuant to this Plan, or as deemed by the Disbursing Agent to be
necessary and proper to implement the provisions hereof.

                (b)    Expenses Incurred by the Disbursing Agent On or After the Effective Date.
Except as otherwise ordered by the Bankruptcy Court, and subject to the written agreement of the
Reorganized Debtors (solely if the Disbursing Agent is not the Reorganized Debtors), the amount
of any reasonable and documented fees and expenses incurred by the Disbursing Agent on or after
the Effective Date (including taxes) and any reasonable compensation and expense reimbursement
Claims (including reasonable attorney and other professional fees and expenses) of the Disbursing
Agent shall be paid in Cash and will not be deducted from distributions under this Plan made to
Holders of Allowed Claims by the Disbursing Agent. The foregoing fees and expenses shall be
paid in the ordinary course, upon presentation of invoices to the Reorganized Debtors and without
the need for approval by the Bankruptcy Court, as set forth in Section 3.6 of this Plan. In the event
that the Disbursing Agent and the Reorganized Debtors are unable to resolve a dispute with respect
to the payment of the Disbursing Agent’s fees, costs and expenses, the Disbursing Agent may elect
to submit any such dispute to the Bankruptcy Court for resolution.

               (c)     Bond. The Disbursing Agent shall not be required to give any bond or
surety or other security for the performance of its duties unless otherwise ordered by the
Bankruptcy Court and, in the event that the Disbursing Agent is so otherwise ordered, all costs and
expenses of procuring any such bond or surety shall be borne by the Reorganized Debtors.
Furthermore, any such Entity required to give a bond shall notify the Bankruptcy Court and the
U.S. Trustee in writing before terminating any such bond that is obtained.

               (d)     Cooperation with Disbursing Agent. The Reorganized Debtors shall use all
commercially reasonable efforts to provide the Disbursing Agent with the amount of Claims and
the identity and addresses of Holders of Claims, in each case, that are entitled to receive
distributions under this Plan, as set forth in the Debtors’ or the applicable Reorganized Debtors’
books and records. The Reorganized Debtors will cooperate in good faith with the Disbursing
Agent to comply with the withholding and reporting requirements outlined in Section 8.16 of this
Plan.

       8.6.     Delivery of Distribution.

       Subject to the provisions contained in this Article VIII, with respect to distributions
required to be made to Holders of Allowed Claims by the Reorganized Debtors under this Plan,



                                                  69
              Case 24-12480-LSS       Doc 1233        Filed 04/03/25    Page 75 of 197




the Disbursing Agent will, subject to Bankruptcy Rule 9010, make all distributions under this Plan
or payments to any Holder of an Allowed Claim as and when required by this Plan at: (a) the
address of such Holder on the books and records of the Debtors or their agents; or (b) the address
in any written notice of address change delivered to the Debtors or the Disbursing Agent, including
any addresses included on any Filed Proofs of Claim or transfers of Claim Filed with the
Bankruptcy Court. In the event that any distribution under this Plan to any such Holder is returned
as undeliverable, no distribution or payment to such Holder shall be made unless and until the
Disbursing Agent has been notified of the then current address of such Holder, at which time or as
soon as reasonably practicable thereafter such distribution under this Plan shall be made to such
Holder without interest; provided, however, that such distributions under this Plan or payments
shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the expiration
of ninety (90) days from: (i) the Effective Date and (ii) the date that such Holder’s Claim is first
Allowed. Notwithstanding the foregoing, all distributions to be made on account of (w) the
Prepetition ABL Loan Claims shall be delivered to the ABL Credit Agreement Agent for the
benefit of itself and the ABL Lenders in accordance with the terms of the ABL Credit Agreement,
(x) the Prepetition First Lien Loan Claims shall be delivered to the First Lien Credit Agreement
Agent for the benefit of itself and the First Lien Lenders in accordance with the terms of the First
Lien Credit Agreement, (y) the Prepetition Second Lien Loan Claims shall be delivered to the
Second Lien Credit Agreement Agent for the benefit of itself and the Second Lien Lenders in
accordance with the terms of the Second Lien Credit Agreement, and (z) the Prepetition HoldCo
Loan Claims shall be delivered to the HoldCo Credit Agreement Agent for the benefit of itself and
the HoldCo Lenders in accordance with the terms of the HoldCo Credit Agreement.

       8.7.     Unclaimed Property.

         Ninety (90) days from the later of (a) the Effective Date and (b) the date that such Holder’s
Claim is first Allowed, all unclaimed property, wherever located, or interests in property
distributable hereunder on account of such Claim shall revert to the applicable Reorganized Debtor
or its successor or assign and automatically and without need for a further order by the Bankruptcy
Court (notwithstanding any applicable federal, provincial or estate escheat, abandoned, or
unclaimed property Laws to the contrary), and any Claim or right of the Holder of such Claim and
Interests to such property, wherever located, or interest in property shall be discharged and forever
barred. The Reorganized Debtors and the Disbursing Agent shall have no obligation to attempt to
locate any Holder of an Allowed Claim other than by reviewing the Debtors’ books and records,
and the Proofs of Claim Filed against the Debtors, as reflected on the Claims Register maintained
by the Claims Agent.

       8.8.     Satisfaction of Claims.

        Unless otherwise specifically provided herein, any distributions under this Plan and
deliveries to be made on account of Allowed Claims hereunder shall be in complete settlement,
satisfaction and discharge of such Allowed Claims.

       8.9.     Manner of Payment Under Plan.

      Except as specifically provided herein, at the option of the Reorganized Debtors, any Cash
payment to be made hereunder may be made by a check or wire transfer or as otherwise required


                                                 70
            Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 76 of 197




or provided in applicable agreements or customary practices of the Debtors or the applicable
Reorganized Debtor, as the case may be.

       8.10.   De Minimis Cash Distributions.

       None of the Reorganized Debtors or the Disbursing Agent shall have any obligation to
make a distribution that is less than $250.00 in Cash.

       8.11.   Distributions on Account of Allowed Claims Only.

       Notwithstanding anything herein and in the Restructuring Support Agreement to the
contrary, no distribution under this Plan shall be made on account of a Claim until such Claim
becomes an Allowed Claim.

       8.12.   Fractional Shares.

        No fractional interests shall be distributed, and no Cash shall be distributed in lieu of such
fractional amounts. When any distribution would otherwise result in the issuance of a number of
interests that is not a whole number, the actual distribution of interests shall be rounded as follows:
(a) fractions of one-half (1/2) or greater shall be rounded to the next higher whole number and
(b) fractions of less than one-half (1/2) shall be rounded to the next lower whole number with no
further payment therefore. The total number of authorized interests to be distributed shall be
adjusted as necessary to account for the foregoing rounding. For distribution purposes (including
rounding), DTC will be treated as a single Holder, if applicable.

       8.13.   No Distribution in Excess of Amount of Allowed Claim.

        Notwithstanding anything herein and in the Restructuring Support Agreement to the
contrary, no Holder of an Allowed Claim shall, on account of such Allowed Claim, receive a
distribution under this Plan of a value in excess of the Allowed amount of such Claim.

       8.14.   Foreign Currency Exchange Rate.

       Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any
Claim asserted in currency other than U.S. dollars shall be automatically deemed converted to the
equivalent U.S. dollar value using the exchange rate for the applicable currency as published in
The Wall Street Journal (National Edition) on the Effective Date.

       8.15.   Setoffs and Recoupments.

        Except as expressly provided in this Plan and except with respect to the Secured Claims,
the Reorganized Debtors may, pursuant to sections 553 and 558 of the Bankruptcy Code or
applicable non-bankruptcy Law, setoff and/or recoup against any distributions under this Plan to
be made on account of any Allowed Claim, any and all claims, rights and Causes of Action that
the applicable Debtor may hold against the Holder of such Allowed Claim to the extent such setoff
or recoupment is either (a) agreed in amount between the applicable Reorganized Debtor and the
Holder of the Allowed Claim or (b) otherwise adjudicated by the Bankruptcy Court or another
court of competent jurisdiction; provided, however, that neither the failure to effectuate a setoff or


                                                  71
            Case 24-12480-LSS         Doc 1233        Filed 04/03/25    Page 77 of 197




recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by a
Reorganized Debtor or any of their respective successors of any and all claims, rights and Causes
of Action that such Persons or any of their respective successors may possess against the applicable
Holder.

       8.16.   Withholding and Reporting Requirements.

         In connection with this Plan and all distributions under this Plan hereunder, the
Reorganized Debtors, the Litigation Trust, the Disbursing Agent and any Claims Agent shall
comply with all withholding and reporting requirements imposed by any U.S. federal, state,
provincial, local or foreign taxing authority, and all distributions under this Plan hereunder shall
be subject to any such withholding and reporting requirements. The Reorganized Debtors, the
Litigation Trust, the Disbursing Agent and any Claims Agent shall be authorized to take any and
all actions that may be necessary or appropriate to comply with such withholding and reporting
requirements, including requiring a Holder of a Claim to submit appropriate tax and withholding
certifications. Notwithstanding any other provision of this Plan: (a) each Holder of an Allowed
Claim that is to receive a distribution under this Plan under this Plan shall have sole and exclusive
responsibility for the satisfaction and payment of any tax obligations imposed by any
Governmental Unit, including income, withholding and other tax obligations on account of such
distribution; and (b) no distributions under this Plan shall be required to be made to or on behalf
of such Holder pursuant to this Plan unless and until such Holder has made arrangements
satisfactory to the Reorganized Debtors, the Litigation Trust, the Disbursing Agent or the Claims
Agent, as applicable, for the payment and satisfaction of such tax obligations or has, to their
satisfaction, established an exemption therefrom.

       8.17.   Turnover Obligations.

        All distributions under this Plan to the Second Lien Credit Agreement Agent or to Holders
of Prepetition Second Lien Loan Claims of or with respect to Covered ICA Collateral or proceeds
of Covered ICA Collateral, including all distributions on account of the Second Lien Adequate
Protection Claims, shall be made by the Disbursing Agent directly to the Holders of Prepetition
First Lien Loan Claims or to the First Lien Credit Agreement Agent on behalf of Holders of
Prepetition First Lien Loan Claims, in full and final satisfaction of any distribution owed to the
Second Lien Credit Agreement Agent or to Holders of Prepetition Second Lien Loan Claims.

       8.18.   Claims Payable by Third Parties.

        To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or in part a
Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately
upon such insurers’ agreement, the applicable portion of such Claim may be expunged without an
objection to such Claim having to be Filed and without any further notice to or action, order, or
approval of the Bankruptcy Court. If an applicable insurance policy has a self-insured retention
(“SIR”) or a deductible, the Holder of an Allowed Claim that is payable pursuant to such insurance
policy, upon the Allowance of such Claim, shall have an Allowed General Unsecured Claim
against the applicable Debtor’s Estate up to the amount of the SIR or deductible amount that may
be established upon the liquidation of the Claim, and such Holder’s recovery from the Debtors or
the Reorganized Debtors, as applicable, shall be solely in the form of its distribution on account


                                                 72
              Case 24-12480-LSS      Doc 1233        Filed 04/03/25   Page 78 of 197




of such Allowed General Unsecured Claim under the Plan. Such SIR shall be considered satisfied
pursuant to the Plan through allowance of the General Unsecured Claim solely in the amount of
the applicable SIR, if any; provided, however, that nothing herein obligates the Debtors, the
Reorganized Debtors, the Litigation Trustee, or any of their successors or assigns to satisfy any
SIR under any insurance policy, including any D&O Liability Insurance Policies. Any recovery
on account of the Claim in excess of the SIR or the deductible established upon the liquidation of
the Claim shall be recovered solely from the Debtors’ insurance coverage, if any, and only to the
extent of available insurance coverage and any proceeds thereof. For the avoidance of doubt,
nothing herein or in the Confirmation Order shall modify or impair any of the Debtors’ insurers’
rights to be reimbursed or paid in the ordinary course according to the terms of the applicable
insurance policy, including, without limitation, with respect to any amounts owed to the Debtors’
insurers under an applicable SIR. Nothing in this Plan shall be construed to limit, extinguish,
expand, or diminish the insurance coverage that may exist or shall be construed as a finding that
liquidated any Claim payable pursuant to an insurance policy. Nothing herein relieves any Entity
from the requirement to timely File a Proof of Claim by the applicable Claims Bar Date.

                                  ARTICLE IX.
                        PROCEDURES FOR RESOLVING CLAIMS

       9.1.     Disputed Claims Process.

         Except as otherwise provided herein, the Debtors and the Reorganized Debtors shall have
the authority to (a) determine, without the need for notice to or action, order, or approval of the
Bankruptcy Court, that a claim subject to any Proof of Claim that is Filed is Allowed and (b) File,
settle, compromise, withdraw, or litigate to judgment any objections to Claims as permitted under
this Plan, including, for the avoidance of doubt, as permitted under Section 9.4. Except as
otherwise provided herein, all Proofs of Claim that are not timely Filed by the applicable
Bar Date or that has not otherwise been Allowed pursuant to this Plan or a Final Order shall
be disallowed and forever barred, estopped, and enjoined from assertion, and shall not be
enforceable against any Debtor or any Reorganized Debtor, as applicable, without the need
for any objection by the Debtors or the Reorganized Debtors, as applicable, or any further
notice to or action, order, or approval of the Bankruptcy Court.

       9.2.     Allowance of Claims.

       After the Effective Date and subject to the terms of this Plan, each of the Reorganized
Debtors shall have and retain any and all rights and defenses the applicable Debtor had with respect
to any Claim (other than Litigation Claims, Prepetition Second Lien Loan Claims, OpCo General
Unsecured Claims, Prepetition HoldCo Loan Claims, and Freedom HoldCo General Unsecured
Claims) or Interest immediately prior to the Effective Date. The Reorganized Debtors may
affirmatively determine to deem Unimpaired any Allowed Claims to the same extent such Claims
would be allowed under applicable non-bankruptcy Law. Except as expressly provided in this
Plan or in any order entered in the Chapter 11 Cases before the Effective Date (including the
Confirmation Order), no Claim or Interest shall become an Allowed Claim or Allowed Interest
unless and until such Claim or Interest (a) is deemed Allowed under this Plan or pursuant to the
Bankruptcy Code or (b) the Bankruptcy Court has entered a Final Order, including the



                                                73
              Case 24-12480-LSS       Doc 1233        Filed 04/03/25    Page 79 of 197




Confirmation Order (when it becomes a Final Order), in the Chapter 11 Cases Allowing such
Claim or Interest.

        Any Claim that has been or is hereafter listed in the Schedules as contingent, unliquidated,
or Disputed, and for which no Proof of Claim is or has been timely Filed, or that has not otherwise
been Allowed pursuant to this Plan or a Final Order, is not Allowed, which shall be reflected in
the Claims Register, without further action by the Debtors and without further notice to any party
or action, approval, or order of the Bankruptcy Court.

       9.3.     Claims Administration Responsibilities.

        Except as otherwise specifically provided in this Plan (including without limitation
Section 9.4), after the Effective Date, the Reorganized Debtors shall have the authority: (a) to File,
withdraw, or litigate to judgment, objections to Claims or Interests; (b) to settle or compromise
any Disputed Claim or Disputed Interest without any further notice to or action, order, or approval
by the Bankruptcy Court; and (c) to administer and adjust the Claims Register to reflect any such
settlements or compromises without any further notice to or action, order, or approval by the
Bankruptcy Court. For the avoidance of doubt, except as otherwise provided herein, from and
after the Effective Date, each Reorganized Debtor shall have and retain any and all rights and
defenses such Debtor had immediately prior to the Effective Date with respect to any Disputed
Claim or Interest, including the Causes of Action retained pursuant to this Plan.

       9.4.     Objections to Claims.

        Other than with respect to Professional Fee Claims and the Second Lien Adequate
Protection Claims, only the Reorganized Debtors or New TopCo shall be entitled to object to
Claims (other than Prepetition Second Lien Loan Claims, OpCo General Unsecured Claims,
Prepetition HoldCo Loan Claims, and Freedom HoldCo General Unsecured Claims) on and after
the Effective Date, except that nothing herein shall be understood to waive the Reorganized
Debtors’ or New TopCo’s right to argue that a Claim Filed against the Debtors or the Reorganized
Debtors has been discharged under the Plan; provided, however, that the Required Consenting
First Lien Lenders and the First Lien Credit Agreement Agent shall be entitled to object to any
Claims Filed by the Second Lien Credit Agreement Agent or any Holders of Prepetition Second
Lien Loan Claims to the extent required to determine rights in respect of the Existing First
Lien/Second Lien Intercreditor Agreement. Only the Litigation Trust shall be entitled to object to
Prepetition Second Lien Loan Claims, OpCo General Unsecured Claims, Prepetition HoldCo Loan
Claims, or Freedom HoldCo General Unsecured Claims on and after the Effective Date. Any
objections to Claims (other than Administrative Expense Claims) shall be served and Filed on or
before the Claims Objection Deadline, as such deadline may be extended from time to time. From
and after the Effective Date, either (a) the Reorganized Debtors, in consultation with the Required
Consenting First Lien Lenders or (b) the Litigation Trust, as applicable, may settle or compromise
any Disputed Claim without approval of the Bankruptcy Court.

       9.5.     Adjustment to Claims or Equity Interests without Objection.

        Any duplicate Claim or Equity Interest or any Claim or Equity Interest that has been paid,
satisfied, amended, or superseded may be adjusted or expunged (including pursuant to the Plan)



                                                 74
              Case 24-12480-LSS        Doc 1233        Filed 04/03/25    Page 80 of 197




on the Claims Register by the Reorganized Debtors or the Disbursing Agent without the
Reorganized Debtors having to File an application, motion, complaint, objection, or any other legal
proceeding seeking to object to such Claim or Equity Interest and without any further notice to or
action, order, or approval of the Bankruptcy Court.

       9.6.     No Distributions Pending Allowance.

       If an objection to a Claim is Filed as set forth in Section 9.4 of this Plan, except as otherwise
agreed by the Reorganized Debtors, in consultation with the Required Consenting First Lien
Lenders, if any portion of a Claim (other than a Professional Fee Claim) is a Disputed Claim, no
payment or distribution (partial or otherwise) provided hereunder shall be made on account of such
Claim unless and until such Disputed Claim becomes an Allowed Claim.

       9.7.     Distributions After Allowance.

        To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or
Allowed Interest, distributions (if any) shall be made to the Holder of such Allowed Claim or
Interest in accordance with the provisions of the Plan. As soon as reasonably practicable after the
date that the order or judgment of the Bankruptcy Court Allowing any Disputed Claim or Interest
becomes a Final Order, the Disbursing Agent shall provide to the Holder of such Claim or Interest
the distribution (if any) to which such Holder is entitled under the Plan as of the Effective Date,
without any interest to be paid on account of such Claim or Interest.

                                ARTICLE X.
                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       10.1.    Assumption and Rejection of Executory Contracts and Unexpired Leases.

        In the event a Partial Sale Transaction is consummated, to the extent assumption has not
already occurred, the Assumed Contracts to be assumed and assigned in connection with such
Partial Sale Transaction will be assumed (unless previously assumed pursuant to a separate order
of the Bankruptcy Court) and assigned to the applicable Buyer pursuant to a Sale Order in
accordance with the applicable Sale Documents.

         Except as otherwise provided herein, any Executory Contracts and Unexpired Leases
(a) not previously assumed, (b) not previously assumed and assigned in accordance with any
Partial Sale Transaction or other order approving such assumption and assignment, or (c) not
previously rejected pursuant to an order of the Bankruptcy Court, will be assumed effective as of
the Effective Date pursuant to sections 365 and 1123 of the Bankruptcy Code and the Confirmation
Order except any Executory Contract or Unexpired Lease (i) identified on the Rejected
Contracts/Lease List (which shall be Filed with the Plan Supplement) as a contract or lease to be
rejected, (ii) that is the subject of a separate motion or notice to reject, assume, or assume and
assign pending as of the Confirmation Date, (iii) that previously expired or terminated pursuant to
its own terms (disregarding any terms the effect of which is invalidated by the Bankruptcy Code),
(iv) of the American Freight Debtors that is not otherwise assumed or included on the Assumed
Contracts List; or (v) that, as of the Effective Date, is the subject of (1) a motion to reject that is
pending or (2) an order of the Bankruptcy Court that is not yet a Final Order. For the avoidance
of doubt, except as otherwise set forth herein or as included on the Assumed Contracts List, all


                                                  75
            Case 24-12480-LSS          Doc 1233        Filed 04/03/25    Page 81 of 197




Executory Contracts and Unexpired Leases of the American Freight Debtors shall be rejected as
of the Effective Date.

        Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order
approving the assumptions or rejections of the Debtors’ Executory Contracts and Unexpired
Leases pursuant to sections 365(a) and 1123 of the Bankruptcy Code effective on the occurrence
of the Effective Date or, as to rejected Executory Contracts and Unexpired Leases, on such other
date as may be identified on the Rejected Contracts/Lease List or other motion or notice to reject
by agreement of the affected counterparty to such Executory Contract or Unexpired Lease.

         Each Executory Contract and Unexpired Lease assumed pursuant to the Plan or by
Bankruptcy Court order, and not assigned to a third party (including the applicable Buyer in the
event of a Partial Sale Transaction, if any) on or prior to the Effective Date, shall revest in and be
fully enforceable by the applicable Reorganized Debtor in accordance with its terms, except as
such terms may have been modified by agreement of the parties or, other than with respect to non-
residential Unexpired Leases, by an order of the Bankruptcy Court. To the maximum extent
permitted by Law, to the extent any provision in any Executory Contract or Unexpired Lease
assumed pursuant to the Plan restricts or prevents, or purports to restrict or prevent, or is breached
or deemed breached by, or increases, accelerates or otherwise alters any obligations, rights or
liabilities of the Debtors or the Reorganized Debtors thereunder as a result of, or creates any Lien
on any asset or property of the Debtors or the Reorganized Debtors as a result of, the assumption
of such Executory Contract or Unexpired Lease or the execution or consummation of any other
Restructuring Transaction (including any “change of control” provision), then such provision shall
be deemed unenforceable (solely for purposes of the transactions contemplated under this Plan)
and modified such that the transactions contemplated by the Plan shall not entitle the non-Debtor
party thereto to terminate such Executory Contract or Unexpired Lease, to exercise any other
default-related rights with respect thereto, to increase, accelerate or otherwise alter the obligations,
rights or liabilities of the Debtors or the Reorganized Debtors thereunder, or create or impose a
Lien on any asset or property of the Debtors or the Reorganized Debtors. For the avoidance of
doubt, Confirmation of the Plan shall not be deemed an assignment of any Executory Contract or
Unexpired Lease of the Debtors, notwithstanding any change in name, organizational form, or
jurisdiction of organization of any Debtor in connection with the occurrence of the Effective Date.

        Notwithstanding anything to the contrary herein and in the Restructuring Support
Agreement, the Debtors or Reorganized Debtors, as applicable, subject to the Definitive Document
Consent Rights, reserve the right to amend or supplement the Rejected Contracts/Lease List in
their discretion prior to the Confirmation Date (or such later date as may be agreed with a
counterparty); provided that the Debtors shall give prompt notice of any such amendment or
supplement to any affected counterparty and such counterparty shall have a reasonable opportunity
to object thereto on any grounds.

       10.2.   Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

       Notwithstanding anything to the contrary herein and in the Restructuring Support
Agreement, in the event of a Partial Sale Transaction (if any), the terms of any Sale Documents
and any Sale Order shall govern the cure of defaults, assumption and assignment, and compliance



                                                  76
           Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 82 of 197




with section 365 of the Bankruptcy Code with respect to any Executory Contracts or Unexpired
Leases assumed and assigned pursuant to such Sale Documents and Sale Order.

        For any parties that received and Assumption and Assignment Notices (as defined in the
Bidding Procedures Order) notice pursuant to the Bidding Procedures Order at least 14 days prior
to the Confirmation hearing, the applicable terms of the Bidding Procedures Order and section 365
of the Bankruptcy Code shall govern the process for cure of defaults, assumption, assumption and
assignment (if applicable) with respect to any such Executory Contracts or Unexpired Leases
assumed or assumed and assigned by the Debtors pursuant to this Plan. Notwithstanding the
foregoing, any Assumption and Assignment Notices, including, but not limited to, those Filed at
Docket Nos. 487, 499, 597, 650, 735, 804, and 881 shall constitute notice of the potential
assumption and proposed Cure Costs; provided, however, that to the extent any Executory
Contracts or Unexpired Leases that are subject to an Assumption and Assignment Notice delivered
in accordance with the forgoing are identified on the Rejected Contracts/Lease List (which shall
be Filed with the Plan Supplement) shall be rejected as of the Effective Date. Any objection by a
contract or lease counterparty to the proposed Cure Cost (as defined in the Bidding Procedures
Order) must be Filed, served, and actually received by the Debtors on or before the date set forth
in the applicable Assumption and Assignment Notice (a “Cure Objection”). For any other parties
that have not received and Assumption and Assignment Notices (as defined in the Bidding
Procedures Order) notice pursuant to the Bidding Procedures Order at least 14 days prior to the
Confirmation hearing, unless otherwise agreed upon in writing by the parties to the applicable
Executory Contract or Unexpired Lease, all requests for payment of Cure Costs that differ from
the amounts paid or proposed to be paid by the Debtors or the Reorganized Debtors, as applicable,
to a counterparty must be Filed, served, and actually received by the Debtors on or before 14 days
after such notice (together with any outstanding Cure Objection, a “Cure Dispute”). Any such
request that is not timely Filed shall be disallowed and forever barred, estopped, and enjoined from
assertion, and shall not be enforceable against any Debtor, Reorganized Debtor, or Buyer (if any),
without the need for any objection by the Debtors or the Reorganized Debtors or any other party
in interest, or any further notice to or action, order, or approval of the Bankruptcy Court. Any
Cure Costs shall be deemed fully satisfied, released, and discharged upon payment by the Debtors
or the Reorganized Debtors of the applicable Cure Costs; provided, however, that nothing herein
shall prevent the Reorganized Debtors or the Buyer (if applicable) from paying any Cure Costs
despite the failure of the relevant counterparty to File such request for payment of such Cure Costs.
The Reorganized Debtors also may settle any Cure Costs without any further notice to or action,
order, or approval of the Bankruptcy Court. In the event that a non-Debtor contract counterparty
Files a timely Cure Dispute and the Debtors and such counterparty cannot resolve such Cure
Dispute, the Cure Dispute shall be heard on at least seven (7) days’ notice to the applicable
non-Debtor contract counterparty, or such date as the parties agree, subject to the Court’s calendar.
Any objection by a contract or lease counterparty to (a) the ability of the applicable Debtors to
provide “adequate assurance of future performance” (within the meaning of section 365 of the
Bankruptcy Code) under the contract or lease to be assumed or assumed and assigned, or (b) any
other matter pertaining to the proposed assumption must be Filed, served, and actually received by
the Debtors by the date on which objections to Confirmation of the Plan are due. The Reorganized
Debtors may settle any Cure Dispute without any further notice to or action, order, or approval of
the Bankruptcy Court. Any counterparty to an Executory Contract or Unexpired Lease that fails
to timely object to the proposed assumption of any Executory Contract or Unexpired Lease will
be deemed to have consented to such assumption.


                                                 77
           Case 24-12480-LSS         Doc 1233        Filed 04/03/25   Page 83 of 197




        Except to the extent that less favorable treatment has been agreed to by the non-Debtor
party or parties to each such Executory Contract or Unexpired Lease to be assumed or assumed
and assigned pursuant to the Plan, the Debtors shall pay any Cure Costs, if monetary, in full in
Cash either (a) on the Effective Date or as soon as reasonably practicable thereafter, or (b) in the
event of a Cure Dispute, and following resolution of such Cure Dispute (either consensually or
through judicial decision), upon the later of (i) the Effective Date or as soon as reasonably
practicable thereafter and (ii) seven (7) days after the date on which such Cure Dispute has been
resolved. The Debtors and the Reorganized Debtors, as applicable, reserve the right at any time
to move to reject any Executory Contract or Unexpired Lease based upon the existence of any such
unresolved dispute. If the Bankruptcy Court determines that the Allowed Cure Cost with respect
to any Executory Contract or Unexpired Lease is greater than the amount set forth in the Assumed
Contracts List, the Debtors shall have the right to reject such Executory Contract or Unexpired
Lease, in which case such Executory Contract or Unexpired Lease will be deemed rejected as of
the Effective Date subject to the applicable counterparty’s right to object to such rejection.

        Assumption (or assumption and assignment) of any Executory Contract or Unexpired
Lease pursuant to the Plan and payment or performance of the applicable Cure Costs shall result
in the full release and satisfaction of any Claims and defaults, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest composition
or other bankruptcy-related defaults, under any assumed Executory Contract or Unexpired Lease
arising at any time prior to the effective date of assumption. Any and all Proofs of Claim based
upon Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11
Cases, including pursuant to the Confirmation Order, and for which any Cure Cost has been
fully paid pursuant to this Section 10.2, shall be deemed Disallowed and expunged as of the
Effective Date without the need for any objection thereto or any further notice to or action,
order, or approval of the Bankruptcy Court.

        To the extent applicable, rejection of any Executory Contract or Unexpired Lease pursuant
to this Plan or otherwise shall not constitute a termination of preexisting obligations owed to the
Debtors or the Reorganized Debtors, as applicable, under such Executory Contracts or Unexpired
Leases and the Debtors are entitled to all the rights provided under section 365 of the Bankruptcy
Code.

       10.3.   Claims Based on Rejection of Executory Contracts and Unexpired Leases.

        Unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting
Claims arising from the rejection of the Executory Contracts and Unexpired Leases under this Plan
must be Filed with the Claims Agent within thirty (30) days after the date of the effectiveness of
the rejection of the applicable Executory Contract or Unexpired Lease. Any Proofs of Claim
arising from the rejection of the Executory Contracts and Unexpired Leases that are not
timely Filed shall be automatically disallowed, forever barred from assertion, and shall not
be enforceable against the Debtors, the Reorganized Debtors, the Estates, or their respective
property without the need for any objection by the Debtors or the Reorganized Debtors, as
applicable, or further notice to, or action, order, or approval of the Bankruptcy Court or
any other Entity, and any Claim arising out of the rejection of the Executory Contract or
Unexpired Lease shall be deemed fully satisfied, released, and discharged notwithstanding
anything in a Proof of Claim to the contrary, unless otherwise ordered by the Bankruptcy


                                                78
           Case 24-12480-LSS         Doc 1233        Filed 04/03/25   Page 84 of 197




Court. All Allowed Claims arising from the rejection of the Executory Contracts and Unexpired
Leases shall constitute General Unsecured Claims and shall be treated in accordance with
Article V of the Plan and the applicable provisions of the Bankruptcy Code and the Bankruptcy
Rules.

       10.4.   Contracts and Leases Entered into After the Petition Date.

        The Debtors or Reorganized Debtors, and, to the extent assigned to a Buyer in the event of
a Partial Sale Transaction, the Buyer, as applicable, will perform under any contracts and leases
entered into after the Petition Date by any Debtor, including any Executory Contracts and
Unexpired Leases assumed by any Debtor, and will be liable thereunder in the ordinary course of
business.

       10.5.   Modifications, Amendments, Supplements, or Other Agreements.

        Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that
is assumed shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and all
Executory Contracts and Unexpired Leases related thereto, if any, including all easements,
licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
interests, unless any of the foregoing agreements has been previously rejected or repudiated or is
rejected or repudiated under the Plan.

       Modifications, amendments, supplements, and restatements to prepetition Executory
Contracts and Unexpired Leases that have been executed by the Debtors during the
Chapter 11 Cases shall not be deemed to alter the prepetition nature of the Executory Contract or
Unexpired Lease, or the validity, priority, or amount of any Claims that may arise in connection
therewith.

       10.6.   Nonoccurrence of Effective Date.

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
jurisdiction with respect to any request to extend the deadline for assuming or rejecting Unexpired
Leases pursuant to section 365(d)(4) of the Bankruptcy Code.

       10.7.   Reservation of Rights.

        Neither the exclusion nor inclusion of any contract or lease in the Rejected Contracts/Lease
List or Assumed Contracts List, as applicable, nor anything contained in the Plan or Sale
Documents, nor the Debtors’ delivery of a notice of proposed assumption and proposed Cure Cost
to any contract and lease counterparties, shall constitute an admission by the Debtors that any such
contract or lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized
Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease is
or was executory or unexpired at the time of assumption or rejection, the Debtors or Reorganized
Debtors, as applicable, shall have forty-five (45) days following entry of a Final Order resolving
such dispute to alter their treatment of such contract or lease. If there is a dispute regarding a
Debtor’s or Reorganized Debtor’s liability under an assumed Executory Contract or Unexpired
Lease, the Reorganized Debtors shall be authorized to move to have such dispute heard by the


                                                79
           Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 85 of 197




Bankruptcy Court pursuant to Article XIII. If the Bankruptcy Court determines that the Allowed
Cure Cost with respect to any Executory Contract or Unexpired Lease is greater than the amount
set forth in the Schedule of Proposed Cure Amounts, the Debtors shall have the right to reject such
Executory Contract or Unexpired Lease, in which case such Executory Contract or Unexpired
Lease will be deemed rejected as of the Effective Date subject to the applicable counterparty’s
right to object to such rejection.

       10.8.   Employee Compensation and Benefits.

      Subject to the provisions of the Plan or any applicable Sale Order or Sale Documents, all
compensation and benefits programs shall be treated as Executory Contracts.

        Unless otherwise rejected, to the extent consented to by the Required Consenting First Lien
Lenders, all compensation and benefits programs (other than any equity or equity based (including
any phantom equity) compensation or benefits plans) shall be deemed assumed on the Effective
Date pursuant to the provisions of sections 365 and 1123 of the Bankruptcy Code. Confirmation
of the Plan, or any assumption of compensation and benefits programs pursuant to the terms herein,
shall not be deemed to trigger any applicable change of control, assignment, vesting, termination,
acceleration or similar provisions therein. No counterparty shall have rights under a compensation
and benefits programs assumed pursuant to the Plan other than those applicable immediately prior
to such assumption.

       The Reorganized Debtors will either assume or reject the existing agreements with the
current members of the senior management team of the Debtors, or will enter into new
compensation arrangements, as applicable, on the Effective Date with some or all such individuals
who agree to such new arrangements, which assumption or rejection must be approved by the
Required Consenting First Lien Lenders and which new arrangements, as applicable, must be
acceptable to the Reorganized Debtors and the Required Consenting First Lien Lenders.

        The New Board shall: (x) adopt and implement Management Incentive Plans at each
operating company or (y) assume, assume as amended, or reject the existing long term incentive
plans of Franchise Group’s direct or indirect subsidiaries, in each case structured to incentivize
operating performance and align economic interests on terms and conditions acceptable to the New
Board and the Required Consenting First Lien Lenders. If applicable, the Management Incentive
Plan shall provide for the issuance of equity or equity-linked awards representing up to 10% of the
Reorganized Common Equity on a fully diluted basis, to be allocated by the New Board. The form
of the awards under the Management Incentive Plan, if applicable (i.e., options, restricted stock or
units, appreciation rights, etc.), the participants in the Management Incentive Plan, the allocations
of the awards to such participants (including the amount of allocations and the timing of the grant
of the awards), and the terms and conditions of the awards (including vesting, exercise prices, base
values, hurdles, forfeiture, repurchase rights and transferability) shall be determined by the New
Board in its sole discretion.

       In the event of a Partial Sale Transaction, the compensation and benefits programs
contemplated to be assumed and assigned in connection with such Partial Sale Transaction shall
be assumed and assigned to the applicable Buyer upon consummation of such Partial Sale
Transaction in accordance with the terms and conditions of the applicable Sale Documents. On


                                                 80
              Case 24-12480-LSS       Doc 1233       Filed 04/03/25    Page 86 of 197




the Effective Date, or in the event of assumption by a Buyer of the compensation and benefits
programs, all Proofs of Claim Filed for amounts due under any compensation and benefits
programs shall be considered satisfied by the applicable agreement and/or program and agreement
to assume and cure in the ordinary course as provided in the Plan.

                             ARTICLE XI.
          CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

       11.1.    Conditions Precedent to Confirmation.

                Confirmation of this Plan is subject to the satisfaction or waiver of the following
conditions:

                (a)    the DIP Orders shall be in full force and effect;

               (b)     the Debtors shall have paid in full in Cash (or the Debtors shall pay in full
in Cash substantially contemporaneously with consummation of the Restructuring Transactions)
all Restructuring Expenses incurred or estimated to be incurred, through the proposed
Confirmation Date in accordance with the DIP Orders, and as provided herein;

               (c)     the final version of the Plan Supplement and all of the schedules,
documents, and exhibits contained therein shall have been Filed in a manner consistent in all
material respects with the Plan;

                (d)    entry of the Confirmation Order; and

               (e)     the Restructuring Support Agreement, the DIP Facility, and the DIP Orders,
shall not have been terminated in accordance with its respective terms, and there shall not have
occurred and be continuing any event, act, or omission that, but for the expiration of time, would
permit the Required Consenting First Lien Lenders to terminate the Restructuring Support
Agreement, the DIP Orders (including, for the avoidance of doubt, the occurrence of any “Event
of Default” under the DIP Facility), or the DIP Facility in accordance with its respective terms
upon the expiration of such time.

       11.2.    Conditions Precedent to the Effective Date.

              The occurrence of the Effective Date is subject to the satisfaction or waiver of the
following conditions:

              (a)    the DIP Orders, Disclosure Statement Order, and Confirmation Order
having become Final Orders in the Chapter 11 Cases, which shall not have been stayed, reversed,
vacated, amended, supplemented or otherwise modified, unless otherwise agreed by the Debtors
and the Required Consenting First Lien Lenders;

                (b)     no court of competent jurisdiction or other competent governmental or
regulatory authority having issued a final and non-appealable order making illegal or otherwise
restricting, preventing or prohibiting the consummation of the Plan;



                                                81
            Case 24-12480-LSS          Doc 1233        Filed 04/03/25    Page 87 of 197




                (c)    each of the applicable Definitive Documents having been executed,
delivered, acknowledged, and/or Filed, as applicable, by the Entities and Persons intended to be
parties thereto and effectuated and remain in full force and effect, and any conditions precedent
related thereto or contained therein having been satisfied before or contemporaneously with the
occurrence of the Effective Date or otherwise waived in accordance with such applicable
Definitive Documents;

              (d)     any non-technical and/or immaterial amendments, modifications or
supplements to the Plan having been acceptable to the Debtors and the Required Consenting First
Lien Lenders, except as otherwise provided in Section 14.3 of this Plan;

                (e)    each of the offers, issuances, sales, and/or deliveries of Reorganized
Common Equity in connection with the Restructuring Transactions shall be exempt from the
registration and prospectus delivery requirements of the Securities Act, no proceeding by any
Governmental Unit or other Entity or Person that alleges that any such offer, issuance, sale and/or
delivery is not exempt from the registration and prospectus delivery requirements of the Securities
Act shall be pending on the Effective Date, and no such proceeding shall be threatened in writing
or instituted by any Governmental Unit on or prior to the Effective Date;

               (f)    the Restructuring Support Agreement, the DIP Facility, and the DIP Orders,
having not been terminated in accordance with its respective terms, and there having not occurred
and been continuing any event, act, or omission that, but for the expiration of time, would permit
the Required Consenting First Lien Lenders to terminate the Restructuring Support Agreement,
the DIP Orders (including, for the avoidance of doubt, the occurrence of any “Event of Default”
under the DIP Facility), or the DIP Facility in accordance with its respective terms upon the
expiration of such time;

                (g)    all of the actions set forth in the Restructuring Transactions Memorandum,
as applicable, having been completed and implemented;

                (h)    there not having been instituted or threatened to be instituted any action,
proceeding, application, claim, counterclaim, or investigation (whether formal or informal) by any
Governmental Unit (x) making illegal, enjoining, or otherwise prohibiting the consummation of
the Restructuring Transaction contemplated herein, in the Restructuring Support Agreement, and
in the Definitive Documents or (y) imposing a material award, claim, injunction, fine or penalty
that, in each case, both (1) is not dischargeable, as determined by the Bankruptcy Court in the
Confirmation Order, and (2) has a material adverse effect on the financial condition or operations
of the Reorganized Debtors, taken as whole;

                 (i)   the Debtors having obtained all authorizations, consents and regulatory
approvals, if any, required to be obtained, and having filed all notices and reports, if any, required
to be filed, including with any Governmental Unit, by the Debtors in connection with this Plan’s
effectiveness, in each case, as may be required by a Governmental Unit;

                 (j)      the Reorganized Common Equity to be issued and/or delivered on the
Effective Date having been validly issued by New TopCo, having been fully paid and non-
assessable, and being free and clear of all taxes, Liens and other encumbrances, pre-emptive rights,
rights of first refusal, subscription rights and similar rights, except for any restrictions on transfer


                                                  82
           Case 24-12480-LSS          Doc 1233        Filed 04/03/25   Page 88 of 197




as may be imposed by (i) applicable securities Laws and (ii) the New Organizational Documents
of New TopCo;

                (k)    all conditions precedent to the effectiveness of the Litigation Trust
Agreement having been satisfied or duly waived by the party whose consent is required thereunder,
and the Litigation Trust Agreement shall be in full force and effect;

               (l)     the Litigation Trust Escrow Amount shall have been paid to the Litigation
Trust;

              (m)   all conditions precedent to the effectiveness of the Take-Back Debt Credit
Agreement having been satisfied or duly waived by the party whose consent is required thereunder,
and the Take-Back Debt Credit Agreement shall be in full force and effect;

              (n)     all conditions precedent to the effectiveness of the New ABL Facility
having been satisfied or duly waived by the party whose consent is required thereunder, and the
New ABL Facility shall be in full force and effect;

               (o)     all requisite filings with any Governmental Unit and third parties having
become effective, and all such Governmental Unit and third parties having approved or consented
to the Restructuring Transactions, to the extent required;

               (p)    any and all requisite regulatory approvals, KYC requirements, and any other
authorizations, consents, rulings, or documents required to implement and effectuate the
Restructuring Transactions having been obtained;

              (q)     all accrued and unpaid Restructuring Expenses having been paid in full in
Cash by the Debtors, consistent with the terms of this Plan;

               (r)     the total amount of Allowed Administrative Expense Claims to be paid on
or in connection with the Effective Date is acceptable to the Required Consenting First Lien
Lenders in their sole discretion;

               (s)     the Bankruptcy Court shall have entered a Final Order either (x) allowing
the Second Lien Adequate Protection Claim at zero, or (y) declaring that any recovery or
distribution on account of the Second Lien Adequate Protection Claims shall immediately, and
without any further action by any party, be fully and indefeasibly paid over to the First Lien Credit
Agreement Agent;

                (t)     the following documents being in full force and effect substantially
contemporaneous with the consummation of the Restructuring Transactions, and not having been,
as applicable, stayed, modified, reversed, vacated, subject to any pending appeal, and/or
terminated prior to the Effective Date: (i) the New Organizational Documents; (ii) if applicable,
any Sale Order; (iii) the Exit ABL Facility; (iv) the Take-Back Debt Credit Agreement (if
applicable); (v) to the extent not included in the foregoing, all financing documents needed to
effectuate the Restructuring Transactions; and (vi) all other documents necessary to consummate
a transaction of the type contemplated by this Plan to the extent not otherwise listed above; and



                                                 83
            Case 24-12480-LSS         Doc 1233        Filed 04/03/25    Page 89 of 197




             (u)    all closing conditions and other conditions precedent in the Restructuring
Support Agreement having been satisfied or waived in accordance with the terms thereof.

       For the avoidance of doubt, the conditions precedent to the Effective Date enumerated
above shall apply to each Debtor on an individual basis (and may be satisfied and/or waived on an
individual basis), and the Effective Date for any individual Debtor may occur prior to the Effective
Date of any other individual Debtor.

       11.3.   Satisfaction and Waiver of Conditions Precedent.

        Except as otherwise provided herein or in the Restructuring Support Agreement, any
actions taken on the Effective Date shall be deemed to have occurred simultaneously and no such
action shall be deemed to have occurred prior to the taking of any other such action. Any of the
conditions set forth in Section 11.1 and Section 11.2 of this Plan may be waived in whole or part
upon agreement by the Debtors, the Required Consenting First Lien Lenders, and the Creditors’
Committee, and as the case may be, without notice, leave or order of the Bankruptcy Court or any
formal action other than proceedings to confirm or consummate the Plan. The failure to assert the
non-satisfaction of any such conditions shall not be deemed a waiver of any other rights hereunder,
and each such right shall be deemed an ongoing right that may be asserted or waived (as set forth
herein) at any time or from time to time.

       11.4.   Effect of Failure of Conditions.

        If all of the conditions to effectiveness have not been satisfied (as provided in Section 11.1
and Section 11.2 hereof) or duly waived (as provided in Section 11.3 hereof) and the Effective
Date has not occurred on or before the first Business Day that is more than 30 days after the
Confirmation Date, or by such later date as set forth by the Debtors in a notice Filed with the
Bankruptcy Court prior to the expiration of such period, then the Debtors, with the consent of the
Required Consenting First Lien Lenders, may File a motion to vacate the Confirmation Order.
Notwithstanding the Filing of such a motion, the Confirmation Order shall not be vacated if all of
the conditions to consummation set forth in Section 11.1 and Section 11.2 hereof are either
satisfied or duly waived before the Bankruptcy Court enters an order granting the relief requested
in such motion. If the Confirmation Order is vacated pursuant to this Section 11.4, this Plan shall
be null and void in all respects, the Confirmation Order shall be of no further force or effect, no
distributions under this Plan shall be made, the Debtors and all Holders of Claims and Interests
shall be restored to the status quo ante as of the day immediately preceding the Confirmation Date
as though the Confirmation Date had never occurred, and upon such occurrence, nothing contained
in this Plan shall: (a) constitute a waiver or release of any Claims against or Interests in the
Debtors; (b) prejudice in any manner the rights of the Debtors, any Holders of Claims or Equity
Interests, or any other Entity; or (c) constitute an admission, acknowledgment, offer or undertaking
by any Debtor or any other Person with respect to any matter set forth in the Plan.

       11.5.   Binding Effect.

       Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code and subject to
the occurrence of the Effective Date, on and after the Confirmation Date, the provisions of this
Plan shall bind any Holder of a Claim against, or Interest in, the Debtors and inure to the benefit



                                                 84
            Case 24-12480-LSS         Doc 1233        Filed 04/03/25    Page 90 of 197




of and be binding on such Holder’s respective successors and assigns, whether or not the Claim or
Interest of such Holder is Impaired under this Plan and whether or not such Holder has accepted
this Plan.

       11.6.   Substantial Consummation.

       Substantial consummation of this Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed
to occur on the Effective Date.

                                 ARTICLE XII.
                 RELEASE, INJUNCTION, AND RELATED PROVISIONS

       12.1. Discharge of Claims and Termination of Certain Equity Interests; Compromise
and Settlement of Claims, Certain Equity Interests, and Controversies.

         Pursuant to and to the fullest extent permitted by section 1141(d) of the Bankruptcy Code,
and except as otherwise specifically provided in the Plan or in any contract, instrument, or other
agreement or document created pursuant to the Plan, the distributions, rights, and treatment that
are provided in the Plan shall be in full and final satisfaction, settlement, release, and discharge,
effective as of the Effective Date, of all Equity Interests and Claims (other than any Existing
Intercompany Equity Interests that are Reinstated hereunder) of any nature whatsoever, including
any interest accrued on Claims from and after the Petition Date, whether known or unknown,
against, liabilities of, Liens on, obligations of, rights against the Debtors, the Reorganized Debtors
or any of their assets or properties, regardless of whether any property shall have been distributed
or retained pursuant to the Plan on account of such Claims or Equity Interests, including demands,
liabilities, and Causes of Action that arose before the Effective Date, any contingent or non-
contingent liability on account of representations or warranties issued on or before the Effective
Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy
Code, in each case whether or not: (1) a Proof of Claim or Proof of Interest is Filed or deemed
Filed pursuant to section 501 of the Bankruptcy Code; (2) a Claim is Allowed; or (3) the Holder
of such Claim or Equity Interest has accepted the Plan. Except as otherwise provided herein, any
default by the Debtors with respect to any Claim that existed immediately prior to or on account
of the Filing of the Chapter 11 Cases shall be deemed cured on the Effective Date. The
Confirmation Order shall be a judicial determination of the discharge of all Claims and Interests
(other than any Existing Intercompany Equity Interests that are Reinstated hereunder) subject to
the Effective Date occurring, except as otherwise expressly provided in the Plan. For the avoidance
of doubt, (a) nothing in this Section 12.1 shall affect the rights of Holders of Claims to seek to
enforce the Plan, including the distributions to which Holders of Allowed Claims are entitled under
the Plan, and (b) notwithstanding any other Plan provision or provision in the Restructuring
Support Agreement to the contrary, in the event a Partial Sale Transaction is consummated, the
Partial Sale Transaction Debtors shall not receive a discharge, pursuant to section 1141(d)(3) of
the Bankruptcy Code.

        In consideration for the distributions and other benefits provided pursuant to the Plan, the
provisions of the Plan shall constitute a good faith compromise of all Claims, Interests, and
controversies relating to the contractual, legal, and subordination rights that a Holder of a Claim
or Interest may have with respect to any Allowed Claim or Allowed Interest, or any distribution to


                                                 85
           Case 24-12480-LSS        Doc 1233        Filed 04/03/25   Page 91 of 197




be made on account of such Allowed Claim or Interest. The entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of the compromise or settlement of all such Claims,
Interests, and controversies, as well as a finding by the Bankruptcy Court that such compromise
or settlement is in the best interests of the Debtors, their Estates, and Holders of Claims and
Interests and is fair, equitable, and reasonable. In accordance with the provisions of the Plan,
pursuant to Bankruptcy Rule 9019, without any further notice to or action, order, or approval of
the Bankruptcy Court, after the Effective Date, the Reorganized Debtors may compromise and
settle any Claims against the Debtors and their Estates, as well as claims and Causes of Action
against other Entities.

       12.2.   Releases by the Debtors.

         Pursuant to section 1123(b) and any other applicable provisions of the Bankruptcy
Code, and except as otherwise expressly provided in this Plan, effective as of the Effective
Date, for good and valuable consideration provided by each of the Released Parties, the
adequacy and sufficiency of which is hereby confirmed, the Debtor Releasing Parties will be
deemed to have conclusively, absolutely, unconditionally, irrevocably, and forever provided
a full release, to the maximum extent permitted by Law, to each of the Released Parties (and
each such Released Party so released shall be deemed forever released by the Debtor
Releasing Parties) and their respective assets and properties (the “Debtor Release”) from
any and all claims, Causes of Action (including Avoidance Actions), and any other debts,
obligations, rights, suits, damages, actions, remedies, and liabilities whatsoever, whether
known or unknown, foreseen or unforeseen, whether directly or derivatively held, existing
as of the Effective Date or thereafter arising, in Law, at equity or otherwise, whether for tort,
contract, violations of federal or state statutory or common Laws, or any other applicable
international, foreign, or domestic Law, rule, statute, regulation, treaty, right, duty,
requirement or otherwise, based in whole or in part upon any act or omission, transaction,
or other occurrence or circumstances existing or taking place prior to or on the Effective
Date arising from or related in any way in whole or in part to any of the Debtors, including,
without limitation, (i) the Chapter 11 Cases, the Disclosure Statement, this Plan, the
Restructuring Support Agreement, the Definitive Documents, or the Sale Process; (ii) the
subject matter of, or the transactions or events giving rise to, any Claim or Equity Interest
that is treated in this Plan; (iii) the business or contractual arrangements between any Debtor
and any Released Parties; (iv) the negotiation, formulation or preparation of the
Restructuring Support Agreement, this Plan, the Disclosure Statement, the Plan
Supplement, the Definitive Documents, any Sale Documents, the DIP Documents (including
with respect to the DIP Loans), the Take-Back Debt Facility, the New ABL Facility, the New
Warrants, or any agreements, instruments or other documents related to any of the
foregoing; (v) the restructuring of Claims or Equity Interests prior to or during the Chapter
11 Cases; (vi) the purchase, sale, or rescission of the purchase or sale of any Equity Interest
of the Debtors or the Reorganized Debtors; (vii) the Take-Private Transaction; and/or
(viii) the Confirmation or consummation of this Plan or the solicitation of votes on this Plan,
in each case, that such Debtor Releasing Party would have been legally entitled to assert
(whether individually, collectively, or on behalf of any Holder of a Claim or Equity Interest)
or that any Holder of a Claim or Equity Interest or other Entity would have been legally
entitled to assert for, or on behalf or in the name of, any Debtor, its respective Estate or any
Reorganized Debtor (whether directly or derivatively) against any of the Released Parties;


                                               86
           Case 24-12480-LSS       Doc 1233        Filed 04/03/25   Page 92 of 197




provided, however, that the foregoing provisions of this Debtor Release shall not operate to
waive or release: (i) any Causes of Action arising from willful misconduct, actual fraud
(except for Avoidance Actions, which are subject to this Debtor Release), or gross negligence
of such applicable Released Party; and/or (ii) the rights of such Debtor Releasing Party to
enforce this Plan, any Sale Documents and the contracts, instruments, releases, indentures,
and other agreements or documents delivered under or in connection with this Plan or any
Partial Sale Transaction or assumed pursuant to this Plan or any Partial Sale Transaction
or assumed pursuant to Final Order of the Bankruptcy Court. The foregoing release shall
be effective as of the Effective Date without further notice to or order of the Bankruptcy
Court, act or action under applicable Law, regulation, order, or rule or the vote, consent,
authorization or approval of any Person, and the Confirmation Order will permanently
enjoin the commencement or prosecution by any Person or Entity, whether directly,
derivatively or otherwise, of any claims, obligations, suits, judgments, damages, demands,
debts, rights, Causes of Action, or liabilities released pursuant to this Debtor Release.
Notwithstanding the foregoing, nothing in this Section 12.2 shall or shall be deemed to
prohibit the Debtors or the Reorganized Debtors from asserting and enforcing any claims,
obligations, suits, judgments, demands, debts, rights, Causes of Action or liabilities they may
have against any Person that is based upon an alleged breach of a confidentiality or
non-compete obligation owed to the Debtors or the Reorganized Debtors. Notwithstanding
anything to the contrary in the foregoing, the releases set forth above do not release: (1) any
obligations arising on or after the Effective Date of any party or Entity under the Plan, any
Restructuring Transaction, or any document, instrument, or agreement (including those set
forth in the Plan Supplement) executed to implement the Plan as set forth herein; (2) any
Causes of Action retained by the Reorganized Debtors; (3) any Litigation Claims; (4) any
Cause of Action, obligation, Lien, or liability expressly preserved by the Existing First
Lien/Second Lien Intercreditor Agreement pursuant to this Plan, including Section 7.24; or
(5) unless each member of the Freedom Lender Group votes to accept the Plan and opts into
the Third-Party Release contained in the Plan on account of all of its Claims and in all
capacities before the Consent Deadline, any Causes of Action against PIMCO for breach of
the Restructuring Support Agreement. For the avoidance of doubt, if the Plan is not
confirmed with respect to the Freedom HoldCo Debtors or the Intercompany Settlement
Conditions are not satisfied, no Claims or Causes of Action held by the Freedom HoldCo
Debtors against any party (including, without limitation, the Freedom HoldCo Debtor
Released Claims) shall be released and all such Claims and Causes of Action shall remain
with the Freedom HoldCo Debtors.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute
the Bankruptcy Court’s finding that the Debtor Release is: (1) given in exchange for the
good and valuable consideration provided by the Released Parties, including the Released
Parties’ contributions to facilitating the Restructuring Transactions and implementing the
Plan; (2) a good faith settlement and compromise of the Claims released by the Debtor
Release; (3) in the best interests of the Debtors and all Holders of Claims and Interests;
(4) fair, equitable, and reasonable; (5) given and made after due notice and opportunity for
hearing; and (6) a bar to any of the Debtors, the Reorganized Debtors, or the Debtors’ Estates



                                              87
           Case 24-12480-LSS          Doc 1233     Filed 04/03/25   Page 93 of 197




asserting any Claim or Cause of Action of any kind whatsoever released pursuant to the
Debtor Release.

       12.3.   Third-Party Release.

         Notwithstanding anything contained in the Plan or the Restructuring Support
Agreement to the contrary, pursuant to section 1123(b) and any other applicable provisions
of the Bankruptcy Code, effective as of the Effective Date, to the fullest extent permitted by
applicable Law, for good and valuable consideration provided by each of the Released
Parties, the adequacy and sufficiency of which is hereby confirmed, and without limiting or
otherwise modifying the scope of the Debtor Release provided by the Debtor Releasing
Parties above, each Non-Debtor Releasing Party, on behalf of itself and any other Persons
that might seek to claim under or through such Non-Debtor Releasing Party, including any
Affiliates, heirs, executors, administrators, successors, assigns, managers, accountants,
attorneys, Representatives, consultants, and agents, will be deemed to have conclusively,
absolutely, unconditionally, irrevocably, and forever provided a full release to each of the
Released Parties (and each such Released Party so released shall be deemed forever released
by the Non-Debtor Releasing Parties) and their respective assets and properties
(the “Third-Party Release”) from any and all Claims, Interests, Causes of Action (including
Avoidance Actions), and any other debts, obligations, rights, suits, damages, actions,
remedies, and liabilities whatsoever, whether known or unknown, foreseen or unforeseen,
matured or unmatured, whether directly or derivatively held, existing as of the Effective
Date or thereafter arising, in Law, at equity or otherwise, whether for tort, contract,
violations of federal or state statutory or common Laws, or any other applicable
international, foreign, or domestic Law, rule, statute, regulation, treaty, right, duty,
requirement or otherwise, based on or relating to, or in any manner arising from, in whole
or in part upon any act or omission, transaction, or other occurrence or circumstances
existing or taking place prior to or on the Effective Date arising from or related in any way
in whole or in part to any of the Debtors, including, without limitation, (i) the Debtors’ in-
or out-of-court restructuring efforts, the decision to File the Chapter 11 Cases, any
intercompany transactions, the Chapter 11 Cases, the Disclosure Statement, this Plan, the
Restructuring Support Agreement, the Definitive Documents, or the Sale Process; (ii) the
subject matter of, or the transactions or events giving rise to, any Claim or Equity Interest
that is treated in this Plan; (iii) the business or contractual arrangements between any Debtor
and any Released Parties; (iv) the negotiation, formulation or preparation of the
Restructuring Support Agreement, this Plan, the Disclosure Statement, the Plan
Supplement, the Definitive Documents, any Sale Documents, the DIP Documents (including
with respect to the DIP Loans), the Take-Back Debt Facility, the New ABL Facility, the New
Warrants, or any agreements, instruments or other documents related to any of the
foregoing; (v) the restructuring of Claims or Equity Interests prior to or during the Chapter
11 Cases; (vi) the purchase, sale, or rescission of the purchase or sale of any Equity Interest
of the Debtors or the Reorganized Debtors; (vii) the Take-Private Transaction; and/or
(viii) the Confirmation or consummation of this Plan or the solicitation of votes on this Plan
that such Non-Debtor Releasing Party would have been legally entitled to assert (whether
individually or collectively) against any of the Released Parties; provided, however, that the
foregoing provisions of this Third-Party Release shall not operate to waive or release: (i) any
Causes of Action arising from willful misconduct, actual fraud (except for Avoidance


                                              88
           Case 24-12480-LSS       Doc 1233        Filed 04/03/25   Page 94 of 197




Actions, which are subject to this Third-Party Release), or gross negligence of such
applicable Released Party; and/or (ii) the rights of such Non-Debtor Releasing Party to
enforce this Plan, any Sale Documents and the contracts, instruments, releases, indentures,
and other agreements or documents delivered under or in connection with this Plan or any
Partial Sale Transaction or assumed pursuant to this Plan or any Partial Sale Transaction
or Final Order of the Bankruptcy Court. The foregoing release shall be effective as of the
Effective Date, without further notice to or order of the Bankruptcy Court, act or action
under applicable Law, regulation, order, or rule or the vote, consent, authorization or
approval of any Person, and the Confirmation Order will permanently enjoin the
commencement or prosecution by any Person or Entity, whether directly, derivatively or
otherwise, of any claims, obligations, suits, judgments, damages, demands, debts, rights,
Causes of Action, or liabilities released pursuant to this Third-Party Release.
Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release: (1) any obligations arising on or after the Effective Date of any party or
Entity under the Plan, any Restructuring Transaction, or any document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement the Plan
as set forth herein; (2) any Causes of Action retained by the Reorganized Debtors; (3) any
Litigation Claims; (4) any Cause of Action, obligation, Lien, or liability expressly preserved
by the Existing First Lien/Second Lien Intercreditor Agreement pursuant to this Plan,
including Section 7.24; or (5) unless each member of the Freedom Lender Group votes to
accept the Plan and opts into the Third-Party Release contained in the Plan on account of all
of its Claims and in all capacities before the Consent Deadline, any Causes of Action against
PIMCO for breach of the Restructuring Support Agreement. For the avoidance of doubt, if
the Plan is not confirmed with respect to the Freedom HoldCo Debtors or the Intercompany
Settlement Conditions are not satisfied, no Claims or Causes of Action held by the Freedom
HoldCo Debtors against any party (including, without limitation, the Freedom HoldCo
Debtor Released Claims) shall be released and all such Claims and Causes of Action shall
remain with the Freedom HoldCo Debtors.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference
each of the related provisions and definitions contained in this Plan, and, further, shall
constitute the Bankruptcy Court’s finding that the Third-Party Release is: (1) consensual;
(2) essential to the Confirmation of the Plan; (3) given in exchange for the good and valuable
consideration provided by the Released Parties, including the Released Parties’
contributions to facilitating the Restructuring Transactions and implementing the Plan;
(4) a good faith settlement and compromise of the Claims released by the Third-Party
Release; (5) in the best interests of the Debtors and their Estates; (6) fair, equitable, and
reasonable; (7) given and made after due notice and opportunity for hearing; and (8) a bar
to any of the Releasing Parties asserting any Claim or Cause of Action of any kind
whatsoever released pursuant to the Third-Party Release.

       12.4.   Exculpation.

       Effective as of the Effective Date, to the fullest extent permissible under applicable
Law and without affecting or limiting either the Debtor Release or the Third-Party Release,
and except as otherwise specifically provided in the Plan, the Exculpated Parties shall neither


                                              89
           Case 24-12480-LSS        Doc 1233       Filed 04/03/25   Page 95 of 197




have nor incur any liability to any Person or Entity for any claims or Causes of Action or for
any act taken or omitted to be taken on or after the Petition Date and prior to or on the
Effective Date in connection with, or related to: the administration of the Chapter 11 Cases,
commencement of the Chapter 11 Cases, pursuit of Confirmation and consummation of this
Plan, making distributions under this Plan, the Disclosure Statement, the Sale Process, the
Sale Order, or the solicitation of votes for, or Confirmation of, this Plan; the occurrence of
the Effective Date; the administration of this Plan or the property to be distributed under
this Plan; the issuance of securities under or in connection with this Plan; the purchase, sale,
or rescission of the purchase or sale of any asset or security of the Debtors; or the
transactions or documentation in furtherance of any of the foregoing, including but not
limited to the Restructuring Support Agreement; the formulation, preparation,
dissemination, negotiation, entry into, or Filing of, as applicable the DIP Documents
(including with respect to the DIP Loans), the Take-Back Debt Facility, the New ABL
Facility, the New Warrants, or any agreements, instruments or other documents related to
any of the foregoing; or any other postpetition, pre-Effective Date act taken or omitted to be
taken in connection with or in contemplation of the restructuring of the Debtors, the
approval of the Disclosure Statement or Confirmation or consummation of this Plan;
provided, however, that the foregoing provisions of this Exculpation shall not operate to
waive or release: (i) any Causes of Action arising from willful misconduct, actual fraud
(except for Avoidance Actions, which are subject to this Exculpation), or gross negligence of
such applicable Exculpated Party; and/or (ii) the rights of any Person or Entity to enforce
this Plan and the contracts, instruments, releases, indentures, and other agreements and
documents delivered under or in connection with this Plan or assumed pursuant to this Plan
or Final Order of the Bankruptcy Court; provided, further, that each Exculpated Party shall
be entitled to rely upon the advice of counsel, to the extent otherwise permitted under
applicable non-bankruptcy Law, concerning its respective duties pursuant to, or in
connection with, the above referenced documents, actions or inactions. The foregoing
Exculpation shall be effective as of the Effective Date without further notice to or order of
the Bankruptcy Court, act or action under applicable Law, regulation, order, or rule or the
vote, consent, authorization or approval of any Person. Notwithstanding the foregoing,
nothing in this Section 12.4 shall or shall be deemed to prohibit the Debtors or the
Reorganized Debtors from asserting and enforcing any claims, obligations, suits, judgments,
demands, debts, rights, Causes of Action or liabilities they may have against any Person that
is based upon an alleged breach of a confidentiality or non-compete obligation owed to the
Debtors or the Reorganized Debtors, in each case unless otherwise expressly provided for in
this Plan. The Exculpation will be in addition to, and not in limitation of, all other releases,
indemnities, exculpations, and any other applicable Law or rules protecting such Exculpated
Parties from liability. Notwithstanding anything to the contrary in the foregoing, the
Exculpations set forth above do not exculpate Brian Kahn, Prophecy Asset Management LP,
or any of their Affiliates. For the avoidance of doubt, none of the Debtors are Affiliates of
Brian Kahn or Prophecy Asset Management LP.

        The Exculpated Parties have, and upon Confirmation shall be deemed to have,
participated in good faith and in compliance with the applicable Laws with regard to the
solicitation of votes and distribution of consideration pursuant to this Plan and, therefore,
are not, and on account of such distributions shall not be, liable at any time for the violation



                                              90
           Case 24-12480-LSS        Doc 1233       Filed 04/03/25   Page 96 of 197




of any applicable Law, rule, or regulation governing the solicitation of acceptances or
rejections of this Plan or such distributions made pursuant to this Plan.

       12.5.   Discharge of Claims and Termination of Interests.

        Except as otherwise provided for herein and in the Restructuring Support
Agreement, effective as of the Effective Date, with respect to the Non-Liquidating Debtors:
(a) the rights afforded in the Plan and the treatment of all Claims and Interests (other than
any Existing Intercompany Equity Interests that are Reinstated hereunder) shall be in
exchange for and in complete satisfaction, discharge, and release of all Claims and Interests
of any nature whatsoever, including any interest accrued on such Claims from and after the
Petition Date, against the Debtors or any of their assets, property or Estates; (b) the Plan
shall bind all Holders of Claims and Interests, notwithstanding whether any such Holders
failed to vote to accept or reject the Plan or voted to reject the Plan; (c) all Claims and
Interests (other than any Existing Intercompany Equity Interests that are Reinstated
hereunder) shall be satisfied, discharged, and released in full, and the Debtors’ liability with
respect thereto shall be extinguished completely, including any liability of the kind specified
under section 502(g) of the Bankruptcy Code; and (d) all Entities shall be precluded from
asserting against the Debtors, the Debtors’ Estates, the Reorganized Debtors, their
successors and assigns and their assets and properties any other Claims or Interests based
upon any documents, instruments, or any act or omission, transaction or other activity of
any kind or nature that occurred prior to the Effective Date. In accordance with section
1141(d)(3) of the Bankruptcy Code, this Plan does not discharge the American Freight
Debtors. For the avoidance of doubt, at the election of the Required Consenting First Lien
Lenders in their sole discretion, the existing ABL Credit Agreement (as defined in the
Restructuring Support Agreement), and the Prepetition ABL Loan Claims (as defined in the
Restructuring Support Agreement), may be Reinstated.

       12.6.   Injunction.

       Except as otherwise provided herein or for obligations issued pursuant hereto, all
Persons or Entities that have held, hold, or may hold Claims or Interests that have been
released, discharged, or are subject to Exculpation pursuant to Section 12.4, are permanently
enjoined, from and after the Effective Date, from taking any of the following actions against,
as applicable, the Debtors, the Reorganized Debtors, the Released Parties, or the Exculpated
Parties: (a) commencing or continuing in any manner any action or other proceeding of any
kind on account of or in connection with or with respect to any such Claims or Interests;
(b) enforcing, attaching, collecting, or recovering by any manner or means any judgment,
award, decree, or order against the Debtors, the Reorganized Debtors, the Released Parties,
or the Exculpated Parties on account of or in connection with or with respect to any such
Claims or Interests; (c) creating, perfecting, or enforcing any encumbrance of any kind
against the Debtors, the Reorganized Debtors, the Released Parties, or the Exculpated
Parties or the property or Estates of the Debtors, the Reorganized Debtors, the Released
Parties, or the Exculpated Parties on account of or in connection with or with respect to any
such Claims or Interests; (d) asserting any right of setoff, subrogation, or recoupment of any
kind against any obligation due from such Entities or against the property or Estates of the
Debtors, the Reorganized Debtors, the Released Parties, or the Exculpated Parties on


                                              91
            Case 24-12480-LSS          Doc 1233         Filed 04/03/25    Page 97 of 197




account of or in connection with or with respect to any such Claims or Interests unless such
setoff was formally asserted in a timely Filed proof of Claim or such Holder has Filed a
motion requesting the right to perform such setoff on or before the Confirmation Date; and
(e) commencing or continuing in any manner any action or other proceeding of any kind on
account of or in connection with or with respect to any such Claims or Interests released,
exculpated or settled pursuant to the Plan.

        12.7.   Setoffs and Recoupment.

        Except as otherwise provided herein or in the Plan Supplement, each Reorganized Debtor,
pursuant to the Bankruptcy Code (including section 553 of the Bankruptcy Code), applicable
bankruptcy or non-bankruptcy Law, or as may be agreed to by the Holder of an Allowed Claim,
may set off or recoup against any Allowed Claim and the distributions to be made pursuant to the
Plan on account of such Allowed Claim, any claims, rights, and Causes of Action of any nature
that the applicable Debtor or Reorganized Debtor may hold against the Holder of such Allowed
Claim, to the extent such claims, rights, or Causes of Action have not been otherwise compromised
or settled on or prior to the Effective Date (whether pursuant to the Plan, a Final Order or
otherwise); provided that neither the failure to effect such a setoff or recoupment nor the allowance
of any Claim pursuant to the Plan shall constitute a waiver or release by such Reorganized Debtor,
of any such claims, rights, and Causes of Action. In no event shall any Holder of a Claim be
entitled to recoup such Claim against any claim, right, or Causes of Action of the Debtors or the
Reorganized Debtors, as applicable, unless such Holder actually has performed such recoupment
and provided notice thereof in writing to the Debtors on or before the Effective Date,
notwithstanding any indication in any Proof of Claim or Proof of Interest or otherwise that such
Holder asserts, has, or intends to preserve any right of recoupment.

        12.8.   Release of Liens.

        Except as otherwise provided in the Confirmation Order, herein or in any contract,
instrument, release, or other agreement or document amended or created pursuant to the Plan, on
the Effective Date and concurrently with the applicable distributions made pursuant to the Plan
and, in the case of a Secured Claim, satisfaction in full of the portion of the Secured Claim that is
Allowed as of the Effective Date, except for Other Secured Claims that the Debtors elect to
Reinstate in accordance with this Plan and DIP Claims subject to the Freedom HoldCo DIP
Election, all mortgages, deeds of trust, Liens, pledges, or other security interests against any
property of the Estates shall be fully released and discharged, and all of the right, title, and interest
of any Holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall
revert to the applicable Reorganized Debtor and its successors and assigns. Any Holder of a
Secured Claim (and the applicable agents for such Holder) shall be authorized and directed, at the
sole cost and expense of the Reorganized Debtors, to release any Collateral or other property of
any Debtor (including any cash collateral and possessory collateral) held by such Holder (and the
applicable agents for such Holder), and to take such actions as may be reasonably requested by the
Reorganized Debtors to evidence the release of such Liens and/or security interests, including the
execution, delivery, and Filing or recording of such releases. The presentation or Filing of the
Confirmation Order to or with any federal, state, provincial, or local agency, records office, or
department shall constitute good and sufficient evidence of, but shall not be required to effect, the
termination of such Liens.


                                                   92
           Case 24-12480-LSS         Doc 1233        Filed 04/03/25   Page 98 of 197




        To the extent that any Holder of a Secured Claim that has been satisfied or discharged in
full pursuant to the Plan, or any agent for such Holder, has filed or recorded publicly any Liens
and/or security interests to secure such Holder’s Secured Claim, then as soon as practicable on or
after the Effective Date, such Holder (or the agent for such Holder) shall take any and all steps
requested by the Debtors, the Reorganized Debtors or any administrative agent, collateral agent or
indenture trustee under any Take-Back Debt Facility (at the expense of the Debtors or Reorganized
Debtors, as applicable) that are necessary or desirable to record or effectuate the cancellation
and/or extinguishment of such Liens and/or security interests, including the making of Uniform
Commercial Code termination statements, deposit account control agreement terminations, and
any other applicable filings or recordings, and the Reorganized Debtors shall be entitled to file
Uniform Commercial Code terminations or to make any other such filings or recordings on such
Holder’s behalf.

        For the avoidance of doubt, nothing in the Plan shall release any Liens held by the First
Lien Credit Agreement Agent for the benefit of the Holders of Prepetition First Lien Loan Claims
or the Second Lien Credit Agreement Agent for the benefit of the Prepetition Second Lien Loan
Claims solely to the extent that such Liens are necessary to enforce the Existing First Lien/Second
Lien Intercreditor Agreement as set forth herein, and all such Liens shall remain in full force and
effect solely for such purpose.

                                    ARTICLE XIII.
                              RETENTION OF JURISDICTION

       Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding entry of
the Confirmation Order and the occurrence of the Effective Date, on and after the Effective Date,
the Bankruptcy Court shall retain jurisdiction, pursuant to 28 U.S.C. §§ 1334 and 157, over all
matters arising in, arising under, or related to the Chapter 11 Cases for, among other things, the
following purposes:

               (a)     To hear and determine applications for the assumption or rejection of
Executory Contracts or Unexpired Leases and the Cure Disputes resulting therefrom, any potential
contractual obligation under any Executory Contract or Unexpired Lease that is assumed, and any
dispute regarding whether a contract or lease is or was executory or expired;

               (b)      To determine any motion, adversary proceeding, application, contested
matter, and other litigated matter pending or commenced on the Effective Date;

               (c)   To hear and resolve any disputes arising from or relating to (i) any orders
of the Bankruptcy Court granting relief under Bankruptcy Rule 2004, or (ii) any protective orders
entered by the Bankruptcy Court in connection with the foregoing;

              (d)     To ensure that distributions under this Plan to Holders of Allowed Claims
are accomplished as provided herein, including resolving any cases, controversies, suits, disputes,
or Causes of Action with respect to the repayment or return of distributions;

               (e)     To adjudicate any and all disputes arising from or relating to distributions
under the Plan or any transactions contemplated herein;



                                                93
           Case 24-12480-LSS         Doc 1233        Filed 04/03/25   Page 99 of 197




               (f)     To consider Claims or the allowance, disallowance, classification, priority,
compromise, estimation, secured or unsecured status, or payment of any Claim, including any
Administrative Expense Claim and the resolution of any and all objections to the secured or
unsecured status, priority, amount, or allowance of Claims or Equity Interests;

              (g)    To enter, implement, or enforce such orders as may be appropriate in the
event the Confirmation Order is for any reason stayed, reversed, revoked, modified or vacated;

                (h)   To issue and enforce injunctions, enter and implement other orders, and take
such other actions as may be necessary or appropriate to restrain interference by any Person with
the consummation, implementation, or enforcement of this Plan, the Confirmation Order, or any
other order of the Bankruptcy Court;

                (i)   To hear and determine any application to modify this Plan in accordance
with section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any
inconsistency in this Plan, the Disclosure Statement, or any order of the Bankruptcy Court,
including the Confirmation Order, in such a manner as may be necessary to carry out the purposes
and effects thereof;

               (j)     To hear and determine all Professional Fee Claims;

               (k)     To hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of this Plan, the Confirmation Order, any Sale Documents (if any),
or any agreement, instrument, or other document governing or relating to any of the foregoing;
provided that the Bankruptcy Court shall not retain jurisdiction over disputes concerning
documents contained in the Plan Supplement that have a jurisdictional, forum selection or dispute
resolution clause that refers disputes to a different court and any disputes concerning documents
contained in the Plan Supplement shall be governed in accordance with the provisions of such
documents;

                (l)    To take any action and issue such orders, including any such action or orders
as may be necessary after occurrence of the Effective Date and/or consummation of the Plan, as
may be necessary to construe, enforce, implement, execute, and consummate this Plan and all
contracts, instruments, releases, indentures, and other agreements or documents created or entered
into in connection with the Plan or Confirmation Order or to maintain the integrity of this Plan
following consummation;

               (m)    To determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

               (n)     To hear and determine all disputes relating to or arising out of the
administration of the Litigation Trust;

              (o)     To hear and determine all disputes involving the existence, nature, scope,
or enforcement of the discharge, exculpations, releases and injunction provisions contained in the
Plan;




                                                94
           Case 24-12480-LSS         Doc 1233       Filed 04/03/25     Page 100 of 197




               (p)     To enter and enforce any order for the sale of property pursuant to
sections 363, 1123, or 1146(a) of the Bankruptcy Code;

              (q)     To hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

              (r)    To hear and determine any other matters related hereto and not inconsistent
with the Bankruptcy Code and title 28 of the United States Code;

              (s)    To resolve any disputes concerning whether a Person had sufficient notice
of the Chapter 11 Cases, the Disclosure Statement Hearing, the Confirmation Hearing, the
Administrative Bar Date, or the deadline for responding or objecting to a Cure Cost, for the purpose
of determining whether a Claim or Interest is discharged hereunder, or for any other purpose;

               (t)     To enter and implement such orders as are necessary if the Confirmation
Order is for any reason modified, stayed reversed, revoked, or vacated;

               (u)     To adjudicate any and all disputes arising from or relating to distributions
under or pursuant to this Plan, including those arising from or under the Existing First Lien/Second
Lien Intercreditor Agreement;

               (v)     To recover all assets of the Debtors and property of the Estates, wherever
located; and

               (w)     To enter a final decree closing each of the Chapter 11 Cases.

        If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising in, arising under, or related to the Chapter
11 Cases, the provisions of this Article XIII shall have no effect on and shall not control, limit, or
prohibit the exercise of jurisdiction by any other court having competent jurisdiction with respect
to such matter.

                                     ARTICLE XIV.
                               MISCELLANEOUS PROVISIONS

       14.1.   Dissolution of Creditors’ Committee.

        The Creditors’ Committee shall be automatically dissolved on the Effective Date and all
members, employees or agents thereof shall be released and discharged from all rights and duties
arising from, or related to, the Chapter 11 Cases under the Bankruptcy Code, except for purposes
of Filing applications for Professional Person compensation in accordance with this Plan. The
Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred by
the members of or advisors to any statutory committees after the Effective Date.

       14.2.   Termination of Professional Persons.

       On the Effective Date, the engagement of each Professional Person retained by the Debtors
and the Creditors’ Committee shall be terminated without further order of the Bankruptcy Court


                                                 95
           Case 24-12480-LSS         Doc 1233      Filed 04/03/25     Page 101 of 197




or act of the parties; provided, however, such Professional Persons shall be entitled to prosecute
their respective Professional Fee Claims and represent their respective constituents with respect to
applications for allowance and payment of such Professional Fee Claims, and the Reorganized
Debtors shall be responsible for the reasonable and documented fees, costs and expenses
associated with the prosecution of such Professional Fee Claims. Nothing herein shall preclude
any Reorganized Debtor from engaging a former Professional Person on and after the Effective
Date in the same capacity as such Professional Person was engaged prior to the Effective Date.

       14.3.   Modifications and Amendments.

        Subject to the terms and conditions of the Restructuring Support Agreement and this Plan,
this Plan may be amended, modified, or supplemented by the Debtors, with the consent of the
Required Consenting First Lien Lenders, in the manner provided for by section 1127 of the
Bankruptcy Code or as otherwise permitted by Law, without additional disclosure pursuant to
section 1125 of the Bankruptcy Code, except as otherwise ordered by the Bankruptcy Court. In
addition, after the Confirmation Date, so long as such action does not adversely affect the treatment
of Holders of Allowed Claims and Allowed Interests pursuant to this Plan, the Debtors may make
appropriate technical adjustments, remedy any defect or omission or reconcile any inconsistencies
in this Plan, the Plan Documents and/or the Confirmation Order, with respect to such matters as
may be necessary to carry out the purposes and effects of this Plan, and any Holder of a Claim or
Interest that has accepted this Plan shall be deemed to have accepted this Plan as amended,
modified, or supplemented. With the consent of the Required Consenting First Lien Lenders, the
Debtors may make technical adjustments and modifications to this Plan without further order or
approval of the Bankruptcy Court; provided, however, that, such technical adjustments and
modifications are immaterial or do not adversely affect the treatment of Holders of Claims or
Interests under the Plan. Subject to the restrictions on modifications set forth in the Plan and the
requirements of section 1127 of the Bankruptcy Code, Bankruptcy Rule 3019, and, to the extent
applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly
reserves its respective rights to alter, amend, or modify the Plan, with the consent of the Required
Consenting First Lien Lenders, with respect to such Debtor one or more times, after Confirmation,
and, to the extent necessary, may initiate proceedings in the Bankruptcy Court to so alter, amend,
or modify the Plan, or to remedy any defect or omission, or reconcile any inconsistencies in the
Plan, the Disclosure Statement, or the Confirmation Order, in such matters as may be necessary to
carry out the purposes and intent of the Plan.

       14.4.   Revocation or Withdrawal of this Plan.

        Subject to the terms and conditions of the Restructuring Support Agreement, each of the
Debtors expressly reserve its respective rights to revoke or withdraw the Plan as to any particular
Debtor, one or more times, prior to the Effective Date and to File subsequent chapter 11 plans. If
the Debtors revoke or withdraw the Plan, in accordance with the preceding sentence, prior to the
Effective Date as to any or all of the Debtors, or if Confirmation or consummation as to any or all
of the Debtors does not occur, then, with respect to such Debtors: (a) the Plan shall be null and
void in all respects; (b) any settlement or compromise embodied in this Plan (including the fixing
or limiting to an amount of any Claim or Interest or Class of Claims or Interests), assumption,
assumption and assignment, or rejection of Executory Contracts or Unexpired Leases affected by
the Plan, and any document or agreement executed pursuant to this Plan shall be deemed null and


                                                 96
           Case 24-12480-LSS         Doc 1233       Filed 04/03/25     Page 102 of 197




void except as may be set forth in a separate order entered by the Bankruptcy Court; and (c) nothing
contained in the Plan shall (i) constitute a waiver or release of any Claims by or against, or any
Interests in, such Debtors or any other Person, (ii) prejudice in any manner the rights of such
Debtors or any other Person or (iii) constitute an admission, acknowledgment, offer, or
undertaking of any sort by the Debtors or any other Person.

       14.5.   Allocation of Distributions under this Plan Between Principal and Interest.

        To the extent that any Allowed Claim entitled to a distribution under the Plan consists of
indebtedness and other amounts (such as accrued but unpaid interest thereon), such distribution
shall for U.S. federal (and applicable state and local) income tax purposes be allocated first to the
principal amount of the Claim and then, to the extent the consideration exceeds the principal
amount of the Claim, to such other amounts (but solely to the extent that such other amount is an
allowable portion of such Allowed Claim).

       14.6.   Severability.

        If, prior to the entry of the Confirmation Order, any term or provision of this Plan is held
by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the request
of the Debtors, shall have the power to alter and interpret such term or provision to make it valid
or enforceable to the maximum extent practicable, consistent with the original purpose of the term
or provision held to be invalid, void, or unenforceable, and such term or provision shall then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration, or
interpretation, the remainder of the terms and provisions of this Plan will remain in full force and
effect and will in no way be affected, Impaired, or invalidated by such holding, alteration, or
interpretation. The Confirmation Order shall constitute a judicial determination and shall provide
that each term and provision of this Plan, as it may have been altered or interpreted in accordance
with the foregoing is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and
may not be deleted or modified without the Debtors’ consent and the Required Consenting First
Lien Lenders’ consent; and (3) nonseverable and mutually dependent.

       14.7.   Governing Law.

        Except to the extent that the Bankruptcy Code or other U.S. federal Law is applicable, or
to the extent a Plan Document or exhibit or schedule to the Plan provides otherwise, the rights,
duties, and obligations arising under this Plan and the Plan Documents shall be governed by, and
construed and enforced in accordance with, the Laws of the State of New York, without giving
effect to the principles of conflict of laws thereof to the extent such principles would result in the
application of the Laws of any other jurisdiction.

       14.8.   Section 1125(e) of the Bankruptcy Code.

        The Debtors have, and upon Confirmation of this Plan shall be deemed to have, solicited
acceptances of this Plan in good faith and in compliance with the Bankruptcy Code, and the
Debtors, and the Consenting First Lien Lenders (and each of their respective Affiliates, agents,
directors, officers, employees, advisors, and attorneys) participated in good faith and in
compliance with the Bankruptcy Code in the offer, issuance, sale, solicitation and/or purchase of
the securities offered and sold under this Plan, and therefore are not, and on account of such offer,


                                                 97
           Case 24-12480-LSS         Doc 1233       Filed 04/03/25     Page 103 of 197




issuance, sale, solicitation, and/or purchase will not be, liable at any time for the violation of any
applicable Law, rule, or regulation governing the solicitation of acceptances or rejections of this
Plan or offer, issuance, sale, or purchase of the securities offered and sold under this Plan.

       14.9.   Inconsistency.

        In the event of an inconsistency between this Plan and the Disclosure Statement, the terms
of this Plan shall control in all respects. In the event of an inconsistency between this Plan and the
Plan Supplement, the terms of the relevant provision in the Plan Supplement shall control (unless
stated otherwise in such Plan Supplement document or in the Confirmation Order). In the event
of an inconsistency between the Confirmation Order and this Plan or the Disclosure Statement, the
Confirmation Order shall control.

       14.10. Time.

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a
transaction may occur pursuant to the Plan shall occur on a day that is not a Business Day, then
such transaction shall instead occur on the next succeeding Business Day. Subject to the
requirements of the Restructuring Transactions Memorandum, any action to be taken on the
Effective Date may be taken on or as soon as reasonably practicable after the Effective Date.

       14.11. Reference to Monetary Figures.

      All references in this Plan to monetary figures shall refer to currency of the United States
of America, unless otherwise expressly provided herein.

       14.12. Exhibits.

        All exhibits to this Plan (including, without limitation, all documents Filed with the Plan
Supplement and all exhibits and ancillary agreements thereto) are incorporated and are a part of
this Plan as if set forth in full herein. To the extent any exhibit or document is inconsistent with
the terms of the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or
non-document portion of the Plan shall control.

       14.13. Reservation of Rights.

        Except as expressly set forth herein, the Plan shall have no force or effect unless and until
the Bankruptcy Court enters the Confirmation Order. None of the Filing of this Plan, any statement
or provision contained herein, or the taking of any action by the Debtors with respect to this Plan
shall be or shall be deemed to be, an admission or waiver of any rights of the Debtors with respect
to any Claims or Interests prior to the Effective Date.

       Notwithstanding anything to the contrary contained herein, nothing in the Plan shall impair,
prejudice, release, compromise, or waive any rights, Claims, Causes of Action, defenses or
remedies of the First Lien Credit Agreement Agent or any Holder of Prepetition First Lien Loan
Claims against the Second Lien Credit Agreement Agent or any Holder of Prepetition Second Lien



                                                 98
           Case 24-12480-LSS         Doc 1233      Filed 04/03/25      Page 104 of 197




Loan Claims arising under or pursuant to the Existing First Lien/Second Lien Intercreditor
Agreement.

       14.14. Successors and Assigns.

        The rights, benefits, and obligations of any Entity named or referred to in this Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
Affiliate, officer, manager, director, agent, representative, attorney, beneficiaries, or guardian, if
any, of each Entity.

       14.15. Notices.

        All notices, demands, or requests in connection with the Plan shall be in writing (including
by facsimile or electronic mail transmission) and, unless otherwise provided herein, shall be
deemed to have been duly given or made only when actually delivered or, in the case of notice by
facsimile or electronic mail transmission, when received and telephonically confirmed, addressed
as follows:

               (a)     if to the Debtors:

               Franchise Group, Inc.
               2371 Liberty Way,
               Virginia Beach, VA 23456
               Attention: Tiffany McMillan-McWaters
               E-mail address:       tmcwaters@franchisegrp.com

               with copies to:

               Kirkland & Ellis LLP
               601 Lexington Avenue
               New York, New York 10022
               Attention:    Joshua A. Sussberg, P.C., Nicole L. Greenblatt, P.C.,
               Derek I. Hunter, Maddison Levine, and Brian Nakhaimousa
               E-mail address:      jsussberg@kirkland.com;
                                    nicole.greenblatt@kirkland.com;
                                    derek.hunter@kirkland.com;
                                    maddison.levine@kirkland.com
                                    brian.nakhaimousa@kirkland.com

               (b)     if to a Consenting First Lien Lender:

               c/o Paul Hastings LLP
               200 Park Avenue
               New York, NY 10166
               Attention: Jayme Goldstein; Jeremy Evans; Isaac Sasson
               E-mail address:      jaymegoldstein@paulhastings.com;
                                    jeremyevans@paulhastings.com;
                                    isaacsasson@paulhastings.com


                                                 99
           Case 24-12480-LSS           Doc 1233      Filed 04/03/25      Page 105 of 197




        After the Effective Date, the Reorganized Debtors have the authority to send a notice to
Entities that to continue to receive documents pursuant to Bankruptcy Rule 2002, such Entity must
File a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the
Effective Date, the Reorganized Debtors are authorized to limit the list of Entities receiving
documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such renewed
requests.

        14.16. Filing of Additional Documents.

         Subject to the terms and conditions of the Restructuring Support Agreement, on or before
substantial consummation of the Plan, the Debtors shall File with the Bankruptcy Court such
agreements and other documents as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of the Plan. The Debtors or the Reorganized Debtors, as
applicable, and all Holders of Claims receiving distributions pursuant to this Plan and all other
parties in interest shall, from time to time, prepare, execute, and deliver any agreements or
documents and take any other actions as may be necessary or advisable to effectuate the provisions
and intent of this Plan. For the avoidance of doubt, nothing in this Section 14.16 shall require the
Debtors to File the Committee Settlement term sheet annexed hereto as Exhibit I or the Existing
First Lien/Second Lien Intercreditor Agreement annexed hereto as Exhibit II in order to give
effect, effectuate, and further evidence the terms and conditions of the Plan.

       The Claims Agent is authorized to destroy all paper/hardcopy records related to this matter
two (2) years after the Effective Date has occurred.

        14.17. Closing of Chapter 11 Cases.

        Upon the occurrence of the Effective Date, the Reorganized Debtors shall be permitted to
close all of the Chapter 11 Cases except for one of the Chapter 11 Cases, as determined by the
Reorganized Debtor, and all contested matters relating to each of the Debtors, including objections
to Claims, shall be administered and heard in such Chapter 11 Case.

        14.18. Tax Matters.

        The Debtors will cooperate with any advisors selected by the Required Consenting First
Lien Lenders in respect of all tax structuring matters. The Reorganized Debtors shall be authorized
to request an expedited determination under section 505(b) of the Bankruptcy Code for all tax
returns filed for, or on behalf of, the Debtors for any and all taxable periods ending after the Petition
Date through, and including, the Effective Date.

                            ARTICLE XV.
         COMMITTEE SETTLEMENT AND INTERCOMPANY SETTLEMENT

        Following good faith and arm’s length negotiations, in exchange for the releases and other
valuable consideration provided for in this Plan, (a) the Committee Settlement Parties have agreed
to the settlement provided for in the Committee Settlement and (b) the OpCo Debtors, the Freedom
HoldCo Debtors, and TopCo have agreed to the settlement provided for in the Intercompany
Settlement, each as fully incorporated herein as material components of the Plan. The Committee
Settlement and the Intercompany Settlement each provide significant value to the Debtors and


                                                  100
           Case 24-12480-LSS         Doc 1233       Filed 04/03/25     Page 106 of 197




their Estates, favorably resolve and avoid potential protracted expensive and uncertain litigation,
and enables a prompt and efficient reorganization of the Debtors through this Plan. The Committee
Settlement and the Intercompany Settlement are each integral to the development and
implementation of this Plan. This Plan, taken together with the Disclosure Statement, shall serve
as a motion to approve the Committee Settlement and the Intercompany Settlement, including, for
the avoidance of doubt, approval of the releases provided by the Freedom HoldCo Debtors with
respect to any Claims previously identified or preserved by the Freedom HoldCo Independent
Director, pursuant to Bankruptcy Rule 9019. The entry of the Confirmation Order shall constitute
the Bankruptcy Court’s approval of each of the compromises and settlements provided for in the
Committee Settlement and the Intercompany Settlement, and the Bankruptcy Court’s findings
shall constitute its determination that such compromises and settlements are in the best interests
of the Debtors, their Estates, Holders of Claims and Interests, and other parties in interest, and are
fair, equitable, and reasonable.

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                                                 101
         Case 24-12480-LSS    Doc 1233   Filed 04/03/25    Page 107 of 197




Dated: April 3, 2025
       Wilmington, Delaware


                                    Respectfully submitted,

                                    FRANCHISE GROUP, INC., on behalf of itself
                                    and its affiliated Debtors




                                    By: /s/ Andrew Laurence
                                    Name: Andrew Laurence
                                    Title: Chief Executive Officer




                                     102
Case 24-12480-LSS   Doc 1233     Filed 04/03/25   Page 108 of 197




                           Exhibit I

              Committee Settlement Term Sheet

                    [Filed at Docket No. 957]
Case 24-12480-LSS    Doc 1233    Filed 04/03/25   Page 109 of 197




                           Exhibit II

     Existing First Lien/Second Lien Intercreditor Agreement
           Case 24-12480-LSS             Doc 1233       Filed 04/03/25        Page 110 of 197

                                                                                          Execution Version



AMENDED AND RESTATED FIRST LIEN/SECOND LIEN INTERCREDITOR AGREEMENT

                                      Dated as of November 22, 2021

                                                   among

                                   JPMORGAN CHASE BANK, N.A.,
as the Initial First Lien Representative and the Initial First Lien Collateral Agent for the Initial First Lien
                                               Claimholders,

                                    ALTER DOMUS (US) LLC,
  as the Initial Second Lien Representative and the Initial Second Lien Collateral Agent for the Initial
                                      Second Lien Claimholders,

                               JPMORGAN CHASE BANK, N.A.,
 as the BDK First Lien Representative and the BDK First Lien Collateral Agent for the BDK First Lien
                                            Claimholders,

                                  ALTER DOMUS (US) LLC,
as the BDK Second Lien Representative and the BDK Second Lien Collateral Agent for the BDK Second
                                        Lien Claimholders,

                                                     and

           each additional Representative and Collateral Agent from time to time party hereto

                                           and acknowledged by

                                      FRANCHISE GROUP, INC.,
                                          as the Company

                                               and the other
                                         Grantors referred to herein
           Case 24-12480-LSS                 Doc 1233               Filed 04/03/25            Page 111 of 197



                                             TABLE OF CONTENTS

                                                                                                                                  Page

SECTION 1.               Definitions....................................................................................................3

     1.1      Defined Terms .........................................................................................................3
     1.2      Terms Generally.....................................................................................................20
     1.3      Currency Equivalents Generally ............................................................................20

SECTION 2.               Lien Priorities.............................................................................................21

     2.1      Relative Priorities...................................................................................................21
     2.2      Prohibition on Contesting Liens ............................................................................21
     2.3      No New Liens ........................................................................................................22
     2.4      Similar Liens and Agreements ...............................................................................23
     2.5      Perfection of Liens .................................................................................................23
     2.6      Nature of First Lien Obligations ............................................................................23

SECTION 3.               Enforcement ...............................................................................................24

     3.1      Exercise of Remedies .............................................................................................24
     3.2      Actions Upon Breach; Specific Performance ........................................................28

SECTION 4.               Payments ....................................................................................................28

     4.1      Application of Proceeds .........................................................................................28
     4.2      Payments Over .......................................................................................................29

SECTION 5.               Other Agreements ......................................................................................30

     5.1      Releases..................................................................................................................30
     5.2      Insurance ................................................................................................................31
     5.3      Amendments to First Lien Loan Documents and Second Lien Loan
              Documents .............................................................................................................32
     5.4      Confirmation of Subordination in Second Lien Collateral Documents .................34
     5.5      Gratuitous Bailee/Agent for Perfection .................................................................35
     5.6      When Discharge of Obligations Deemed to Not Have Occurred ..........................36
     5.7      Purchase Right .......................................................................................................38

SECTION 6.               Insolvency or Liquidation Proceedings .....................................................39

     6.1      Finance and Sale Issues .........................................................................................39
     6.2      Relief from the Automatic Stay .............................................................................42
     6.3      Adequate Protection (Collateral) ...........................................................................42
     6.4      Adequate Protection (Badcock Collateral) ............................................................44
     6.5      Avoidance Issues ...................................................................................................46
     6.6      Reorganization Securities ......................................................................................46
     6.7      Post-Petition Interest ..............................................................................................47


                                                                i
           Case 24-12480-LSS                  Doc 1233               Filed 04/03/25           Page 112 of 197




     6.8      Waiver ....................................................................................................................48
     6.9      Separate Grants of Security and Separate Classification .......................................48
     6.10     Effectiveness in Insolvency or Liquidation Proceedings .......................................49
     6.11     Discharge of BDK Obligations ..............................................................................49

SECTION 7.               Reliance; Waivers; Etc. ..............................................................................49

     7.1      Reliance..................................................................................................................49
     7.2      No Warranties or Liability .....................................................................................50
     7.3      No Waiver of Lien Priorities; No Marshaling .......................................................50
     7.4      Obligations Unconditional .....................................................................................52

SECTION 8.               Miscellaneous ............................................................................................53

     8.1      Integration/Conflicts ..............................................................................................53
     8.2      Effectiveness; Continuing Nature of this Agreement; Severability .......................53
     8.3      Amendments; Waivers ...........................................................................................54
     8.4      Information Concerning Financial Condition of the Loan Parties and their
              Subsidiaries ............................................................................................................55
     8.5      Subrogation ............................................................................................................55
     8.6      Application of Payments ........................................................................................55
     8.7      Additional Debt Facilities ......................................................................................56
     8.8      Agency Capacities .................................................................................................58
     8.9      Submission to Jurisdiction; Certain Waivers .........................................................58
     8.10     WAIVER OF JURY TRIAL ..................................................................................59
     8.11     Notices ...................................................................................................................59
     8.12     Further Assurances.................................................................................................59
     8.13     APPLICABLE LAW .............................................................................................60
     8.14     Binding on Successors and Assigns .......................................................................60
     8.15     Section Headings ...................................................................................................60
     8.16     Counterparts ...........................................................................................................60
     8.17     Authorization .........................................................................................................60
     8.18     No Third Party Beneficiaries; Provisions Solely to Define Relative Rights .........60
     8.19     No Indirect Actions ................................................................................................61
     8.20     Additional Grantors ...............................................................................................61
     8.21     Amendment and Restatement ................................................................................61

EXHIBITS

     Exhibit A - Joinder Agreement (Additional Second Lien Debt)
     Exhibit B - Joinder Agreement (Additional First Lien Debt)
     Exhibit C - Additional Debt Designation
     Exhibit D - Joinder Agreement (Additional Grantors)




                                                                ii
            Case 24-12480-LSS            Doc 1233        Filed 04/03/25       Page 113 of 197



                  FIRST LIEN/SECOND LIEN INTERCREDITOR AGREEMENT

                  This FIRST LIEN/SECOND LIEN INTERCREDITOR AGREEMENT (as amended,
restated, amended and restated, supplemented or otherwise modified from time to time, this “Agreement”),
dated as of November 22, 2021 and entered into by and among JPMORGAN CHASE BANK, N.A., as
First Lien Representative for the Initial First Lien Claimholders (as defined below) (in such capacity and
together with its successors and assigns from time to time in such capacity “Initial First Lien
Representative”), and as collateral agent for the Initial First Lien Claimholders (in such capacity and
together with its successors and assigns from time to time in such capacity, the “Initial First Lien
Collateral Agent”), ALTER DOMUS (US) LLC, as Second Lien Representative for the Initial Second
Lien Claimholders (as defined below) (in such capacity and together with its successors and assigns from
time to time in such capacity the “Initial Second Lien Representative”), and as collateral agent for the
Initial Second Lien Claimholders (in such capacity and together with its successors and assigns from time
to time in such capacity the “Initial Second Lien Collateral Agent”), JPMORGAN CHASE BANK,
N.A., as First Lien Representative for the BDK First Lien Claimholders (as defined below) (in such capacity
and together with its successors and assigns from time to time in such capacity “BDK First Lien
Representative”), and as collateral agent for the BDK First Lien Claimholders (in such capacity and
together with its successors and assigns from time to time in such capacity, the “BDK First Lien Collateral
Agent”), ALTER DOMUS (US) LLC, as Second Lien Representative for the BDK Second Lien
Claimholders (as defined below) (in such capacity and together with its successors and assigns from time
to time in such capacity the “BDK Second Lien Representative”), and as collateral agent for the BDK
Second Lien Claimholders (in such capacity and together with its successors and assigns from time to time
in such capacity the “BDK Second Lien Collateral Agent”), and each additional First Lien Representative,
First Lien Collateral Agent, Second Lien Representative and Second Lien Collateral Agent that from time
to time becomes a party hereto pursuant to Section 8.7, and acknowledged by FRANCHISE GROUP,
INC., a Delaware corporation (the “Company”), and the other Grantors (as defined below). Capitalized
terms used in this Agreement have the meanings assigned to them in Section 1 below.

                                                 RECITALS

                The Initial First Lien Representative, the Initial First Lien Collateral Agent, the Initial
Second Lien Representative and the Initial Second Lien Collateral Agent entered into that certain First
Lien/Second Lien Intercreditor Agreement, dated as of March 10, 2021 (as amended, restated,
supplemented or otherwise modified prior to the date hereof, the “Original Intercreditor Agreement”),
which Original Intercreditor Agreement was acknowledged and agreed to by certain of the Grantors;

                  The Company, Franchise Group Newco PSP, LLC, a Delaware limited liability company
(“FG Newco PSP”), Valor Acquisition, LLC, a Delaware limited liability company (“Valor”), Franchise
Group Newco Intermediate AF, LLC, a Delaware limited liability company (“FG Newco Intermediate
AF” and together with the Company, FG Newco PSP and Valor individually each a “Borrower” and
collectively, the “Borrowers”), the lenders party thereto, the Initial First Lien Representative and the Initial
First Lien Collateral Agent have entered into that certain First Lien Credit Agreement, dated as of March
10, 2021 (as amended by that certain First Amendment to First Lien Credit Agreement, dated as of the date
hereof, and as may be further amended, restated, amended and restated, supplemented or otherwise
modified from time to time, the “Initial First Lien Credit Agreement”);

                 The Borrowers, the lenders party thereto, the Initial Second Lien Representative and the
Initial Second Lien Collateral Agent have entered into that certain Second Lien Credit Agreement, dated as
of March 10, 2021 (as amended by that certain First Amendment to Second Lien Credit Agreement, dated
as of the date hereof, and as may be further amended, restated, amended and restated, supplemented or
otherwise modified from time to time, the “Initial Second Lien Credit Agreement”);
            Case 24-12480-LSS            Doc 1233         Filed 04/03/25     Page 114 of 197



                 The Borrowers, the lenders party thereto, the BDK First Lien Representative and the BDK
First Lien Collateral Agent have entered into that certain First Lien Credit Agreement, dated as of the date
hereof (as amended, restated, amended and restated, supplemented or otherwise modified from time to time,
the “BDK First Lien Credit Agreement”);

                 The Borrowers, the lenders party thereto, the BDK Second Lien Representative and the
BDK Second Lien Collateral Agent have entered into that certain Second Lien Credit Agreement, dated as
of the date hereof (as amended, restated, amended and restated, supplemented or otherwise modified from
time to time, the “BDK Second Lien Credit Agreement”);

                The Borrowers, certain other Grantors, the lenders party thereto, and JPMorgan Chase
Bank, N.A., as agent (in such capacity, together with its successors and permitted assigns in such capacity,
the “ABL Agent”) have entered into that certain Third Amended and Restated Credit Agreement, dated as
of March 10, 2021 (as amended by that certain First Amendment to ABL Credit Agreement, dated as of the
date hereof, and as may be further amended, restated, amended and restated, supplemented or otherwise
modified from time to time, the “ABL Credit Agreement”);

                 In connection with the foregoing, on the date hereof, the Initial First Lien Collateral Agent,
the Initial Second Lien Collateral Agent, the ABL Agent, the BDK First Lien Collateral Agent, the BDK
Second Lien Collateral Agent and, by their acknowledgment, each Grantor, have entered into an Amended
and Restated Intercreditor Agreement, dated as of the date hereof (as amended, restated, amended and
restated, supplemented or otherwise modified from time to time, the “ABL Intercreditor Agreement”)
which sets forth, among other things, their respective rights and remedies with respect to the Collateral.

                Pursuant to (i) that certain First Lien Guaranty Agreement, dated as March 10, 2021,
among the Grantors and the Initial First Lien Representative, each of the Grantors has agreed to guaranty
the First Lien Obligations (as amended, restated, amended and restated, supplemented or otherwise
modified from time to time, the “First Lien Guaranty”); (ii) that certain Second Lien Guaranty Agreement,
dated as of March 10, 2021, among the Grantors and the Initial Second Lien Representative, each of the
Grantors has agreed to guarantee the Second Lien Obligations (as amended, restated, amended and restated,
supplemented or otherwise modified from time to time, the “Second Lien Guaranty”); (iii) that certain
First Lien Guaranty Agreement, dated as of the date hereof, among the Grantors and the BDK First Lien
Representative, each of the Grantors has agreed to guaranty the BDK First Lien Obligations (as amended,
restated, amended and restated, supplemented or otherwise modified from time to time, the “BDK First
Lien Guaranty”); (iv) that certain Second Lien Guaranty Agreement, dated as of the date hereof, among
the Grantors and the BDK Second Lien Representative, each of the Grantors has agreed to guarantee the
BDK Second Lien Obligations (as amended, restated, amended and restated, supplemented or otherwise
modified from time to time, the “BDK Second Lien Guaranty”); and (v) the ABL Credit Agreement, each
of the Grantors has agreed to guarantee the ABL Obligations;

                  The obligations of the Borrowers under the Initial First Lien Credit Agreement, the
obligations of the Grantors under certain Hedge Agreements and in respect of certain Bank Product
Obligations and the obligations of the Grantors under the First Lien Guaranty will be secured (i) on a first-
priority basis by liens on the Term Loan Priority Collateral (as defined in the ABL Intercreditor Agreement)
and (ii) on a second-priority basis by liens on the ABL Priority Collateral (as defined in the ABL
Intercreditor Agreement), respectively, pursuant to the terms of the First Lien Collateral Documents;

                  The obligations of the Borrowers under the BDK First Lien Credit Agreement, the
obligations of the Grantors under certain Hedge Agreements and in respect of certain Bank Product
Obligations and the obligations of the Grantors under the BDK First Lien Guaranty will be secured (i) on a
first-priority basis by liens on the Term Loan Priority Collateral (as defined in the ABL Intercreditor


                                                      2
             Case 24-12480-LSS           Doc 1233          Filed 04/03/25     Page 115 of 197



Agreement) and (ii) on a second-priority basis by liens on the ABL Priority Collateral (as defined in the
ABL Intercreditor Agreement), respectively, pursuant to the terms of the BDK First Lien Collateral
Documents;

                 The obligations of the Borrowers under the Initial Second Lien Credit Agreement and the
obligations of the Grantors under the Second Lien Guaranty will be secured (i) on a second-priority basis
by liens on the Term Loan Priority Collateral (as defined in the ABL Intercreditor Agreement) and (ii) on
a third-priority basis by liens on the ABL Priority Collateral (as defined in the ABL Intercreditor
Agreement), respectively, pursuant to the terms of the Second Lien Collateral Documents;

                 The obligations of the Borrowers under the BDK Second Lien Credit Agreement and the
obligations of Grantors under the BDK Second Lien Guaranty will be secured (i) on a second-priority basis
by liens on the Term Loan Priority Collateral (as defined in the ABL Intercreditor Agreement) and (ii) on
a third-priority basis by liens on the ABL Priority Collateral (as defined in the ABL Intercreditor
Agreement), respectively, pursuant to the terms of the BDK Second Lien Collateral Documents;

                  In furtherance of the foregoing, the First Lien Loan Documents, the Second Lien Loan
Documents, the BDK First Lien Loan Documents and the BDK Second Lien Loan Documents provide,
among other things, that each First Lien Representative and each First Lien Collateral Agent, on the one
hand (each on behalf of its related First Lien Claimholders) and each Second Lien Representative and each
Second Lien Collateral Agent, on the other hand (each on behalf of its related Second Lien Claimholders)
shall set forth in this Agreement their respective rights and remedies with respect to the Collateral; and

                 In consideration of the foregoing, the mutual covenants and obligations herein set forth and
for other good and valuable consideration, the sufficiency and receipt of which are hereby acknowledged,
each of the Initial First Lien Representative (for itself and on behalf of each other Initial First Lien
Claimholder), the Initial First Lien Collateral Agent (for itself and on behalf of each other Initial First Lien
Claimholder), the Initial Second Lien Representative (for itself and on behalf of each other Initial Second
Lien Claimholder), the Initial Second Lien Collateral Agent (for itself and on behalf of each other Initial
Second Lien Claimholder), the BDK First Lien Representative (for itself and on behalf of each other BDK
First Lien Claimholder), the BDK First Lien Collateral Agent (for itself and on behalf of each other BDK
First Lien Claimholder), the BDK Second Lien Representative (for itself and on behalf of each other BDK
Second Lien Claimholder), the BDK Second Lien Collateral Agent (for itself and on behalf of each other
BDK Second Lien Claimholder), each other Additional First Lien Representative (for itself and on behalf
of each other Additional First Lien Claimholder represented by it), each other Additional First Lien
Collateral Agent (for itself and on behalf of each other Additional First Lien Claimholder represented by
it), each other Additional Second Lien Representative (for itself and on behalf of each other Additional
Second Lien Claimholder represented by it) and each other Additional Second Lien Collateral Agent (for
itself and on behalf of each other Additional Second Lien Claimholder represented by it), intending to be
legally bound, hereby agrees as follows:

SECTION 1. Definitions.

               1.1       Defined Terms. As used in this Agreement, the following terms shall have the
following meanings:

                 “ABL Agent” shall have the meaning set forth in the Recitals to this Agreement.

                 “ABL Credit Agreement” shall have the meaning set forth in the Recitals to this
Agreement.




                                                       3
             Case 24-12480-LSS            Doc 1233         Filed 04/03/25      Page 116 of 197



                 “ABL Intercreditor Agreement” shall have the meaning set forth in the Recitals to this
Agreement.

               “ABL Priority Collateral” shall have the meaning set forth in the ABL Intercreditor
Agreement as in effect on the date hereof.

               “Additional Collateral Agent” means an Additional First Lien Collateral Agent and/or an
Additional Second Lien Collateral Agent, as the context may require.

                 “Additional Debt” has the meaning set forth in Section 8.7.

                 “Additional First Lien Claimholders” means, with respect to any Series of Additional
First Lien Debt, the holders of such Indebtedness, the First Lien Representative with respect thereto, the
First Lien Collateral Agent with respect thereto, any trustee or agent therefor under any related Additional
First Lien Loan Documents and the beneficiaries of each indemnification obligation undertaken by any
Grantor under any related Additional First Lien Loan Documents and the holders of any other Additional
First Lien Obligations secured by the First Lien Collateral Documents for such Series of Additional First
Lien Debt.

                “Additional First Lien Collateral Agent” has the meaning set forth in the definition of
“First Lien Collateral Agent”.

                  “Additional First Lien Debt” means any Indebtedness and guarantees thereof that is
incurred, issued or guaranteed by any Grantor other than the Initial First Lien Debt (but including the BDK
First Lien Debt), which Indebtedness and guarantees are secured by the First Lien Collateral (or a portion
thereof) on a basis senior to the Second Lien Obligations; provided, however, that with respect to any such
Indebtedness incurred after the date hereof (i) such Indebtedness is permitted to be incurred, secured and
guaranteed on such basis by each First Lien Loan Document and Second Lien Loan Document, (ii) unless
already a party with respect to that Series of Additional First Lien Debt, each of the First Lien
Representative and the First Lien Collateral Agent for the holders of such Indebtedness shall have become
party to (A) this Agreement pursuant to, and by satisfying the conditions set forth in, Section 8.7, (B) the
First Lien Pari Passu Intercreditor Agreement pursuant to, and by satisfying the conditions set forth in,
Section 5.14 thereof and (C) the ABL Intercreditor Agreement pursuant to, and by satisfying the conditions
set forth in, Section 10.5(c) thereof and (iii) each of the other requirements of Section 8.7 shall have been
complied with. The requirements of clause (i) above and clause (2)(C) of Section 8.7(b) shall be tested
only as of (x) the date of execution of such Joinder Agreement by the applicable Additional First Lien
Collateral Agent and Additional First Lien Representative if the Indebtedness is incurred pursuant to a
commitment entered into at the time of such Joinder Agreement and (y) with respect to any later
commitment or amendment to those terms to permit such Indebtedness, as of the date of such commitment
and/or amendment, in each case, assuming such commitments are fully drawn as of such date. Additional
First Lien Debt shall include any Registered Equivalent Notes and guarantees thereof by the Grantors issued
in exchange therefor.

                “Additional First Lien Loan Documents” means, with respect to any Series of Additional
First Lien Debt, the loan agreements, promissory notes, indentures and other operative agreements
evidencing or governing such Indebtedness and the First Lien Collateral Documents securing such Series
of Additional First Lien Debt.

                 “Additional First Lien Obligations” means, with respect to any Series of Additional First
Lien Debt, (a) all principal, interest (including any Post-Petition Interest), premium (if any), penalties, fees,
expenses (including fees, expenses and disbursements of agents, professional advisors and legal counsel),


                                                       4
           Case 24-12480-LSS           Doc 1233         Filed 04/03/25    Page 117 of 197



indemnifications, reimbursement obligations, damages and other liabilities, and guarantees of the foregoing
amounts, in each case whether or not allowed or allowable in an Insolvency or Liquidation Proceeding,
payable with respect to such Additional First Lien Debt, (b) all other amounts payable to the related
Additional First Lien Claimholders under the related Additional First Lien Loan Documents (other than in
respect of any Indebtedness not constituting Additional First Lien Debt), (c) subject to Section 5.8, any
Hedging Obligations and Bank Product Obligations secured under the First Lien Collateral Documents
securing such Series of Additional First Lien Debt and (d) any renewals or extensions of the foregoing.

                “Additional First Lien Representative” has the meaning set forth in the definition of
“First Lien Representative”.

              “Additional Obligations” means the Additional First Lien Obligations and the Additional
Second Lien Obligations.

               “Additional Representative” means an Additional First Lien Representative and/or an
Additional Second Lien Representative, as the context may require.

                “Additional Second Lien Claimholders” means, with respect to any Series of Additional
Second Lien Debt, the holders of such Indebtedness, the Second Lien Representative with respect thereto,
the Second Lien Collateral Agent with respect thereto, any trustee or agent therefor under any related
Additional Second Lien Loan Documents and the beneficiaries of each indemnification obligation
undertaken by any Grantor under any related Additional Second Lien Loan Documents and the holders of
any other Additional Second Lien Obligations secured by the Second Lien Collateral Documents for such
Series of Additional Second Lien Debt.

              “Additional Second Lien Collateral Agent” has the meaning set forth in the definition of
“Second Lien Collateral Agent”.

                  “Additional Second Lien Debt” means any Indebtedness and guarantees thereof that is
incurred, issued or guaranteed by any Grantor other than the Initial Second Lien Debt (but including the
BDK Second Lien Debt), which Indebtedness and guarantees are secured by the Second Lien Collateral (or
a portion thereof) on a basis junior to the First Lien Obligations; provided, however, that with respect to
any such Indebtedness incurred after the date hereof (i) such Indebtedness is permitted to be incurred,
secured and guaranteed on such basis by each First Lien Loan Document and Second Lien Loan Document,
(ii) unless already a party with respect to that Series of Additional Second Lien Debt, each of the Second
Lien Representative and the Second Lien Collateral Agent for the holders of such Indebtedness shall have
become party to (A) this Agreement pursuant to, and by satisfying the conditions set forth in, Section 8.7,
(B) the Second Lien Pari Passu Intercreditor Agreement pursuant to and by satisfying the conditions set
forth therein; and (C) the ABL Intercreditor Agreement pursuant to, and by satisfying the conditions set
forth in, Section 10.5(c) thereof and (iii) each of the other requirements of Section 8.7 shall have been
complied with. The requirements of clause (i) above and clause (2)(C) of Section 8.7(b) shall be tested
only as of (x) the date of execution of such Joinder Agreement by the applicable Additional Second Lien
Collateral Agent and Additional Second Lien Representative if the Indebtedness in incurred pursuant to a
commitment entered into at the time of such Joinder Agreement, and (y) with respect to any later
commitment or amendment to those terms to permit such Indebtedness, as of the date of such commitment
and/or amendment, in each case, assuming such commitments are fully drawn as of such date. Additional
Second Lien Debt shall include any Registered Equivalent Notes and guarantees thereof by the Grantors
issued in exchange therefor.

               “Additional Second Lien Loan Documents” means, with respect to any Series of
Additional Second Lien Debt, the loan agreements, promissory notes, indentures and other operative


                                                    5
            Case 24-12480-LSS            Doc 1233         Filed 04/03/25     Page 118 of 197



agreements evidencing or governing such Indebtedness and the Second Lien Collateral Documents securing
such Series of Additional Second Lien Debt.

                  “Additional Second Lien Obligations” means, with respect to any Series of Additional
Second Lien Debt, (a) principal, interest (including without limitation any Post-Petition Interest), premium
(if any), penalties, fees, expenses (including, without limitation, fees, expenses and disbursements of agents,
professional advisors and legal counsel), indemnifications, reimbursement obligations, damages and other
liabilities, and guarantees of the foregoing amounts, in each case whether or not allowed or allowable in an
Insolvency or Liquidation Proceeding, payable with respect to such Additional Second Lien Debt, (b) all
other amounts payable to the related Additional Second Lien Claimholders under the related Additional
Second Lien Loan Documents (other than in respect of any Indebtedness not constituting Additional Second
Lien Debt), (c) subject to Section 5.8, any Hedging Obligations and Bank Product Obligations secured
under the Second Lien Collateral Documents securing such Series of Additional Second Lien Debt and
(d) any renewals or extensions of the foregoing.

              “Additional Second Lien Representative” has the meaning set forth in the definition of
“Second Lien Representative”.

                 “Affiliate” means, with respect to a specified Person, (a) any other Person that, directly or
indirectly, Controls, is Controlled by or is under common Control with the Person specified or is a director
or officer of the Person specified or (b) any other Person that directly or indirectly owns 10% or more of
any class of equity interests of the Person specified.

                 “Agreement” has the meaning set forth in the Preamble to this Agreement.

                “Applicable BDK Cap Amount” means (i) initially and prior to the Discharge of BDK
First Lien Obligations, the BDK First Lien Cap Amount and (ii) from and after the Discharge of BDK First
Lien Obligations and prior to the Discharge of BDK Second Lien Obligations, the BDK Second Lien Cap
Amount.

                “Applicable BDK Claimholders” means the “Applicable Senior Lien Claimholders” as
defined in the BDK Intercreditor Agreement.

                “Applicable BDK Collateral Agent” means the “Applicable Senior Lien Collateral
Agent” as defined in the BDK Intercreditor Agreement.

                “Applicable BDK Loan Documents” means (i) if the BDK Junior Lien Claimholder DIP
Financing is being provided by the BDK Second Lien Claimholders, the BDK Second Lien Loan
Documents, (ii) if the BDK Junior Lien Claimholder DIP Financing is being provided by the First Lien
Claimholders (other than the BDK First Lien Claimholders), the First Lien Loan Documents and (iii) if the
BDK Junior Lien Claimholder DIP Financing is being provided by the Second Lien Claimholders (other
than the BDK Second Lien Claimholders), the Second Lien Loan Documents.

               “Applicable BDK Obligations” means (i) initially and prior to the Discharge of BDK First
Lien Obligations, the BDK First Lien Obligations and (ii) from and after the Discharge of BDK First Lien
Obligations and prior to the Discharge of BDK Second Lien Obligations, the BDK Second Lien
Obligations.

                 “Applicable BDK Representative” means the “Applicable Senior Lien Representative”
as defined in the BDK Intercreditor Agreement.




                                                      6
             Case 24-12480-LSS          Doc 1233         Filed 04/03/25    Page 119 of 197



               “Applicable Junior Lien Claimholders” means (i) initially and prior to the Discharge of
BDK First Lien Obligations, the BDK Second Lien Claimholders and (ii) from and after the Discharge of
BDK First Lien Obligations and prior to the Discharge of BDK Second Lien Obligations, the First Lien
Claimholders.

                “Applicable Second Lien Loan Documents” means (i) if the Second Lien Claimholder
DIP Financing is being provided by the Second Lien Claimholders, the Second Lien Loan Documents and
(ii) if the Second Lien Claimholder DIP Financing is being provided by the BDK Second Lien
Claimholders, the BDK Second Lien Loan Documents.

                “Badcock” means W.S. Badcock Corporation, a Florida corporation.

                 “Bank Product Obligations” means all obligations and liabilities (whether direct or
indirect, absolute or contingent, due or to become due or now existing or hereafter incurred) of any Loan
Party, whether on account of principal, interest, reimbursement obligations, fees, indemnities, costs,
expenses or otherwise, which may arise under, out of, or in connection with any credit and debit cards
(including commercial credit cards), stored value cards, purchasing cards, treasury, investment, depository,
clearing house, wire transfer, overdraft, controlled disbursement, cash management or automated clearing
house transfers of funds services, return items, interstate depository network services or any related
services, to any Person permitted to be a secured party in respect of such obligations under the applicable
First Lien Loan Documents.

                “Bankruptcy Case” means a case under the Bankruptcy Code or any other Bankruptcy
Law.

               “Bankruptcy Code” means Title 11 of the United States Code entitled “Bankruptcy,” as
now and hereafter in effect, or any successor statute.

                  “Bankruptcy Law” means the Bankruptcy Code and any similar federal, state or foreign
law for the relief of debtors.

                “BDK Collateral” means the “Collateral” as defined in the BDK Intercreditor Agreement.

                “BDK DIP Financing” has the meaning set forth in Section 6.1(a).

               “BDK First Lien Cap Amount” means the “First Lien Cap Amount” as defined in the
BDK Intercreditor Agreement.

               “BDK First Lien Claimholders” means the “Secured Parties” as defined in the BDK First
Lien Credit Agreement.

                “BDK First Lien Collateral Agent” has the meaning set forth in the Preamble to this
Agreement.

                “BDK First Lien Credit Agreement” has the meaning set forth in the Recitals to this
Agreement.

                “BDK First Lien Debt” means the Indebtedness and guarantees thereof now or hereafter
incurred pursuant to the BDK First Lien Loan Documents.

                “BDK First Lien Guaranty” has the meaning set forth in the Recitals to this Agreement.



                                                     7
             Case 24-12480-LSS         Doc 1233         Filed 04/03/25    Page 120 of 197



               “BDK First Lien Loan Documents” means the BDK First Lien Credit Agreement and the
other “Loan Documents” as defined in the BDK First Lien Credit Agreement and any other document or
agreement entered into for the purpose of evidencing, governing, securing or perfecting the BDK First Lien
Obligations.

                 “BDK First Lien Obligations” means the “Secured Obligations” as defined in the BDK
First Lien Credit Agreement.

                “BDK First Lien Representative” has the meaning set forth in the Preamble to this
Agreement.

                “BDK Intercreditor Agreement” means that certain Four Lien Intercreditor Agreement,
dated as of the date hereof, by and among the Initial First Lien Representative, the Initial First Lien
Collateral Agent, the Initial Second Lien Representative, the Initial Second Lien Collateral Agent, the BDK
First Lien Representative, the BDK First Lien Collateral Agent, the BDK Second Lien Representative and
the BDK Second Lien Collateral Agent, and acknowledged by the Loan Parties, as it may be amended,
amended and restated, modified, supplemented, extended or renewed from time to time not in violation of
the terms hereof or thereof.

                “BDK Junior Lien Adequate Protection Payments” has the meaning set forth in Section
6.4(b).

               “BDK Junior Lien Claimholders” means the “Junior Lien Claimholders” as defined in
the BDK Intercreditor Agreement.

                “BDK Junior Lien Collateral Agents” means each “Junior Lien Collateral Agent” as
defined in the BDK Intercreditor Agreement.

                 “BDK Junior Lien Loan Documents” means (i) initially and prior to the Discharge of
BDK First Lien Obligations, the BDK Second Lien Loan Documents, the First Lien Loan Documents and
the Second Lien Loan Documents and (ii) from and after the Discharge of BDK First Lien Obligations and
prior to the Discharge of BDK Second Lien Obligations, the First Lien Loan Documents and the Second
Lien Loan Documents.

               “BDK Junior Lien Representatives” means each “Junior Lien Representative” as defined
in the BDK Intercreditor Agreement.

                “BDK Obligations” means the BDK First Lien Obligations and the BDK Second Lien
Obligations.

                “BDK Pay-Over Amount” has the meaning set forth in Section 6.4(b).

                “BDK Recovery” has the meaning set forth in Section 6.5.

               “BDK Second Lien Cap Amount” means the “Second Lien Cap Amount” as defined in
the BDK Intercreditor Agreement.

               “BDK Second Lien Claimholders” means the “Secured Parties” as defined in the BDK
Second Lien Credit Agreement.




                                                    8
             Case 24-12480-LSS           Doc 1233         Filed 04/03/25     Page 121 of 197



                 “BDK Second Lien Collateral Agent” has the meaning set forth in the Preamble to this
Agreement.

                 “BDK Second Lien Credit Agreement” has the meaning set forth in the Recitals to this
Agreement.

                 “BDK Second Lien Debt” means the Indebtedness and guarantees thereof now or
hereafter incurred pursuant to the BDK Second Lien Loan Documents.

                 “BDK Second Lien Guaranty” has the meaning set forth in the Recitals to this
Agreement.

               “BDK Second Lien Loan Documents” means the BDK Second Lien Credit Agreement
and the other “Loan Documents” as defined in the BDK Second Lien Credit Agreement and any other
document or agreement entered into for the purpose of evidencing, governing, securing or perfecting the
BDK Second Lien Obligations.

               “BDK Second Lien Obligations” means the “Secured Obligations” as defined in the BDK
Second Lien Credit Agreement.

                 “BDK Second Lien Representative” has the meaning set forth in the Preamble to this
Agreement.

               “BDK Senior Lien Claimholders” means each “Senior Lien Claimholder” as defined in
the BDK Intercreditor Agreement.

               “BDK Senior Lien Obligations” means the “Senior Lien Obligations” as defined in the
BDK Intercreditor Agreement.

                 “BDK Shortfall” has the meaning set forth in Section 6.4(b).

                 “Borrower” has the meaning set forth in the Recitals to this Agreement.

              “Business Day” means a day other than a Saturday, Sunday or other day on which
commercial banks in New York City are authorized or required by law to close.

                “Claimholders” means the First Lien Claimholders and/or the Second Lien Claimholders,
as the context may require.

                  “Collateral” means, at any time, all of the assets and property of any Grantor, whether
real, personal or mixed, in which the holders of First Lien Obligations under at least one Series of First Lien
Obligations and the holders of Second Lien Obligations under at least one Series of Second Lien
Obligations (or their respective Collateral Agents or Representatives) hold, purport to hold or are required
to hold, a security interest at such time (or, in the case of the First Lien Obligations, are deemed pursuant
to Section 2 to hold a security interest), including any property subject to Liens granted pursuant to
Section 6 to secure both First Lien Obligations and Second Lien Obligations. If, at any time, any portion
of the First Lien Collateral under one or more Series of First Lien Obligations does not constitute Second
Lien Collateral under one or more Series of Second Lien Obligations, then such portion of such First Lien
Collateral shall constitute Collateral only with respect to the Second Lien Obligations for which it
constitutes Second Lien Collateral and shall not constitute Collateral for any Second Lien Obligations
which do not have a security interest in such Collateral at such time. Notwithstanding the foregoing, (i)



                                                      9
            Case 24-12480-LSS           Doc 1233       Filed 04/03/25      Page 122 of 197



“Collateral” shall not include BDK Collateral until such time as the Discharge of BDK Obligations has
occurred and (ii) from and after Discharge of BDK Obligations, “Collateral” shall include BDK Collateral.

                “Collateral Agent” means any First Lien Collateral Agent and/or any Second Lien
Collateral Agent, as the context may require.

               “Collateral Documents” means the First Lien Collateral Documents and the Second Lien
Collateral Documents.

                “Company” has the meaning set forth in the Preamble to this Agreement.

                 “Control” means the possession, directly or indirectly, of the power to direct or cause the
direction of the management or policies of a Person, whether through the ability to exercise voting power,
by contract or otherwise. “Controlling” and “Controlled” have meanings correlative thereto.

                “Declined Liens” has the meaning set forth in Section 2.3.

                “Designated First Lien Collateral Agent” means (i) if at any time there is only one Series
of First Lien Obligations with respect to which the Discharge of First Lien Obligations has not occurred,
the First Lien Collateral Agent for the First Lien Claimholders in such Series and (ii) at any time when
clause (i) does not apply, the “Applicable Collateral Agent” (as defined in the First Lien Pari Passu
Intercreditor Agreement) at such time.

                “Designated First Lien Representative” means (i) if at any time there is only one Series
of First Lien Obligations with respect to which the Discharge of First Lien Obligations has not occurred,
the First Lien Representative for the First Lien Claimholders in such Series and (ii) at any time when
clause (i) does not apply, the “Applicable Representative” (as defined in the First Lien Pari Passu
Intercreditor Agreement) at such time.

                “Designated Second Lien Collateral Agent” means (i) if at any time there is only one
Series of Second Lien Obligations with respect to which the Discharge of Second Lien Obligations has not
occurred, the Second Lien Collateral Agent for the Second Lien Claimholders in such Series and (ii) at any
time when clause (i) does not apply, the “Applicable Collateral Agent” (as defined in the Second Lien Pari
Passu Intercreditor Agreement) at such time.

                “Designated Second Lien Representative” means (i) if at any time there is only one
Series of Second Lien Obligations with respect to which the Discharge of Second Lien Obligations has not
occurred, the Second Lien Representative for the Second Lien Claimholders in such Series and (ii) at any
time when clause (i) does not apply, the “Applicable Representative” (as defined in the Second Lien Pari
Passu Intercreditor Agreement) at such time.

                “Designation” means a designation of Additional First Lien Debt or Additional Second
Lien Debt in substantially the form of Exhibit C attached hereto.

                “DIP Financing” has the meaning set forth in Section 6.1(a).

                “Discharge” means, except to the extent otherwise provided in Section 5.6:

                (a)      with respect to any Series of First Lien Obligations or Series of Second Lien
Obligations, each of the following has occurred:




                                                    10
           Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 123 of 197



                         (i)   payment in full in cash of the principal of and interest (including interest
                accruing on or after the commencement of any Insolvency or Liquidation Proceeding,
                whether or not such interest would be allowed in such Insolvency or Liquidation
                Proceeding) on all Indebtedness outstanding under the applicable First Lien Loan
                Documents and constituting First Lien Obligations of such Series or the applicable Second
                Lien Loan Documents and constituting Second Lien Obligations of such Series, as the case
                may be;

                         (ii)  payment in full in cash of all Hedging Obligations and all Bank Product
                Obligations constituting First Lien Obligations of such Series secured by the First Lien
                Collateral Documents, or the cash collateralization of all such applicable Hedging
                Obligations and Bank Product Obligations on terms satisfactory to each applicable
                counterparty (or the making of other arrangements satisfactory to the applicable
                counterparty);

                          (iii) payment in full in cash of all other First Lien Obligations or Second Lien
                Obligations under the applicable First Lien Loan Documents or the applicable Second Lien
                Loan Documents, as the case may be, of such Series that are due and payable or otherwise
                accrued and owing at or prior to the time such principal and interest are paid (other than
                any indemnification obligations for which no claim or demand for payment, whether oral
                or written, has been made at such time); and

                         (iv) termination or expiration of all commitments, if any, to extend credit that
                would constitute First Lien Obligations or Second Lien Obligations, as the case may be,
                under such Series; and

                (b)     with respect to any Series of Excess First Lien Obligations, each of the following
has occurred:

                        (i)    payment in full in cash of the principal of and interest (including interest
                accruing thereon on or after the commencement of any Insolvency or Liquidation
                Proceeding, whether or not interest would be allowed in such Insolvency or Liquidation
                Proceeding) on all Indebtedness outstanding under the applicable First Lien Loan
                Documents and constituting Excess First Lien Obligations of such Series;

                         (ii)   payment in full in cash of all Hedging Obligations and all Bank Product
                Obligations constituting Excess First Lien Obligations of such Series secured by the First
                Lien Collateral Documents or the cash collateralization of all such applicable Hedging
                Obligations and Bank Product Obligations on terms satisfactory to each applicable
                counterparty (or the making of other arrangements satisfactory to the applicable
                counterparty);

                          (iii) payment in full in cash of all other Excess First Lien Obligations under the
                applicable First Lien Loan Documents of such Series that are due and payable or otherwise
                accrued and owing at or prior to the time such principal and interest are paid (other than
                any indemnification obligations for which no claim or demand for payment, whether oral
                or written, has been made at such time); and

                        (iv) termination or expiration of all commitments, if any, to extend credit that
                would constitute Excess First Lien Obligations of such Series.




                                                    11
            Case 24-12480-LSS           Doc 1233        Filed 04/03/25       Page 124 of 197



                The term “Discharged” shall have a corresponding meaning.

                “Discharge of BDK First Lien Obligations” means the “Discharge of First Lien
Obligations” as defined in the BDK Intercreditor Agreement.

               “Discharge of BDK Obligations” means, collectively, the “Discharge of First Lien
Obligations” and the “Discharge of Second Lien Obligations”, each as defined in the BDK Intercreditor
Agreement.

                “Discharge of BDK Second Lien Obligations” means the “Discharge of Second Lien
Obligations” as defined in the BDK Intercreditor Agreement.

                “Discharge of BDK Senior Lien Obligations” means the “Discharge of Senior Lien
Obligations” as defined in the BDK Intercreditor Agreement.

                 “Discharge of Excess First Lien Obligations” means, except to the extent otherwise
provided in Section 5.6, the Discharge of all Excess First Lien Obligations has occurred; provided, that the
Discharge of Excess First Lien Obligations shall be deemed not to have occurred if any First Lien Loan
Document is Refinanced in accordance with Section 5.3 and such Refinanced Indebtedness is then in effect
and has not itself been Discharged or Refinanced in accordance with Section 5.3.

                 “Discharge of First Lien Obligations” means, except to the extent otherwise provided in
Section 5.6, the Discharge of Initial First Lien Obligations and the Discharge of each additional Series of
First Lien Obligations constituting First Lien Obligations has occurred; provided, that the Discharge of First
Lien Obligations shall be deemed not to have occurred if any First Lien Loan Document is Refinanced in
accordance with Section 5.3 and such Refinanced Indebtedness is then in effect and has not itself been
Discharged or Refinanced in accordance with Section 5.3. For the avoidance of doubt, a Discharge of First
Lien Obligations shall occur even if Excess First Lien Obligations remain outstanding.

                “Discharge of Initial First Lien Obligations” means the Discharge of all Initial First Lien
Obligations constituting First Lien Obligations has occurred; provided, that the Discharge of Initial First
Lien Obligations shall be deemed not to have occurred if any Initial First Lien Loan Document is
Refinanced in accordance with Section 5.3 and such Refinanced Indebtedness is then in effect and has not
itself been Discharged or Refinanced in accordance with Section 5.3. For the avoidance of doubt, a
Discharge of Initial First Lien Obligations shall occur even if Excess First Lien Obligations remain
outstanding.

                “Discharge of Initial Second Lien Obligations” means the Discharge of all Initial Second
Lien Obligations has occurred; provided, that the Discharge of Initial Second Lien Obligations shall be
deemed not to have occurred if the Initial Second Lien Credit Agreement is Refinanced in accordance with
Section 5.3 and such Refinanced Indebtedness is then in effect and has not itself been Discharged or
Refinanced in accordance with Section 5.3.

                  “Discharge of Second Lien Obligations” means, except to the extent otherwise provided
in Section 5.6, the Discharge of Initial Second Lien Obligations and the Discharge of each additional Series
of Second Lien Obligations has occurred; provided, that the Discharge of Second Lien Obligations shall be
deemed not to have occurred if any Second Lien Loan Document is Refinanced in accordance with
Section 5.3 and such Refinanced Indebtedness is then in effect and has not itself been Discharged or
Refinanced in accordance with Section 5.3.

                “Disposition” has the meaning set forth in Section 5.1(b).



                                                     12
             Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 125 of 197



                 “Enforcement Action” means any action to:

                 (a)     foreclose, execute, levy, or collect on, take possession or control of (other than for
purposes of perfection), sell or otherwise realize upon (judicially or non-judicially), or lease, license, or
otherwise dispose of (whether publicly or privately), Collateral, or otherwise exercise or enforce remedial
rights with respect to Collateral under the First Lien Loan Documents or the Second Lien Loan Documents
(including by way of setoff, recoupment, notification of a public or private sale or other disposition pursuant
to the UCC or other applicable law, notification to account debtors, notification to depositary banks under
deposit account control agreements, or exercise of rights under landlord consents, if applicable);

                (b)      solicit bids from third Persons, approve bid procedures for any proposed
disposition of Collateral, conduct the liquidation or disposition of Collateral or engage or retain sales
brokers, marketing agents, investment bankers, accountants, appraisers, auctioneers, or other third Persons
for the purposes of valuing, marketing, promoting, and selling Collateral;

                (c)     receive a transfer of Collateral in satisfaction of Indebtedness or any other
Obligation secured thereby; or

                 (d)     otherwise enforce a security interest or exercise another right or remedy, as a
                 secured creditor or otherwise, pertaining to the Collateral at law, in equity, or pursuant to
                 the First Lien Loan Documents or Second Lien Loan Documents (including the
                 commencement of applicable legal proceedings or other actions with respect to all or any
                 portion of the Collateral to facilitate the actions described in the preceding clauses, and
                 exercising voting rights in respect of equity interests comprising Collateral).

                “Excess First Lien Obligations” means (i) any Obligations that would constitute First
Lien Obligations if not for the First Lien Cap Amount and (ii) any Obligations that would constitute BDK
First Lien Obligations if not for the BDK First Lien Cap Amount.

                 “FG Newco Intermediate AF” shall have the meaning set forth in the Recitals to this
Agreement.

                 “FG Newco PSP” shall have the meaning set forth in the Recitals to this Agreement.

                “First Lien Cap Amount” means, (x) unless a Grantor shall be subject to any Insolvency
or Liquidation Proceeding, $1,100,000,000; and (y) if a Grantor shall be subject to any Insolvency or
Liquidation Proceeding the sum of (i) $1,100,000,000 plus (ii) 10% of the sum of the aggregate outstanding
principal amount of Indebtedness under the First Lien Loan Documents immediately prior to the
commencement of such Insolvency or Liquidation Proceeding.

                “First Lien Claimholders” means the Initial First Lien Claimholders and any Additional
First Lien Claimholders.

                 “First Lien Collateral” means any “Collateral” or “Pledged Collateral” or similar term as
defined in any First Lien Loan Document or any other assets of any Grantor with respect to which a Lien
is granted or purported to be granted or required to be granted pursuant to a First Lien Loan Document as
security for any First Lien Obligations and shall include any property or assets subject to replacement Liens
or adequate protection Liens in favor of any First Lien Claimholder. For the avoidance of doubt, until such
time as the Discharge of BDK Obligations has occurred, “First Lien Collateral” shall not include any
Badcock Collateral (as defined in the Initial First Lien Credit Agreement).




                                                      13
            Case 24-12480-LSS             Doc 1233       Filed 04/03/25        Page 126 of 197



                  “First Lien Collateral Agent” means (i) in the case of any Initial First Lien Obligations
or the Initial First Lien Claimholders, the Initial First Lien Collateral Agent and (ii) in the case of any
Additional First Lien Obligations and the Additional First Lien Claimholders in respect thereof, the Person
serving as collateral agent (or the equivalent) for such Additional First Lien Obligations and that is named
as the First Lien Collateral Agent in respect of such Additional First Lien Obligations in the applicable
Joinder Agreement (or in the case of the BDK First Lien Obligations or the BDK First Lien Claimholders,
the BDK First Lien Collateral Agent (which for all purposes hereof shall be an “Additional First Lien
Collateral Agent”), pursuant to its direct signature hereto on the date hereof) (each, in the case of this
clause (ii) together with its successors and assigns in such capacity, an “Additional First Lien Collateral
Agent”).

                “First Lien Collateral Documents” means the “Security Documents” or “Collateral
Documents” or similar term (as defined in the applicable First Lien Loan Documents) and any other
agreement, document or instrument pursuant to which a Lien is granted securing any First Lien Obligations
or pursuant to which any such Lien is perfected; provided that, until such time as the Discharge of BDK
Obligations has occurred, “First Lien Collateral Documents” shall not include any “Badcock Security
Documents” (as defined in the Initial First Lien Credit Agreement).

                 “First Lien Debt” means the Initial First Lien Debt and any Additional First Lien Debt.

                 “First Lien Declined Liens” has the meaning set forth in Section 2.3.

                 “First Lien Guaranty” has the meaning set forth in the Recitals to this Agreement.

                 “First Lien Loan Documents” means the Initial First Lien Loan Documents and any
Additional First Lien Loan Documents.

                  “First Lien Obligations” means the Initial First Lien Obligations and any Additional First
Lien Obligations; provided, that if the sum of all Indebtedness constituting principal outstanding under the
Initial First Lien Credit Agreement and the Additional First Lien Loan Documents exceeds the sum of the
First Lien Cap Amount and, for so long as the BDK First Lien Obligations remain outstanding, the BDK
First Lien Cap Amount, then only that portion of such Indebtedness (on a pro rata basis based on the
aggregate outstanding principal amount of such Indebtedness) equal to the sum of the First Lien Cap
Amount and, for so long as the BDK First Lien Obligations remain outstanding, the BDK First Lien Cap
Amount shall be included in First Lien Obligations and interest with respect to such Indebtedness shall only
constitute First Lien Obligations to the extent related to Indebtedness up to the sum of the First Lien Cap
Amount and, for so long as the BDK First Lien Obligations remain outstanding, the BDK First Lien Cap
Amount included in the First Lien Obligations. For avoidance of doubt, Hedging Obligations and Bank
Product Obligations shall not be subject to the First Lien Cap Amount or the BDK First Lien Cap Amount.

               “First Lien Pari Passu Intercreditor Agreement” means an agreement among each First
Lien Representative and each First Lien Collateral Agent allocating rights among the various Series of First
Lien Obligations.

                   “First Lien Representative” means (i) in the case of any Initial First Lien Obligations or
the Initial First Lien Claimholders, the Initial First Lien Representative and (ii) in the case of any Additional
First Lien Obligations and the Additional First Lien Claimholders in respect thereof, each trustee,
administrative agent, collateral agent, security agent and similar agent that is named as the First Lien
Representative in respect of such Additional First Lien Obligations in the applicable Joinder Agreement (or
in the case of the BDK First Lien Obligations or the BDK First Lien Claimholders, the BDK First Lien
Representative (which for all purposes hereof shall be an “Additional First Lien Representative”), pursuant


                                                       14
             Case 24-12480-LSS           Doc 1233        Filed 04/03/25        Page 127 of 197



to its direct signature hereto on the date hereof) (each, in the case of this clause (ii), together with its
successors and assigns in such capacity, an “Additional First Lien Representative”).

                  “Governmental Authority” means any federal, state, municipal, national or other
government, governmental department, commission, board, bureau, court, agency or instrumentality or
political subdivision thereof or any entity or officer exercising executive, legislative, judicial, regulatory or
administrative functions of or pertaining to any government or any court, in each case whether associated
with a state of the United States, the United States, or a foreign entity or government.

                  “Grantors” means (a) prior to the Discharge of BDK Obligations, the Company, FG
Newco PSP, Valor, FG Newco Intermediate AF, each other Subsidiary of the Company that is party to the
First Lien Guaranty, the BDK First Lien Guaranty, the Second Lien Guaranty and the BDK Second Lien
Guaranty and each other Person that has executed and delivered or may from time to time hereafter execute
and deliver any First Lien Collateral Document and/or Second Lien Collateral Document as a “grantor” or
“pledgor” (or the equivalent thereof) to secure any First Lien Obligations and/or Second Lien Obligations,
as the context may require and (b) from and after the Discharge of BDK Obligations, the Company, FG
Newco PSP, Valor, FG Newco Intermediate AF, Badcock, each other Subsidiary of the Company that is
party to the First Lien Guaranty and the Second Lien Guaranty and each other Person that has executed and
delivered or may from time to time hereafter execute and deliver any First Lien Collateral Document and/or
Second Lien Collateral Document as a “grantor” or “pledgor” (or the equivalent thereof) to secure any First
Lien Obligations and/or Second Lien Obligations, as the context may require. For the avoidance of doubt,
Badcock shall not constitute a “Grantor” until such time as the Discharge of BDK Obligations has occurred.

                “Hedge Agreement” means a Swap Contract entered into by a Loan Party with a
counterparty as permitted under the First Lien Loan Documents.

             “Hedging Obligation” of any Person means any obligation of such Person pursuant to any
Hedge Agreement.

                “Indebtedness” means and includes all indebtedness for borrowed money. For the
avoidance of doubt, “Indebtedness” shall not include reimbursement or other obligations in respect of letters
of credit, Hedging Obligations or Bank Product Obligations.

                 “Initial First Lien Claimholders” means the “Secured Parties” as defined in the Initial
First Lien Credit Agreement.

                 “Initial First Lien Collateral Agent” has the meaning set forth in the Preamble to this
Agreement.

                 “Initial First Lien Credit Agreement” has the meaning set forth in the Recitals to this
Agreement.

                “Initial First Lien Debt” means the Indebtedness and guarantees thereof now or hereafter
incurred pursuant to the Initial First Lien Loan Documents.

                “Initial First Lien Loan Documents” means the Initial First Lien Credit Agreement and
the other “Loan Documents” as defined in the Initial First Lien Credit Agreement and any other document
or agreement entered into for the purpose of evidencing, governing, securing or perfecting the Initial First
Lien Obligations.




                                                       15
             Case 24-12480-LSS         Doc 1233       Filed 04/03/25      Page 128 of 197



                 “Initial First Lien Obligations” means the “Secured Obligations” as defined in the Initial
First Lien Credit Agreement.

                “Initial First Lien Representative” has the meaning set forth in the Preamble to this
Agreement.

              “Initial Second Lien Claimholders” means the “Secured Parties” as defined in the Initial
Second Lien Loan Documents.

                “Initial Second Lien Collateral Agent” has the meaning set forth in the Preamble to this
Agreement.

                “Initial Second Lien Credit Agreement” has the meaning set forth in the Recitals to this
Agreement.

                 “Initial Second Lien Debt” means the Indebtedness and guarantees thereof now or
hereafter incurred pursuant to the Initial Second Lien Loan Documents.

                 “Initial Second Lien Loan Documents” means that certain Initial Second Lien Credit
Agreement and the other “Loan Documents” as defined in the Initial Second Lien Credit Agreement and
any other document or agreement entered into for the purpose of evidencing, governing, securing or
perfecting the Initial Second Lien Obligations.

                “Initial Second Lien Obligations” means the “Secured Obligations” as defined in the
Initial Second Lien Loan Documents.

                “Initial Second Lien Representative” has the meaning set forth in the Preamble to this
Agreement.

                “Insolvency or Liquidation Proceeding” means:

                (a)     any voluntary or involuntary case or proceeding under the Bankruptcy Code with
respect to any Loan Party;

                (b)     any other voluntary or involuntary insolvency, reorganization or Bankruptcy Case
or proceeding, or any receivership, liquidation, reorganization or other similar case or proceeding with
respect to any Loan Party or with respect to a material portion of their respective assets;

               (c)      any liquidation, dissolution, reorganization or winding up of any Loan Party
whether voluntary or involuntary and whether or not involving insolvency or bankruptcy; or

                  (d)    any assignment for the benefit of creditors or any other marshaling of assets and
liabilities of any Loan Party.

                 “Joinder Agreement” means a supplement to this Agreement in the form of: (i) Exhibit A
or Exhibit B hereto, as applicable, required to be delivered by a Representative and a Collateral Agent to
each other then-existing Representative and Collateral Agent pursuant to Section 8.7 in order to include
Additional First Lien Debt or Additional Second Lien Debt hereunder and to become the Representative or
Collateral Agent, as the case may be, hereunder in respect thereof for the applicable Additional First Lien
Claimholders or applicable Additional Second Lien Claimholders, as the case may be, under such




                                                    16
            Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 129 of 197



Additional First Lien Debt or Additional Second Lien Debt or (ii) Exhibit D hereto required to be delivered
by any Grantor pursuant to Section 8.20.

                 “Lien” means any lien (including judgment liens and liens arising by operation of law),
mortgage, pledge, assignment, security interest, charge or encumbrance of any kind (including any
conditional sale or other title retention agreement, and any lease in the nature thereof) and any option, call,
trust (whether contractual, statutory, deemed, equitable, constructive, resulting or otherwise), UCC
financing statement or other preferential arrangement having the practical effect of any of the foregoing,
including any right of set-off or recoupment.

                 “Loan Documents” means the First Lien Loan Documents and the Second Lien Loan
Documents.

               “Loan Parties” means (a) prior to the Discharge of BDK Obligations, the Grantors and
Badcock and (b) from and after the Discharge of BDK Obligations, the Grantors.

                 “Obligations” means all obligations of every nature of each Grantor from time to time
owed to any agent or trustee, the First Lien Claimholders, the Second Lien Claimholders or any of them or
their respective Affiliates, in each case, under the First Lien Loan Documents, the Second Lien Loan
Documents, Hedge Agreements or Bank Product Obligations, whether for principal, interest, premium or
payments for early termination of Swap Contracts, fees, expenses, indemnification or otherwise and all
guarantees of any of the foregoing and including any interest and fees that accrue after the commencement
by or against any Person of any proceeding under any Bankruptcy Law naming such Person as the debtor
in such proceeding, regardless of whether such interest and fees are allowed claims in such proceeding.

                 “Pay-Over Amount” has the meaning set forth in Section 6.3(b).

                 “Person” means any natural person, corporation, limited liability company, trust, joint
venture, association, company, partnership, limited partnership, Governmental Authority or other entity.

                 “Pledged Collateral” has the meaning set forth in Section 5.5.

                 “Post-Petition Interest” means interest, fees, premiums, expenses and other charges that,
pursuant to the First Lien Loan Documents or the Second Lien Loan Documents, as applicable, continue to
accrue after the commencement of any Insolvency or Liquidation Proceeding, whether or not such interest,
fees, expenses and other charges are allowed or allowable under the Bankruptcy Law or in any such
Insolvency or Liquidation Proceeding.

                 “Purchase Price” has the meaning set forth in Section 5.7.

                 “Recovery” has the meaning set forth in Section 6.5.

                “Refinance” means, in respect of any Indebtedness, to refinance, extend, renew, defease,
amend, modify, supplement, restructure, replace, refund or repay, or to issue other Indebtedness in
exchange or replacement for, such Indebtedness in whole or in part and subject, in the case of First Lien
Debt, to the First Lien Cap Amount regardless of whether the principal amount of such Refinancing
Indebtedness is the same, greater than, or less than the principal amount of the Refinanced Indebtedness.
“Refinanced” and “Refinancing” shall have correlative meanings.

               “Registered Equivalent Notes” means, with respect to any notes originally issued in a
Rule 144A or other private placement transaction under the Securities Act of 1933, substantially identical



                                                      17
            Case 24-12480-LSS             Doc 1233        Filed 04/03/25        Page 130 of 197



notes (having the same guarantees and substantially the same collateral provisions) issued in a dollar-for-
dollar exchange therefor pursuant to an exchange offer registered with the SEC.

                  “Replacement BDK Collateral” has the meaning set forth in Section 6.6.

                  “Replacement Collateral” has the meaning set forth in Section 6.6.

                “Representative” means any First Lien Representative and/or any Second Lien
Representative, as the context may require.

                 “Responsible Officer” means the chief executive officer, president, chief financial officer,
treasurer or equivalent officers of the applicable Grantor.

                  “Second Lien Adequate Protection Payments” has the meaning set forth in
Section 6.3(b).

                  “Second Lien Claimholder DIP Financing” has the meaning set forth in Section 6.1(b).

               “Second Lien Claimholders” means the Initial Second Lien Claimholders and any
Additional Second Lien Claimholders.

                 “Second Lien Collateral” means any “Collateral,” “Pledged Collateral” or similar term as
defined in any Second Lien Loan Document or any other assets of any Grantor with respect to which a Lien
is granted, purported to be granted or required to be granted pursuant to a Second Lien Loan Document as
security for any Second Lien Obligations and shall include any property or assets subject to replacement
Liens or adequate protection Liens in favor of any Second Lien Claimholder. For the avoidance of doubt,
until such time as the Discharge of BDK Obligations has occurred, “Second Lien Collateral” shall not
include any Badcock Collateral (as defined in the Initial Second Lien Credit Agreement).

                  “Second Lien Collateral Agent” means (i) in the case of any Initial Second Lien
Obligations or the Initial Second Lien Claimholders, the Initial Second Lien Collateral Agent and (ii) in the
case of any Additional Second Lien Obligations and the Additional Second Lien Claimholders in respect
thereof, the Person serving as collateral agent (or the equivalent) for such Additional Second Lien
Obligations and that is named as the Second Lien Collateral Agent in respect of such Additional Second
Lien Obligations in the applicable Joinder Agreement (or in the case of the BDK Second Lien Obligations
or the BDK Second Lien Claimholders, the BDK Second Lien Collateral Agent (which for all purposes
hereof shall be an “Additional Second Lien Collateral Agent”), pursuant to its direct signature hereto on
the date hereof) (each, in the case of this clause (ii), together with its successors and assigns in such capacity,
an “Additional Second Lien Collateral Agent”).

                “Second Lien Collateral Documents” means the “Security Documents” or “Collateral
Documents” (as defined in the applicable Second Lien Loan Documents) and any other agreement,
document or instrument pursuant to which a Lien is granted securing any Second Lien Obligations or
pursuant to which any such Lien is perfected; provided that, until such time as the Discharge of BDK
Obligations has occurred, “Second Lien Collateral Documents” shall not include any “Badcock Security
Documents” (as defined in the Initial Second Lien Credit Agreement).

                  “Second Lien Debt” means the Initial Second Lien Debt and any Additional Second Lien
Debt.

                  “Second Lien Declined Lien” has the meaning set forth in Section 2.3.



                                                        18
            Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 131 of 197



                “Second Lien Guaranty” has the meaning set forth in the Recitals to this Agreement.

               “Second Lien Loan Documents” means the Initial Second Lien Loan Documents and any
Additional Second Lien Loan Documents.

                “Second Lien Mortgages” means a collective reference to each mortgage, deed of trust
and any other document or instrument under which any Lien on real property owned or leased by any
Grantor is granted to secure any Second Lien Obligations or under which rights or remedies with respect
to any such Liens are governed. For the avoidance of doubt, until such time as the Discharge of BDK
Obligations has occurred, “Second Lien Mortgages” shall not include any assets of Badcock.

              “Second Lien Obligations” means the Initial Second Lien Obligations and any Additional
Second Lien Obligations.

                “Second Lien Pari Passu Intercreditor Agreement” means an agreement among each
Second Lien Representative and each Second Lien Collateral Agent allocating rights among the various
Series of Second Lien Obligations.

                  “Second Lien Representative” means (i) in the case of the Initial Second Lien Obligations
or the Initial Second Lien Claimholders, the Initial Second Lien Representative and (ii) in the case of any
Additional Second Lien Obligations and the Additional Second Lien Claimholders in respect thereof, each
trustee, administrative agent, collateral agent, security agent and similar agent that is named as the Second
Lien Representative in respect of such Additional Second Lien Obligations in the applicable Joinder
Agreement (or in the case of the BDK Second Lien Obligations or the BDK Second Lien Claimholders, the
BDK Second Lien Representative (which for all purposes hereof shall be an “Additional Second Lien
Representative”), pursuant to its direct signature hereto on the date hereof) (each, in the case of this
clause (ii), together with its successors and assigns in such capacity, an “Additional Second Lien
Representative”).

                “Series” means, (x) with respect to First Lien Debt or Second Lien Debt, all First Lien
Debt or Second Lien Debt, as applicable, represented by the same Representative acting in the same
capacity and (y) with respect to First Lien Obligations or Second Lien Obligations, all such obligations
secured by the same First Lien Collateral Documents or the same Second Lien Collateral Documents, as
the case may be.

                “Short Fall” has the meaning set forth in Section 6.3(b).

                “Standstill Period” has the meaning set forth in Section 3.1.

                  “Subsidiary” means, as to any Person, a corporation, partnership, limited liability
company or other entity of which shares of stock or other ownership interests having ordinary voting power
(other than stock or such other ownership interests having such power only by reason of the happening of
a contingency) to elect a majority of the board of directors or other managers of such corporation,
partnership or other entity are at the time owned, or the management of which is otherwise controlled,
directly or indirectly through one or more intermediaries, or both, by such Person.

                “Swap Contract” means (a) any and all interest rate swap transactions, basis swaps, credit
derivative transactions, forward rate transactions, commodity swaps, commodity options, forward
commodity contracts, equity or equity index swaps or options, bond price or bond index swaps or options
for forward bond or forward bond price or forward bond index transactions, interest rate options, forward
foreign exchange transactions, cap transactions, floor transactions, collar transactions, currency swap



                                                     19
            Case 24-12480-LSS           Doc 1233        Filed 04/03/25       Page 132 of 197



transactions, cross-currency rate swap transactions, currency options, spot contracts, or any other similar
transactions or any combination of any of the foregoing (including any options to enter into any of the
foregoing), whether or not any such transaction is governed by or subject to any master agreement, and
(b) any and all transactions of any kind, and the related confirmations, which are subject to the terms and
conditions of, or governed by, any form of master agreement published by the International Swaps and
Derivatives Association, Inc., any International Foreign Exchange Master Agreement, or any other master
agreement (any such master agreement, together with any related schedules, a “Master Agreement”),
including such obligations or liabilities under any Master Agreement.

                 “UCC” means the Uniform Commercial Code (or any similar or equivalent legislation) as
in effect in the State of New York; provided, however, that in the event that, by reason of mandatory
provisions of law, any or all of the perfection or priority of, or remedies with respect to, any Collateral is
governed by the Uniform Commercial Code as enacted and in effect in a jurisdiction other than the State
of New York, the term “UCC” shall mean the Uniform Commercial Code as enacted and in effect in such
other jurisdiction solely for purposes of the provisions hereof relating to such perfection, priority or
remedies.

                “Valor” shall have the meaning set forth in the Recitals to this Agreement.

                 1.2      Terms Generally. The definitions of terms in this Agreement shall apply equally
to the singular and plural forms of the terms defined. Whenever the context may require, any pronoun shall
include the corresponding masculine, feminine and neuter forms. The words “include,” “includes” and
“including” shall be deemed to be followed by the phrase “without limitation.” The word “will” shall be
construed to have the same meaning and effect as the word “shall.” Unless the context requires otherwise:

                               any definition of or reference herein to any agreement, instrument or other
        document shall be construed as referring to such agreement, instrument or other document as
        amended, restated, amended and restated, supplemented or otherwise modified from time to time
        and any reference herein to any statute or regulations shall include any amendment, renewal,
        extension or replacement thereof;

                                any reference herein to any Person shall be construed to include such
        Person’s successors and assigns from time to time;

                                the words “herein,” “hereof” and “hereunder,” and words of similar
        import, shall be construed to refer to this Agreement in its entirety and not to any particular
        provision hereof;

                                 all references herein to Sections shall be construed to refer to Sections of
        this Agreement; and

                                 the words “asset” and “property” shall be construed to have the same
        meaning and effect and to refer to any and all tangible and intangible assets and properties,
        including cash, securities, accounts and contract rights.

                 1.3     Currency Equivalents Generally. For purposes of determining compliance with
any Dollar-denominated restriction on the maximum amount of Indebtedness permitted to be outstanding
for any purposes hereunder, the principal amount of Indebtedness denominated in a currency other than
U.S. Dollars shall be calculated based on the relevant currency exchange rate in effect on the date such
Indebtedness was incurred, in the case of term debt, or first committed, in the case of revolving credit debt;
provided that if such Indebtedness is Refinancing Indebtedness denominated in a currency other than U.S.



                                                     20
            Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 133 of 197



Dollars, and such refinancing would cause the applicable U.S. Dollar-denominated restriction to be
exceeded if calculated at the relevant currency exchange rate in effect on the date of such Refinancing, such
U.S. Dollar-denominated restriction shall be deemed not to have been exceeded so long as the principal
amount of such Refinancing Indebtedness does not exceed the principal amount of such Indebtedness being
Refinanced (in each case, assuming a full utilization of commitments thereunder). The principal amount
of any Refinancing Indebtedness, if incurred in a different currency from the Indebtedness being
Refinanced, shall be calculated based on the currency exchange rate applicable to the currencies in which
such respective Indebtedness is denominated that is in effect on the date of such Refinancing (in each case,
assuming a full utilization of commitments thereunder).

SECTION 2. Lien Priorities.

                 2.1      Relative Priorities. Notwithstanding the date, time, method, manner or order of
grant, attachment or perfection of any Liens securing the Second Lien Obligations granted on the Collateral
or of any Liens securing the First Lien Obligations granted on the Collateral and notwithstanding any
provision of the UCC or any other applicable law or the Second Lien Loan Documents or any defect or
deficiencies in, or failure to perfect or lapse in perfection of, or avoidance as a fraudulent conveyance or
otherwise of, the Liens securing the First Lien Obligations, the subordination of such Liens to any other
Liens, or any other circumstance whatsoever, whether or not any Insolvency or Liquidation Proceeding has
been commenced by or against any Loan Party, each Second Lien Representative and each Second Lien
Collateral Agent, for itself and on behalf of each other Second Lien Claimholder represented by it, hereby
agrees that:

                                 any Lien on the Collateral securing any First Lien Obligations now or
        hereafter held by or on behalf of any First Lien Representative, any First Lien Collateral Agent or
        any First Lien Claimholders or any agent or trustee therefor, regardless of how acquired, whether
        by grant, possession, statute, operation of law, subrogation or otherwise, shall be senior in all
        respects and prior to any Lien on the Collateral securing any Second Lien Obligations;

                                 any Lien on the Collateral securing any Second Lien Obligations now or
        hereafter held by or on behalf of any Second Lien Representative, any Second Lien Collateral
        Agent, any Second Lien Claimholders or any agent or trustee therefor regardless of how acquired,
        whether by grant, possession, statute, operation of law, subrogation or otherwise, shall be junior
        and subordinate in all respects to all Liens on the Collateral securing any First Lien Obligations.
        All Liens on the Collateral securing any First Lien Obligations shall be and remain senior in all
        respects and prior to all Liens on the Collateral securing any Second Lien Obligations for all
        purposes, whether or not such Liens securing any First Lien Obligations are subordinated to any
        Lien securing any other obligation of any Grantor or any other Person; and

                                 any Lien on the Collateral securing any Excess First Lien Obligations now
        or hereafter held by or on behalf of any First Lien Representative, any First Lien Collateral Agent,
        any First Lien Claimholders or any agent or trustee therefor, regardless of how acquired, whether
        by grant, possession, statute, operation of law, subrogation or otherwise, shall be junior and
        subordinate in all respects to any Lien on the Collateral securing any Second Lien Obligations.

                 2.2     Prohibition on Contesting Liens. Each Second Lien Representative and each
Second Lien Collateral Agent, for itself and on behalf of each other Second Lien Claimholder represented
by it, and each First Lien Representative and each First Lien Collateral Agent, for itself and on behalf of
each other First Lien Claimholder represented by it, agrees that it will not (and hereby waives any right to)
directly or indirectly contest or support any other Person in contesting, in any proceeding (including any
Insolvency or Liquidation Proceeding), the priority, validity, perfection, extent or enforceability of a Lien


                                                     21
            Case 24-12480-LSS           Doc 1233        Filed 04/03/25       Page 134 of 197



held, or purported to be held, by or on behalf of any of the First Lien Claimholders in the First Lien
Collateral or by or on behalf of any of the Second Lien Claimholders in the Second Lien Collateral, as the
case may be, or the amount, nature or extent of the First Lien Obligations or Second Lien Obligations or
the provisions of this Agreement; provided, that nothing in this Agreement shall be construed to prevent or
impair the rights of any First Lien Representative, any First Lien Collateral Agent or any First Lien
Claimholder to enforce this Agreement, including the provisions of this Agreement relating to the priority
of the Liens securing the First Lien Obligations as provided in Sections 2.1 and 3.1.

                2.3     No New Liens. So long as the Discharge of First Lien Obligations has not
occurred, whether or not any Insolvency or Liquidation Proceeding has been commenced by or against any
Loan Party, no Grantor shall (and the Company shall not permit any other Grantor to):

                                 grant or permit any additional Liens on any asset or property to secure any
        Second Lien Obligation unless it has granted or concurrently grants a Lien on such asset or property
        to secure the First Lien Obligations, the parties hereto agreeing that any such Lien shall be subject
        to Section 2.1; provided that this provision will not be violated with respect to any particular Series
        of First Lien Obligations if the applicable First Lien Collateral Agent is given a reasonable
        opportunity to accept a Lien on any asset or property and either the Company or such First Lien
        Collateral Agent states in writing that the First Lien Loan Documents in respect thereof prohibit
        such First Lien Collateral Agent from accepting a Lien on such asset or property or the applicable
        First Lien Collateral Agent otherwise expressly declines to accept a Lien on such asset or property
        (any such prohibited or declined Lien with respect to a particular Series of First Lien Obligations,
        a “First Lien Declined Lien”); or

                                  grant or permit any additional Liens on any asset or property to secure any
        First Lien Obligations unless it has granted or concurrently grants a Lien on such asset or property
        to secure the Second Lien Obligations; provided that this provision will not be violated with respect
        to any particular Series of Second Lien Obligations if the applicable Second Lien Collateral Agent
        is given a reasonable opportunity to accept a Lien on any asset or property and either the Company
        or such Second Lien Collateral Agent states in writing that the Second Lien Loan Documents in
        respect thereof prohibit such Second Lien Collateral Agent from accepting a Lien on such asset or
        property or the applicable Second Lien Collateral Agent otherwise expressly declines to accept a
        Lien on such asset or property (any such prohibited or declined Lien with respect to a particular
        Series of Second Lien Obligations, a “Second Lien Declined Lien” and, together with the First
        Lien Declined Liens, the “Declined Liens”).

                 If any Second Lien Representative, any Second Lien Collateral Agent or any Second Lien
Claimholder shall hold any Lien on any assets or property of any Grantor securing any Second Lien
Obligations that are not also subject to the first-priority Liens, other than any Declined Liens, securing all
First Lien Obligations under the First Lien Collateral Documents, such Second Lien Representative, Second
Lien Collateral Agent or Second Lien Claimholder shall notify the Designated First Lien Representative
promptly upon becoming aware thereof and, unless such Grantor shall promptly grant a similar Lien, other
than any such Lien that would constitute a Declined Lien, on such assets or property to each First Lien
Collateral Agent as security for the First Lien Obligations represented by it, such Second Lien
Representative, Second Lien Collateral Agent and Second Lien Claimholders shall be deemed to hold and
have held such Lien for the benefit of each First Lien Representative, First Lien Collateral Agent and the
other First Lien Claimholders, other than any First Lien Claimholders whose First Lien Loan Documents
prohibit them from taking such Liens, as security for the First Lien Obligations. To the extent that the
foregoing provisions are not complied with for any reason, without limiting any other rights and remedies
available to any First Lien Representative, First Lien Collateral Agent and/or the First Lien Claimholders,
each Second Lien Representative and each Second Lien Collateral Agent, on behalf of each Second Lien


                                                     22
            Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 135 of 197



Claimholder represented by it, agrees that any amounts received by or distributed to any of them pursuant
to or as a result of Liens granted in contravention of this Section 2.3 shall be subject to Section 4.2.

                 If any First Lien Representative, any First Lien Collateral Agent or any First Lien
Claimholder shall hold any Lien on any assets or property of any Grantor securing any First Lien
Obligations that are not also subject to the junior-priority Liens, other than any Declined Liens, securing
all Second Lien Obligations under the Second Lien Collateral Documents, such First Lien Representative,
First Lien Collateral Agent or First Lien Claimholder shall notify the Designated Second Lien
Representative promptly upon becoming aware thereof and, unless such Grantor shall promptly grant a
similar Lien, other than any such Lien that would constitute a Declined Lien, on such assets or property to
each Second Lien Collateral Agent as security for the Second Lien Obligations represented by it, such First
Lien Representative, First Lien Collateral Agent and First Lien Claimholders shall be deemed to hold and
have held such Lien for the benefit of each Second Lien Representative, Second Lien Collateral Agent and
the other Second Lien Claimholders, other than any Second Lien Claimholders whose Second Lien Loan
Documents prohibit them from taking such Liens, as security for the Second Lien Obligations.

                 2.4     Similar Liens and Agreements. The parties hereto agree that, subject to
Sections 2.3 and 5.3(c), it is their intention that the First Lien Collateral and the Second Lien Collateral be
identical. In furtherance of the foregoing and of Section 8.12, the parties hereto agree, subject to the other
provisions of this Agreement:

                                 upon request by any First Lien Collateral Agent or any Second Lien
        Collateral Agent, to cooperate in good faith (and to direct their counsel to cooperate in good faith)
        from time to time in order to determine the specific items included in the First Lien Collateral and
        the Second Lien Collateral and the steps taken to perfect their respective Liens thereon and the
        identity of the respective parties obligated under the First Lien Loan Documents and the Second
        Lien Loan Documents; and

                                that the documents and agreements creating or evidencing the First Lien
        Collateral and the Second Lien Collateral and guarantees for the First Lien Obligations and the
        Second Lien Obligations, subject to Sections 2.3 and 5.3(c), shall be in all material respects the
        same forms of documents other than with respect to the first lien and the second lien nature of the
        Obligations thereunder.

                 2.5     Perfection of Liens. Except for the arrangements contemplated by Section 5.5,
none of the First Lien Representatives, the First Lien Collateral Agents or the First Lien Claimholders shall
be responsible for perfecting and maintaining the perfection of Liens with respect to the Collateral for the
benefit of the Second Lien Representatives, the Second Lien Collateral Agents or the Second Lien
Claimholders. The provisions of this Agreement are intended solely to govern the respective Lien priorities
as between the First Lien Claimholders on the one hand and the Second Lien Claimholders on the other
hand, and such provisions shall not impose on the First Lien Representatives, the First Lien Collateral
Agents, the First Lien Claimholders, the Second Lien Representatives, the Second Lien Collateral Agents,
the Second Lien Claimholders or any agent or trustee therefor any obligations in respect of the disposition
of proceeds of any Collateral which would conflict with prior-perfected claims therein in favor of any other
Person or any order or decree of any court or Governmental Authority or any applicable law.

                 2.6      Nature of First Lien Obligations. Each Second Lien Representative and each
Second Lien Collateral Agent, on behalf of itself and each other Second Lien Claimholder represented by
it, acknowledges that a portion of the First Lien Obligations represents, or may in the future represent, debt
that is revolving in nature and that the amount thereof that may be outstanding at any time or from time to
time may be increased or reduced and subsequently reborrowed, and that, subject to Section 5.3(a), the


                                                      23
           Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 136 of 197



terms of the First Lien Obligations may be modified, extended or amended from time to time, and that,
subject to the provisions of this Agreement, the aggregate amount of the First Lien Obligations may be
increased, replaced or refinanced, in each event, without notice to or consent by the Second Lien
Claimholders and without affecting the provisions hereof. The lien priorities provided in Section 2.1 shall
not be altered or otherwise affected by any such amendment, modification, supplement, extension,
repayment, reborrowing, increase, replacement, renewal, restatement or refinancing of either the First Lien
Obligations or the Second Lien Obligations, or any portion thereof.

SECTION 3. Enforcement.

                3.1     Exercise of Remedies.

                               Until the Discharge of First Lien Obligations has occurred, whether or not
        any Insolvency or Liquidation Proceeding has been commenced by or against any Loan Party, the
        Second Lien Representatives, the Second Lien Collateral Agents and the Second Lien
        Claimholders:

                                  (1)      will not commence or maintain, or seek to commence or maintain,
                any Enforcement Action or otherwise exercise any rights or remedies with respect to the
                Collateral; provided that the Designated Second Lien Representative and/or the Designated
                Second Lien Collateral Agent may commence an Enforcement Action or otherwise
                exercise any or all such rights or remedies after the passage of a period of at least 150 days
                has elapsed since the later of (i) the date on which a Second Lien Representative declared
                the existence of any Event of Default under (and as defined in) any Second Lien Loan
                Document; and (ii) the date on which the First Lien Representatives received notice from
                such Second Lien Representative of such declaration of such Event of Default (the
                “Standstill Period”); provided, further, that notwithstanding anything herein to the
                contrary, in no event shall any Second Lien Representative, any Second Lien Collateral
                Agent or any Second Lien Claimholder take any Enforcement Action with respect to the
                Collateral if, notwithstanding the expiration of the Standstill Period, (i) any First Lien
                Representative, any First Lien Collateral Agent or the applicable First Lien Claimholders
                shall have commenced and be diligently pursuing in good faith an Enforcement Action or
                other exercise of their rights or remedies in each case with respect to all or any material
                portion of the Collateral (prompt notice of such exercise to be given to the Designated
                Second Lien Representative), (ii) any Loan Party shall be subject to any Insolvency or
                Liquidation Proceeding (provided that in any such Insolvency or Liquidation Proceeding
                any Second Lien Representative, Second Lien Collateral Agent or Second Lien
                Claimholder may take any action expressly permitted by Section 3.1(c), Section 3.1(e) or
                Section 6 hereof) or (iii) solely and exclusively with respect to the ABL Priority Collateral
                any First Lien Representative, any First Lien Collateral Agent or the applicable First Lien
                Claimholders are stayed by the ABL Intercreditor Agreement from pursuing exercise of
                rights and remedies with respect to the ABL Priority Collateral (it being understood and
                agreed that Second Lien Claimholders shall be permitted to exercise rights and remedies
                with respect to the Term Loan Priority Collateral upon expiration of the Standstill Period
                (subject to the foregoing clauses (i) and (ii));

                                (2)     will not contest, protest or object to any foreclosure proceeding or
                action brought by any First Lien Representative, any First Lien Collateral Agent or any
                First Lien Claimholder or any other exercise by any First Lien Representative, any First
                Lien Collateral Agent or any First Lien Claimholder of any rights and remedies relating to
                the Collateral under the First Lien Loan Documents or otherwise (including any


                                                     24
   Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 137 of 197



        Enforcement Action initiated by or supported by any First Lien Representative, any First
        Lien Collateral Agent or any First Lien Claimholder); and

                        (3)      subject to their rights under Section 3.1(a)(1), will not object to
        the forbearance by any First Lien Representative, any First Lien Collateral Agent or any
        First Lien Claimholder from bringing or pursuing any foreclosure proceeding or action or
        any other exercise of any rights or remedies relating to the Collateral,

in each case so long as any proceeds received by any First Lien Representative or First Lien
Collateral Agent in excess of those necessary to achieve a Discharge of First Lien Obligations are
distributed in accordance with Section 4.1 and applicable law.

                         Until the Discharge of First Lien Obligations has occurred, whether or not
any Insolvency or Liquidation Proceeding has been commenced by or against any Loan Party,
subject to Section 3.1(a)(1), the First Lien Representatives, the First Lien Collateral Agents and the
First Lien Claimholders shall have the exclusive right to commence and maintain an Enforcement
Action or otherwise enforce rights and exercise remedies with respect to the Collateral (including
set-off, recoupment and the right to credit bid their debt, except that Second Lien Representatives
shall have the credit bid rights set forth in Section 3.1(c)(6)), and subject to Section 5.1, make
determinations regarding the release, disposition, or restrictions with respect to the Collateral
without any consultation with or the consent of any Second Lien Representative, any Second Lien
Collateral Agent or any other Second Lien Claimholder; provided that any proceeds received by
any First Lien Representative or First Lien Collateral Agent in excess of those necessary to achieve
a Discharge of First Lien Obligations are distributed in accordance with Section 4.1 and applicable
law. In commencing or maintaining any Enforcement Action or otherwise exercising rights and
remedies with respect to the Collateral, the First Lien Representatives, the First Lien Collateral
Agents and the First Lien Claimholders may enforce the provisions of the First Lien Loan
Documents and exercise remedies thereunder, all in such order and in such manner as they may
determine in the exercise of their sole discretion in compliance with any applicable law and without
consultation with any Second Lien Representative, any Second Lien Collateral Agent or any other
Second Lien Claimholder and regardless of whether any such exercise is adverse to the interest of
any Second Lien Claimholder. Such exercise and enforcement shall include the rights of an agent
appointed by them to sell or otherwise dispose of Collateral upon foreclosure, to incur expenses in
connection with such sale or disposition, and to exercise all the rights and remedies of a secured
creditor under the UCC and of a secured creditor under Bankruptcy Laws of any applicable
jurisdiction.

                       Notwithstanding the foregoing, any Second Lien Representative, any
Second Lien Collateral Agent and any other Second Lien Claimholder may:

                        (1)     file a claim or statement of interest with respect to the Second Lien
        Obligations; provided that an Insolvency or Liquidation Proceeding has been commenced
        by or against any Loan Party;

                        (2)     take any action (not adverse to the priority status of the Liens on
        the Collateral securing the First Lien Obligations, or the rights of any First Lien
        Representative, any First Lien Collateral Agent or the First Lien Claimholders to exercise
        remedies in respect thereof) in order to create, perfect, preserve or protect its Lien on the
        Collateral;




                                             25
            Case 24-12480-LSS           Doc 1233        Filed 04/03/25       Page 138 of 197



                                 (3)     file any necessary responsive or defensive pleadings in opposition
                to any motion, claim, adversary proceeding or other pleading made by any person objecting
                to or otherwise seeking the disallowance of the claims of the Second Lien Claimholders,
                including any claims secured by the Collateral, if any, in each case in accordance with the
                terms of this Agreement;

                                 (4)      vote on any plan of reorganization, arrangement, compromise or
                liquidation, file any proof of claim, make other filings and make any arguments and
                motions that are, in each case, in accordance with the terms of this Agreement, with respect
                to the Second Lien Obligations and the Collateral; provided that no filing of any claim or
                vote, or pleading related to such claim or vote, to accept or reject a disclosure statement,
                plan of reorganization, arrangement, compromise or liquidation, or any other document,
                agreement or proposal similar to the foregoing by any Second Lien Representative, any
                Second Lien Collateral Agent or any other Second Lien Claimholder may be inconsistent
                with the provisions of this Agreement;

                                 (5)      exercise any of its rights or remedies with respect to the Collateral
                after the termination of the Standstill Period to the extent permitted by Section 3.1(a)(1);

                                 (6)     bid for or purchase Collateral at any public, private or judicial
                foreclosure upon such Collateral initiated by any First Lien Representative, any First Lien
                Collateral Agent or any other First Lien Claimholder, or any sale of Collateral during an
                Insolvency or Liquidation Proceeding; provided that such bid may not include a “credit
                bid” in respect of any Second Lien Obligations unless the cash proceeds of such bid are
                otherwise sufficient to cause the Discharge of First Lien Obligations;

                                (7)      join (but not exercise any control over) a judicial foreclosure or
                Lien enforcement proceeding with respect to the Collateral initiated by any First Lien
                Representative, any First Lien Collateral Agent or any other First Lien Claimholder, to the
                extent that such action could not reasonably be expected to interfere materially with the
                Enforcement Action; or

                                (8)     object to any proposed acceptance of Collateral by any First Lien
                Representative, First Lien Collateral Agent or other First Lien Claimholder pursuant to
                Section 9-620 of the UCC, in a manner not inconsistent with the provisions of this
                Agreement.

                 Each Second Lien Representative and each Second Lien Collateral Agent, on behalf of
itself and each other Second Lien Claimholder represented by it, agrees that it will not take or receive any
Collateral or any proceeds of Collateral in connection with the exercise of any right or remedy with respect
to any Collateral (including set-off and recoupment) in its capacity as a creditor, unless and until the
Discharge of First Lien Obligations has occurred, except as expressly permitted by Section 3.1(a)(1) to the
extent such Second Lien Representative or such Second Lien Collateral Agent and Second Lien
Claimholders represented by it are permitted to retain the proceeds thereof in accordance with Section 4.2
of this Agreement. Without limiting the generality of the foregoing, unless and until the Discharge of First
Lien Obligations has occurred, except as expressly provided in Sections 3.1(a) and 6.3(b) and this
Section 3.1(c), the sole right of the Second Lien Representatives, the Second Lien Collateral Agents and
the other Second Lien Claimholders with respect to the Collateral is to hold a Lien on the Collateral pursuant
to the Second Lien Collateral Documents for the period and to the extent granted therein and to receive a
share of the proceeds thereof, if any, after the Discharge of First Lien Obligations has occurred.




                                                     26
   Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 139 of 197



                         Subject to Sections 3.1(a) and 3.1(c) and Section 6.3(b):

                          (1)     each Second Lien Representative and each Second Lien Collateral
        Agent, for itself and on behalf of each other Second Lien Claimholder represented by it,
        agrees that such Second Lien Representative or such Second Lien Collateral Agent and
        such Second Lien Claimholders represented by it will not take any action that would hinder
        any exercise of remedies under the First Lien Loan Documents or is otherwise prohibited
        hereunder, including any sale, lease, exchange, transfer or other disposition of the
        Collateral that is prohibited hereunder, whether by foreclosure or otherwise;

                          (2)    each Second Lien Representative and each Second Lien Collateral
        Agent, for itself and on behalf of each other Second Lien Claimholder represented by it,
        hereby waives any and all rights such Second Lien Representative or such Second Lien
        Collateral Agent and such Second Lien Claimholders represented by it may have as a junior
        lien creditor or otherwise to object to the manner in which any First Lien Representative,
        any First Lien Collateral Agent or any other First Lien Claimholder seeks to enforce or
        collect the First Lien Obligations or Liens securing the First Lien Obligations granted in
        any of the First Lien Collateral undertaken in accordance with this Agreement, regardless
        of whether any action or failure to act by or on behalf of any First Lien Representative, any
        First Lien Collateral Agent or any other First Lien Claimholder is adverse to the interest of
        any Second Lien Claimholder; and

                         (3)     each Second Lien Representative and each Second Lien Collateral
        Agent, for itself and on behalf of each other Second Lien Claimholder represented by it,
        hereby acknowledges and agrees that no covenant, agreement or restriction contained in
        any Second Lien Loan Document (other than this Agreement) shall be deemed to restrict
        in any way the rights and remedies of any First Lien Representative, any First Lien
        Collateral Agent or any other First Lien Claimholder with respect to the Collateral as set
        forth in this Agreement and the First Lien Loan Documents.

                          Except as specifically set forth in this Agreement, the Second Lien
Representatives, the Second Lien Collateral Agents and the other Second Lien Claimholders may
exercise rights and remedies as unsecured creditors against any Grantor that has guaranteed or
granted Liens to secure the Second Lien Obligations in accordance with the terms of the Second
Lien Loan Documents and applicable law (other than initiating in an involuntary case or proceeding
under any Insolvency or Liquidation Proceeding with respect to any Grantor); provided that in the
event that any Second Lien Claimholder becomes a judgment Lien creditor in respect of Collateral
as a result of its enforcement of its rights as an unsecured creditor with respect to the Second Lien
Obligations, such judgment Lien shall be subject to the terms of this Agreement for all purposes
(including in relation to the First Lien Obligations) in the same manner as the other Liens securing
the Second Lien Obligations are subject to this Agreement.

                         Nothing in this Agreement shall prohibit the receipt by any Second Lien
Representative, any Second Lien Collateral Agent or any other Second Lien Claimholder of the
required payments of interest, principal and other amounts owed in respect of the Second Lien
Obligations so long as such receipt is not the direct or indirect result of the exercise by any Second
Lien Representative, any Second Lien Collateral Agent or any other Second Lien Claimholder of
rights or remedies as a secured creditor (including set-off and recoupment against the Collateral)
or enforcement in contravention of this Agreement of any Lien held by any of them or as a result
of any other violation by any Second Lien Claimholder of the express terms of this Agreement.
Nothing in this Agreement impairs or otherwise adversely affects any rights or remedies any First


                                             27
            Case 24-12480-LSS           Doc 1233        Filed 04/03/25       Page 140 of 197



        Lien Representative, any First Lien Collateral Agent or any other First Lien Claimholder may have
        with respect to the First Lien Collateral.

                 3.2     Actions Upon Breach; Specific Performance. If any Second Lien Claimholder, in
contravention of the terms of this Agreement, in any way takes, attempts to or threatens to take any action
with respect to the Collateral (including any attempt to realize upon or enforce any remedy with respect to
this Agreement), or fails to take any action required by this Agreement, this Agreement shall create an
irrebutable presumption and admission by such Second Lien Claimholder that relief against such Second
Lien Claimholder by injunction, specific performance and/or other appropriate equitable relief is necessary
to prevent irreparable harm to the First Lien Claimholders, it being understood and agreed by each Second
Lien Representative and each Second Lien Collateral Agent, on behalf of each Second Lien Claimholder
represented by it, that (i) the First Lien Claimholders’ damages from actions of any Second Lien
Claimholder may at that time be difficult to ascertain and may be irreparable and (ii) each Second Lien
Claimholder waives any defense that the Grantors and/or the First Lien Claimholders cannot demonstrate
damage and/or be made whole by the awarding of damages. Each of the First Lien Representatives and/or
First Lien Collateral Agents may demand specific performance of this Agreement. Each Second Lien
Representative and each Second Lien Collateral Agent, on behalf of itself and each other Second Lien
Claimholder represented by it, hereby irrevocably waives any defense based on the adequacy of a remedy
at law and any other defense which might be asserted to bar the remedy of specific performance in any
action which may be brought by any First Lien Representative, any First Lien Collateral Agent or any other
First Lien Claimholder. No provision of this Agreement shall constitute or be deemed to constitute a waiver
by any First Lien Representative or any First Lien Collateral Agent on behalf of itself and each other First
Lien Claimholder represented by it of any right to seek damages from any Person in connection with any
breach or alleged breach of this Agreement.

SECTION 4. Payments.

                4.1     Application of Proceeds. Subject to the terms of the ABL Intercreditor Agreement,
so long as the Discharge of First Lien Obligations has not occurred, whether or not any Insolvency or
Liquidation Proceeding has been commenced by or against any Grantor, any Collateral or any proceeds
thereof and any insurance proceeds to be distributed pursuant to Section 5.2 received in connection with
any Enforcement Action or other exercise of remedies by any First Lien Representative, any First Lien
Collateral Agent or any First Lien Claimholder with respect to the Collateral shall be applied as follows:

                 FIRST, by the Designated First Lien Collateral Agent to the First Lien Collateral Agents,
the First Lien Representatives, the Second Lien Collateral Agents and/or the Second Lien Representatives
for the payment of reasonable out-of-pocket costs and expenses incurred by such First Lien Representatives,
First Lien Collateral Agents, Second Lien Representatives and/or Second Lien Collateral Agents, in each
case constituting First Lien Obligations or Second Lien Obligations in connection with any Enforcement
Action or such other exercise of remedies in respect of the Collateral (in the case of the Second Lien
Representatives and/or Second Lien Collateral Agents, to the extent such Enforcement Action or other
exercise of remedies in respect of the Collateral are not in violation of this Agreement);

                 SECOND, by the Designated First Lien Collateral Agent and the other First Lien Collateral
Agents or the First Lien Representatives, as applicable, to the applicable First Lien Obligations in such
order as specified in the relevant First Lien Loan Documents and, if then in effect, the First Lien Pari Passu
Intercreditor Agreement, until a Discharge of First Lien Obligations; provided, that any non-cash Collateral
or non-cash proceeds may be held by the applicable First Lien Collateral Agent as Collateral unless the
failure to apply such amounts would be commercially unreasonable;




                                                     28
           Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 141 of 197



                 THIRD, by the Designated Second Lien Collateral Agent and the other Second Lien
Collateral Agents or the Second Lien Representatives, as applicable, to the applicable Second Lien
Obligations in such order as specified in the applicable Second Lien Collateral Documents and, if then in
effect, the Second Lien Pari Passu Intercreditor Agreement, until a Discharge of Second Lien Obligations;

                 FOURTH, by the Designated First Lien Collateral Agent and the other First Lien Collateral
Agents or the First Lien Representatives, as applicable, to any Excess First Lien Obligations in such order
as specified in the relevant First Lien Loan Documents and, if then in effect, the First Lien Pari Passu
Intercreditor Agreement, until a Discharge of Excess First Lien Obligations; and

                 FIFTH, to the Grantors, their successors or assigns from time to time, or to whomever may
be lawfully entitled to receive the same.

                4.2     Payments Over.

                                  So long as the Discharge of First Lien Obligations has not occurred,
        whether or not any Insolvency or Liquidation Proceeding has been commenced by or against any
        Grantor, any Collateral or any proceeds thereof (including assets or proceeds subject to Liens
        referred to in the second to last paragraph of Section 2.3 and any assets or proceeds subject to Liens
        that have been avoided or otherwise invalidated, but excluding any debt obligations of the
        reorganized debtor distributed as contemplated by Section 6.6) received by any Second Lien
        Representative, Second Lien Collateral Agent or any other Second Lien Claimholder in connection
        with any Enforcement Action or other exercise of any right or remedy relating to the Collateral,
        less any reasonable out-of-pocket expenses incurred in connection with such Enforcement Action,
        in all cases shall be segregated and forthwith paid over to the Designated First Lien Collateral
        Agent for the benefit of the First Lien Claimholders in the same form as received, with any
        necessary endorsements (which endorsements shall be without recourse and without any
        representations or warranties) or as a court of competent jurisdiction may otherwise direct. The
        Designated First Lien Collateral Agent is hereby authorized to make any such endorsements as
        agent for the Second Lien Representatives, Second Lien Collateral Agents or any such other Second
        Lien Claimholder. This authorization is coupled with an interest and is irrevocable until the
        Discharge of First Lien Obligations.

                                 So long as the Discharge of First Lien Obligations has not occurred, if in
        any Insolvency or Liquidation Proceeding any Second Lien Representative, any Second Lien
        Collateral Agent or any other Second Lien Claimholder shall receive any distribution of money or
        other property in respect of the Collateral or proceeds thereof (including any assets or proceeds
        subject to Liens referred to in the second to last paragraph of Section 2.3 and assets or proceeds
        subject to Liens that have been avoided or otherwise invalidated) such money or other property
        (other than debt obligations of the reorganized debtor distributed as contemplated by Section 6.6)
        shall be segregated and forthwith paid over to the Designated First Lien Collateral Agent for the
        benefit of the First Lien Claimholders in the same form as received, with any necessary
        endorsements (which endorsements shall be without recourse and without any representations or
        warranties). The Designated First Lien Collateral Agent is hereby authorized to make any such
        endorsements as agent for the Second Lien Representatives, the Second Lien Collateral Agents or
        any such other Second Lien Claimholder. This authorization is coupled with an interest and is
        irrevocable until the Discharge of First Lien Obligations. Any Lien received by any Second Lien
        Representative, any Second Lien Collateral Agent or any other Second Lien Claimholder in respect
        of any of the Second Lien Obligations in any Insolvency or Liquidation Proceeding shall be subject
        to the terms of this Agreement.



                                                     29
         Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 142 of 197




                                After the Discharge of First Lien Obligations has occurred and so long as
      the Discharge of Second Lien Obligations has not occurred, if in any Insolvency or Liquidation
      Proceeding any First Lien Representative, any First Lien Collateral Agent or any other First Lien
      Claimholder shall receive any distribution of money or other property in respect of the Collateral
      or proceeds thereof (including any assets or proceeds subject to Liens referred to in the second to
      last paragraph of Section 2.3 and assets or proceeds subject to Liens that have been avoided or
      otherwise invalidated) such money or other property (other than debt obligations of the reorganized
      debtor distributed as contemplated by Section 6.6) shall be segregated and forthwith paid over to
      the Designated Second Lien Collateral Agent for the benefit of the Second Lien Claimholders in
      the same form as received, with any necessary endorsements (which endorsements shall be without
      recourse and without any representations or warranties). The Designated Second Lien Collateral
      Agent is hereby authorized to make any such endorsements as agent for the First Lien
      Representatives, the First Lien Collateral Agents or any such other First Lien Claimholder. This
      authorization is coupled with an interest and is irrevocable until the Discharge of Second Lien
      Obligations or Discharge of Excess First Lien Obligations. Any Lien received by any First Lien
      Representative, any First Lien Collateral Agent or any other First Lien Claimholder in respect of
      any of the Excess First Lien Obligations in any Insolvency or Liquidation Proceeding shall be
      subject to the terms of this Agreement.

SECTION 5. Other Agreements.

              5.1     Releases.

                                If in connection with any Enforcement Action by any First Lien
      Representative or any First Lien Collateral Agent or any other exercise of any First Lien
      Representative’s or any First Lien Collateral Agent’s remedies in respect of the Collateral, in each
      case prior to the Discharge of First Lien Obligations, such First Lien Collateral Agent, for itself or
      on behalf of any of the First Lien Claimholders represented by it, releases any of its Liens on any
      part of the Collateral or such First Lien Representative, for itself or on behalf of any of the First
      Lien Claimholders represented by it, releases any Grantor (other than the Company) from its
      obligations under its guaranty of the First Lien Obligations, then the Liens, if any, of each Second
      Lien Collateral Agent, for itself or for the benefit of the Second Lien Claimholders, on such
      Collateral, and the obligations of such Grantor under its guaranty of the Second Lien Obligations,
      shall be automatically, unconditionally and simultaneously released. If in connection with any
      Enforcement Action or other exercise of rights and remedies by any First Lien Representative or
      any First Lien Collateral Agent, in each case prior to the Discharge of First Lien Obligations, the
      equity interests of any Person are foreclosed upon or otherwise disposed of and such First Lien
      Collateral Agent releases its Lien on the property or assets of such Person then the Liens of each
      Second Lien Collateral Agent with respect to the property or assets of such Person will be
      automatically released to the same extent as the Liens of such First Lien Collateral Agent. Each
      Second Lien Representative and each Second Lien Collateral Agent, for itself or on behalf of any
      Second Lien Claimholder represented by it, shall promptly execute and deliver to the First Lien
      Representatives, First Lien Collateral Agents or such Grantor such termination statements, releases
      and other documents as any First Lien Representative, First Lien Collateral Agent or such Grantor
      may request to effectively confirm the foregoing releases.

                               If in connection with any sale, lease, exchange, transfer or other
      disposition of any Collateral by any Grantor (collectively, a “Disposition”) permitted under the
      terms of the First Lien Loan Documents and the terms of the Second Lien Loan Documents (other
      than in connection with an Enforcement Action or other exercise of any First Lien Representative’s
      and/or First Lien Collateral Agent’s remedies in respect of the Collateral, which shall be governed


                                                   30
            Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 143 of 197



        by Section 5.1(a)), any First Lien Collateral Agent, for itself or on behalf of any First Lien
        Claimholder represented by it, releases any of its Liens on any part of the Collateral, or any First
        Lien Representative, for itself or on behalf of any First Lien Claimholder represented by it, releases
        any Grantor from its obligations under its guaranty of the First Lien Obligations, in each case other
        than (A) in connection with, or following, the Discharge of First Lien Obligations or (B) after the
        occurrence and during the continuance of any Event of Default under (and as defined in) any
        Second Lien Loan Document, then the Liens, if any, of each Second Lien Collateral Agent, for
        itself or for the benefit of the Second Lien Claimholders represented by it, on such Collateral, and
        the obligations of such Grantor under its guaranty of the Second Lien Obligations, shall be
        automatically, unconditionally and simultaneously released. Each Second Lien Representative and
        each Second Lien Collateral Agent, for itself and on behalf of each other Second Lien Claimholder
        represented by it, shall promptly execute and deliver to the First Lien Representatives, the First
        Lien Collateral Agents or such Grantor such termination statements, releases and other documents
        as any First Lien Representative, First Lien Collateral Agent or such Grantor may request to
        effectively confirm such release.

                                 Until the Discharge of First Lien Obligations occurs, each Second Lien
        Representative and each Second Lien Collateral Agent, for itself and on behalf of each other Second
        Lien Claimholder represented by it, hereby irrevocably constitutes and appoints the Designated
        First Lien Collateral Agent and any officer or agent of the Designated First Lien Collateral Agent,
        with full power of substitution, as its true and lawful attorney-in-fact with full irrevocable power
        and authority in the place and stead of such Second Lien Representative, such Second Lien
        Collateral Agent and such Second Lien Claimholders or in the Designated First Lien Collateral
        Agent’s own name, from time to time in the Designated First Lien Collateral Agent’s discretion,
        for the purpose of carrying out the terms of this Section 5.1, to take any and all appropriate action
        and to execute any and all documents and instruments which may be necessary to accomplish the
        purposes of this Section 5.1, including any endorsements or other instruments of transfer or release.
        This power is coupled with an interest and is irrevocable until the Discharge of First Lien
        Obligations.

                                  Until the Discharge of First Lien Obligations occurs, to the extent that any
        First Lien Collateral Agent, any First Lien Representative or any First Lien Claimholder (i) has
        released any Lien on Collateral or any Grantor from its obligation under its guarantee and any such
        Liens or guarantee are later reinstated or (ii) obtains any new Liens or additional guarantees from
        any Grantor, then each Second Lien Collateral Agent, for itself and for the Second Lien
        Claimholders represented by it, shall be granted a Lien on any such Collateral (except to the extent
        such Lien represents a Second Lien Declined Lien with respect to the Second Lien Debt represented
        by such Second Lien Collateral Agent), subject to this Agreement, and each Second Lien
        Representative, for itself and for the Second Lien Claimholders represented by it, shall be granted
        an additional guarantee, as the case may be.

                 5.2      Insurance. Unless and until the Discharge of First Lien Obligations has occurred,
the First Lien Representatives, the First Lien Collateral Agents and the other First Lien Claimholders shall
have the sole and exclusive right, subject to the rights of the Grantors under the First Lien Loan Documents,
to adjust settlement for any insurance policy covering the Collateral in the event of any loss thereunder and
to approve any award granted in any condemnation or similar proceeding (or any deed in lieu of
condemnation) affecting the Collateral. Subject to the rights of the Grantors under the First Lien Loan
Documents, all proceeds of any such policy and any such award (or any payments with respect to a deed in
lieu of condemnation) if in respect of the Collateral shall be distributed in accordance with the terms of
Section 4.1. Until the Discharge of First Lien Obligations has occurred, if any Second Lien Representative,
any Second Lien Collateral Agent or any other Second Lien Claimholder shall, at any time, receive any


                                                     31
           Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 144 of 197



proceeds of any such insurance policy or any such award or payment in contravention of this Agreement,
then it shall segregate and forthwith pay such proceeds over to the Designated First Lien Collateral Agent
in accordance with the terms of Section 4.2.

                5.3     Amendments to First Lien Loan Documents and Second Lien Loan Documents.

                                 The First Lien Loan Documents of any Series may be amended, restated,
        amended and restated, supplemented or otherwise modified from time to time in accordance with
        their terms and the First Lien Debt of any Series (other than BDK First Lien Debt) may be
        Refinanced subject to Section 8.7 without notice to, or the consent of, any Second Lien
        Representative, any Second Lien Collateral Agent or any other Second Lien Claimholder, all
        without affecting the lien subordination or other provisions of this Agreement; provided that any
        such amendment, restatement, supplement, modification or Refinancing is not inconsistent with the
        terms of this Agreement and, in the case of a Refinancing, the holders of such Refinancing debt
        (directly or through their agent) bind themselves in a writing addressed to each Second Lien
        Collateral Agent to the terms of this Agreement; and provided further that any such amendment,
        supplement, modification or Refinancing shall not, without the consent of each Second Lien
        Representative:

                                (1)     (i) increase the sum of the then-outstanding aggregate principal
                amount of the Indebtedness outstanding under all First Lien Loan Documents (including,
                if any, any undrawn portion of any commitment under the First Lien Loan Documents but
                excluding any BDK First Lien Loan Documents) to an amount in excess of the First Lien
                Cap Amount or (ii) increase the sum of the then-outstanding aggregate principal amount
                of the Indebtedness outstanding under all BDK First Lien Loan Documents (including, if
                any, any undrawn portion of any commitment under the BDK First Lien Loan Documents)
                to an amount in excess of the BDK First Lien Cap Amount;

                                  (2)     increase the “Applicable Margin” or similar component of the
                interest rate or yield provisions applicable to the Indebtedness outstanding under the First
                Lien Loan Documents of that Series in a manner that would result in the total yield thereon
                exceeding by more than 3% per annum the total yield on Indebtedness thereunder as in
                effect on the date such Indebtedness became First Lien Debt (excluding increases
                (A) resulting from application of any pricing grid set forth in the applicable First Lien Loan
                Document as in effect on the date such Indebtedness became First Lien Debt, (B) resulting
                from the accrual of interest at the default rate or (C) resulting from any fluctuations in any
                “floor” rate component or other underlying reference rate of such interest rate not caused
                by an amendment, supplement, or refinancing of the First Lien Loan Documents of that
                Series);

                                 (3)      (i) extend the scheduled final maturity date of the First Lien Debt
                of that Series or a Refinancing beyond the scheduled final maturity date of the Series of
                Second Lien Debt with the earliest final maturity date or Refinancing thereof, (ii) extend
                the date for payment of more than two (2) scheduled principal payments during any
                calendar year or (iii) solely in the case of the BDK First Lien Debt, extend the scheduled
                final maturity of such BDK First Lien Debt;

                                  (4)    modify (or undertake an action with the effect of a modification
                of) the mandatory prepayment provisions of the First Lien Loan Documents (including
                accelerating or increasing the amortization of principal) in a manner that makes them more
                restrictive to any Grantor;


                                                     32
   Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 145 of 197



                          (5)    amend or otherwise modify any covenant, “Default” or “Event of
        Default” (as each such term is defined (or similar term) in the First Lien Loan Document
        for that Series) under any First Lien Loan Document to restrict any Grantor from making
        payments of the Second Lien Debt of any Series that would otherwise be permitted under
        such First Lien Loan Documents as in effect on the date the Indebtedness of such Series
        became First Lien Debt; or

                         (6)      modify (or undertake an action with the effect of a modification
        of), add or waive any of the provisions of the First Lien Loan Documents governing
        assignments or other sales of First Lien Obligations by any First Lien Claimholders to an
        Affiliate of any Grantor.

                         The Second Lien Loan Documents may be amended, restated, amended
and restated, supplemented or otherwise modified from time to time in accordance with their terms
and the Second Lien Debt of any Series may be Refinanced (other than BDK Second Lien Debt)
subject to Section 8.7 without notice to, or the consent of, any First Lien Representative, any First
Lien Collateral Agent or any other First Lien Claimholder, all without affecting the lien
subordination or other provisions of this Agreement, to the extent the terms and conditions of such
amendment, restatement, supplement, modification or Refinancing meet any applicable
requirements set forth in the First Lien Loan Documents; provided that any such amendment,
restatement, supplement, modification or Refinancing is not inconsistent with the terms of this
Agreement and, in the case of any Refinancing, the holders of such Refinancing debt (directly or
through their agent) bind themselves in a writing addressed to each First Lien Collateral Agent to
the terms of this Agreement; and provided further that any such amendment, supplement,
modification or Refinancing shall not, without the consent of each First Lien Representative:

                         (1)     increase the sum of the then-outstanding aggregate principal
        amount of the Indebtedness outstanding under all BDK Second Lien Loan Documents
        (including, if any, any undrawn portion of any commitment under the BDK Second Lien
        Loan Documents) to an amount in excess of the BDK Second Lien Cap Amount;

                          (2)     increase the “Applicable Margin” or similar component of the
        interest rate or yield provisions applicable to the Indebtedness outstanding under the
        Second Lien Loan Documents of that Series in a manner that would result in the total yield
        thereon exceeding by more than 3% per annum the total yield on Indebtedness thereunder
        as in effect on the date such Indebtedness became Second Lien Debt (excluding increases
        (A) resulting from application of any pricing grid set forth in the applicable Second Lien
        Loan Document as in effect on the date such Indebtedness became Second Lien Debt, (B)
        resulting from the accrual of interest at the default rate or (C) resulting from any
        fluctuations in any “floor” rate component or other underlying reference rate of such
        interest rate not caused by an amendment, supplement, or refinancing of the Second Lien
        Loan Documents of that Series);

                        (3)     solely in the case of the BDK Second Lien Debt, extend the
        scheduled final maturity of such BDK Second Lien Debt;

                        (4)      accelerate any date or dates upon which scheduled payments of
        principal are due, or change the redemption, mandatory prepayment or defeasance
        provisions thereof in a manner that is adverse to any Grantor; or




                                            33
          Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 146 of 197



                                 (5)     amend or otherwise modify any covenant, “Default” or “Event of
               Default” (as each such term is defined (or similar term) in the Second Lien Loan Document
               for that Series) under any Second Lien Loan Document to restrict any Grantor from making
               payments of the First Lien Debt of any Series that would otherwise be permitted under
               such Second Lien Loan Documents as in effect on the date the Indebtedness of such Series
               became Second Lien Debt.

                               In the event any First Lien Collateral Agent or the applicable First Lien
       Claimholders and the relevant Grantor enter into any amendment, waiver or consent in respect of
       any of the First Lien Collateral Documents for the purpose of adding to, or deleting from, or
       waiving or consenting to any departures from any provisions of, any First Lien Collateral Document
       or changing in any manner the rights of the applicable First Lien Collateral Agent, such First Lien
       Claimholders or any Grantor thereunder, then such amendment, waiver or consent shall apply
       automatically to any comparable provision of a Second Lien Collateral Document without the
       consent of any Second Lien Representative, Second Lien Collateral Agent, any other Second Lien
       Claimholder or any Grantor and without any action by any Second Lien Representative, any Second
       Lien Collateral Agent, any other Second Lien Claimholder or any Grantor, provided that:

                               (1)     no such amendment, waiver or consent shall have the effect of:

                                       (A)    removing assets subject to the Lien of the Second Lien
                               Collateral Documents, except to the extent that a release of such Lien is
                               permitted or required by Section 5.1 and provided that there is a
                               corresponding release of the Liens securing the First Lien Obligations on
                               such removed assets;

                                        (B)      modifying the covenants requiring that the Grantors take
                               actions to perfect or protect the Liens of the Second Lien Collateral Agent
                               in the Collateral to the extent adverse in any material respect to any Second
                               Lien Claimholders;

                                      (C)     imposing duties on any Second Lien Collateral Agent or
                               any Second Lien Representative without its consent;

                                       (D)     permitting other Liens on the Collateral not permitted
                               under the terms of the Second Lien Loan Documents or Section 6; or

                                      (E)      being prejudicial to the interests of the Second Lien
                               Claimholders to a greater extent than the First Lien Claimholders (other
                               than by virtue of their relative priority and the rights and obligations
                               hereunder); and

                                 (2)     notice of such amendment, waiver or consent shall have been
               given by the Company to each Second Lien Collateral Agent within ten Business Days
               after the effective date of such amendment, waiver or consent.

                5.4      Confirmation of Subordination in Second Lien Collateral Documents. The
Grantors agree that each Second Lien Collateral Document shall include the following language (or
language to similar effect approved by the Designated First Lien Collateral Agent):




                                                  34
           Case 24-12480-LSS            Doc 1233        Filed 04/03/25       Page 147 of 197



                “Notwithstanding anything herein to the contrary, the lien and security
                interest granted to the [Collateral Agent] pursuant to this Agreement and
                the exercise of any right or remedy by the [Collateral Agent] hereunder
                are subject to the provisions of the Amended and Restated First
                Lien/Second Lien Intercreditor Agreement, dated as of November 22,
                2021 (as amended, restated, amended and restated, supplemented or
                otherwise modified from time to time, the “First Lien/Second Lien
                Intercreditor Agreement”), among JPMorgan Chase Bank, N.A., as
                Initial First Lien Representative and as Initial First Lien Collateral Agent,
                Alter Domus (US) LLC, as Initial Second Lien Representative and as
                Initial Second Lien Collateral Agent, JPMorgan Chase Bank, N.A., as
                BDK First Lien Representative and as BDK First Lien Collateral Agent,
                Alter Domus (US) LLC, as BDK Second Lien Representative and as BDK
                Second Lien Collateral Agent and certain other persons party or that may
                become party thereto from time to time. In the event of any conflict
                between the terms of the First Lien/Second Lien Intercreditor Agreement
                and this Agreement, the terms of the First Lien/Second Lien Intercreditor
                Agreement shall govern and control.”

                 In addition, the Grantors agree that each Second Lien Mortgage, if any, covering any
Collateral shall contain such other language as the Designated First Lien Collateral Agent may reasonably
request to reflect the subordination of such Second Lien Mortgage to the First Lien Collateral Documents
covering such Collateral.

                5.5      Gratuitous Bailee/Agent for Perfection.

                                  Each First Lien Collateral Agent agrees to hold that part of the Collateral
        that is in its possession or control (or in the possession or control of its agents or bailees), to the
        extent that possession or control thereof is taken to perfect a Lien thereon under the UCC (such
        Collateral being the “Pledged Collateral”), as collateral agent for the First Lien Claimholders and
        as gratuitous bailee for the Second Lien Collateral Agents (such bailment being intended, among
        other things, to satisfy the requirements of Sections 8-106(d)(3), 8-301(a)(2) and 9-313(c) of the
        UCC) and any assignee thereof solely for the purpose of perfecting the security interest granted
        under the First Lien Loan Documents and the Second Lien Loan Documents, respectively, subject
        to the terms and conditions of this Section 5.5. Solely with respect to any deposit accounts under
        the control (within the meaning of Section 9-104 of the UCC) of any First Lien Collateral Agent,
        such First Lien Collateral Agent agrees to also hold control over such deposit accounts as gratuitous
        agent for the Second Lien Collateral Agents, subject to the terms and conditions of this Section 5.5.
        Prior to a Discharge of First Lien Obligations, at the request of the Designated First Lien Collateral
        Agent, each Second Lien Collateral Agent shall turn over possession of any Pledged Collateral in
        possession of such Second Lien Collateral Agent to the Designated First Lien Collateral Agent.

                                   No First Lien Collateral Agent shall have any obligation whatsoever to the
        other First Lien Claimholders, the Second Lien Representatives, the Second Lien Collateral Agents
        or the Second Lien Claimholders to ensure that the Pledged Collateral is genuine or owned by any
        of the Grantors, to perfect the security interests of the Second Lien Collateral Agents or other
        Second Lien Claimholders or to preserve rights or benefits of any Person except as expressly set
        forth in this Section 5.5. The duties or responsibilities of any First Lien Collateral Agent under this
        Section 5.5 shall be limited solely to holding the Pledged Collateral as gratuitous bailee (and with
        respect to deposit accounts, gratuitous agent) in accordance with this Section 5.5 and delivering the
        Pledged Collateral upon a Discharge of First Lien Obligations as provided in Section 5.5(d).


                                                     35
            Case 24-12480-LSS           Doc 1233        Filed 04/03/25       Page 148 of 197



                                   No First Lien Collateral Agent or any other First Lien Claimholder shall
        have by reason of the First Lien Collateral Documents, the Second Lien Collateral Documents, this
        Agreement or any other document a fiduciary relationship in respect of any Second Lien
        Representative or any other Second Lien Claimholder and the Second Lien Representatives, the
        Second Lien Collateral Agents and the Second Lien Claimholders hereby waive and release the
        First Lien Collateral Agents and the other First Lien Claimholders from all claims and liabilities
        arising pursuant to any First Lien Collateral Agent’s role under this Section 5.5 as gratuitous bailee
        and gratuitous agent with respect to the Pledged Collateral. It is understood and agreed that the
        interests of the First Lien Collateral Agents and the other First Lien Claimholders, on the one hand,
        and the Second Lien Representatives, the Second Lien Collateral Agents and the other Second Lien
        Claimholders on the other hand, may differ and the First Lien Collateral Agents and the other First
        Lien Claimholders shall be fully entitled to act in their own interest without taking into account the
        interests of the Second Lien Representatives, the Second Lien Collateral Agents or other Second
        Lien Claimholders.

                                 So long as this Agreement is in effect, Pledged Collateral in the possession
        of any Collateral Agent or any Representative shall be delivered to the Designated First Lien
        Collateral Agent or the Designated Second Lien Collateral Agent, as applicable, together with any
        necessary endorsements (which endorsements shall be without recourse and without any
        representation or warranty), in the following manner:

                                (1)      to the Designated First Lien Collateral Agent until a Discharge of
                First Lien Obligations has occurred, and thereafter,

                               (2)     to the Designated Second Lien Collateral Agent until a Discharge
                of Second Lien Obligations has occurred, and thereafter,

                                (3)     to the extent Excess First Lien Obligations remain outstanding, to
                the Designated First Lien Collateral Agent until a Discharge of Excess First Lien
                Obligations has occurred, and thereafter,

                                (4)       to the Company or to whomever may be lawfully entitled to
                receive the same.

        Following the Discharge of First Lien Obligations, each First Lien Collateral Agent further agrees
to take all other action reasonably requested by any Second Lien Collateral Agent at the expense of the
Grantors in connection with the Second Lien Collateral Agents obtaining a first-priority security interest in
the Collateral. Following the Discharge of First Lien Obligations and Discharge of Second Lien
Obligations, each Second Lien Collateral Agent further agrees to take all other action reasonably requested
by any First Lien Collateral Agent at the expense of the Grantors in connection with the First Lien Collateral
Agents obtaining a first-priority security interest in the Collateral if any Excess First Lien Obligations
remain outstanding.

                 5.6     When Discharge of Obligations Deemed to Not Have Occurred. (a) If, at any time
after the Discharge of First Lien Obligations has occurred any Grantor enters into any Additional First Lien
Loan Document evidencing any Additional First Lien Obligations which Additional First Lien Loan
Obligations are permitted by the Second Lien Loan Documents, then such Discharge of First Lien
Obligations shall automatically be deemed not to have occurred for all purposes of this Agreement (other
than with respect to any actions taken as a result of the occurrence of such first Discharge of First Lien
Obligations), and, from and after the date on which the Additional First Lien Representative and Additional
First Lien Collateral Agent in respect of such Additional First Lien Obligations each becomes a party to


                                                     36
            Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 149 of 197



this Agreement in accordance with Section 8.7(b), the obligations under such Additional First Lien Loan
Document shall automatically be treated as First Lien Obligations for all purposes of this Agreement,
including for purposes of the Lien priorities and rights in respect of Collateral set forth herein, and the
Additional First Lien Representative and the Additional First Lien Collateral Agent under such new First
Lien Loan Documents shall be a First Lien Representative and First Lien Collateral Agent, respectively,
for all purposes of this Agreement and this Agreement shall be reinstated in full force and effect, and such
prior termination shall not diminish, release, discharge, impair or otherwise affect the obligations of the
parties hereto from such date of reinstatement. Upon receipt of a Designation from the Company in
accordance with Section 8.7(b)(2), each Second Lien Representative and Second Lien Collateral Agent
shall promptly (x) enter into such documents and agreements (including amendments or supplements to
this Agreement) as the Company or such Additional First Lien Representative and/or such Additional First
Lien Collateral Agent shall reasonably request in order to provide to such Additional First Lien
Representative and such Additional First Lien Collateral Agent the rights contemplated hereby, in each
case consistent in all material respects with the terms of this Agreement and (y) deliver to such Additional
First Lien Collateral Agent any Pledged Collateral held by it together with any necessary endorsements (or
otherwise allow such Additional First Lien Collateral Agent to obtain control of such Pledged Collateral).
If the Additional First Lien Obligations under such Additional First Lien Loan Documents are secured by
assets of the Grantors constituting Collateral that do not also secure the Second Lien Obligations, then the
Second Lien Obligations shall be secured at such time by a junior-priority Lien on such assets to the same
extent provided in the Second Lien Collateral Documents and this Agreement except to the extent, with
respect to any Series of Second Lien Obligations, such Lien on such assets constitutes a Second Lien
Declined Lien. This Section 5.6(a) shall survive termination of this Agreement.

                 (b) If, at any time after the Discharge of Second Lien Obligations has occurred, any Grantor
enters into any Additional Second Lien Loan Document evidencing any Additional Second Lien
Obligations which Additional Second Lien Obligations are permitted by the First Lien Loan Documents,
then such Discharge of Second Lien Obligations shall automatically be deemed not to have occurred for all
purposes of this Agreement (other than with respect to any actions taken as a result of the occurrence of
such first Discharge of Second Lien Obligations), and, from and after the date on which the Additional
Second Lien Representative and Additional Second Lien Collateral Agent in respect of such Additional
Second Lien Obligations each becomes a party to this Agreement in accordance with Section 8.7(b), the
obligations under such Additional Second Lien Loan Document shall automatically be treated as Second
Lien Obligations for all purposes of this Agreement, including for purposes of the Lien priorities and rights
in respect of Collateral set forth herein, and the Additional Second Lien Representative and the Additional
Second Lien Collateral Agent under such new Second Lien Loan Documents shall be a Second Lien
Representative and Second Lien Collateral Agent, respectively, for all purposes of this Agreement and this
Agreement shall be reinstated in full force and effect, and such prior termination shall not diminish, release,
discharge, impair or otherwise affect the obligations of the parties hereto from such date of reinstatement.
Upon receipt of a designation from the Company in accordance with Section 8.7(b)(2), each First Lien
Representative and First Lien Collateral Agent shall promptly enter into such documents and agreements
(including amendments or supplements to this Agreement) as the Company or such Additional Second Lien
Representative and/or such Additional Second Lien Collateral Agent shall reasonably request in order to
provide to such Additional Second Lien Representative and such Additional Second Lien Collateral Agent
the rights contemplated hereby, in each case consistent in all material respects with the terms of this
Agreement. If the Additional Second Lien Obligations under such Additional Second Lien Loan
Documents are secured by assets of the Grantors constituting Collateral that do not also secure the First
Lien Obligations, then the First Lien Obligations shall be secured at such time by a first-priority Lien on
such assets to the same extent provided in the First Lien Collateral Documents and this Agreement except
to the extent, with respect to any Series of First Lien Obligations, such Lien on such assets constitutes a
First Lien Declined Lien. This Section 5.6(b) shall survive termination of this Agreement.



                                                      37
   Case 24-12480-LSS            Doc 1233        Filed 04/03/25       Page 150 of 197



        5.7      Purchase Right.

                          Without prejudice to the enforcement of any of the First Lien
Claimholders’ remedies under the First Lien Loan Documents, this Agreement, at law or in equity
or otherwise, the First Lien Claimholders agree at any time following the earliest to occur of (i) an
acceleration of any of the First Lien Obligations, (ii) a payment default under any First Lien Loan
Document or any Second Lien Loan Document, (iii) the commencement of any Insolvency or
Liquidation Proceeding with respect to any Loan Party, or (iv) the exercise of remedies by any First
Lien Collateral Agent or First Lien Representative against the Grantors with regard to all or a
material portion of the Collateral, First Lien Claimholders will offer the Second Lien Claimholders
the option to purchase, and/or the Second Lien Claimholders shall have the right to elect to
purchase, the entire aggregate amount (but not less than the entirety) of outstanding First Lien
Obligations (including unfunded commitments under any Initial First Lien Loan Document that
have not been terminated at such time) at the Purchase Price without warranty or representation or
recourse except as provided in Section 5.7(d), on a pro rata basis among the First Lien
Claimholders.

                            The “Purchase Price” will equal the sum of (1) the full amount of all First
Lien Obligations then-outstanding and unpaid at par (including principal, accrued but unpaid
interest and fees and any other unpaid amounts, including breakage costs and, in the case of any
secured hedging obligations, the amount that would be payable by the relevant Grantor thereunder
if such Grantor were to terminate the hedge agreement in respect thereof on the date of the purchase
or, if not terminated, an amount determined by the relevant First Lien Claimholder to be necessary
to collateralize its credit risk arising out of such agreement, but excluding any prepayment penalties
or premiums) and (2) all accrued and unpaid fees, expenses and other amounts (including attorneys’
fees and expenses) owed to the First Lien Claimholders under or pursuant to the First Lien Loan
Documents on the date of purchase to the extent not allocable to Excess First Lien Obligations.

                          If the purchase is being effected through an offer by the First Lien
Claimholders, the Second Lien Claimholders shall irrevocably accept or reject such offer within
ten (10) Business Days of the receipt thereof by the Second Lien Representatives and the parties
shall endeavor to close promptly thereafter. If the Second Lien Claimholders reject such offer (or
do not so irrevocably accept such offer within the required timeframe), the First Lien Claimholders
shall have no further obligations pursuant to this Section 5.7 and may take any further actions in
their sole discretion in accordance with the First Lien Loan Documents and this Agreement. The
purchase pursuant to this Section shall be exercised pursuant to documentation mutually acceptable
to each of the First Lien Representatives and the Second Lien Representatives. Each First Lien
Claimholder will retain all rights to indemnification provided in the relevant First Lien Loan
Documents for all claims and other amounts relating to periods prior to the purchase of the First
Lien Obligations pursuant to this Section 5.7.

                         The purchase and sale of the First Lien Obligations under this Section 5.7
will be without recourse and without representation or warranty of any kind by the First Lien
Claimholders, except that the First Lien Claimholders shall severally and not jointly represent and
warrant to the Second Lien Claimholders that on the date of such purchase, immediately before
giving effect to the purchase;

                        (1)      the principal of and accrued and unpaid interest on the First Lien
        Obligations, and the fees and expenses thereof owed to the respective First Lien
        Claimholders, are as stated in any assignment agreement prepared in connection with the
        purchase and sale of the First Lien Obligations; and


                                             38
         Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 151 of 197



                              (2)      each First Lien Claimholder owns the First Lien Obligations
              purported to be owned by it free and clear of any Liens (other than participation interests
              not prohibited by the First Lien Loan Documents, in which case the Purchase Price will be
              appropriately adjusted so that the Second Lien Claimholders do not pay amounts
              represented by participation interests to the extent that the Second Lien Claimholders
              expressly assume the obligations under such participation interests).

SECTION 6. Insolvency or Liquidation Proceedings.

              6.1     Finance and Sale Issues.

                                (i) Until the Discharge of First Lien Obligations has occurred, if any Loan
      Party shall be subject to any Insolvency or Liquidation Proceeding and any First Lien
      Representative shall desire to permit the use of “Cash Collateral” (as such term is defined in
      Section 363(a) of the Bankruptcy Code) in respect of the Collateral on which such First Lien
      Representative, any First Lien Collateral Agent or any other creditor has a Lien, or to permit any
      Loan Party to obtain financing, whether from the First Lien Claimholders or any other Person under
      Section 364 of the Bankruptcy Code or any similar Bankruptcy Law (“DIP Financing”) that is
      secured by a Lien on the Collateral, then each Second Lien Representative and each Second Lien
      Collateral Agent, for itself and on behalf of each other Second Lien Claimholder represented by it
      (1) will consent to and not object to such Cash Collateral use or DIP Financing (including any
      proposed orders for such Cash Collateral use and/or DIP Financing which are acceptable to any
      First Lien Representative); and (2) to the extent the Liens in the Collateral securing the First Lien
      Obligations are discharged, subordinated to or pari passu with such DIP Financing, each Second
      Lien Collateral Agent will subordinate its Liens in the Collateral to the Liens securing such DIP
      Financing (and all Obligations relating thereto) and each Second Lien Representative and each
      Second Lien Collateral Agent, for itself and on behalf of each other Second Lien Claimholder
      represented by it, will not request adequate protection or any other relief in connection therewith
      (except as expressly agreed by the Designated First Lien Representative or to the extent permitted
      by Section 6.3) and (ii) until the Discharge of BDK Obligations has occurred, if any Loan Party
      shall be subject to any Insolvency or Liquidation Proceeding and the Applicable BDK
      Representative shall desire to permit the use of “Cash Collateral” (as such term is defined in
      Section 363(a) of the Bankruptcy Code) in respect of the BDK Collateral on which such Applicable
      BDK Representative, the Applicable BDK Collateral Agent or any other creditor has a Lien, or to
      permit any Loan Party to obtain financing, whether from the Applicable BDK Claimholders or any
      other Person under Section 364 of the Bankruptcy Code or any similar Bankruptcy Law (“BDK
      DIP Financing”) that is secured by a Lien on the BDK Collateral, then each BDK Junior Lien
      Representative and each BDK Junior Lien Collateral Agent, for itself and on behalf of each other
      BDK Junior Lien Claimholder represented by it (1) will consent to and not object to such Cash
      Collateral use or BDK DIP Financing (including any proposed orders for such Cash Collateral use
      and/or BDK DIP Financing which are acceptable to the Applicable BDK Representative); and (2)
      to the extent the Liens in the BDK Collateral securing the BDK Obligations of the Applicable BDK
      Claimholders are discharged, subordinated to or pari passu with such BDK DIP Financing, each
      BDK Junior Lien Collateral Agent will subordinate its Liens in the BDK Collateral to the Liens
      securing such BDK DIP Financing (and all Obligations relating thereto) and each BDK Junior Lien
      Representative and each BDK Junior Lien Collateral Agent, for itself and on behalf of each other
      BDK Junior Lien Claimholder represented by it, will not request adequate protection or any other
      relief in connection therewith (except as expressly agreed by the Applicable BDK Representative
      or to the extent permitted by Section 6.3); provided that (i) the aggregate principal amount of the
      DIP Financing provided by any Person (other than any BDK First Lien Claimholder) plus the
      aggregate outstanding principal amount of First Lien Obligations under the First Lien Loan


                                                  39
   Case 24-12480-LSS             Doc 1233       Filed 04/03/25        Page 152 of 197



Documents (other than the BDK First Lien Loan Documents) does not exceed the First Lien Cap
Amount, (ii) the aggregate principal amount of the DIP Financing provided by any BDK First Lien
Claimholder plus the aggregate outstanding principal amount of BDK First Lien Obligations under
the BDK First Lien Loan Documents does not exceed the BDK First Lien Cap Amount, (iii) the
aggregate principal amount of the BDK DIP Financing plus the aggregate outstanding principal
amount of the Applicable BDK Obligations does not exceed the Applicable BDK Cap Amount,
(iv) the DIP Financing and BDK DIP Financing, as the case may be, is otherwise subject to the
terms of this Agreement and (v) the DIP Financing and BDK DIP Financing, as the case may be,
does not compel any Loan Party to seek confirmation of a specific plan of reorganization or similar
dispositive restructuring plan for which all or substantially all of the material terms are set forth in
the DIP Financing or BDK DIP Financing, as the case may be, and does not expressly require the
liquidation of the Collateral or the BDK Collateral, as the case may be.

                          (i) No Second Lien Claimholder may provide DIP Financing to any Loan
Party secured by Liens on the Collateral equal or senior in priority to the Liens on the Collateral
securing any First Lien Obligations; provided, that if no First Lien Claimholder offers to provide
DIP Financing to the extent permitted under this Section 6.1 on or before the date that is 60 days
after the date of commencement of the Insolvency or Liquidation Proceeding, then a Second Lien
Claimholder may seek to provide such DIP Financing secured by Liens on the Collateral that are
equal or senior in priority to the Liens on the Collateral securing any First Lien Obligations (any
such equal or senior DIP Financing provided by a Second Lien Claimholder, a “Second Lien
Claimholder DIP Financing”) so long as (x) the aggregate principal amount of the Second Lien
Claimholder DIP Financing does not exceed 10% of the sum of the aggregate outstanding principal
amount of Indebtedness under the Applicable Second Lien Loan Documents immediately prior to
the commencement of such Insolvency or Liquidation Proceeding, (y) the Second Lien Claimholder
DIP Financing does not compel any Loan Party to seek confirmation of a specific plan of
reorganization or similar dispositive restructuring plan for which all or substantially all of the
material terms are set forth in the Second Lien Claimholder DIP Financing and does not expressly
require the liquidation of the Collateral and (z) such Second Lien Claimholder DIP Financing does
not “roll-up” or otherwise include or refinance any pre-petition Indebtedness under the Second Lien
Loan Documents and (ii) until the Discharge of BDK Obligations has occurred, no BDK Junior
Lien Claimholder may provide BDK DIP Financing to any Loan Party secured by Liens on the
BDK Collateral equal or senior in priority to the Liens on the BDK Collateral securing the BDK
Senior Lien Obligations; provided, that if no BDK Senior Lien Claimholder offers to provide BDK
DIP Financing to the extent permitted under this Section 6.1 on or before the date that is 60 days
after the date of commencement of the Insolvency or Liquidation Proceeding, then any BDK Junior
Lien Claimholder may seek to provide such BDK DIP Financing secured by Liens on the BDK
Collateral that are equal or senior in priority to the Liens on the BDK Collateral securing the BDK
Senior Lien Obligations (any such equal or senior DIP Financing provided by a BDK Junior Lien
Claimholder, a “BDK Junior Lien Claimholder DIP Financing”) so long as (x) the aggregate
principal amount of the BDK Junior Lien Claimholder DIP Financing does not exceed 10% of the
sum of the aggregate outstanding principal amount of Indebtedness under the Applicable BDK
Loan Documents immediately prior to the commencement of such Insolvency or Liquidation
Proceeding, (y) the BDK Junior Lien Claimholder DIP Financing does not compel any Loan Party
to seek confirmation of a specific plan of reorganization or similar dispositive restructuring plan
for which all or substantially all of the material terms are set forth in the BDK Junior Lien
Claimholder DIP Financing and does not expressly require the liquidation of the BDK Collateral
and (z) such BDK Junior Lien Claimholder DIP Financing does not “roll-up” or otherwise include
or refinance any pre-petition Indebtedness under the BDK Junior Lien Loan Documents.
Notwithstanding the foregoing, (i) the First Lien Claimholders may object to any DIP Financing



                                              40
   Case 24-12480-LSS             Doc 1233       Filed 04/03/25        Page 153 of 197



proposed by any Second Lien Claimholder and (ii) the BDK Senior Lien Claimholders may object
to any BDK DIP Financing proposed by any BDK Junior Lien Claimholder.

                          Each Second Lien Representative and each Second Lien Collateral Agent,
for itself and on behalf of each other Second Lien Claimholder represented by it, agrees that it will
not seek consultation rights in connection with, and it will not object to or oppose, a motion to sell,
liquidate or otherwise dispose of Collateral under Section 363 of the Bankruptcy Code if the
requisite First Lien Claimholders have consented to such sale, liquidation or other disposition and
the proceeds of such sale, liquidation or other disposition are applied in accordance with Section
4.1. Each Second Lien Representative and each Second Lien Collateral Agent, for itself and on
behalf of each other Second Lien Claimholder represented by it, further agrees that it will not
directly or indirectly oppose or impede entry of any order in connection with such sale, liquidation
or other disposition of Collateral, including orders to retain professionals or set bid procedures in
connection with such sale, liquidation or disposition of Collateral, if the requisite First Lien
Claimholders have consented to (i) such retention of professionals and bid procedures in connection
with such sale, liquidation or disposition of such assets and (ii) the sale, liquidation or disposition
of such assets, in which event the Second Lien Claimholders will be deemed to have consented to
the sale or disposition of Collateral pursuant to Section 363(f) of the Bankruptcy Code, so long as
such order does not impair the rights of the Second Lien Claimholders under Section 363(k) of the
Bankruptcy Code and the proceeds of such sale, liquidation or other disposition are applied in
accordance with Section 4.1.

                         Notwithstanding any other provision hereof to the contrary, each Second
Lien Representative and each Second Lien Collateral Agent, for itself and on behalf of each other
Second Lien Claimholder represented by it, agrees that without the consent of the First Lien
Claimholders, none of such Second Lien Representative or such Second Lien Collateral Agent, the
Second Lien Claimholders represented by it or any agent or the trustee on behalf of any of them
shall, for any purpose during any Insolvency or Liquidation Proceeding or otherwise, support,
endorse, propose or submit, whether directly or indirectly, any plan of reorganization that is
inconsistent with this Agreement.

                            Each BDK Junior Lien Representative and each BDK Junior Lien
Collateral Agent, for itself and on behalf of each other BDK Junior Lien Claimholder represented
by it, agrees that, until the Discharge of BDK Obligations has occurred, it will not seek consultation
rights in connection with, and it will not object to or oppose, a motion to sell, liquidate or otherwise
dispose of BDK Collateral under Section 363 of the Bankruptcy Code if the requisite BDK Senior
Lien Claimholders have consented to such sale, liquidation or other disposition and the proceeds
of such sale, liquidation or other disposition are applied in accordance with Section 4.1 of the BDK
Intercreditor Agreement. Each BDK Junior Lien Representative and each BDK Junior Lien
Collateral Agent, for itself and on behalf of each other BDK Junior Lien Claimholder represented
by it, further agrees that, until the Discharge of BDK Obligations has occurred, it will not directly
or indirectly oppose or impede entry of any order in connection with such sale, liquidation or other
disposition of BDK Collateral, including orders to retain professionals or set bid procedures in
connection with such sale, liquidation or disposition of BDK Collateral, if the requisite BDK Senior
Lien Claimholders have consented to (i) such retention of professionals and bid procedures in
connection with such sale, liquidation or disposition of such assets and (ii) the sale, liquidation or
disposition of such assets, in which event the BDK Junior Lien Claimholders will be deemed to
have consented to the sale or disposition of BDK Collateral pursuant to Section 363(f) of the
Bankruptcy Code, so long as such order does not impair the rights of the BDK Junior Lien
Claimholders under Section 363(k) of the Bankruptcy Code and the proceeds of such sale,



                                              41
            Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 154 of 197



        liquidation or other disposition are applied in accordance with Section 4.1 of the BDK Intercreditor
        Agreement.

                                Notwithstanding any other provision hereof to the contrary, each BDK
        Junior Lien Representative and each BDK Junior Lien Collateral Agent, for itself and on behalf of
        each other BDK Junior Lien Claimholder represented by it, agrees that, until the Discharge of BDK
        Obligations has occurred, without the consent of the BDK Senior Lien Claimholders, none of such
        BDK Junior Lien Representative or such BDK Junior Lien Collateral Agent, the BDK Junior Lien
        Claimholders represented by it or any agent or the trustee on behalf of any of them shall, for any
        purpose during any Insolvency or Liquidation Proceeding or otherwise, support, endorse, propose
        or submit, whether directly or indirectly, any plan of reorganization that is inconsistent with this
        Agreement.

                 6.2     Relief from the Automatic Stay. Until the Discharge of First Lien Obligations has
occurred, each Second Lien Representative and each Second Lien Collateral Agent, for itself and on behalf
of each other Second Lien Claimholder represented by it, agrees that none of them shall: (i) seek (or support
any other Person seeking) relief from the automatic stay or any other stay in any Insolvency or Liquidation
Proceeding in respect of the Collateral, without the prior written consent of the First Lien Representatives,
unless a motion for adequate protection permitted under Section 6.3 has been denied by a bankruptcy court
or (ii) oppose (or support any other Person in opposing) any request by any First Lien Representative or
First Lien Collateral Agent for relief from such stay. Until the Discharge of BDK Obligations has occurred,
each BDK Junior Lien Representative and each BDK Junior Lien Collateral Agent, for itself and on behalf
of each other BDK Junior Lien Claimholder represented by it, agrees that none of them shall: (i) seek (or
support any other Person seeking) relief from the automatic stay or any other stay in any Insolvency or
Liquidation Proceeding in respect of the BDK Collateral, without the prior written consent of the BDK
Senior Lien Representatives, unless a motion for adequate protection permitted under Section 6.3 has been
denied by a bankruptcy court or (ii) oppose (or support any other Person in opposing) any request by any
BDK Senior Lien Representative or any BDK Senior Collateral Agent for relief from such stay.

                6.3      Adequate Protection (Collateral).

                                  Each Second Lien Representative and each Second Lien Collateral Agent,
        for itself and on behalf of each other Second Lien Claimholder represented by it, agrees that none
        of them shall contest (or support any other Person contesting):

                                (1)     any request by any First Lien Representative, any First Lien
                Collateral Agent or other First Lien Claimholder for adequate protection in respect of the
                Collateral under any Bankruptcy Law; or

                                (2)      any objection by any First Lien Representative, any First Lien
                Collateral Agent or other First Lien Claimholder to any motion, relief, action or proceeding
                based on such First Lien Representative, First Lien Collateral Agent or First Lien
                Claimholder claiming a lack of adequate protection in respect of the Collateral.

                                Notwithstanding the foregoing provisions in this Section 6.3, in any
        Insolvency or Liquidation Proceeding:

                                 (1)     if the First Lien Claimholders (or any subset thereof) are granted
                adequate protection in the form of additional collateral in connection with any Cash
                Collateral use or DIP Financing (other than BDK Collateral prior to the Discharge of BDK
                Obligations), then each Second Lien Collateral Agent, for itself and on behalf of any other


                                                     42
Case 24-12480-LSS         Doc 1233        Filed 04/03/25       Page 155 of 197



   Second Lien Claimholder represented by it, may seek or request adequate protection in the
   form of a Lien on such additional collateral, which Lien will be subordinated to the Liens
   securing the First Lien Obligations and such Cash Collateral use or DIP Financing (and all
   Obligations relating thereto) on the same basis as the other Liens on the Collateral securing
   the Second Lien Obligations are so subordinated to the First Lien Obligations under this
   Agreement; and

                    (2)      the Second Lien Representatives, the Second Lien Collateral
   Agents and Second Lien Claimholders shall only be permitted to seek adequate protection
   with respect to their rights in the Collateral in any Insolvency or Liquidation Proceeding in
   the form of:

                            (A)     additional collateral (other than BDK Collateral prior to
                   the Discharge of BDK Obligations); provided that as adequate protection
                   for the First Lien Obligations, each First Lien Collateral Agent, on behalf
                   of the First Lien Claimholders represented by it, is also granted a Lien on
                   such additional collateral, which Lien shall be senior to any Lien of the
                   Second Lien Representatives, the Second Lien Collateral Agents and the
                   Second Lien Claimholders on such additional collateral;

                             (B)     replacement Liens on the Collateral; provided that as
                   adequate protection for the First Lien Obligations, each First Lien
                   Collateral Agent, on behalf of the First Lien Claimholders represented by
                   it, is also granted replacement Liens on the Collateral, which Liens shall
                   be senior to the Liens of the Second Lien Representatives, the Second Lien
                   Collateral Agents and the Second Lien Claimholders on the Collateral;

                            (C)    an administrative expense claim in respect of the
                   Collateral; provided that as adequate protection for the First Lien
                   Obligations, each First Lien Representative, on behalf of the First Lien
                   Claimholders represented by it, is also granted an administrative expense
                   claim in respect of the Collateral which is senior and prior to the
                   administrative expense claim of the Second Lien Representatives and the
                   other Second Lien Claimholders; and

                             (D)     cash payments with respect to interest on the Second Lien
                   Obligations; provided that (1) as adequate protection for the First Lien
                   Obligations, each First Lien Representative, on behalf of the First Lien
                   Claimholders represented by it, is also granted cash payments with respect
                   to interest on the First Lien Obligations represented by it and (2) such cash
                   payments do not exceed an amount equal to the interest accruing on the
                   principal amount of Second Lien Obligations outstanding on the date such
                   relief is granted at the interest rate under the applicable Second Lien Loan
                   Documents and accruing from the date the applicable Second Lien
                   Representative is granted such relief.

                   (3)      If any Second Lien Claimholder receives Post-Petition Interest
   and/or cash adequate protection payments in respect of the Collateral in an Insolvency or
   Liquidation Proceeding (“Second Lien Adequate Protection Payments”) and the
   Discharge of First Lien Obligations does not occur upon the effectiveness of the plan of
   reorganization for, or conclusion of, that Insolvency or Liquidation Proceeding, then each


                                       43
          Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 156 of 197



               Second Lien Claimholder shall pay over to the First Lien Claimholders an amount (the
               “Pay-Over Amount”) equal to the lesser of (i) the Second Lien Adequate Protection
               Payments received by such Second Lien Claimholder and (ii) the amount of the short-fall
               (the “Short Fall”) in the Discharge of First Lien Obligations; provided that to the extent
               any portion of the Short Fall represents payments received by the First Lien Claimholders
               in the form of promissory notes, equity or other property equal in value to the cash paid in
               respect of the Pay-Over Amount, the First Lien Claimholders shall, upon receipt of the
               Pay-Over Amount, transfer those promissory notes, equity or other property, equal in value
               to the cash paid in respect of the Pay-Over Amount, to the applicable Second Lien
               Claimholders pro rata in exchange for the Pay-Over Amount.

                                 Each Second Lien Representative and each Second Lien Collateral Agent,
       for itself and on behalf of each other Second Lien Claimholder represented by it, agrees that notice
       of a hearing to approve DIP Financing or use of Cash Collateral in respect of the Collateral on an
       interim basis shall be adequate if delivered to such Second Lien Representative and Second Lien
       Collateral Agent at least two (2) Business Days in advance of such hearing and that notice of a
       hearing to approve DIP Financing or use of Cash Collateral in respect of the Collateral on a final
       basis shall be adequate if delivered to such Second Lien Representative and Second Lien Collateral
       Agent at least fifteen (15) days in advance of such hearing.

                6.4     Adequate Protection (Badcock Collateral). Until the Discharge of BDK
Obligations has occurred:

                                 Each BDK Junior Lien Representative and each BDK Junior Lien
       Collateral Agent, for itself and on behalf of each other BDK Junior Lien Claimholder represented
       by it, agrees that none of them shall contest (or support any other Person contesting):

                                (1)      any request by any BDK Senior Lien Representative, any BDK
               Senior Lien Collateral Agent or any other BDK Senior Lien Claimholder for adequate
               protection in respect of the Badcock Collateral under any Bankruptcy Law; or

                                 (2)   any objection by any BDK Senior Lien Representative, any BDK
               Senior Collateral Agent or any other BDK Senior Lien Claimholder to any motion, relief,
               action or proceeding based on such BDK Senior Lien Representative, BDK Senior Lien
               Collateral Agent or BDK Senior Lien Claimholder claiming a lack of adequate protection
               in respect of the Badcock Collateral.

                               Notwithstanding the foregoing provisions in this Section 6.4, in any
       Insolvency or Liquidation Proceeding:

                                (1)      if any BDK Senior Lien Claimholders (or any subset thereof) are
               granted adequate protection in the form of additional collateral in connection with any Cash
               Collateral use or BDK DIP Financing (other than Collateral), then each BDK Junior Lien
               Collateral Agent, for itself and on behalf of any other BDK Junior Lien Claimholder
               represented by it, may seek or request adequate protection in the form of a Lien on such
               additional collateral, which Lien will be subordinated to the Liens securing the BDK Senior
               Lien Obligations and such Cash Collateral use or BDK DIP Financing (and all Obligations
               relating thereto) on the same basis as the other Liens on the BDK Collateral securing the
               BDK Junior Lien Obligations are so subordinated to the BDK Senior Lien Obligations
               under the BDK Intercreditor Agreement; and




                                                   44
Case 24-12480-LSS        Doc 1233       Filed 04/03/25       Page 157 of 197



                   (2)     the BDK Junior Lien Representatives, the BDK Junior Lien
   Collateral Agents and the other BDK Junior Lien Claimholders shall only be permitted to
   seek adequate protection with respect to their rights in the BDK Collateral in any
   Insolvency or Liquidation Proceeding in the form of:

                           (A)     additional collateral (other than Collateral); provided that
                  as adequate protection for the BDK Senior Lien Obligations, each BDK
                  Senior Lien Collateral Agent, on behalf of the BDK Senior Lien
                  Claimholders represented by it, is also granted a Lien on such additional
                  collateral, which Lien shall be senior to any Lien of the BDK Junior Lien
                  Representatives, the BDK Junior Lien Collateral Agents and the BDK
                  Junior Lien Claimholders on such additional collateral in the same manner
                  as the Lien priorities under the BDK Intercreditor Agreement;

                          (B)     replacement Liens on the BDK Collateral; provided that
                  as adequate protection for the BDK Senior Lien Obligations, each BDK
                  Senior Lien Collateral Agent, on behalf of the BDK Senior Lien
                  Claimholders represented by it, is also granted replacement Liens on the
                  BDK Collateral, which Liens shall be senior to the Liens of the BDK
                  Junior Lien Representatives, the BDK Junior Lien Collateral Agents and
                  the BDK Junior Lien Claimholders on the BDK Collateral in the same
                  manner as the Lien priorities under the BDK Intercreditor Agreement;

                          (C)      an administrative expense claim in respect of the BDK
                  Collateral; provided that as adequate protection for the BDK Senior Lien
                  Obligations, each BDK Senior Lien Representative, on behalf of the BDK
                  Senior Lien Claimholders represented by it, is also granted an
                  administrative expense claim in respect of the BDK Collateral which is
                  senior and prior to the administrative expense claim of the BDK Junior
                  Lien Representatives and the other BDK Junior Lien Claimholders in the
                  same manner as the Lien priorities under the BDK Intercreditor
                  Agreement; and

                          (D)      cash payments with respect to interest on the BDK Junior
                  Lien Obligations; provided that (1) as adequate protection for the BDK
                  Senior Lien Obligations, each BDK Senior Lien Representative, on behalf
                  of the BDK Senior Lien Claimholders represented by it, is also granted
                  cash payments with respect to interest on the BDK Senior Lien Obligations
                  represented by it and (2) such cash payments do not exceed an amount
                  equal to the interest accruing on the principal amount of BDK Junior Lien
                  Obligations outstanding on the date such relief is granted at the interest
                  rate under the applicable BDK Junior Lien Loan Documents and accruing
                  from the date such BDK Junior Lien Representative is granted such relief.

                    (3)    If any BDK Junior Lien Claimholder receives Post-Petition
   Interest and/or cash adequate protection payments in respect of the BDK Collateral in an
   Insolvency or Liquidation Proceeding (“BDK Junior Lien Adequate Protection
   Payments”) and the Discharge of BDK Senior Lien Obligations does not occur upon the
   effectiveness of the plan of reorganization for, or conclusion of, that Insolvency or
   Liquidation Proceeding, then each BDK Junior Lien Claimholder shall pay over to the
   BDK Senior Lien Claimholders an amount (the “BDK Pay-Over Amount”) equal to the


                                     45
            Case 24-12480-LSS            Doc 1233        Filed 04/03/25       Page 158 of 197



                 lesser of (i) the BDK Junior Lien Adequate Protection Payments received by such BDK
                 Junior Lien Claimholder and (ii) the amount of the short-fall (the “BDK Short Fall”) in
                 the Discharge of BDK Senior Lien Obligations; provided that to the extent any portion of
                 the BDK Short Fall represents payments received by the BDK Senior Lien Claimholders
                 in the form of promissory notes, equity or other property equal in value to the cash paid in
                 respect of the BDK Pay-Over Amount, the BDK Senior Lien Claimholders shall, upon
                 receipt of the BDK Pay-Over Amount, transfer those promissory notes, equity or other
                 property, equal in value to the cash paid in respect of the BDK Pay-Over Amount, to the
                 Applicable BDK Junior Lien Claimholders pro rata in exchange for the BDK Pay-Over
                 Amount.

                                  Each BDK Junior Lien Representative and each BDK Junior Lien
        Collateral Agent, for itself and on behalf of each other BDK Junior Lien Claimholder represented
        by it, agrees that notice of a hearing to approve BDK DIP Financing or use of Cash Collateral in
        respect of the BDK Collateral on an interim basis shall be adequate if delivered to such BDK Junior
        Lien Representative and BDK Junior Lien Collateral Agent at least two (2) Business Days in
        advance of such hearing and that notice of a hearing to approve BDK DIP Financing or use of Cash
        Collateral in respect of the BDK Collateral on a final basis shall be adequate if delivered to such
        BDK Junior Lien Representative and BDK Junior Lien Collateral Agent at least fifteen (15) days
        in advance of such hearing.

                   6.5     Avoidance Issues. If any First Lien Claimholder is required in any Insolvency or
Liquidation Proceeding or otherwise to turn over or otherwise pay to the estate of any Loan Party any
amount paid in respect of First Lien Obligations (other than any such amount in respect of the BDK
Collateral prior to the Discharge of BDK Obligations) (a “Recovery”), then such First Lien Claimholder
shall be entitled to a reinstatement of its First Lien Obligations with respect to all such recovered amounts
on the date of such Recovery, and from and after the date of such reinstatement the Discharge of First Lien
Obligations (or, as applicable, payment in full in cash of all Excess First Lien Obligations (including interest
accruing thereon on or after the commencement of any Insolvency or Liquidation Proceeding, whether or
not such interest would be allowed in such Insolvency or Liquidation Proceeding)) shall be deemed not to
have occurred for all purposes hereunder. If this Agreement shall have been terminated prior to such
Recovery, this Agreement shall be reinstated in full force and effect, and such prior termination shall not
diminish, release, discharge, impair or otherwise affect the obligations of the parties hereto from such date
of reinstatement. If, prior to the Discharge of BDK Obligations, any BDK Senior Lien Claimholder is
required in any Insolvency or Liquidation Proceeding or otherwise to turn over or otherwise pay to the
estate of any Loan Party any amount paid in respect of BDK Senior Lien Obligations (other than any such
amount in respect of the Collateral) (a “BDK Recovery”), then such BDK Senior Lien Claimholder shall
be entitled to a reinstatement of its BDK Senior Lien Obligations with respect to all such recovered amounts
on the date of such BDK Recovery, and from and after the date of such reinstatement the Discharge of BDK
Senior Lien Obligations in respect of such BDK Senior Lien Claimholders shall be deemed not to have
occurred for all purposes hereunder. If this Agreement shall have been terminated prior to such BDK
Recovery, this Agreement shall be reinstated in full force and effect, and such prior termination shall not
diminish, release, discharge, impair or otherwise affect the obligations of the parties hereto from such date
of reinstatement. This Section 6.5 shall survive termination of this Agreement.

                 6.6      Reorganization Securities. If, in any Insolvency or Liquidation Proceeding, debt
obligations of the reorganized debtor secured by Liens upon any property of the reorganized debtor that
would, but for such Insolvency or Liquidation Proceeding, constitute Collateral (“Replacement
Collateral”) are distributed pursuant to a plan of reorganization, arrangement, compromise or liquidation
or similar dispositive restructuring plan, both on account of First Lien Obligations and on account of Second
Lien Obligations, then, to the extent the debt obligations distributed on account of the First Lien Obligations


                                                      46
            Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 159 of 197



and on account of the Second Lien Obligations are secured by Liens upon the Replacement Collateral, the
provisions of this Agreement will survive the distribution of such debt obligations pursuant to such plan
and will apply with like effect to the Liens on the Replacement Collateral securing such debt obligations as
if the Replacement Collateral were the Collateral. If, prior to the Discharge of BDK Obligations, in any
Insolvency or Liquidation Proceeding, debt obligations of the reorganized debtor secured by Liens upon
any property of the reorganized debtor that would, but for such Insolvency or Liquidation Proceeding,
constitute BDK Collateral (“Replacement BDK Collateral”) are distributed pursuant to a plan of
reorganization, arrangement, compromise or liquidation or similar dispositive restructuring plan, both on
account of BDK Senior Lien Obligations and on account of the BDK Junior Lien Obligations, then, to the
extent the debt obligations distributed on account of the BDK Senior Lien Obligations and on account of
the BDK Junior Lien Obligations are secured by Liens upon the Replacement BDK Collateral, the
provisions of this Agreement and the BDK Intercreditor Agreement will survive the distribution of such
debt obligations pursuant to such plan and will apply with like effect to the Liens on the Replacement BDK
Collateral securing such debt obligations as if the Replacement BDK Collateral were the BDK Collateral.

                6.7     Post-Petition Interest.

                                  None of any Second Lien Representative, any Second Lien Collateral
        Agent or any other Second Lien Claimholder shall oppose or seek to challenge any claim by any
        First Lien Representative, any First Lien Collateral Agent or any other First Lien Claimholder for
        allowance in any Insolvency or Liquidation Proceeding of First Lien Obligations consisting of Post-
        Petition Interest to the extent of the value of the Lien of the First Lien Collateral Agents on behalf
        of the First Lien Claimholders on the Collateral or any other First Lien Claimholder’s Lien on the
        Collateral, without regard to the existence of the Liens of the Second Lien Collateral Agents or the
        other Second Lien Claimholders on the Collateral.

                                   None of any First Lien Representative, First Lien Collateral Agent or any
        other First Lien Claimholder shall oppose or seek to challenge any claim by any Second Lien
        Representative, Second Lien Collateral Agent or any other Second Lien Claimholder for allowance
        in any Insolvency or Liquidation Proceeding of Second Lien Obligations consisting of Post-Petition
        Interest to the extent of the value of the Lien of the Second Lien Collateral Agents, on behalf of the
        Second Lien Claimholders, on the Collateral (after taking into account the amount of the First Lien
        Obligations).

                                   None of any BDK Junior Lien Representative, any BDK Junior Lien
        Collateral Agent or any other BDK Junior Lien Claimholder shall, prior to the Discharge of BDK
        Obligations, oppose or seek to challenge any claim by any BDK Senior Lien Representative, any
        BDK Senior Lien Collateral Agent or any other BDK Senior Lien Claimholder for allowance in
        any Insolvency or Liquidation Proceeding of BDK Senior Lien Obligations consisting of Post-
        Petition Interest to the extent of the value of the Lien of the BDK Senior Lien Collateral Agents on
        behalf of the BDK Senior Lien Claimholders on the BDK Collateral or any other BDK Senior Lien
        Claimholder’s Lien on the BDK Collateral, without regard to the existence of the Liens of the BDK
        Junior Lien Collateral Agents or the other BDK Junior Lien Claimholders on the BDK Collateral.

                                   None of any BDK Senior Lien Representative, BDK Senior Lien
        Collateral Agent or any other BDK Senior Lien Claimholder shall, prior to the Discharge of BDK
        Obligations, oppose or seek to challenge any claim by any BDK Junior Lien Representative, BDK
        Junior Lien Collateral Agent or any other BDK Junior Lien Claimholder for allowance in any
        Insolvency or Liquidation Proceeding of BDK Junior Lien Obligations consisting of Post-Petition
        Interest to the extent of the value of the Lien of the BDK Junior Lien Collateral Agents, on behalf



                                                     47
            Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 160 of 197



        of the BDK Junior Lien Claimholders, on the BDK Collateral (after taking into account the amount
        of the BDK Senior Lien Obligations).

                 6.8      Waiver. Each Second Lien Representative and each Second Lien Collateral Agent,
for itself and on behalf of each other Second Lien Claimholder represented by it, waives any claim it may
hereafter have against any First Lien Claimholder arising out of the election of any First Lien Claimholder
of the application of Section 1111(b)(2) of the Bankruptcy Code, and/or out of any cash collateral or
financing arrangement or out of any grant of a security interest in connection with the Collateral in any
Insolvency or Liquidation Proceeding so long as such actions are not in express contravention of the terms
of this Agreement. Each BDK Junior Lien Representative and each BDK Junior Lien Collateral Agent, for
itself and on behalf of each other BDK Junior Lien Claimholder represented by it, waives, solely prior to
the Discharge of BDK Obligations, any claim it may hereafter have against any BDK Senior Lien
Claimholder arising out of the election of any BDK Senior Lien Claimholder of the application of
Section 1111(b)(2) of the Bankruptcy Code, and/or out of any cash collateral or financing arrangement or
out of any grant of a security interest in connection with the BDK Collateral in any Insolvency or
Liquidation Proceeding so long as such actions are not in express contravention of the terms of this
Agreement.

                 6.9    Separate Grants of Security and Separate Classification. Each Representative and
each Collateral Agent, for itself and on behalf of each other Claimholder represented by it, acknowledges
and agrees that:

                                the grants of Liens pursuant to the Initial First Lien Loan Documents, the
        Initial Second Lien Loan Documents, the BDK First Lien Loan Documents and the BDK Second
        Lien Loan Documents constitute four separate and distinct grants of Liens; and

                                 because of, among other things, their differing rights in the Collateral and
        the BDK Collateral, the Initial First Lien Obligations, the Initial Second Lien Obligations, the BDK
        First Lien Obligations and the BDK Second Lien Obligations are fundamentally different from one
        another and must be separately classified in any plan of reorganization proposed or adopted in an
        Insolvency or Liquidation Proceeding.

                To further effectuate the intent of the parties as provided in the immediately preceding
sentence:

                 (1)     if it is held that the claims of the First Lien Claimholders and the Second Lien
        Claimholders in respect of the Collateral constitute only one secured claim (rather than separate
        classes of senior and junior secured claims), then each of the parties hereto hereby acknowledges
        and agrees that all distributions shall be made as if there were separate classes of senior and junior
        secured claims against the Grantors in respect of the Collateral (with the effect being that, to the
        extent that the aggregate value of the Collateral is sufficient (for this purpose ignoring all claims
        held by the Second Lien Claimholders), the First Lien Claimholders shall be entitled to receive, in
        addition to amounts distributed to them in respect of principal, pre-petition interest and other
        claims, all amounts owing (or that would be owing if there were such separate classes of senior and
        junior secured claims) in respect of Post-Petition Interest (including any additional interest payable
        pursuant to the First Lien Loan Documents, arising from or related to a default, which is disallowed
        as a claim in any Insolvency or Liquidation Proceeding) before any distribution is made in respect
        of the claims held by the Second Lien Claimholders with respect to the Collateral, with each Second
        Lien Representative and each Second Lien Collateral Agent, for itself and on behalf of each other
        Second Lien Claimholder represented by it, hereby acknowledging and agreeing to turn over to the
        Designated First Lien Collateral Agent, for itself and on behalf of each other First Lien


                                                     48
            Case 24-12480-LSS             Doc 1233        Filed 04/03/25        Page 161 of 197



        Claimholder, Collateral or proceeds of Collateral otherwise received or receivable by them to the
        extent necessary to effectuate the intent of this sentence, even if such turnover has the effect of
        reducing the claim or recovery of the Second Lien Claimholders); and

                 (2)      if it is held that the claims of any of the Claimholders in respect of the BDK
        Collateral constitute only one secured claim (rather than separate classes of senior and junior
        secured claims), then each of the parties hereto hereby acknowledges and agrees that all
        distributions shall be made as if there were separate classes of senior and junior secured claims
        against Badcock in respect of the BDK Collateral (with the effect being that, to the extent that the
        aggregate value of the BDK Collateral is sufficient (for this purpose ignoring all claims held by the
        BDK Junior Lien Claimholders), the BDK Senior Lien Claimholders shall be entitled to receive, in
        addition to amounts distributed to them in respect of principal, pre-petition interest and other
        claims, all amounts owing (or that would be owing if there were such separate classes of senior and
        junior secured claims) in respect of Post-Petition Interest (including any additional interest payable
        pursuant to the Loan Documents in respect of such BDK Senior Lien Claimholders, arising from
        or related to a default, which is disallowed as a claim in any Insolvency or Liquidation Proceeding)
        before any distribution is made in respect of the claims held by the BDK Junior Lien Claimholders
        with respect to the BDK Collateral, with each BDK Junior Lien Representative and each BDK
        Junior Lien Collateral Agent, for itself and on behalf of each other BDK Junior Lien Claimholder
        represented by it, hereby acknowledging and agreeing to turn over to the BDK Senior Lien
        Collateral Agent, for itself and on behalf of each other BDK Senior Lien Claimholder, BDK
        Collateral or proceeds of BDK Collateral otherwise received or receivable by them to the extent
        necessary to effectuate the intent of this sentence, even if such turnover has the effect of reducing
        the claim or recovery of the BDK Junior Lien Claimholders).

                 6.10     Effectiveness in Insolvency or Liquidation Proceedings. The Parties acknowledge
that this Agreement is a “subordination agreement” under Section 510(a) of the Bankruptcy Code, which
will be effective before, during and after the commencement of an Insolvency or Liquidation Proceeding.
All references in this Agreement to any Loan Party will include such Person as a debtor-in-possession and
any receiver or trustee for such Person in an Insolvency or Liquidation Proceeding.

                   6.11   Discharge of BDK Obligations. The Parties hereto acknowledge and agree that,
from and after the Discharge of BDK Obligations, (i) the provisions of this Section 6 (other than this Section
6.11) that refer to the “Collateral” shall be deemed in all respects to refer to a collective reference to the
Collateral and the Badcock Collateral, (ii) Section 6.1(a)(ii), clauses (ii) and (iii) in the proviso to Section
6.1(a), Section 6.1(b)(ii), clause (ii) of the last sentence of Section 6.1(b), Section 6.1(e), Section 6.1(f), the
last sentence of Section 6.2, Section 6.4, the third sentence of Section 6.5 (other than to the extent the last
sentence of Section 6.5 shall apply), the last sentence of Section 6.6, Section 6.7(c), Section 6.7(d), the last
sentence of Section 6.8 and clause (2) of the last sentence of Section 6.9 shall cease to bind any of the
Parties and (iii) the Badcock Collateral shall no longer be subject to the terms and provisions of the Badcock
Intercreditor Agreement and shall instead be subject in all respects to the terms and provisions of this
Agreement (as if the Badcock Collateral were part of the Collateral).

SECTION 7. Reliance; Waivers; Etc.

                 7.1     Reliance. Other than any reliance on the terms of this Agreement, each First Lien
Representative and each First Lien Collateral Agent, on behalf of itself and each other First Lien
Claimholder represented by it, acknowledges that it and such First Lien Claimholders have, independently
and without reliance on any Second Lien Representative, any Second Lien Collateral Agent or any other
Second Lien Claimholder, and based on documents and information deemed by them appropriate, made
their own credit analysis and decision to enter into each of the First Lien Loan Documents and be bound by


                                                        49
            Case 24-12480-LSS           Doc 1233        Filed 04/03/25       Page 162 of 197



the terms of this Agreement and they will continue to make their own credit decision in taking or not taking
any action under the First Lien Loan Documents or this Agreement. Each Second Lien Representative and
each Second Lien Collateral Agent, on behalf of itself and each other Second Lien Claimholder represented
by it, acknowledges that it and such Second Lien Claimholders have, independently and without reliance
on any First Lien Representative, any First Lien Collateral Agent or any other First Lien Claimholder, and
based on documents and information deemed by them appropriate, made their own credit analysis and
decision to enter into each of the Second Lien Loan Documents and be bound by the terms of this
Agreement and they will continue to make their own credit decision in taking or not taking any action under
the Second Lien Loan Documents or this Agreement.

                  7.2      No Warranties or Liability. Each First Lien Representative and each First Lien
Collateral Agent, on behalf of itself and each other First Lien Claimholder represented by it, acknowledges
and agrees that no Second Lien Representative or other Second Lien Claimholder has made any express or
implied representation or warranty, including with respect to the execution, validity, legality, completeness,
collectability or enforceability of any of the Second Lien Loan Documents, the ownership of any Collateral
or the perfection or priority of any Liens thereon. Except as otherwise provided herein, the Second Lien
Claimholders will be entitled to manage and supervise their respective extensions of credit under the Second
Lien Loan Documents in accordance with law and as they may otherwise, in their sole discretion, deem
appropriate. Each Second Lien Representative and each Second Lien Collateral Agent, on behalf of itself
and each other Second Lien Claimholder represented by it, acknowledges and agrees that no First Lien
Representative or other First Lien Claimholder has made any express or implied representation or warranty,
including with respect to the execution, validity, legality, completeness, collectability or enforceability of
any of the First Lien Loan Documents, the ownership of any Collateral or the perfection or priority of any
Liens thereon. Except as otherwise provided herein, the First Lien Claimholders will be entitled to manage
and supervise their respective loans and extensions of credit under the First Lien Loan Documents in
accordance with law and as they may otherwise, in their sole discretion, deem appropriate. The Second
Lien Representatives, the Second Lien Collateral Agents and the other Second Lien Claimholders shall
have no duty to the First Lien Representatives, the First Lien Collateral Agents or any of the other First
Lien Claimholders, and the First Lien Representatives, the First Lien Collateral Agents and the other First
Lien Claimholders shall have no duty to the Second Lien Representatives, the Second Lien Collateral
Agents or any of the other Second Lien Claimholders, to act or refrain from acting in a manner which
allows, or results in, the occurrence or continuance of an event of default or default under any agreements
with any Grantor (including the First Lien Loan Documents and the Second Lien Loan Documents),
regardless of any knowledge thereof which they may have or be charged with.

                7.3      No Waiver of Lien Priorities; No Marshaling.

                                  No right of the First Lien Claimholders, the First Lien Representatives, the
        First Lien Collateral Agents or any of them to enforce any provision of this Agreement or any First
        Lien Loan Document shall at any time in any way be prejudiced or impaired by any act or failure
        to act on the part of any Grantor or by any act or failure to act by any First Lien Claimholder, First
        Lien Representative or First Lien Collateral Agent, or by any noncompliance by any Person with
        the terms, provisions and covenants of this Agreement, any of the First Lien Loan Documents or
        any of the Second Lien Loan Documents, regardless of any knowledge thereof which any First Lien
        Representative, First Lien Collateral Agent or any First Lien Claimholder, or any of them, may
        have or be otherwise charged with.

                                 Without in any way limiting the generality of the foregoing paragraph (but
        subject to the rights of the Grantors under the First Lien Loan Documents and subject to the
        provisions of Section 5.3(a)), the First Lien Claimholders, the First Lien Representatives, the First
        Lien Collateral Agents and any of them may, at any time and from time to time in accordance with


                                                     50
   Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 163 of 197



the First Lien Loan Documents and/or applicable law, without the consent of, or notice to, any
Second Lien Representative, any Second Lien Collateral Agent or any other Second Lien
Claimholder, without incurring any liabilities to any Second Lien Representative, any Second Lien
Collateral Agent or any other Second Lien Claimholder and without impairing or releasing the Lien
priorities and other benefits provided in this Agreement (even if any right of subrogation or other
right or remedy of any Second Lien Representative, any Second Lien Collateral Agent or any other
Second Lien Claimholder is affected, impaired or extinguished thereby) do any one or more of the
following:

                         (1)      change the manner, place or terms of payment or change or extend
        the time of payment of, or amend, renew, exchange, increase or alter, the terms of any of
        the First Lien Obligations or any Lien on any First Lien Collateral or guaranty of any of
        the First Lien Obligations or any liability of any Grantor, or any liability incurred directly
        or indirectly in respect thereof (including any increase in or extension of the First Lien
        Obligations, without any restriction as to the tenor or terms of any such increase or
        extension) or otherwise amend, renew, exchange, extend, modify or supplement in any
        manner any Liens held by any First Lien Representative, any First Lien Collateral Agent
        or any of the other First Lien Claimholders, the First Lien Obligations or any of the First
        Lien Loan Documents; provided, that (x) any such increase in the First Lien Obligations
        shall not increase the sum of the Indebtedness constituting principal under the First Lien
        Loan Documents (excluding the BDK First Lien Loan Documents) to an amount in excess
        of the First Lien Cap Amount and (y) any such increase in the BDK First Lien Obligations
        shall not increase the sum of the Indebtedness constituting principal under the BDK First
        Lien Loan Documents to an amount in excess of the BDK First Lien Cap Amount;

                          (2)     sell, exchange, release, surrender, realize upon, enforce or
        otherwise deal with in any manner and in any order any part of the First Lien Collateral or
        any liability of any Grantor to any of the First Lien Claimholders, the First Lien
        Representatives or the First Lien Collateral Agents, or any liability incurred directly or
        indirectly in respect thereof;

                          (3)     settle or compromise any First Lien Obligation or any other
        liability of any Grantor or any security therefor or any liability incurred directly or
        indirectly in respect thereof and apply any sums by whomsoever paid and however realized
        to any liability (including the First Lien Obligations) in any manner or order; and

                         (4)      exercise or delay in or refrain from exercising any right or remedy
        against any Grantor or any other Person or any security, and elect any remedy and
        otherwise deal freely with any Grantor or any First Lien Collateral and any security and
        any guarantor or any liability of any Grantor to the First Lien Claimholders or any liability
        incurred directly or indirectly in respect thereof.

                         Except as otherwise expressly provided herein, each Second Lien
Representative and each Second Lien Collateral Agent, on behalf of itself and each other Second
Lien Claimholder represented by it, also agrees that the First Lien Claimholders, the First Lien
Representatives and the First Lien Collateral Agents shall not have any liability to such Second
Lien Representative, such Second Lien Collateral Agent or any such Second Lien Claimholders,
and such Second Lien Representative and such Second Lien Collateral Agent, on behalf of itself
and each other Second Lien Claimholder represented by it, hereby waives any claim against any
First Lien Claimholder, any First Lien Representative or any First Lien Collateral Agent arising out



                                             51
            Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 164 of 197



        of any and all actions which the First Lien Claimholders, any First Lien Representative or any First
        Lien Collateral Agent may take or permit or omit to take with respect to:

                                 (1)     the First Lien Loan Documents (other than this Agreement);

                                 (2)     the collection of the First Lien Obligations; or

                                (3)      the foreclosure upon, or sale, liquidation or other disposition of,
                any First Lien Collateral.

        Each Second Lien Representative and each Second Lien Collateral Agent, on behalf of itself and
        each other Second Lien Claimholder represented by it, agrees that the First Lien Claimholders, the
        First Lien Representatives and the First Lien Collateral Agents do not have any duty to them in
        respect of the maintenance or preservation of the First Lien Collateral, the First Lien Obligations
        or otherwise.

                                Until the Discharge of First Lien Obligations, each Second Lien
        Representative and each Second Lien Collateral Agent, on behalf of itself and each other Second
        Lien Claimholder represented by it, agrees not to assert and hereby waives, to the fullest extent
        permitted by law, any right to demand, request, plead or otherwise assert or otherwise claim the
        benefit of any marshaling, appraisal, valuation or other similar right that may otherwise be available
        under applicable law with respect to any First Lien Collateral or any other similar rights a junior
        secured creditor may have under applicable law.

                For the avoidance of doubt, nothing in this Section 7.3 shall limit any Second Lien
Claimholder’s right to enforce this Agreement.

                 7.4     Obligations Unconditional. All rights, interests, agreements and obligations of the
First Lien Representatives, the First Lien Collateral Agents and the other First Lien Claimholders and the
Second Lien Representatives, the Second Lien Collateral Agents and the other Second Lien Claimholders,
respectively, hereunder shall remain in full force and effect irrespective of:

                              any lack of validity or enforceability of any First Lien Loan Documents or
        any Second Lien Loan Documents;

                                 except as otherwise expressly set forth in this Agreement, any change in
        the time, manner or place of payment of, or in any other terms of, all or any of the First Lien
        Obligations or Second Lien Obligations, or any amendment or waiver or other modification,
        including any increase in the amount thereof, whether by course of conduct or otherwise, of the
        terms of any First Lien Loan Document or any Second Lien Loan Document;

                                  except as otherwise expressly set forth in this Agreement, any exchange
        of any security interest in any Collateral or any other collateral, or any amendment, waiver or other
        modification, whether in writing or by course of conduct or otherwise, of all or any of the First Lien
        Obligations or Second Lien Obligations or any guarantee thereof;

                                the commencement of any Insolvency or Liquidation Proceeding in
        respect of any Loan Party; or

                                 any other circumstances which otherwise might constitute a defense
        available to, or a discharge of, any Grantor in respect of any First Lien Representative, any First



                                                     52
           Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 165 of 197



        Lien Collateral Agent, the First Lien Obligations, any First Lien Claimholder, any Second Lien
        Representative, any Second Lien Collateral Agent, the Second Lien Obligations or any Second
        Lien Claimholder in respect of this Agreement.

SECTION 8. Miscellaneous.

                8.1     Integration/Conflicts.

                                  This Agreement, the ABL Intercreditor Agreement, the First Lien Loan
        Documents and the Second Lien Loan Documents represent the entire agreement of the Grantors,
        the First Lien Claimholders, the Second Lien Claimholders and the ABL Claimholders with respect
        to the subject matter hereof and thereof, and supersede any and all previous agreements and
        understandings, oral or written, relating to the subject matter hereof and thereof. There are no
        promises, undertakings, representations or warranties by the First Lien Claimholders or the Second
        Lien Claimholders relative to the subject matter hereof and thereof not expressly set forth or
        referred to herein or therein.

                                 In the event of any conflict between the provisions of this Agreement and
        the provisions of the First Lien Loan Documents or the Second Lien Loan Documents (other than
        the ABL Intercreditor Agreement), the provisions of this Agreement shall govern and control;
        provided that the foregoing shall not be construed to limit the relative rights and obligations as
        among the First Lien Claimholders or as among the Second Lien Claimholders; as among the First
        Lien Claimholders, such rights and obligations are governed by, and any provisions herein
        regarding them are therefore subject to, the provisions of the First Lien Pari Passu Intercreditor
        Agreement, and as among the Second Lien Claimholders, such rights and obligations are governed
        by, and any provisions herein regarding them are therefore subject to, the provisions of the Second
        Lien Pari Passu Intercreditor Agreement.

                                Notwithstanding anything herein to the contrary, the exercise of any right
        or remedy by any Collateral Agent or Representative hereunder is subject to the provisions of the
        ABL Intercreditor Agreement. As between the ABL Claimholders (as defined in the ABL
        Intercreditor Agreement) on the one hand and the First Lien Claimholders and the Second Lien
        Claimholders on the other hand, in the event of any conflict between the terms of the ABL
        Intercreditor Agreement and the terms of this Agreement, the terms of the ABL Intercreditor
        Agreement shall govern and control. Solely as among the First Lien Claimholders and the Second
        Lien Claimholders, in the event of any conflict between this Agreement and the ABL Intercreditor
        Agreement, the terms of this Agreement shall govern and control.

                         (d)      Prior to the Discharge of BDK Obligations, notwithstanding anything
        herein to the contrary, the exercise of any right or remedy by any Collateral Agent or Representative
        hereunder with respect to the BDK Collateral is subject to the provisions of the BDK Intercreditor
        Agreement. Solely with respect to the BDK Collateral prior to the Discharge of BDK Obligations,
        in the event of any conflict between the terms of the BDK Intercreditor Agreement and the terms
        of this Agreement, the terms of the BDK Intercreditor Agreement shall govern and control.

                 8.2     Effectiveness; Continuing Nature of this Agreement; Severability. This
Agreement shall become effective when executed and delivered by the parties hereto. This is a continuing
agreement of lien subordination and the First Lien Claimholders may continue, at any time and without
notice to any Second Lien Representative or any other Second Lien Claimholder, to extend credit and other
financial accommodations and lend monies to or for the benefit of one or more of the Loan Parties
constituting First Lien Obligations in reliance hereon. Each Second Lien Representative and each Second


                                                    53
            Case 24-12480-LSS           Doc 1233        Filed 04/03/25       Page 166 of 197



Lien Collateral Agent, on behalf of itself and each other Second Lien Claimholder represented by it, hereby
waives any right it may have under applicable law to revoke this Agreement or any of the provisions of this
Agreement. The terms of this Agreement shall survive, and shall continue in full force and effect, in any
Insolvency or Liquidation Proceeding. Any provision of this Agreement that is prohibited or unenforceable
in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such prohibition or
unenforceability without invalidating the remaining provisions hereof, and any such prohibition or
unenforceability in any jurisdiction shall not invalidate or render unenforceable such provision in any other
jurisdiction. The parties hereto shall endeavor in good faith negotiations to replace any invalid, illegal or
unenforceable provisions with valid provisions the economic effect of which comes as close as possible to
those of the invalid, illegal or unenforceable provisions. All references to any Loan Party shall include
such Loan Party as debtor and debtor-in-possession and any receiver, trustee or similar person for any Loan
Party (as the case may be) in any Insolvency or Liquidation Proceeding. This Agreement shall terminate
and be of no further force and effect:

                                 with respect to any First Lien Representative and any First Lien Collateral
        Agent, the First Lien Claimholders represented by it and their First Lien Obligations, on the date
        on which the First Lien Obligations of such First Lien Claimholders are Discharged, subject to
        Sections 5.6 and 6.5; and

                                 with respect to any Second Lien Representative and any Second Lien
        Collateral Agent, the Second Lien Claimholders represented by it and their Second Lien
        Obligations, on the date on which the Second Lien Obligations of such Second Lien Claimholders
        are Discharged, subject to Sections 5.6 and 6.5;

provided, however, that in each case, such termination shall not relieve any such party of its obligations
incurred hereunder prior to the date of such termination.

                8.3      Amendments; Waivers.

                                  No amendment, modification or waiver of any of the provisions of this
        Agreement shall be deemed to be made unless the same shall be in writing signed on behalf of each
        party hereto or its authorized agent and each waiver, if any, shall be a waiver only with respect to
        the specific instance involved and shall in no way impair the rights of the parties making such
        waiver or the obligations of the other parties to such party in any other respect or at any other time.
        Notwithstanding the foregoing, the Grantors shall not have any right to consent to or approve any
        amendment, modification or waiver of any provision of this Agreement, except with respect to
        Section 8.7, Section 8.18 or this Section 8.3 (including, in each case, each defined term referred to
        therein to the extent used therein) to the extent such amendment, modification or waiver directly
        and adversely affects the rights of the Grantors.

                                Notwithstanding the foregoing, without the consent of any First Lien
        Claimholder or Second Lien Claimholder, any Representative and Collateral Agent may become a
        party hereto by execution and delivery of a Joinder Agreement in accordance with Section 8.7 and
        upon such execution and delivery, such Representative and Collateral Agent and the Additional
        First Lien Claimholders and Additional First Lien Obligations or Additional Second Lien
        Claimholders and Additional Second Lien Obligations, as the case may be, of the Series for which
        such Representative and Collateral Agent is acting shall be subject to the terms hereof.

                                Notwithstanding the foregoing, without the consent of any other
        Representative, Collateral Agent or Claimholder, the Designated First Lien Representative may
        effect amendments and modifications to this Agreement to the extent necessary to reflect any


                                                     54
            Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 167 of 197



        incurrence of any Additional First Lien Obligations or Additional Second Lien Obligations in
        compliance with this Agreement.

                 8.4     Information Concerning Financial Condition of the Loan Parties and their
Subsidiaries. The First Lien Representatives, the First Lien Collateral Agents and the First Lien
Claimholders, on the one hand, and the Second Lien Representatives, the Second Lien Collateral Agents
and the Second Lien Claimholders, on the other hand, shall each be responsible for keeping themselves
informed of (a) the financial condition of the Loan Parties and their Subsidiaries and all endorsers and/or
guarantors of the First Lien Obligations or the Second Lien Obligations and (b) all other circumstances
bearing upon the risk of nonpayment of the First Lien Obligations or the Second Lien Obligations. The
First Lien Representatives, the First Lien Collateral Agents and the other First Lien Claimholders shall have
no duty to advise the Second Lien Representatives, the Second Lien Collateral Agents or any other Second
Lien Claimholder of information known to them regarding such condition or any such circumstances or
otherwise. In the event any of the First Lien Representatives, the First Lien Collateral Agents or any of the
other First Lien Claimholders, in its sole discretion, undertakes at any time or from time to time to provide
any such information to any Second Lien Representative, any Second Lien Collateral Agent or any other
Second Lien Claimholder, it shall be under no obligation:

                                 to make, and the First Lien Representatives, the First Lien Collateral
        Agents and the other First Lien Claimholders shall not make, any express or implied representation
        or warranty, including with respect to the accuracy, completeness, truthfulness or validity of any
        such information so provided;

                               to provide any additional information or to provide any such information
        on any subsequent occasion;

                                 to undertake any investigation; or

                                  to disclose any information, which pursuant to accepted or reasonable
        commercial finance practices, such party wishes to maintain confidential or is otherwise required
        to maintain confidential.

                 8.5      Subrogation. With respect to the value of any payments or distributions in cash,
property or other assets that any of the Second Lien Representatives, the Second Lien Collateral Agents or
the other Second Lien Claimholders pays over to any of the First Lien Representatives, the First Lien
Collateral Agents or the other First Lien Claimholders under the terms of this Agreement, such Second Lien
Claimholders, Second Lien Representatives and Second Lien Collateral Agents shall be subrogated to the
rights of such First Lien Representatives, First Lien Collateral Agents and First Lien Claimholders;
provided that each Second Lien Representative and each Second Lien Collateral Agent, on behalf of itself
and each other Second Lien Claimholder represented by it, hereby agrees not to assert or enforce any such
rights of subrogation it may acquire as a result of any payment hereunder until the Discharge of First Lien
Obligations has occurred. Each Grantor acknowledges and agrees that the value of any payments or
distributions in cash, property or other assets received by any Second Lien Representative, Second Lien
Collateral Agent or other Second Lien Claimholder that are paid over to any First Lien Representative, First
Lien Collateral Agent or other First Lien Claimholder pursuant to this Agreement shall not reduce any of
the Second Lien Obligations.

                8.6      Application of Payments. All payments received by any First Lien Representative,
First Lien Collateral Agent or other First Lien Claimholder may be applied, reversed and reapplied, in
whole or in part, to such part of the First Lien Obligations provided for in the First Lien Loan Documents
(subject to the First Lien Pari Passu Intercreditor Agreement, if then in effect). Each Second Lien


                                                     55
            Case 24-12480-LSS           Doc 1233        Filed 04/03/25       Page 168 of 197



Representative and each Second Lien Collateral Agent, on behalf of itself and each other Second Lien
Claimholder represented by it, agrees to any extension or postponement of the time of payment of the First
Lien Obligations or any part thereof and to any other indulgence with respect thereto, to any substitution,
exchange or release of any Lien which may at any time secure any part of the First Lien Obligations and to
the addition or release of any other Person primarily or secondarily liable therefor.

                8.7      Additional Debt Facilities.

                                 To the extent, but only to the extent, permitted by the provisions of the
        First Lien Loan Documents and the Second Lien Loan Documents and Section 5.3, the Grantors
        may incur (or issue and sell), secure and guarantee after the date hereof one or more series or classes
        of Indebtedness that the Company designates as Additional First Lien Debt and/or one or more
        series or classes of Indebtedness that the Company designates as Additional Second Lien Debt
        (each, “Additional Debt”).

                  Any such series or class of Additional First Lien Debt may be secured by a first-priority,
senior Lien on the Collateral, in each case under and pursuant to the First Lien Collateral Documents for
such Series of Additional First Lien Debt, if and subject to the condition that, unless such Indebtedness is
part of an existing Series of Additional First Lien Debt represented by a First Lien Representative and First
Lien Collateral Agent already party to this Agreement and the First Lien Pari Passu Intercreditor
Agreement, the Additional First Lien Representative and the Additional First Lien Collateral Agent of any
such Additional First Lien Debt each becomes a party to this Agreement and the First Lien Pari Passu
Intercreditor Agreement by satisfying the conditions set forth in clauses (1) and (2) of Section 8.7(b). Upon
any Additional First Lien Representative and Additional First Lien Collateral Agent so becoming a party
hereto and becoming a party to the First Lien Pari Passu Intercreditor Agreement in accordance with the
terms thereof, all Additional First Lien Obligations of such Series shall also be entitled to be so secured by
a senior Lien on the Collateral in accordance with the terms hereof and thereof.

                 Any such series or class of Additional Second Lien Debt may be secured by a junior-
priority, subordinated Lien on the Collateral, in each case under and pursuant to the relevant Second Lien
Collateral Documents for such Series of Additional Second Lien Debt, if and subject to the condition that,
unless such Indebtedness is part of an existing Series of Additional Second Lien Debt represented by a
Second Lien Representative and Second Lien Collateral Agent already party to this Agreement and the
Second Lien Pari Passu Intercreditor Agreement, the Additional Second Lien Representative and Additional
Second Lien Collateral Agent of any such Additional Second Lien Debt each becomes a party to this
Agreement and the Second Lien Pari Passu Intercreditor Agreement by satisfying the conditions set forth
in clauses (1) and (2) of Section 8.7(b). Upon any Additional Second Lien Representative and Additional
Second Lien Collateral Agent so becoming a party hereto and becoming a party to the Second Lien Pari
Passu Intercreditor Agreement in accordance with the terms thereof, all Additional Second Lien Obligations
of such Series shall also be entitled to be so secured by a subordinated Lien on the Collateral in accordance
with the terms hereof and thereof.

                                 In order for an Additional Representative and an Additional Collateral
        Agent in respect of any Additional Debt incurred (or issued or sold) after the date hereof to become
        a party to this Agreement:

                               (1)     such Additional Representative and such Additional Collateral
                Agent shall have executed and delivered to each other then-existing Representative a
                Joinder Agreement substantially in the form of Exhibit A hereto (if such Representative is
                an Additional Second Lien Representative and such Collateral Agent is an Additional
                Second Lien Collateral Agent) (with such changes as may be reasonably approved by the


                                                       56
   Case 24-12480-LSS            Doc 1233       Filed 04/03/25        Page 169 of 197



        Designated First Lien Representative and such Representative and such Collateral Agent)
        or Exhibit B hereto (if such Representative is an Additional First Lien Representative and
        such Collateral Agent is an Additional First Lien Collateral Agent) (with such changes as
        may be reasonably approved by the Designated First Lien Representative and such
        Representative and such Collateral Agent) pursuant to which such Additional
        Representative becomes a Representative hereunder, such Additional Collateral Agent
        becomes a Collateral Agent hereunder and the related First Lien Claimholders or Second
        Lien Claimholders, as applicable, become subject hereto and bound hereby; and

                         (2)       the Company shall have delivered a Designation to each other
        then-existing Collateral Agent substantially in the form of Exhibit C hereto, pursuant to
        which a Responsible Officer of the Company shall (A) identify the Indebtedness to be
        designated as Additional First Lien Obligations or Additional Second Lien Obligations, as
        applicable, and the initial aggregate principal amount of such Indebtedness, (B) specify the
        name and address of the applicable Additional Representative and Additional Collateral
        Agent, (C) certify that such Additional Debt is permitted to be incurred, secured and
        guaranteed by each First Lien Loan Document and Second Lien Loan Document and that
        the conditions set forth in this Section 8.7 are satisfied with respect to such Additional Debt
        and (D) attach to such Designation true and complete copies of each of the First Lien Loan
        Documents or Second Lien Loan Documents, as applicable, relating to such Additional
        First Lien Debt or Additional Second Lien Debt, as applicable, certified as being true and
        correct by a Responsible Officer of the Company.

                       The Additional Second Lien Loan Documents or Additional First Lien
Loan Documents, as applicable, relating to such Additional Obligations shall provide that each of
the applicable Claimholders with respect to such Additional Obligations will be subject to and
bound by the provisions of this Agreement in its capacity as a holder of such Additional
Obligations.

                          Upon the execution and delivery of a Joinder Agreement by an Additional
First Lien Representative and an Additional First Lien Collateral Agent or an Additional Second
Lien Representative and an Additional Second Lien Collateral Agent, as the case may be, in each
case in accordance with this Section 8.7, each other Representative and Collateral Agent shall
acknowledge receipt thereof by countersigning a copy thereof and returning the same to such
Additional First Lien Representative and such Additional First Lien Collateral Agent or such
Additional Second Lien Representative and such Additional Second Lien Collateral Agent, as the
case may be; provided that the failure of any Representative or Collateral Agent to so acknowledge
or return the same shall not affect the status of such Additional Obligations as Additional First Lien
Obligations or Additional Second Lien Obligations, as the case may be, if the other requirements
of this Section 8.7 are complied with.

                         With respect to any incurrence, issuance or sale of Indebtedness after the
date hereof under the Additional First Lien Loan Documents or Additional Second Lien Loan
Documents of a Series of Additional First Lien Debt or Series of Additional Second Lien Debt
whose Representative and Collateral Agent is already each a party to this Agreement and the First
Lien Pari Passu Intercreditor Agreement or Second Lien Pari Passu Intercreditor Agreement, as
applicable, the requirements of Section 8.7(b) shall not be applicable and such Indebtedness shall
automatically constitute Additional First Lien Debt or Additional Second Lien Debt so long as
(i) such Indebtedness is permitted to be incurred, secured and guaranteed by each First Lien Loan
Document and Second Lien Loan Document and (ii) the provisions of Section 8.7(b)(2) have been
complied with; provided, further, however, that with respect to any such Indebtedness incurred,


                                             57
            Case 24-12480-LSS            Doc 1233       Filed 04/03/25        Page 170 of 197



        issued or sold pursuant to the terms of any Additional First Lien Loan Documents or Additional
        Second Lien Loan Documents of such existing Series of Additional First Lien Debt or Additional
        Second Lien Debt as such terms existed on the date the Representative and Collateral Agent for
        such Series of Additional First Lien Debt or Additional Second Lien Debt executed the Joinder
        Agreement, the requirements of clause (i) of this Section 8.7(e) shall be tested only as of (x) the
        date of execution of such Joinder Agreement, if pursuant to a commitment entered into at the time
        of such Joinder Agreement and (y) with respect to any later commitment or amendment to those
        terms to permit such Indebtedness, as of the date of such commitment and/or amendment.

                 8.8      Agency Capacities. Except as expressly provided herein, (i) JPMorgan Chase
Bank, N.A. is acting in the capacity of Initial First Lien Representative and Initial First Lien Collateral
Agent solely for the Initial First Lien Claimholders, (ii) Alter Domus (US) LLC is acting in the capacity of
Initial Second Lien Representative and Initial Second Lien Collateral Agent solely for the Initial Second
Lien Claimholders, (iii) JPMorgan Chase Bank, N.A. is acting in the capacity of BDK First Lien
Representative and BDK First Lien Collateral Agent solely for the BDK First Lien Claimholders, (iv) Alter
Domus (US) LLC is acting in the capacity of BDK Second Lien Representative and BDK Second Lien
Collateral Agent solely for the BDK Second Lien Claimholders, (v) JPMorgan Chase Bank, N.A. is acting
in the capacity of Designated First Lien Representative and Designated First Lien Collateral Agent solely
for the First Lien Claimholders and (vi) Alter Domus (US) LLC is acting in the capacity of Designated
Second Lien Representative and Designated Second Lien Collateral Agent solely for the Second Lien
Claimholders. Except as expressly provided herein, each other Representative and Collateral Agent is
acting in the capacity of Representative and Collateral Agent, respectively, solely for the Claimholders
under the First Lien Loan Documents or Second Lien Loan Documents for which it is the named
Representative or Collateral Agent, as the case may be, in the applicable Joinder Agreement.

                 8.9     Submission to Jurisdiction; Certain Waivers.     Each Grantor, and each
Representative and each Collateral Agent, on behalf of itself and each other applicable Claimholder
represented by it, hereby irrevocably and unconditionally:

                                  submits for itself and its property in any legal action or proceeding relating
        to this Agreement and the Collateral Documents (whether arising in contract, tort or otherwise) to
        which it is a party, or for recognition and enforcement of any judgment in respect thereof, to the
        exclusive general jurisdiction of the courts of the State of New York sitting in the Borough of
        Manhattan, the courts of the United States for the Southern District of New York sitting in the
        Borough of Manhattan, and appellate courts from any thereof;

                                 agrees that all claims in respect of any such action or proceeding shall be
        heard and determined in such New York state court or, to the fullest extent permitted by applicable
        law, in such federal court;

                                  agrees that a final judgment in any such action or proceeding shall be
        conclusive and may be enforced in other jurisdictions by suit on the judgment or in any other
        manner provided by law and that nothing in this Agreement or any other First Lien Loan Document
        or Second Lien Loan Document shall affect any right that any Secured Party may otherwise have
        to bring any action or proceeding relating to this Agreement or any other First Lien Loan Document
        or Second Lien Loan Document against such Grantor or any of its assets in the courts of any
        jurisdiction;

                                waives, to the fullest extent permitted by applicable law, any objection that
        it may now or hereafter have to the laying of venue of any action or proceeding arising out of or
        relating to this Agreement or any other Collateral Document in any court referred to in


                                                      58
            Case 24-12480-LSS           Doc 1233        Filed 04/03/25       Page 171 of 197



        Section 8.9(a) (and irrevocably waives to the fullest extent permitted by applicable law the defense
        of an inconvenient forum to the maintenance of such action or proceeding in any such court);

                                 consents to service of process in any such proceeding in any such court by
        registered or certified mail, return receipt requested, to the applicable party at its address provided
        in accordance with Section 8.11 (and agrees that nothing in this Agreement will affect the right of
        any party hereto to serve process in any other manner permitted by applicable law);

                                 agrees that service as provided in Section 8.9(e) is sufficient to confer
        personal jurisdiction over the applicable party in any such proceeding in any such court, and
        otherwise constitutes effective and binding service in every respect; and

                                waives, to the maximum extent not prohibited by law, any right it may
        have to claim or recover any special, exemplary, punitive or consequential damages.

                8.10     WAIVER OF JURY TRIAL.

           EACH PARTY HERETO AND EACH GRANTOR HEREBY IRREVOCABLY
WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT
MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR
INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE
TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY (WHETHER BASED ON
CONTRACT, TORT, BREACH OF DUTY, COMMON LAW, STATUTE OR ANY OTHER
THEORY). EACH PARTY HERETO AND EACH GRANTOR (A) CERTIFIES THAT NO
REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PERSON HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PERSON WOULD
NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN
INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE
MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION. EACH PARTY HERETO
AND EACH GRANTOR FURTHER REPRESENTS AND WARRANTS THAT IT HAS
REVIEWED THIS WAIVER WITH ITS LEGAL COUNSEL AND THAT IT KNOWINGLY AND
VOLUNTARILY WAIVES ITS JURY TRIAL RIGHTS FOLLOWING CONSULTATION WITH
LEGAL COUNSEL.

                  8.11    Notices. All notices to the Second Lien Claimholders and the First Lien
Claimholders permitted or required under this Agreement shall be sent to the applicable Second Lien
Representative and the applicable First Lien Representative, respectively. Unless otherwise specifically
provided herein, any notice hereunder shall be in writing and may be personally served or sent by
telefacsimile, electronic mail or United States mail or courier service and shall be deemed to have been
given when delivered in person or by courier service and signed for against receipt thereof, upon receipt of
telefacsimile or electronic mail, or three Business Days after depositing it in the United States mail with
postage prepaid and properly addressed. For the purposes hereof, the addresses of the parties hereto shall
be as set forth below each party’s name on the signature pages hereto or in the Joinder Agreement pursuant
to which it becomes a party hereto, or, as to each party, at such other address as may be designated by such
party in a written notice to all of the other parties.

                8.12   Further Assurances. Each First Lien Representative and each First Lien Collateral
Agent, on behalf of itself and each other First Lien Claimholder represented by it, each Second Lien
Representative and each Second Lien Collateral Agent, on behalf of itself and each other Second Lien
Claimholder represented by it, and the Grantors, agree that each of them shall take such further action and


                                                     59
            Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 172 of 197



shall execute and deliver such additional documents and instruments (in recordable form, if requested) as
any First Lien Representative and First Lien Collateral Agent or any Second Lien Representative and
Second Lien Collateral Agent may reasonably request to effectuate the terms of and the Lien priorities
contemplated by this Agreement.

           8.13  APPLICABLE LAW. THIS AGREEMENT, AND ANY DISPUTE, CLAIM
OR CONTROVERSY ARISING OUT OF OR RELATING TO THIS AGREEMENT (WHETHER
ARISING IN CONTRACT, TORT OR OTHERWISE) SHALL BE GOVERNED BY, AND
CONSTRUED AND INTERPRETED IN ACCORDANCE WITH, THE LAW OF THE STATE OF
NEW YORK WITHOUT REGARD TO CONFLICTS OF LAW RULES THAT WOULD RESULT
IN THE APPLICATION OF A DIFFERENT GOVERNING LAW (OTHER THAN ANY
MANDATORY PROVISIONS OF THE UCC RELATING TO THE LAW GOVERNING
PERFECTION AND THE EFFECT OF PERFECTION OR PRIORITY OF THE SECURITY
INTERESTS IN THE COLLATERAL).

                 8.14     Binding on Successors and Assigns. This Agreement shall be binding upon the
First Lien Representatives, the First Lien Collateral Agents, the other First Lien Claimholders, the Second
Lien Representatives, the Second Lien Collateral Agents, the other Second Lien Claimholders, the Grantors
and their respective successors and assigns from time to time. If any of the First Lien Representatives, the
First Lien Collateral Agents, the Second Lien Representatives or the Second Lien Collateral Agents resigns
or is replaced pursuant to the First Lien Loan Documents or the Second Lien Loan Documents, as
applicable, its successor shall be deemed to be a party to this Agreement and shall have all the rights of,
and be subject to all the obligations of, this Agreement. No provision of this Agreement will inure to the
benefit of a bankruptcy trustee, debtor-in-possession, creditor trust or other representative of an estate or
creditor of any Grantor, including where any such trustee, debtor-in-possession, creditor trust or other
representative of an estate is the beneficiary of a Lien securing Collateral by virtue of the avoidance of such
Lien in an Insolvency or Liquidation Proceeding.

                 8.15     Section Headings. The section headings and the table of contents used in this
Agreement are included herein for convenience of reference only and shall not constitute a part of this
Agreement for any other purpose, be given any substantive effect, affect the construction hereof or be taken
into consideration in the interpretation hereof.

                  8.16    Counterparts. This Agreement may be executed in any number of counterparts,
each of which shall be deemed an original and all of which, when taken together, shall constitute one
agreement. Delivery of an executed counterpart of a signature page of this Agreement by facsimile
transmission or other electronic transmission (i.e., a “pdf”) shall be effective as delivery of a manually
executed counterpart hereof. Any signature to this Agreement may be delivered by facsimile, electronic
mail (including pdf) or any electronic signature complying with the U.S. federal ESIGN Act of 2000 or the
New York Electronic Signature and Records Act or other transmission method and any counterpart so
delivered shall be deemed to have been duly and validly delivered and be valid and effective for all purposes
to the fullest extent permitted by applicable law.

                 8.17      Authorization. By its signature, each Person executing this Agreement, on behalf
of such Person but not in his or her personal capacity as a signatory, represents and warrants to the other
parties hereto that it is duly authorized to execute this Agreement.

                 8.18   No Third Party Beneficiaries; Provisions Solely to Define Relative Rights. This
Agreement and the rights and benefits hereof shall inure to the benefit of each of the First Lien Claimholders
and the Second Lien Claimholders and their respective successors and assigns from time to time. The
provisions of this Agreement are and are intended solely for the purpose of defining the relative rights of


                                                      60
            Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 173 of 197



the First Lien Representatives, the First Lien Collateral Agents and the other First Lien Claimholders on
the one hand and the Second Lien Representatives, the Second Lien Collateral Agents and the other Second
Lien Claimholders on the other hand. Nothing herein shall be construed to limit the relative rights and
obligations as among the First Lien Claimholders or as among the Second Lien Claimholders; as among
the First Lien Claimholders, such rights and obligations are governed by, and any provisions herein
regarding them are therefore subject to, the provisions of the First Lien Pari Passu Intercreditor Agreement
and as among the Second Lien Claimholders, such rights and obligations are governed by, and any
provisions herein regarding them are therefore subject to, the provisions of the Second Lien Pari Passu
Intercreditor Agreement. Other than as set forth in Section 8.3 and in Section 8.7, neither the Grantors nor
any other creditor shall have any rights hereunder and neither the Grantors nor any other creditor may rely
on the terms hereof. Nothing in this Agreement is intended to or shall impair the obligations of any Grantor,
which are absolute and unconditional, to pay the First Lien Obligations and the Second Lien Obligations as
and when the same shall become due and payable in accordance with their terms.

                 8.19     No Indirect Actions. Unless otherwise expressly stated, if a party may not take an
action under this Agreement, then it may not take that action indirectly, or support any other Person in
taking that action directly or indirectly. “Taking an action indirectly” means taking an action that is not
expressly prohibited for the party but is intended to have substantially the same effects as the prohibited
action.

                 8.20       Additional Grantors. Each Grantor agrees that it shall ensure that each of its
Subsidiaries that is or is to become a party to any First Lien Loan Document or Second Lien Loan Document
shall either execute this Agreement on the date hereof or shall confirm that it is a Grantor hereunder pursuant
to a Joinder Agreement substantially in the form attached hereto as Exhibit D that is executed and delivered
by such Subsidiary prior to or concurrently with its execution and delivery of such First Lien Loan
Document or such Second Lien Loan Document.

                 8.21    Amendment and Restatement. This Original Intercreditor Agreement is hereby
amended and restated, and superseded, in its entirety by this Agreement, which has been executed in
renewal, amendment, restatement and modification of, but not in extinguishment of, the obligations under
the Original Intercreditor Agreement.

                              [Remainder of this page intentionally left blank]




                                                      61
         Case 24-12480-LSS            Doc 1233        Filed 04/03/25       Page 174 of 197



        IN WITNESS WHEREOF, the parties hereto have executed this First Lien/Second Lien
Intercreditor Agreement as of the date first written above.

                                                JPMORGAN CHASE BANK, N.A.,
                                                as Initial First Lien Representative and as Initial First Lien
                                                Collateral Agent


                                                By:
                                                        Name: James A. Knight
                                                        Title: Executive Director


                                                        JPMorgan Chase Bank, N.A.
                                                        383 Madison Ave, Floor 23
                                                        New York, NY 10179Attn: James Knight
                                                        Facsimile: (917) 464-7000
                                                        Email: james.a.knight@jpmorgan.com




      [SIGNATURE PAGE TO AMENDED AND RESTATED FIRST LIEN/SECOND LIEN INTERCREDITOR AGREEMENT – FRG]
Case 24-12480-LSS   Doc 1233   Filed 04/03/25   Page 175 of 197
   Case 24-12480-LSS            Doc 1233        Filed 04/03/25      Page 176 of 197



                                          JPMORGAN CHASE BANK, N.A.
                                          as BDK First Lien Representative and as BDK First Lien
                                          Collateral Agent


                                          By:
                                                  Name: James A. Knight
                                                  Title: Executive Director


                                                  JPMorgan Chase Bank, N.A.
                                                  383 Madison Ave, Floor 23
                                                  New York, NY 10179
                                                  Attn: James Knight
                                                  Facsimile: (917) 464-7000
                                                  Email: james.a.knight@jpmorgan.com




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                        Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 177 of 197


            Acknowledged and Agreed to by:


            GRANTORS:

            AMERICAN FREIGHT MANAGEMENT COMPANY, LLC
            AMERICAN FREIGHT GROUP, LLC
            AMERICAN FREIGHT HOLDINGS, LLC
            AMERICAN FREIGHT, LLC
            FRANCHISE GROUP $&48,6,7,21 TM, LLC
            FRANCHISE GROUP INTERMEDIATE B, LLC
            FRANCHISE GROUP INTERMEDIATE HOLDCO, LLC
            FRANCHISE GROUP INTERMEDIATE PSP, LLC
            FRANCHISE GROUP INTERMEDIATE S, LLC
            FRANCHISE GROUP INTERMEDIATE V, LLC
            FRANCHISE GROUP NEW HOLDCO, LLC
            FRANCHISE GROUP NEWCO INTERMEDIATE AF, LLC
            FRANCHISE GROUP NEWCO PSP, LLC
            FRANCHISE GROUP NEWCO S, LLC
            FRANCHISE GROUP NEWCO V, LLC
            FRANCHISE GROUP, INC.
            VALOR ACQUISITION, LLC


            By: ____________________________
            Name: Brian Kahn
            Title: President and Chief Executive Officer

            VITAMIN SHOPPE INDUSTRIES LLC
            VITAMIN SHOPPE FRANCHISING, LLC


            By: ____________________________
            Name: Laura Coffey
            Title: Chief Financial Officer


            VITAMIN SHOPPE MARINER, LLC
            VITAMIN SHOPPE GLOBAL, LLC
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            VITAMIN SHOPPE PROCUREMENT SERVICES, LLC
            BETANCOURT SPORTS NUTRITION, LLC
            By: VITAMIN SHOPPE INDUSTRIES LLC, the sole member


            By:
            Name: Laura Coffey
            Title: Chief Financial Officer


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                         Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 178 of 197


             Acknowledged and Agreed to by:


             GRANTORS:

             AMERICAN FREIGHT MANAGEMENT COMPANY, LLC
             AMERICAN FREIGHT GROUP, LLC
             AMERICAN FREIGHT HOLDINGS, LLC
             AMERICAN FREIGHT, LLC
             FRANCHISE GROUP $&48,6,7,21 TM, LLC
             FRANCHISE GROUP INTERMEDIATE B, LLC
             FRANCHISE GROUP INTERMEDIATE HOLDCO, LLC
             FRANCHISE GROUP INTERMEDIATE PSP, LLC
             FRANCHISE GROUP INTERMEDIATE S, LLC
             FRANCHISE GROUP INTERMEDIATE V, LLC
             FRANCHISE GROUP NEW HOLDCO, LLC
             FRANCHISE GROUP NEWCO INTERMEDIATE AF, LLC
             FRANCHISE GROUP NEWCO PSP, LLC
             FRANCHISE GROUP NEWCO S, LLC
             FRANCHISE GROUP NEWCO V, LLC
             FRANCHISE GROUP, INC.
             VALOR ACQUISITION, LLC


             By: ____________________________
             Name: Brian Kahn
             Title: President and Chief Executive Officer

             VITAMIN SHOPPE INDUSTRIES LLC
             VITAMIN SHOPPE FRANCHISING, LLC


             By: ____________________________
             Name: Laura Coffey
             Title: Chief Financial Officer


             VITAMIN SHOPPE MARINER, LLC
             VITAMIN SHOPPE GLOBAL, LLC
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             VITAMIN SHOPPE PROCUREMENT SERVICES, LLC
             BETANCOURT SPORTS NUTRITION, LLC
             By: VITAMIN SHOPPE INDUSTRIES LLC, the sole member


             By:
             Name: Laura Coffey
             Title: Chief Financial Officer


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                        Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 179 of 197




            AMERICAN FREIGHT OUTLET STORES, LLC
            OUTLET MERCHANDISE, LLC


            By:
            Name: Will Powell
            Title: President



            AMERICAN FREIGHT FRANCHISING, LLC
            AMERICAN FREIGHT FRANCHISOR, LLC
            AMERICAN FREIGHT FFO, LLC


            By:
            Name: Will Powell
            Title: Chief Executive Officer and President



            BUDDY'S NEWCO, LLC
            BUDDY'S FRANCHISING AND LICENSING LLC


            By:
            Name: Michael Bennett
            Title: Chief Executive Officer


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                         Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 180 of 197




             AMERICAN FREIGHT OUTLET STORES, LLC
             OUTLET MERCHANDISE, LLC


             By:
             Name: Will Powell
             Title: President



             AMERICAN FREIGHT FRANCHISING, LLC
             AMERICAN FREIGHT FRANCHISOR, LLC
             AMERICAN FREIGHT FFO, LLC


             By:
             Name: Will Powell
             Title: Chief Executive Officer and President



             BUDDY'S NEWCO, LLC
             BUDDY'S FRANCHISING AND LICENSING LLC


             By:
             Name: Michael Bennett
             Title: Chief Executive Officer


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                        Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 181 of 197




            AMERICAN FREIGHT OUTLET STORES, LLC
            OUTLET MERCHANDISE, LLC


            By:
            Name: Will Powell
            Title: President



            AMERICAN FREIGHT FRANCHISING, LLC
            AMERICAN FREIGHT FRANCHISOR, LLC
            AMERICAN FREIGHT FFO, LLC


            By:
            Name: Will Powell
            Title: Chief Executive Officer and President



            BUDDY'S NEWCO, LLC
            BUDDY'S FRANCHISING AND LICENSING LLC


            By:
            Name: Michael Bennett
            Title: Chief Executive Officer


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                        Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 182 of 197




            PET SUPPLIES “PLUS”, LLC
            PSP MIDCO, LLC
            PSP SERVICE NEWCO, LLC
            PSP STORES, LLC
            PSP SUBCO, LLC
            PSP GROUP, LLC
            PSP FRANCHISING, LLC
            PSP DISTRIBUTION, LLC
            ('8&$7( CORPORATE CENTERS HOLDINGS,
            LLC
            EDUCATE DIGITAL, LLC
            EDUCATE OPERATING COMPANY, LLC
            EDUCATE, INC.
            LEARNING PARTNERSHIPS, LLC
            LEARNING SYSTEM OF THE FUTURE, LLC
            MARYLAND LEARNING CENTERS, LLC
            OMEGA LEARNING CENTERS, LLC
            SYLVAN IN-HOME, LLC
            SYLVAN LEARNING CENTERS, LLC
            SYLVAN LEARNING, LLC


            By:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            Name: Brian Kahn
            Title: Vice President



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                         Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 183 of 197




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             By:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             Name: Brian Kahn
             Title: Vice President




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            Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 184 of 197
                                                                                          Exhibit A to the
                                                           First Lien/Second Lien Intercreditor Agreement

                  [FORM OF] SECOND LIEN JOINDER AGREEMENT NO. [ ] (this “Joinder
Agreement”) dated as of [       ], 20[ ] to the AMENDED AND RESTATED FIRST LIEN/SECOND LIEN
INTERCREDITOR AGREEMENT dated as of November 22, 2021 (the “First Lien/Second Lien
Intercreditor Agreement”), among JPMorgan Chase Bank, N.A., as Initial First Lien Representative
and Initial First Lien Collateral Agent, Alter Domus (US) LLC, as Initial Second Lien Representative and
Initial Second Lien Collateral Agent, JPMorgan Chase Bank, N.A., as BDK First Lien Representative
and BDK First Lien Collateral Agent, Alter Domus (US) LLC, as BDK Second Lien Representative and
BDK Second Lien Collateral Agent, and the additional Representatives and Collateral Agents from time to
time a party thereto, and acknowledged and agreed to by Franchise Group, Inc., a Delaware corporation
(the “Company”), and certain subsidiaries of the Company from time to time party thereto (together with
the Company, the “Grantors”).

                Capitalized terms used herein but not otherwise defined herein shall have the meanings
assigned to such terms in the First Lien/Second Lien Intercreditor Agreement.

                 As a condition to the ability of the Loan Parties to incur Additional Second Lien Debt after
the date of the First Lien/Second Lien Intercreditor Agreement and to secure such Additional Second Lien
Debt and related Additional Second Lien Obligations with a Lien on the Collateral and to have such
Additional Second Lien Debt and related Additional Second Lien Obligations guaranteed by the Grantors,
in each case under and pursuant to the applicable Additional Second Lien Loan Documents, each of the
Additional Second Lien Representative and the Additional Second Lien Collateral Agent in respect of such
Additional Second Lien Debt and related Additional Second Lien Obligations is required to become a
Second Lien Representative and Second Lien Collateral Agent, respectively, under, and the Additional
Second Lien Claimholders in respect thereof are required to become subject to and bound by, the First
Lien/Second Lien Intercreditor Agreement. Section 8.7 of the First Lien/Second Lien Intercreditor
Agreement provides that such Additional Second Lien Representative and Additional Second Lien
Collateral Agent may become a Second Lien Representative and Second Lien Collateral Agent,
respectively, under, and such Additional Second Lien Claimholders may become subject to and bound by,
the First Lien/Second Lien Intercreditor Agreement pursuant to the execution and delivery by the
Additional Second Lien Representative and Additional Second Lien Collateral Agent of an instrument in
the form of this Joinder Agreement and the satisfaction of the other conditions set forth in Section 8.7 of
the First Lien/Second Lien Intercreditor Agreement. The undersigned Additional Second Lien
Representative (the “New Representative”) and Additional Second Lien Collateral Agent (the “New
Collateral Agent”) are executing this Joinder Agreement in accordance with the requirements of the First
Lien/Second Lien Intercreditor Agreement.

                Accordingly, the New Representative and the New Collateral Agent agree as follows:

                Section 1.       Accession to the First Lien/Second Lien Intercreditor Agreement. In
accordance with Section 8.7 of the First Lien/Second Lien Intercreditor Agreement, the New Representative
and the New Collateral Agent by their signatures below become a Second Lien Representative and a Second
Lien Collateral Agent, respectively, under, and the related Additional Second Lien Claimholders
represented by them become subject to and bound by, the First Lien/Second Lien Intercreditor Agreement
with the same force and effect as if the New Representative and the New Collateral Agent had originally
been named therein as a Second Lien Representative and a Second Lien Collateral Agent, respectively, and
each of the New Representative and the New Collateral Agent, on behalf of itself and each other Additional
Second Lien Claimholder represented by it, hereby agrees to all the terms and provisions of the First
Lien/Second Lien Intercreditor Agreement applicable to it as a Second Lien Representative and a Second
Lien Collateral Agent, respectively, and to the Additional Second Lien Claimholders represented by it as
Second Lien Claimholders. Each reference to a “Representative” or “Second Lien Representative” in the
First Lien/Second Lien Intercreditor Agreement shall be deemed to include the New Representative, each


                                           Exhibit A – Page 1
            Case 24-12480-LSS             Doc 1233        Filed 04/03/25        Page 185 of 197



reference to a “Collateral Agent” or “Second Lien Collateral Agent” in the First Lien/Second Lien
Intercreditor Agreement shall be deemed to include the New Collateral Agent and each reference to
“Second Lien Claimholders” shall include the Additional Second Lien Claimholders represented by such
New Representative and New Collateral Agent. The First Lien/Second Lien Intercreditor Agreement is
hereby incorporated herein by reference.

                    Section 2.      Representations and Warranties. Each of the New Representative and New
Collateral Agent represents and warrants to the other Representatives, Collateral Agents and Claimholders
that (i) it has full power and authority to enter into this Joinder Agreement, in its capacity as [agent][trustee],
(ii) this Joinder Agreement has been duly authorized, executed and delivered by it and constitutes its legal,
valid and binding obligation, enforceable against it in accordance with its terms and the terms of the First
Lien/Second Lien Intercreditor Agreement and (iii) the Second Lien Loan Documents relating to such
Additional Second Lien Debt provide that, upon the New Representative’s and New Collateral Agent’s
entry into this Joinder Agreement, the Additional Second Lien Claimholders in respect of such Additional
Second Lien Debt will be subject to and bound by the provisions of the First Lien/Second Lien Intercreditor
Agreement as Second Lien Claimholders.

                Section 3.        Counterparts. This Joinder Agreement may be executed in counterparts,
each of which shall constitute an original, but all of which when taken together shall constitute a single
contract. Delivery of an executed signature page to this Joinder Agreement by facsimile or other electronic
transmission shall be effective as delivery of a manually signed counterpart of this Joinder Agreement.

               Section 4.       Full Force and Effect. Except as expressly supplemented hereby, the First
Lien/Second Lien Intercreditor Agreement shall remain in full force and effect.

                 Section 5.      Section Headings. Section headings used in this Joinder Agreement are
for convenience of reference only and are not to affect the construction hereof or to be taken in consideration
in the interpretation hereof.

            Section 6. Governing Law. THIS JOINDER AGREEMENT, AND ANY
DISPUTE, CLAIM OR CONTROVERSY ARISING OUT OF OR RELATING TO THIS JOINDER
AGREEMENT (WHETHER ARISING IN CONTRACT, TORT OR OTHERWISE) SHALL BE
GOVERNED BY, AND CONSTRUED AND INTERPRETED IN ACCORDANCE WITH, THE
LAW OF THE STATE OF NEW YORK WITHOUT REGARD TO CONFLICTS OF LAW RULES
THAT WOULD RESULT IN THE APPLICATION OF A DIFFERENT GOVERNING LAW
(OTHER THAN ANY MANDATORY PROVISIONS OF THE UCC RELATING TO THE LAW
GOVERNING PERFECTION AND THE EFFECT OF PERFECTION OR PRIORITY OF THE
SECURITY INTERESTS IN THE COLLATERAL).

                 Section 7.      Severability. Any provision of this Joinder Agreement that is prohibited
or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
prohibition or unenforceability without invalidating the remaining provisions hereof and in the First
Lien/Second Lien Intercreditor Agreement, and any such prohibition or unenforceability in any jurisdiction
shall not invalidate or render unenforceable such provision in any other jurisdiction. The parties hereto
shall endeavor in good-faith negotiations to replace any invalid, illegal or unenforceable provisions with
valid provisions the economic effect of which comes as close as possible to those of the invalid, illegal or
unenforceable provisions.

              Section 8.    Notices. All communications and notices hereunder shall be in writing and
given as provided in Section 8.11 of the First Lien/Second Lien Intercreditor Agreement. All



                                              Exhibit A – Page 2
           Case 24-12480-LSS          Doc 1233       Filed 04/03/25       Page 186 of 197



communications and notices hereunder to each of the New Representative and the New Collateral Agent
shall be given to it at the address set forth below its signature hereto.

                Section 9.      Miscellaneous. The provisions of Section 8 of the First Lien/Second Lien
Intercreditor Agreement will apply with like effect to this Joinder Agreement.

                            [Remainder of this page intentionally left blank]




                                         Exhibit A – Page 3
          Case 24-12480-LSS       Doc 1233      Filed 04/03/25    Page 187 of 197



                IN WITNESS WHEREOF, the New Representative and the New Collateral Agent have
duly executed this Joinder Agreement as of the day and year first above written.

                                          [NAME OF NEW REPRESENTATIVE],
                                          as [       ] for the holders of [               ]
                                          By:
                                               Name:
                                               Title:


                                          Address for notices:


                                                  Attention of:
                                                  Telecopy:


                                          [NAME OF NEW COLLATERAL AGENT],
                                          as [      ] for the holders of [                ]


                                          By:
                                                  Name:
                                                  Title:


                                          Address for notices:


                                                  Attention of:
                                                  Telecopy:


                                          Receipt of the foregoing acknowledged:
                                          [NAME OF APPLICABLE REPRESENTATIVE],
                                          as [Insert title of Representative]


                                          By:
                                                  Name:
                                                  Title:


                                          Receipt of the foregoing acknowledged:
                                          [NAME OF APPLICABLE COLLATERAL AGENT],
                                          as [Insert title of Collateral Agent]


                                          By:
                                                  Name:
                                                  Title:



                                     Exhibit A – Page 4
            Case 24-12480-LSS           Doc 1233       Filed 04/03/25      Page 188 of 197
                                                                                          Exhibit B to the
                                                           First Lien/Second Lien Intercreditor Agreement

                  [FORM OF] FIRST LIEN JOINDER AGREEMENT NO. [ ] (this “Joinder Agreement”)
dated as of [        ], 20[ ] to the AMENDED AND RESTATED FIRST LIEN/SECOND LIEN
INTERCREDITOR AGREEMENT dated as of November 22, 2021 (the “First Lien/Second Lien
Intercreditor Agreement”), among JPMorgan Chase Bank, N.A., as Initial First Lien Representative
and Initial First Lien Collateral Agent, Alter Domus (US) LLC, as Initial Second Lien Representative and
Initial Second Lien Collateral Agent, JPMorgan Chase Bank, N.A., as BDK First Lien Representative
and BDK First Lien Collateral Agent, Alter Domus (US) LLC, as BDK Second Lien Representative and
BDK Second Lien Collateral Agent, and the additional Representatives and Collateral Agents from time to
time a party thereto, and acknowledged and agreed to by Franchise Group, Inc., a Delaware corporation
(the “Company”), and certain subsidiaries of the Company from time to time party thereto (together with
the Company, the “Grantors”).

                Capitalized terms used herein but not otherwise defined herein shall have the meanings
assigned to such terms in the First Lien/Second Lien Intercreditor Agreement.

                 As a condition to the ability of the Loan Parties to incur Additional First Lien Debt after
the date of the First Lien/Second Lien Intercreditor Agreement and to secure such Additional First Lien
Debt and related Additional First Lien Obligations with a Lien on the Collateral and to have such Additional
First Lien Debt and related Additional First Lien Obligations guaranteed by the Grantors, in each case under
and pursuant to the applicable Additional First Lien Loan Documents, each of the Additional First Lien
Representative and the Additional First Lien Collateral Agent in respect of such Additional First Lien Debt
and related Additional First Lien Obligations is required to become a First Lien Representative and First
Lien Collateral Agent, respectively, under, and the Additional First Lien Claimholders in respect thereof
are required to become subject to and bound by, the First Lien/Second Lien Intercreditor Agreement.
Section 8.7 of the First Lien/Second Lien Intercreditor Agreement provides that such Additional First Lien
Representative and Additional First Lien Collateral Agent may become a First Lien Representative and
First Lien Collateral Agent, respectively, under, and such Additional First Lien Claimholders may become
subject to and bound by, the First Lien/Second Lien Intercreditor Agreement pursuant to the execution and
delivery by the Additional First Lien Representative and Additional First Lien Collateral Agent of an
instrument in the form of this Joinder Agreement and the satisfaction of the other conditions set forth in
Section 8.7 of the First Lien/Second Lien Intercreditor Agreement. The undersigned Additional First Lien
Representative (the “New Representative”) and Additional First Lien Collateral Agent (the “New
Collateral Agent”) are executing this Joinder Agreement in accordance with the requirements of the First
Lien/Second Lien Intercreditor Agreement.

                Accordingly, the New Representative and the New Collateral Agent agree as follows:

                  Section 1.     Accession to the First Lien/Second Lien Intercreditor Agreement. In
accordance with Section 8.7 of the First Lien/Second Lien Intercreditor Agreement, the New Representative
and the New Collateral Agent by their signatures below become a First Lien Representative and a First Lien
Collateral Agent, respectively, under, and the related Additional First Lien Claimholders represented by
them become subject to and bound by, the First Lien/Second Lien Intercreditor Agreement with the same
force and effect as if the New Representative and the New Collateral Agent had originally been named
therein as a First Lien Representative and a First Lien Collateral Agent, respectively, and each of the New
Representative and the New Collateral Agent, on behalf of itself and each other Additional First Lien
Claimholder represented by it, hereby agrees to all the terms and provisions of the First Lien/Second Lien
Intercreditor Agreement applicable to it as a First Lien Representative and a First Lien Collateral Agent,
respectively, and to the Additional First Lien Claimholders represented by it as First Lien Claimholders.
Each reference to a “Representative” or “First Lien Representative” in the First Lien/Second Lien
Intercreditor Agreement shall be deemed to include the New Representative, each reference to a “Collateral
Agent” or “First Lien Collateral Agent” in the First Lien/Second Lien Intercreditor Agreement shall be


                                           Exhibit B – Page 1
            Case 24-12480-LSS             Doc 1233        Filed 04/03/25        Page 189 of 197



deemed to include the New Collateral Agent and each reference to “First Lien Claimholders” shall include
the Additional First Lien Claimholders represented by such New Representative and New Collateral Agent.
The First Lien/Second Lien Intercreditor Agreement is hereby incorporated herein by reference.

                    Section 2.      Representations and Warranties. Each of the New Representative and New
Collateral Agent represents and warrants to the other Representatives, Collateral Agents and Claimholders
that (i) it has full power and authority to enter into this Joinder Agreement, in its capacity as [agent][trustee],
(ii) this Joinder Agreement has been duly authorized, executed and delivered by it and constitutes its legal,
valid and binding obligation, enforceable against it in accordance with its terms and the terms of the First
Lien/Second Lien Intercreditor Agreement and (iii) the First Lien Loan Documents relating to such
Additional First Lien Debt provide that, upon the New Representative’s and New Collateral Agent’s entry
into this Joinder Agreement, the Additional First Lien Claimholders in respect of such Additional First Lien
Debt will be subject to and bound by the provisions of the First Lien/Second Lien Intercreditor Agreement
as First Lien Claimholders.

                Section 3.        Counterparts. This Joinder Agreement may be executed in counterparts,
each of which shall constitute an original, but all of which when taken together shall constitute a single
contract. Delivery of an executed signature page to this Joinder Agreement by facsimile or other electronic
transmission shall be effective as delivery of a manually signed counterpart of this Joinder Agreement.

               Section 4.       Full Force and Effect. Except as expressly supplemented hereby, the First
Lien/Second Lien Intercreditor Agreement shall remain in full force and effect.

                  Section 5.     Section Headings. Section headings used in this Joinder Agreement are
for convenience of reference only and are not to affect the construction hereof or to be taken in consideration
in the interpretation hereof.

            Section 6. Governing Law. THIS JOINDER AGREEMENT, AND ANY
DISPUTE, CLAIM OR CONTROVERSY ARISING OUT OF OR RELATING TO THIS JOINDER
AGREEMENT (WHETHER ARISING IN CONTRACT, TORT OR OTHERWISE) SHALL BE
GOVERNED BY, AND CONSTRUED AND INTERPRETED IN ACCORDANCE WITH, THE
LAW OF THE STATE OF NEW YORK WITHOUT REGARD TO CONFLICTS OF LAW RULES
THAT WOULD RESULT IN THE APPLICATION OF A DIFFERENT GOVERNING LAW
(OTHER THAN ANY MANDATORY PROVISIONS OF THE UCC RELATING TO THE LAW
GOVERNING PERFECTION AND THE EFFECT OF PERFECTION OR PRIORITY OF THE
SECURITY INTERESTS IN THE COLLATERAL).

                 Section 7.      Severability. Any provision of this Joinder Agreement that is prohibited
or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
prohibition or unenforceability without invalidating the remaining provisions hereof and in the First
Lien/Second Lien Intercreditor Agreement, and any such prohibition or unenforceability in any jurisdiction
shall not invalidate or render unenforceable such provision in any other jurisdiction. The parties hereto
shall endeavor in good-faith negotiations to replace any invalid, illegal or unenforceable provisions with
valid provisions the economic effect of which comes as close as possible to those of the invalid, illegal or
unenforceable provisions.

                 Section 8.        Notices. All communications and notices hereunder shall be in writing and
given as provided in Section 8.11 of the First Lien/Second Lien Intercreditor Agreement. All
communications and notices hereunder to each of the New Representative and the New Collateral Agent
shall be given to it at the address set forth below its signature hereto.



                                              Exhibit B – Page 2
           Case 24-12480-LSS          Doc 1233       Filed 04/03/25       Page 190 of 197




                Section 9.      Miscellaneous. The provisions of Section 8 of the First Lien/Second Lien
Intercreditor Agreement will apply with like effect to this Joinder Agreement.

                            [Remainder of this page intentionally left blank]




                                          Exhibit B – Page 3
          Case 24-12480-LSS       Doc 1233      Filed 04/03/25    Page 191 of 197



                IN WITNESS WHEREOF, the New Representative and the New Collateral Agent have
duly executed this Joinder Agreement as of the day and year first above written.

                                          [NAME OF NEW REPRESENTATIVE],
                                          as [       ] for the holders of [               ]
                                          By:
                                               Name:
                                               Title:


                                          Address for notices:


                                                  Attention of:
                                                  Telecopy:


                                          [NAME OF NEW COLLATERAL AGENT],
                                          as [      ] for the holders of [                ]


                                          By:
                                                  Name:
                                                  Title:


                                          Address for notices:


                                                  Attention of:
                                                  Telecopy:


                                          Receipt of the foregoing acknowledged:
                                          [NAME OF APPLICABLE REPRESENTATIVE],
                                          as [Insert title of Representative]


                                          By:
                                                  Name:
                                                  Title:


                                          Receipt of the foregoing acknowledged:
                                          [NAME OF APPLICABLE COLLATERAL AGENT],
                                          as [Insert title of Collateral Agent]


                                          By:
                                                  Name:
                                                  Title:



                                     Exhibit B – Page 4
           Case 24-12480-LSS           Doc 1233       Filed 04/03/25      Page 192 of 197
                                                                                         Exhibit C to the
                                                          First Lien/Second Lien Intercreditor Agreement

                [FORM OF] DEBT DESIGNATION NO. [ ] (this “Designation”) dated as of [          ], 20[ ]
with respect to the AMENDED AND RESTATED FIRST LIEN/SECOND LIEN INTERCREDITOR
AGREEMENT dated as of November 22, 2021 (the “First Lien/Second Lien Intercreditor Agreement”),
among JPMorgan Chase Bank, N.A., as Initial First Lien Representative and Initial First Lien Collateral
Agent, Alter Domus (US) LLC, as Initial Second Lien Representative and Initial Second Lien Collateral
Agent, JPMorgan Chase Bank, N.A., as BDK First Lien Representative and BDK First Lien Collateral
Agent, Alter Domus (US) LLC, as BDK Second Lien Representative and BDK Second Lien Collateral
Agent, and the additional Representatives and Collateral Agent from time to time a party thereto, and
acknowledged and agreed to by Franchise Group, Inc., a Delaware corporation (the “Company”), and
certain subsidiaries of the Company from time to time party thereto (together with the Company, the
“Grantors”).

                Capitalized terms used herein but not otherwise defined herein shall have the meanings
assigned to such terms in the First Lien/Second Lien Intercreditor Agreement.

                 This Designation is being executed and delivered in order to designate additional secured
Obligations of the Loan Parties as [Additional First Lien Debt][Additional Second Lien Debt] entitled to
the benefit of and subject to the terms of the First Lien/Second Lien Intercreditor Agreement.

                 The undersigned, the duly appointed [specify title of Responsible Officer] of the Company
hereby certifies on behalf of the Company that:

                1.      [Insert name of the applicable Loan Parties] intends to incur Indebtedness (the
                        “Designated Obligations”) in the initial aggregate principal amount of [        ]
                        pursuant to the following agreement: [describe credit/loan agreement, indenture
                        or other agreement giving rise to Additional First Lien Debt or Additional Second
                        Lien Debt, as the case may be] (the “Designated Agreement”) which will be
                        [Additional First Lien Obligations][Additional Second Lien Obligations].

                2.      The incurrence of the Designated Obligations is permitted by each applicable First
                        Lien Loan Document and Second Lien Loan Document.

                3.      Conform the following as applicable; Pursuant to and for the purposes of
                        Section 8.7 of the First Lien/Second Lien Intercreditor Agreement, (i) the
                        Designated Agreement is hereby designated as [an “Additional First Lien Loan
                        Document”][an “Additional Second Lien Loan Document”] [and][,] (ii) the
                        Designated Obligations are hereby designated as [“Additional First Lien
                        Obligations”][“Additional Second Lien Obligations”].

                4.      a. The name and address of the Representative for such Designated Obligations
                        is:

                        [Insert name and all capacities; Address]

                        Telephone:      ___________________

                        Fax:    ___________________

                        Email ___________________




                                          Exhibit C – Page 1
Case 24-12480-LSS          Doc 1233       Filed 04/03/25       Page 193 of 197



          b. The name and address of the Collateral Agent for such Designated
          Obligations is:

          [Insert name and all capacities; Address]

          Telephone:         ___________________

          Fax:      ___________________

          Email: ___________________

   5.    Attached hereto are true and complete copies of each of the [First/Second] Lien
   Loan Documents relating to such Additional [First/Second] Lien Debt.

                 [Remainder of this page intentionally left blank]




                               Exhibit C – Page 2
          Case 24-12480-LSS        Doc 1233      Filed 04/03/25   Page 194 of 197



                IN WITNESS WHEREOF, the Company has caused this Designation to be duly executed
by the undersigned Responsible Officer as of the day and year first above written.


                                           FRANCHISE GROUP, INC.


                                           By:
                                                   Name:
                                                   Title:




                                      Exhibit C – Page 3
            Case 24-12480-LSS           Doc 1233       Filed 04/03/25       Page 195 of 197
                                                                                          Exhibit D to the
                                                           First Lien/Second Lien Intercreditor Agreement

                  [FORM OF] GRANTOR JOINDER AGREEMENT NO. [ ] dated as of [                ], 20[ ] (this
“Grantor Joinder Agreement”) to the AMENDED AND RESTATED FIRST LIEN/SECOND LIEN
INTERCREDITOR AGREEMENT dated as of November 22, 2021 (the “First Lien/Second Lien
Intercreditor Agreement”), among JPMorgan Chase Bank, N.A., as Initial First Lien Representative
and Initial First Lien Collateral Agent, Alter Domus (US) LLC, as Initial Second Lien Representative and
Initial Second Lien Collateral Agent, JPMorgan Chase Bank, N.A., as BDK First Lien Representative
and BDK First Lien Collateral Agent, Alter Domus (US) LLC, as BDK Second Lien Representative and
BDK Second Lien Collateral Agent, and the additional Representatives and Collateral Agents from time to
time a party thereto, and acknowledged and agreed to by Franchise Group, Inc., a Delaware corporation
(the “Company”), and certain subsidiaries of the Company from time to time party thereto.

                Capitalized terms used herein but not otherwise defined herein shall have the meanings
assigned to such terms in the First Lien/Second Lien Intercreditor Agreement.

                 The undersigned, [______________], a [________________], (the “New Grantor”)
wishes to acknowledge and agree to the First Lien/Second Lien Intercreditor Agreement and become a party
thereto to the limited extent contemplated by Section 8.18 thereof and to acquire and undertake the rights
and obligations of a Grantor thereunder.

                Accordingly, the New Grantor agrees as follows for the benefit of the Representatives, the
Collateral Agents and the Claimholders:

                  Section 1.      Accession to the First Lien/Second Lien Intercreditor Agreement. The
New Grantor (a) acknowledges and agrees to, and becomes a party to the First Lien/Second Lien
Intercreditor Agreement as a Grantor to the limited extent contemplated by Section 8.18 thereof, (b) agrees
to all the terms and provisions of the First Lien/Second Lien Intercreditor Agreement and (c) shall have all
the rights and obligations of a Grantor under the First Lien/Second Lien Intercreditor Agreement. This
Grantor Joinder Agreement supplements the First Lien/Second Lien Intercreditor Agreement and is being
executed and delivered by the New Grantor pursuant to Section 8.20 of the First Lien/Second Lien
Intercreditor Agreement.

                 Section 2.       Representations, Warranties and Acknowledgement of the New Grantor.
The New Grantor represents and warrants to each Representative, each Collateral Agent and to the
Claimholders that (a) it has full power and authority to enter into this Grantor Joinder Agreement, in its
capacity as Grantor and (b) this Grantor Joinder Agreement has been duly authorized, executed and
delivered by it and constitutes its legal, valid and binding obligation, enforceable against it in accordance
with the terms of this Grantor Joinder Agreement.

                  Section 3.     Counterparts. This Grantor Joinder Agreement may be executed in
counterparts (and by different parties hereto in different counterparts), each of which shall constitute an
original, but all of which when taken together shall constitute a single contract. Delivery of an executed
counterpart of a signature page of this Grantor Joinder Agreement or any document or instrument delivered
in connection herewith by telecopy or other electronic means shall be effective as delivery of a manually
executed counterpart of this Grantor Joinder Agreement or such other document or instrument, as
applicable.

               Section 4.       Full Force and Effect. Except as expressly supplemented hereby, the First
Lien/Second Lien Intercreditor Agreement shall remain in full force and effect.




                                           Exhibit D – Page 1
            Case 24-12480-LSS            Doc 1233       Filed 04/03/25       Page 196 of 197




                Section 5.        Section Headings. Section headings used in this Grantor Joinder
Agreement are for convenience of reference only and are not to affect the construction hereof or to be taken
in consideration in the interpretation hereof.

                Section 6.      Benefit of Agreement. The agreements set forth herein or undertaken
pursuant hereto are for the benefit of, and may be enforced by, any party to the First Lien/Second Lien
Intercreditor Agreement subject to any limitations set forth in the First Lien/Second Lien Intercreditor
Agreement with respect to the Grantors.

           Section 7. Governing Law. THIS GRANTOR JOINDER AGREEMENT, AND
ANY DISPUTE, CLAIM OR CONTROVERSY ARISING OUT OF OR RELATING TO THIS
GRANTOR JOINDER AGREEMENT (WHETHER ARISING IN CONTRACT, TORT OR
OTHERWISE) SHALL BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN
ACCORDANCE WITH, THE LAW OF THE STATE OF NEW YORK WITHOUT REGARD TO
CONFLICTS OF LAW RULES THAT WOULD RESULT IN THE APPLICATION OF A
DIFFERENT GOVERNING LAW (OTHER THAN ANY MANDATORY PROVISIONS OF THE
UCC RELATING TO THE LAW GOVERNING PERFECTION AND THE EFFECT OF
PERFECTION OR PRIORITY OF THE SECURITY INTERESTS IN THE COLLATERAL).

                  Section 8.       Severability. Any provision of this Grantor Joinder Agreement that is
prohibited or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of
such prohibition or unenforceability without invalidating the remaining provisions hereof, and any such
prohibition or unenforceability in any jurisdiction shall not invalidate or render unenforceable such
provision in any other jurisdiction. The parties hereto shall endeavor in good faith negotiations to replace
any invalid, illegal or unenforceable provisions with valid provisions the economic effect of which comes
as close as possible to those of the invalid, illegal or unenforceable provisions.

                  Section 9.      Notices. All communications and notices hereunder shall be in writing
and given as provided in Section 8.11 of the First Lien/Second Lien Intercreditor Agreement. All
communications and notices hereunder to the New Grantor shall be given to it at the address set forth under
its signature hereto, which information supplements Section 8.11 of the First Lien/Second Lien Intercreditor
Agreement.

                Section 10. Miscellaneous. The provisions of Section 8 of the First Lien/Second Lien
Intercreditor Agreement will apply with like effect to this Grantor Joinder Agreement.




                                            Exhibit D – Page 2
         Case 24-12480-LSS       Doc 1233     Filed 04/03/25      Page 197 of 197



               IN WITNESS WHEREOF, the New Grantor has duly executed this Grantor Joinder
Agreement as of the day and year first above written.

                                         [___________________________________]


                                         By:
                                         Name:
                                         Title:


                                         Address for notices:


                                                  Attention of:
                                                  Telecopy:




                                   Exhibit D – Page 3
